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   7

   8
                              UNITED STATES DISTRICT COURT
   9
                           SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P.                           Hon. Judge M. James Lorenz and
  12   (d.b.a. POWAY WEAPONS AND GEAR
                                                           Magistrate Judge Allison H. Goddard
  13   and PWG RANGE); NORTH COUNTY
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS                           DECLARATION OF THOMAS B.
       LLC (d.b.a. BFAM and BEEBE FAMILY                   MARVELL IN SUPPORT OF
  15
       ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
  16
       POLICY COALITION, INC.;                             PRELIMINARY INJUNCTION
  17   FIREARMS POLICY FOUNDATION;                         (Part 1 of 2)
       CALIFORNIA GUN RIGHTS
  18
       FOUNDATION (formerly, THE                           Complaint Filed: July 1, 2019
  19   CALGUNS FOUNDATION); and                            Second Amended Complaint Filed:
       SECOND AMENDMENT                                    November 8, 2019
  20
       FOUNDATION                 Plaintiffs,
  21
       v.                                                  Date: Monday, December 16, 2019
  22
       XAVIER BECERRA, et al.,                             Time: 10:30 a.m.
  23                                                       Courtroom: Dept. 5B (5th Floor)
                                           Defendants
  24                                                       No oral argument should be heard
  25                                                       unless ordered by the Court
  26

  27

  28

                  DECLARATION OF THOMAS B. MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1                   DECLARATION OF THOMAS B. MARVELL
   2
       I, Thomas B. Marvell, declare as follows:
   3

   4
             I am not a party to the captioned action, am over the age of 18, have personal

   5   knowledge of the facts stated herein, and am competent to testify as to the matters
   6
       stated and the opinions rendered below.
   7

   8         1.    I reside in Williamsburg, Virginia, and am currently retired as a

   9   sociologist and lawyer, though I continue to conduct research. I graduated from
  10
       Harvard University, with a LLB degree in 1961. I obtained my Juris Doctorate degree
  11

  12   from the University of Michigan Law School in 1964 and my PhD in sociology from

  13   the University of Michigan in 1978.
  14
             2.    I worked for the National Center for State Courts (NCSC) from 1977 to
  15

  16   1985. The NCSC is an independent, non-profit organization founded at the urging of

  17   Supreme Court Chief Justice Warren E. Burger to provide research, information, and
  18
       data to help courts plan, make decisions, and implement improvements in judicial
  19

  20   administration of the court system.           From 1985 to 2010, I worked for Justec
  21   Research, and the research at Justec was financed by six grants from the U.S.
  22
       Department of Justice.
  23

  24         3.    I have authored or co-authored more than 30 publications concerning
  25   criminology, 11 of which pertain to gun laws. One is “The Impact of Banning
  26
       Juvenile Gun Possession,” published in the Journal of Law and Economics, Vol. 44,
  27

  28   Oct. 2001, pp. 691-713.
                                                       1
                    DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1         4.    Attached hereto as Exhibit 1 is a true and correct copy of my
   2
       Curriculum Vitae. It describes my education, employment background, career
   3

   4
       experience, and publications.

   5                  Minimum Age Laws and Crime-Reduction Impacts
   6
             5.    Based on my education, work experience, research background,
   7

   8   publications, and review of the research of others, in my opinion, there is no evidence

   9   that gun laws banning the purchase or possession of firearms based on age
  10
       restrictions have the intended effect of reducing gun homicides and suicides; I have
  11

  12   found no discernable crime-reduction impact.

  13         6.    I have conducted an extensive literature review, and have summarized
  14
       the results of my research of pertinent publications. I know of no other pertinent
  15

  16   publications but would consider them upon presentation. All such publications,

  17   except for those by Gary Kleck, use a time-series-cross-section (TSCS) design or
  18
       methodology, with data over many years and covering all states. I specialize in that
  19

  20   methodology, having published more than 25 studies using it.
  21         7.    This methodology is the most common statistical procedure for
  22
       determining whether a law affects crime. It controls for overall differences in crime
  23

  24   levels between states (state effects) and for overall differences between years (year
  25   effects). When studying the impact of a law, the researcher typically constructs a
  26
       “dummy variable,” which is “0” when the state does not have the law and “1” when
  27

  28   the law is in effect. The TSCS methodology in effect compares trends in states with
                                                       2
                    DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   the law and states without the law (or with laws passed in earlier or later years). The
   2
       law is deemed to have an effect if the regression coefficient on the dummy is
   3

   4
       statistically significant (i.e., the law is found to have an impact after controlling for

   5   state and year effects and other control variables). It is negative when the law
   6
       reduces crime and positive when it increases crime.                         The term “statistical
   7

   8   significance,” as used in these studies, means that there is less than a five (5) percent

   9   chance that the law has no impact given the size of the regression coefficient on the
  10
       dummy variable. As a practical matter, lack of significance is usually accompanied
  11

  12   by a negligible coefficient on the dummy variable.

  13          Determining significance using the TSCS methodology is greatly affected by
  14
       autocorrelation, which here involves the correlation between current-year crime and
  15

  16   crime in the prior and earlier years.              Unless proper corrections are made for

  17   autocorrelation, the regression often produces significant results, even though the
  18
       results in fact are not significant.
  19

  20          8.     The impact of increasing minimum age to purchase a firearm from 18 to
  21   21 is difficult to determine because very few states have made such a change.
  22
       However, based on my and others’ research on age-based firearm restrictions and
  23

  24   their effects, I have no reason to believe that increasing the minimum age to purchase
  25   firearms from 18 to 21 has any more effect than other minimum age requirements
  26
       currently in place.
  27

  28
                                                         3
                      DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1         9.      Kleck, Gary. 2019.“Regulating guns among young adults,” American
   2
       Journal of Criminal Justice, https://doi.org/10.1007/s12103-019-09476-6.                          The
   3

   4
       publication reports the results of two studies of the impact of gun control measures on

   5   violent crimes. The first study assessed the impact of state bans on concealed carry
   6
       permits among persons age 18 to 20 on rates of violent crime (homicide, robbery, and
   7

   8   aggravated assault) committed by persons in that age group. The results indicate that

   9   states limiting concealed carry permits to those 21 and older did not have less violent
  10
       crime in that age group than states granting permits to those 19 and older. The
  11

  12   second study evaluated a Federal 1968 law prohibiting gun dealers from selling

  13   handguns to persons under 21. The analysis tested whether the share of arrests for
  14
       three violent crimes (homicide, robbery, aggravated assault) trended downward or
  15

  16   upward, after the law went into effect. Results indicated that the federal law had no

  17   impact on the 18-to-20-year old share of arrests for violent crime. Attached hereto as
  18
       Exhibit 2 is a true and correct copy of Kleck (2019) (see specifically, pages 0006-7,
  19

  20   12, 16-17).
  21         10.     Kleck, Gary, Thomislav Kavandzic, and Jon Bellows. 2016. “Does Gun
  22
       Control Reduce Violent Crime?” Criminal Justice Review, 41:488-513.                              In a
  23

  24   cross-section study of 1,078 cities the authors found no significant reduction in total
  25   homicides, gun-homicides, non-gun homicides, robberies or assaults associated with
  26
       laws limiting gun sales to, or gun possession by, minors.                     Attached hereto as
  27

  28
                                                        4
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   Exhibit 3 is a true and correct copy of Kleck et al (2016) (see specifically, pages 23-
   2
       24, 36-37, 39, 42).
   3

   4
             11.    Gius, Mark. 2015. “The impact of minimum age and child access

   5   prevention laws on firearms related youth suicides and unintentional deaths,” Social
   6
       Science Journal, 52: 168-175. The study evaluated, among other things, state
   7

   8   minimum age laws and the association, if any, with firearms-related youth suicide

   9   and unintentional deaths. The study found that state minimum age laws do not have a
  10
       significant impact on gun suicides or unintentional deaths for those under 20 years
  11

  12   old. Gius (2015) found a significant impact for the 1994 federal minimum age law,

  13   but this is a spurious finding due to a statistical mistake. The federal law applied to
  14
       every state, so the federal law dummy variable captured the impact of everything that
  15

  16   affected suicides in 1994 and that were not controlled by other variables.

  17   Technically, the federal law dummy is the fixed effect year dummy for 1994, and the
  18
       1994 fixed effect dummy drops out of the regression results. If the federal law
  19

  20   dummy had been entered into the equation after the year fixed effects, the regression
  21   program would have dropped it.            Another way of putting it is that there is no
  22
       comparison group of states – states exempt from the federal law – meaning that the
  23

  24   TSCS results are meaningless. Attached hereto as Exhibit 4 is a true and correct copy
  25   of Guis (2015) (see specifically, pages 50-51, 54-56).
  26
             12.    Rodríguez-Andrésa, Antonio, and Katherine Hempstead. 2011. “Gun
  27

  28   control and suicide: impact of state firearm regulations in the United States,”
                                                        5
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   1995-2004. Health Policy, 101: 95-103. The article studied the impact of state laws
   2
       banning handgun purchases on male suicide rates for age groups, 15-24, 25-44,
   3

   4
       45-64, and 65 and over. The article found no significant impact except that the laws

   5   are associated with a significant reduction in suicides for males, ages 25-44. The
   6
       latter finding, however, is not credible for several reasons. First, only one state (New
   7

   8   York) enacted a new minimum age law during the period of the study (1995-2004),

   9   far from enough to produce useful results. Second, the study uses only ten years of
  10
       data, which is unusual and in my experience leads to erratic results. Third, there is no
  11

  12   correction for autocorrelation, so the significance levels are overstated. Attached

  13   hereto as Exhibit 5 is a true and correct copy of Rodríguez, et al. (2011) (see
  14
       specifically, pages 59, 63-66).
  15

  16         13.    Rosengart, M., P. Cummings, A. Nathens, P. Heagerty, R. Maier, and

  17   F. Riveria. 2005. “An evaluation of state firearms regulations and homicide and
  18
       suicide death rates,” Injury Prevention, 11: 77-83. This study evaluated laws banning
  19

  20   the purchase or possession of handguns by persons under the age of 21. The study
  21   found that such laws produced no significant reduction of a variety of measures of
  22
       gun and non-gun homicides and suicides, but the findings are based on only a few
  23

  24   law changes. This research, in effect, evaluated what happens when states move from
  25   under-18 laws to under-21 laws, which is comparable to California. Attached hereto
  26
       as Exhibit 6 is a true and correct copy of Rosengart, et al. (2005) (see specifically,
  27

  28   pages 69, 71-75).
                                                        6
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1         14.    Webster, Daniel, Jon S. Vernick, April M. Zeoli, and Jennifer A.
   2
       Manganello. 2004. “Association between youth-focused firearm laws and youth
   3

   4
       suicides,” Journal of the American Medical Association, 292:592-602. The study

   5   estimates the impact of laws establishing minimum age requirements for the purchase
   6
       or possession of firearms on suicides by those 14-17 years and 18-20 years. The
   7

   8   study found no significant impact, except a significant decline in suicides in the 18-20

   9   age group following an increase in the legal purchase age from 18 to 21. This
  10
       finding, in my opinion, is highly unlikely to be correct. The study itself identifies
  11

  12   several reasons to doubt the validity of the finding, including the fact that the finding

  13   is based on only 3 states making the change, 2 of which adopted the change in the
  14
       final 2 years of the study. The finding is barely significant (at the .04 level, just
  15

  16   below the .05 level that indicates significance). Most important, the authors attempt

  17   to address autocorrelation through the “cluster” method, which causes the
  18
       significance levels to drastically increase with such a small number of law changes.
  19

  20   Attached hereto as Exhibit 7 is a true and correct copy of Webster, et al. (2004) (see
  21   specifically, pages 77-79, 81-83).
  22
             15.    Marvell, Thomas B. 2001.                “The impact of banning juvenile gun
  23

  24   possession,” Journal of Law and Economics. 44:691-714. I posited theories were
  25   that juvenile gun bans either increase or decrease homicides. If the bans reduce
  26
       juvenile gun access, they would probably reduce the use of guns by juveniles in
  27

  28   crimes. If the bans lead others to believe that juveniles are more vulnerable targets,
                                                        7
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   the result is likely to be more crime, especially violent crimes against juveniles. My
   2
       research, however, found that state laws banning juvenile handgun possession (under
   3

   4
       the age of 18) had no significant effect on reducing gun homicides and suicides.

   5   Attached hereto as Exhibit 8 is a true and correct copy of Marvell (2001).
   6
             16.    Kleck, Gary, and E. Brit Patterson. 1993. “The impact of gun control
   7

   8   and gun ownership levels on violence rates,” Journal of Quantitative Criminology.

   9   9:249-287. In a cross-section state-level study, the authors found no significant
  10
       relationship between gun or non-gun homicide and state restrictions on handgun
  11

  12   purchases by minors. Attached hereto as Exhibit 9 is a true and correct copy of

  13   Kleck, et al. (1993).
  14
             17.    Rand Corporation recently published a lengthy review of the research on
  15
                                   1
  16   the impact of gun laws.         It found “inconclusive” evidence that minimum age laws

  17   have a crime-reducing impact.          It did find “limited” evidence that laws barring
  18
       purchase by 18-20 year olds reduced suicide, based on the findings by Webster, et al.
  19

  20   (2004), described above. However, it failed to note that the Webster, et al. (2004)
  21   calculation of significance levels is erroneous (see above).                  Attached hereto as
  22
       Exhibit 10 is a true and correct copy of relevant excerpts from Morral, et al. 2018.
  23

  24

  25

  26
       1
  27     Andrew R. Morral, et al., 2018 The Science of Gun Policy:A Critical Synthesis of
       Research Evidence on the Effects of Gun Policies in the United States.
  28   https://www.rand.org/pubs/research_reports/RR2088.html (accessed August 5, 2019).
                                               8
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1                                          Mass Shootings
    2
              18.    Mass shootings are an important and timely topic, but the shootings are
    3

    4   not common enough, in my opinion, to obtain useful research results concerning
    5
        whether they are affected by age limits. My opinion is supported by the following
    6
        article authored by M. Luca, L. Deepak, and C. Poliquin, 2019. “The Impact of Mass
    7

    8   Shootings on Gun Policy,” Working Paper 16-126.                      Harvard Business School,
    9
        Cambridge, Massachusetts. In that article, Luca, et al. (2019) also opine that mass
   10
        shootings are not frequent enough to estimate the effects of gun policy on gun deaths.
   11

   12   (Id. at 22.) Attached hereto as Exhibit 11 is a true and correct copy of Luca, et al.
   13
        (2019).
   14

   15
              19.    As described in Luca, et al. (2019), roughly 30,000 annual gun deaths

   16   occur in the United States, with fewer than 100 occurring in connection with mass
   17
        shootings. (Id. at 5.) For clarity, I’m using the same definition of “mass shooting” as
   18
   19   used in Luca, et al. (2019), which also closely matches the one used by the Federal

   20   Bureau of Investigation. (Ibid.) “Mass shootings” means an incident in which four
   21
        or more people, other than the perpetrator(s), are unlawfully killed with a firearm in a
   22

   23   single, continuous incident that is not related to gangs, drugs, or other criminal

   24   activity. (Ibid.)
   25

   26

   27

   28
                                                         9
                      DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1         I declare under penalty of perjury that the foregoing is true and correct.
    2
        Executed within the United States on September 30, 2019.
    3

    4

    5

    6

    7                                              ___________________________________
    8                                              Thomas B. Marvell
    9

   10

   11

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                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1                                EXHIBITS
    2
                                 TABLE OF CONTENTS

    3   Exhibit   Description                                                        Page(s)
    4
        1         Thomas Marvell                                                     0001 - 0004
    5             Curriculum Vitae
    6
        2         Kleck, Gary                                                        0005 - 0021
    7             “Regulating guns among young adults,”
                  American Journal of Criminal Justice (2019)
    8

    9   3         Kleck, Gary, et al.                                                0022 - 0048
                  “Does Gun Control Reduce Violent Crime?”
   10             Criminal Justice Review (2016)
   11
        4         Gius, Mark                                                         0049 - 0057
   12             “The impact of minimum age and child access
                  prevention laws on firearms related youth suicides
   13
                  and unintentional deaths,”
   14             Social Science Journal (2015)
   15   5         Rodríguez et al.                                                   0058 - 0067
   16             “Gun control and suicide: impact of state firearm
                  regulations in the United States,” 1995-2004.
   17             Health Policy (2011)
   18
        6         Rosengart et al.                                                   0068 - 0075
   19             “An evaluation of state firearms regulations and
                  homicide and suicide death rates,”
   20
                  Injury Prevention (2005)
   21
        7         Webster et al.                                                     0076 - 0085
   22             “Association between youth-focused firearm laws
   23             and youth suicides,”
                  Journal of the American Medical Association (2004)
   24

   25

   26

   27

   28
                                                       11
                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1

    2                                EXHIBITS
    3                            TABLE OF CONTENTS
    4   Exhibit   Description                                                        Page(s)
    5
        8         Marvell, Thomas                                                    0086 - 0109
    6
                  “The impact of banning juvenile gun possession,”
    7             Journal of Law and Economics (2001)
    8   9         Kleck, Gary et al.                                  0110 - 0150
    9             “The impact of gun control and gun ownership levels
                  on violence rates,”
   10             Journal of Quantitative Criminology (1993)
   11
        10        Morral, et al.                                                     0151 - 0329
   12             The Science of Gun Policy:A Critical Synthesis of
                  Research Evidence on the Effects of Gun Policies in
   13
                  the United States (2018)
   14
        11        Luca et al.                                                        0330 - 0389
   15             “The Impact of Mass Shootings on Gun Policy,”
   16             Working Paper (2019)

   17

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                     DECLARATION OF THOMAS MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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             EXHIBIT "1"




                                   Exhibit 1
                                     0001
Case 3:19-cv-01226-L-AHG Document 21-15 Filed 11/12/19 PageID.3730 Page 15 of 232



  Thomas B. Marvell

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  Williamsburg, VA 23185
  Email: marvell@cox.net
  Phone: (757) 229 3531

  Education

  B.A., Harvard University 1961
  J.D., University of Michigan 1964
  Ph.D., University of Michigan 1976, Sociology

  Experience

  Attorney, Federal Home Loan Bank Board 1965-1968
  Attorney, National Center for State Courts 1976-1985
  Director, Justec Research 1985-2010

  Selected Publications

  “Indirect Simultaneity,” Criminology and Public Policy, forthcoming.

  “Clustering and Standard Error Bias in Fixed Effects Panel Data Regressions,” (with C.E.
  Moody) Journal of Quantitative Criminology, 2018. https://doi.org/10.1007/s10940-018-9383-
  z

  “The Impact of Right-to-Carry Laws: Critique of the 2014 version of Aneja, Donohue, and
  Zhang,” (with C.E. Moody) Econ Journal Watch, 2018.

  "The Impact of Right-to-Carry Laws on Crime: An Exercise in Replication," (with C.E. Moody,
  P.R. Zimmerman and Fisal Alemante) Review of Economics and Finance, 4(1) 2014, 33-43.

  "Did John Lott Provide Bad Data to the NRC? A Note on Aneja, Donohue, and Zhang," (with
  J.R. Lott and C.E. Moody) Econ Journal Watch, 10, 2013, 25-31.

  “On the Choice of Control Variables in the Crime Equation,” (with C.E. Moody) Oxford Bulletin
  of Economics and Statistics, 72(5) 2010, 696-715

  "Prison Population and Crime" in B. Benson and P. Zimmerman (eds.), Handbook on the
  Economics of Crime, Edward Elgar, Northampton, MA 2010, 145-183.

  "The Debate on Shall-Issue Laws, Continued," (with C.E. Moody) Econ Journal Watch, 6(2)
  2009, 203-217.

  "The Debate on Shall-Issue Laws," (with C.E. Moody) Econ Journal Watch, 5(3) 2008, 269-293.




                                           Exhibit 1
                                             0002
Case 3:19-cv-01226-L-AHG Document 21-15 Filed 11/12/19 PageID.3731 Page 16 of 232



  “Can and Should Criminology Research Influence Policy? Suggestions for Time-Series Cross-
  Section Studies” (with C.E. Moody) Criminology and Public Policy 7(1) August, 2008, 401-407.

  “The Criminogenic Effects of Imprisonment: Evidence from State Panel Data, 1974-2002,” (with
  L.M. Vieraitis and T.V. Kovandizic). Criminology and Public Policy, 6, 2007, 589-562.

  "Guns and Crime," (with C.E. Moody), Southern Economic Journal, 71(4), April, 2005, 720-
  736.

  “The Impact of “Shall-Issue” Concealed Handgun Laws on Violent Crime Rates: Evidence from
  Panel Data for Large Urban Cities,” (with T.V. Kovandzic and L.M. Vieraitis), Homicide
  Studies, 9, 2005, 292-323.

  "When Prisoners Get Out: The Impact of Prison Releases on Homicide Rates, 1975-1999," (with
  T.V. Kovandzic, C.E Moody and L.M.Vieraitis), Criminal Justice Policy Review, 15, 2004, 212-
  228.

  “Right-to-Carry Concealed Handguns and Violent Crime: Crime Control Through Gun
  Decontrol?” (with T.V Kovandzic), Criminology and Public Policy 2, 2003, 363-396.

  “A Comparison of Changes in Police and General Homicides: 1930-1998,” (with K.J.
  Kaminski). Criminology, 40, 2002, 171-183.

  “The Impact of Lambda Skewness on Criminology: A Contingent Analysis” in A.R. Piquero and
  S.G. Tibbits, eds, Rational Choice and Criminal Behavior: Recent Research and Future
  Challenges. 2002. Routledge, NY

  "The Impact of Banning Juvenile Gun Possession," Journal of Law and Economics, 44, 2001,
  691-714.

  "The Lethal Effects of Three-Strikes Laws," (with C.E. Moody), Journal of Legal Studies, 30,
  2001, 89-106.

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             EXHIBIT "2"




                                   Exhibit 2
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      Regulating Guns among Young Adults                                                     Check for
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      Gary Kleck 1

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      Abstract
      This paper reports the results of two studies of the impact of gun control measures on
      violent criminal behavior among persons age 18 to 20. The first study assessed the
      impact of state bans on gun carrying among persons age 18 to 20 on rates of violent
      crime committed by persons in that age group. The research used a state-level cross-
      sectional weighted least squares analysis of murder, robbery, and aggravated assault
      rates in 2000, controlling for possible confounding variables. The results indicate no
      significant effect of these carry bans on any of the three violent crime rates. The second
      study was a longitudinal analysis performed to evaluate the impact of a single previ-
      ously unstudied element of the federal Gun Control Act of 1968 - its ban on the
      purchase of handguns by persons aged 18 to 20. The analysis tested whether the share
      of arrests for three violent crime types trended downward, or less strongly upward, after
      the law went into effect, controlling for trends in the share of the population in this age
      group. Results indicate that there was no impact of this ban on the 18-to-20 year-old
      share of arrests for homicide, robbery, or aggravated assault.

      Keywords Gun control· Young adults · Violent crime · Gtm Control Act of 1968



      Introduction

      This paper performs two tests of the general hypothesis that gun control measures
      specific to young adults reduce violent crime within that group. This focus is especially
      important because criminal violence in America is at its highest in the young adult ages.
      For example, national arrest data for 2017 indicate that the single ages with the highest
      rates of arrest for murder were 18, 19, and 20 years old (U.S. FBI, 2019, Table 38).
      Society therefore has an especially strong interest in reducing violence among young




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      adults. and it would seem reasonable to focus violence-prevention efforts especially
      heavily on this group.
          There are also good reasons to believe that gun control measures would be especiaUy
      likely to be effective if they focused on young adttlts. First, precisely because violent
      criminal behavior is more common within this group. any one instance of denying a gun
      to such a person is more likely to prevent a violent crime with a gun. Second, young
      adults are more likely to use firearms when they commit violence crimes (Department of
      the Treasuty and Department ofJustice, 1999, pp. 7, 9). Consistent with this fact, there is
      some macro-level evidence that gun prevalence increases homicide rates among persons
      age 18 to 24 (Parker eta!., 2011, p. 510 ), even though the technically strongest evidence
      does not show a net positive effect of gun prevalence on the overall (all-ages) homicide
      rate (Kovandzic, Schaffer, & Kleck. 20 13). (Parker et al., however, failed to model the
      possible two-way relationship between gun prevalence and homicide, so the positive
      association they observed may reflect the effect of homicide on guo prevalence, rather
      than the reverse- Kovandzic et al., 2013 ). Thi:rd, it seen1s likely that, compared to older
       offenders. younger ctiminals are less likely to have acquired the personal contacts and
       knowledge that would enable them to evade restrictions on guns. Further, their higher
       rate of involvement in violence may make it especially easy to detect any ctime-
       reducing efl'ects of gun controls in this group. In contrast, among children and older
       people, there is little violent crime to be prevented. so even a large percentage decrease
       might be too smaU in absolute tenns to be reliably detected.
           There is little variation across jurisdictions in the regulation of fi.rea.tms among
       persons under the age of 18. They have been categorically forbidden from purchasing
       firearms of any kind from licensed gun dealers 1.U1der federal law since the Gtm Control
       Act of 1968 (GCA) (18 USC Section 922(b)(J )), and are ineligible everywhere except in
       Vermont to get the state cany penn its that are required in most states to lawfully cany a
       concealed fu·eann offof the possessor's pro petty (Giffords Law Center, 20 19). This lack
       of variation makes it d.irl'icult to detect any effects of gun control measures applying to
       those under age 18. ln contrast. the strictness of gun control laws pertaining to young
       adu lts age 18- 20 has shown considerably more variation, both over time and across
       states. People in this age group can legally cany guns in public places in some states but
       noI in others. This variation provides opp01iun.ities for researchers to estimate the effect
       of gLm regulations on violence within this specific high-violence subpopulation.
           The research rep011ed here therefore focuses specifically on controls applying to this
       age group. In pa.t'ticulru·, it is aimed at two kinds of gun control measures: (1) state laws
       that forbid concealed canying of firearms runong 18-20 year-olds, and (2) a federal ban
       on the purchase of handguns by persons age 18- 20, enacted as part of the 1968 GCA.
       We evaluate the first· measure using a state-level cross-sectional design. and evaluate
       the second measure using a national-level longitudinal design.


      Study 1 -The Effect of State Bans on Concealed Gun Carrying
      by Persons Age 18-20

      Each of the 50 states has different regulations on the canying of concealed weapons.
      and in particular the states differ regru·ding the minimum age at which persons become
      eligible to lawfully carry concealed weapons. Variation was especially high prior to the

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      Supreme Cou1i's 2008 Heller and 20 I 0 McDonald decis10ns, and subsequent court
      decisions interpreting them, which had the effect of striking down state laws that
      categorically forbade all concealed carrying. Prior to 2000, seven states forbade
      concealed carrying of firearms altogether, for all ages (see the Appendix. for a listing
      of smtes and supporting statutory citations) a number of courts banned nearly all gun
      carrying among civilians. One state (Vetmont) set 16 as the minimum age to cany
      concealed guns in public places, 14 states required a minimum age of 18, another 21
      states set 21 as the minimum age, and one state (0klahama) set the minimum age at 23.
         The states also differ in how they implement age restrictions. Some require permits
      for concealed canying, and specify a minitmun age to get the pennit, while others
      require no pennit but nevertheless specifY a minimum age for carrying. Still others do
      not specify an explicit age mi.nirrmm, but rather grant discretion to authorities such as
      county sheriffs to assess the degree to which a prospective carrier is a "suitable pcrs011."
      As of t999, 29 states forbade the carrying of concealed weapons by 18-to-20 year olds
      (including those that banned canying by persons of any age) while the remaining 21
      allowed it, either because ( 1) people this age could get a carry permit, or (2) rhe stare
      neither required a cany pem1it nor stated a minimum age to cany (Appendix).

      Study 1 Methods

      Our strategy for testing for an effect of state carry laws on violent crime takes advantage
      of the age-related element of these laws. The provisions concemin~ minimum age
      either prohibit or allow canying speciticaJiy among 18-to-20 year olds, so if they affect
      the frequency of violent crime. they should do so primarily by affecting violent crime
      rates among 18-to-20 year olds. There are no available data that directly measure the
      violent ctiminal behavior of Americans of specific age groups, but an approximation
      can be derived from data on persons arrested for crimes. Arrest data by age available
      from the Unifonn Crime Reporting (UCR) program of the Federal Bureau of Investi-
      gation (FBI) are specific enough to establish national totals of ruTests of 18-to-20 year
      olds. We analyzed three specific violent crimes that are the only crime types committed
      in significant munbers with frreatms: ( 1) murder and nonnegligent manslaughter
      (hereafter denoted ' ·homicide" for brevity's sake). (2) robbery, and (3) aggravated
      assault. About 73% of homicides, 41% of robberies, and 28% of aggravated assaults
      in 2017 were committed with firearms (U.S. Federal Bureau oflnvestigation, 201 9).
          We therefore estimated state rates of violent crime among 18-to-20 year olds by
       multiplying state c1ime rates conceming offenses by all ages by the fraction of persons
       arrested for a given Ctime type who were 18-to-20 years old. For example. we estimated
       the Alabama homicide rate among 18-to-20 year olds by multiplying tbe Alabama
       homicide rate in 2000 (7 .4 homicides per I 00,000 population) by the fraction of
       homicide anests that 18-to-20 year olds accounted for in A labama in 2000- 2002
       (0.1916), which yields an estimated homicide tate of 1.42 homicides committed by
       18-to-20 year-olds per 100,000 resident population of all ages. Three years of arrest
       data, covering 2000-2002, were used to estimate the fraction of crimes committed by
       persons 18 to 20 because in smaller states there are too few an·ests in any l year for any
       one type of violent crime (especially homicide) to provide a stable estimate of the 18-
       to-20 year old share of atTests.



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          In the following reg~.-ession analyses, three types of age-specific violent crime rates were
      analyL.cd: (1) the rate ofhomicjde committed by 18-to-20 year-olds. (2) the rate of robbery
      committed by 18-to-20 year-olds, and (3) tl1e rate of aggravated assaultconunitted by IR-to-
      20 year~olds. The analysis focused on tl1e year 2000 rather than more recent years because
      there was far more variation in the stlictness of state controls on canying Jircanns than in
      later years. In more recent times tl1ere has been little meaningful variation in the strictness of
      carry laws. For example, in 1999 there were seven states that completely banned canying
      guns in public (see Appendix), but by 2010, there were none (Gifford Law Center, 20 19).
      State controls over gun carrying became lenient in all bttt a handful of states. By 2018, at
      least 30 states had adopted lenient shall-issue cany laws, which make it easy tor noncrim-
      i.nul adults to get cany permits, willie another 12 states had eliminated the requirement for a
      pennit to carry concealed firearms altogether (Gifford Law Center, 20 19). One might
      speculate that results pertaining to 2000 do not apply to more recent years. Certainly, the
      levels of the variables in mu· models, and which states have which laws, changes over time,
      but we are not aware of any evidence that the causal ~ffects of gun laws have changed since
      2000.
          The present study focused on 2000 rather thru1 any intercensal year (e.g., 2001-
       2009) because the Census provides, for years when the dieiUliel Census is conducted,
      data on a wealth of crime-related variables tl1at should be statistically controlled in
       order to isolate the effect of carry law provisions. A list of these other variables appears
       in Table I, and the sources of data for the analysis are reported in the Appendix.
           States were coded according to their carry laws as of 1999, rather than 2000, to make
       sure that they pertained to a time point ptior to 2000-2002, the pe1iod to whjch the
       crime rates pertained. This makes it less likely that any relationship fo1md between
       cany law provisions and crime rates is due to an effect of crime rates on the enactment
       or amendmg of carry law provisions, and more likely that the relations!Up reflects an
       etiect of the carry law provisions oo crime rates.
           The statistical procedure used to estimate the relationshlp bet\veen carry law age
       provisions and crime rates was weighted least· squares (WLS) regression. This procedure
       gives diffeting weights to each of the states, such that states with larger populations are
       given greater weight. This has the effect of reducing heteroscedasticity. The we1ght used
       in these analyses was the square root of the state's resident population in 2000.
           Only 48 of the 50 states could be included in the analysis because FBI arrest data by
       age were not available for all of the years from 2000 to 2002 for Fl01ida or Wisconsin
       (they were missing for 2000 for Wisconsin and for all 3 years for Florida). It should be
       noted that it is not essential for present purposes that all an·ests be reported to the FBI,
       since we make no use of the absolute frequency of a!Tests. Rather, it is only necessary
       that the 18-to-20 year old share of those atTests reported to the FBI be approximately
       the same as the 18-to-20 year old share ofall aJTests for a gjven type of violent crime,
       whether reported to the FBI or not.

      Study 1 Findings

      Table 1 displays the WLS estimates. Each column of numbers shows the estimated
      coefficients of a regression equation pertaining to one of the three dependent variables,
      and each row pertains to a panicular independent variable that might affect these outcome
      variables. Each cell of the table shows three numbers. The topmost number is the WLS

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      Table 1 Variables in the analysis (as of 2000 unless otherwise indicated)*

      Variable        Variable description                                                  Mean      Standard
      name                                                                                            deviation

      MURDI820        Murder, nonnegligent manslaughters among 18-to-20 year olds per       1.02      0.51
                        100,000 population
      ROB1820         Robberies among 18-to-20 year olds per 100,000 population             117.66 61.76
      ASLT1820        Aggravated assaults among 18-to-20 year olds per 100,000 population   35.84     14.27
      CARRY1820       State law allows 18-20 carry, as of 1999 ( 1 =yes, 0 = no)            0.41      0.50
      %POP18-20       % of resident population age 18-20                                    4.41      0.40
      POVERTY         % families under the poverty line, 1999                                12.17    3.03
      BLACK           % African-American                                                     11.55    9.19
      HISPANIC         %Hispanic
      PRISONRS        State, federal prisoners per 100,000 resident population              423.26 167.19
      DIVORCE         Divorces per 100,000 resident population                              4.22      1.17
      URBAN            % population residing in urban areas                                  74.93    13.96
      DENSITY         Persons per square mile                                                0.21     0.25
      FOREIGN          % foreign-born                                                        8.60     6.82
      INSTATE          % population born in same state                                       61.02    12.05
      LIVLONE          % of population that lives alone                                      9.73     1.04
      MARRIED          % of population married, living with spouse                           51.81    2.60
      MOVERS           %of population age 5+ that changed residence, 1995-2000               45.61    5.16
      OLDPCT           % population age 65 or older                                          12.29    1.72
      POLICE           Sworn full-time police officers per 10,000 population                 20.20    4.33
      SOUTH            State is in the South (former slave-owning state)                     0.32     0.47
      WEST             State is in the West Census region                                    0.24     0.43
      UNEMPLOY % civilian labor force unemployed                                             5.66      1.01
      VETERAN          Militm:y veterans per 1000 population, 1999                           89.16    9.76

      *Means and standard deviations are based on weighted data, and cover the 48 nonmissing states used in the
      regression analyses - that is, they exclude Florida and Wisconsin



      coefficient. The middle number is the ratio of the coefficient over its standard error,
      sometimes called at-ratio, used to test whether the regression coefficient is significantly
      different from zero. The bottom number is the one-tailed statistical significance of the
      coefficient. A significance under .05 (5%) is generally considered to be statistically
      significant, i.e. not likely to be the product of random chance. Thus, if the bottom number
      in a given cell is lower than .05, it means that the associated independent variable shown
      in the row heading has a statistically significant association with the dependent or
      outcome variable shown in the column heading. Our primary interest is in the estimates
      shown in the first row of the table, those pertaining to the association of the 1999 state
      carry laws' provisions regarding minimum age for concealed carrying with crime rates
      among 18-20 year olds on the estimated rate of violent crime among 18-20 year-olds.
      Note that CARRY1820 reflects whether persons age 18 to 20 are allowed to legally carry
      guns, so a positive coefficient for this variable means that violent crime rates are higher
      where these young adults may legally carry firearms.

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      Table 2 Weighted least-squares estimates- the effect of state bans on gun carrying bylS-to-20 year-olds on
      rates of violence crime by that age group

      Coefficient/ratio of coefficient over standard error/1-tailed significance

      Independent variable                    Dependent variable

                                              MURD1820                       ROB1820                      ASLT1820

      CARRY1820                               -o.ll6                         1.006                        -1.624
                                              -1.112                         0.342                        -0.453
                                              .136                           .367                         .326
      %POP18-20                               -0.052                         -5.405                       -o.496
                                              -0.363                         -1.361                       -0.102
                                              .360                           .090                         .460
      POVERTY                                 0.044                          1.269                        1.434
                                              2.301                          2.366                        2.191
                                              .014                           .012                         .034
      BLACK                                   0.033                          0.611                        0.665
                                              5.542                          3.699                        3.298
                                              .000                           .000                         .002
      URBAN                                   0.006                          0.427                        0.357
                                              1.561                          3.987                        2.715
                                              .063                           .000                         .004
      OLDPCT                                  -0.069
                                              -2.252
                                              .015
      Constant                                0.767                          -4.992                       -13.158
      Adjusted   R2                           .575                           .447                          .341

      All variables shown in Table 1 that do not appear in Table 2 were found to have no significant (p < .20)
      association with any of the three violent crime rates studied and were therefore omitted from the crime rate
      models



         Each regression equation also controlled for additional variables that affect crime
      rates and that might also be associated with carry law age provisions. Every equation
      controlled for the share of the state population that was in the 18-20 age range,
      regardless of whether this variable was significantly related to the dependent variable,
      because it was thought to be self-evident that the number of people in this age range
      would affect the number of crimes committed by persons in this age range. It turned out
      to make no difference to the key results whether or not this variable was included in the
      equations. The rest of the control variables were included in the equation only if they
      showed a significant relationship with the dependent variable. A generous standard of
      significance, 20%, was used in deciding whether to retain variables in the equation, to
      reduce the chances that a potentially important control variable was omitted. A much
      larger set of potential control variables were tested but found to have no significant
      association (even at a generous 20% level of significance) with any ofthe crime rates.
      All the variables shown in Table 1 that do not appear in Table 2 fall into this category.

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      Co1linearity among the independent variables was not a problem - all tolerances were
      over 0.7 in a11 equations.
         The estimates shown in the first row (labeled CARRY 1820) of the first three columns of
      Table } estimate tbe effect ofallowing 18-20 year olds to legally cany concealed weapons.
      The estimates indicate that this policy is not significantly related to rates of any of the three
      violent ctimes that are often committed with guns (homicide, robbery, aggravated assauJt)
      among persons age IS to 20. Indeed, the associations were negative for two of fue tlu-ee
      violent Clime Lypes, indicating that, other things being equal, states allowing 18- 20 year old
      carry have less homicide and aggravated assault among 18- 20 year olds than states
      forbidding it. though not to a statistically significant degree. The homicide finding is
      consistent with the results of a recent study of the effect of state gun laws on homicide
      rates, which found no significant effect of a requirement that people be at lea.<tt 11 years old
      to legally possess a firerum (Siegel, Palm, Xuan, Fleegler, & Hemenway, 20 I~).

      Study 1 Discussion and Conclusions

      The analysis of state crime ;md an-est data indicates that provisions in state law prevailing
      in 1999 that allowed lawfttl concealed carrying of weapons among 18-20 year olds did
      not increase rates of murder. robbery. or aggravated assault within that age group. One
      prutial explanation may be that states granting carry permits to persons nnder age 21 do so
      only for persons without criminal convictions or other predictors of viole~1t Clime, so Legal
      carrying increased only among persons unlikely to commit violent crimes - even within a
      relatively high-violence age segment of the population. Another explanation, consistent
      with research on the fi·equency and prevalence of defensive gun use (K.Ieck, 200 la. b), is
      that the deteJTent and defensive effects of gLm cru1ying and defensive use runong crime
      victims and prospective victims had crime-reducing effects th&t cmmterbalanced any
      crime-increasing effects of yow1g adults canying concealed guns. Alternatively. these
      restrictions may have failed to even achieve their proximate goal of reducing gun canying.
      in the tru·get age group, because young adults can·ied gtms illegally. ln any case, the
      evidence indicates that allowing la·wful concealed canying of weapons among 18-20 year
      olds appears to have no net eliect on rates of murder, robbery. or aggmvated assault
      committed by people in this age group.
           Tlus finding fits well with complementary research done by Thomas Marvell (200 1).
      Although he djd not analyze age-specific crime rates as is done in the present paper, his
      f~.,-xod-effects panel analysis of state crime rates in the period I 968- 1999 indicated tbat
      neither state laws banning juveniJe gun possession nor a 1994 federal ban had any
      measurable net effect on violent crime rates (for all ages), including rates of homicide,
      robbeJy. and aggravated assault. This combination of studies suggests that banning
      juvenile gun possession or caiTying does not, on net, reduce violent crime. and,
      conversely, thar allowing lawful gun c.anying does not, on net, increase violent clime.


       Study 2 - The Effect of the 1968 Federal Ban on Handgun Purchases
       by Persons Age 18- 20

       The Gun Control Act of 1968 (hereafter GCA) was a major piece of federal gun control
       legislation that had many elements, one of which imposed a new restriction specifically

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      applying to persons age 18 to 20. It provided that, while such persons could, like
      persons age 21 or over, lawfully purchase long guns (rifles and shotguns) from licensed
      gun dealers, those 18-20 were legally forbidden from buying handguns. Prior to this
      law, many states imposed age-based restrictions. We are not aware of any compilations
      of gtm laws detailed enough to indicate how many states allowed handgun purchases
      by persons age 18-20 before 1968, but we do know that as of2018, only 17 states and
      the District of Columbia required a minimum age of21 to purchase handguns (Giffords
      Law Center, 2019). That is, as far of2018 state law is concerned, people age 18 to 20
      can lawfully buy handguns in 33 states. We assume that many states also allowed
      handgun purchases by 18-20 year-olds before 1968. Further, until1968 no federal law
      prohibited handgun purchases by 18-to-20 year olds. Thus, the GCA introduced a new
      restriction on handgun buying by young adults.
         The intent of the GCA was to reduce gun violence, partly by helping to restrict
      access to firearms among some subsets of the population. The introduction of this new
      restriction, applying specifically to 18-to-20 year olds, should directly affect only this
      age group, and should therefore have its largest effect on violent crime committed by
      persons age 18 to 20.

      Study 2 Methods

      The logic of the following analysis is simple. If the new handgun purchase restrictions
      of the GCA applying to 18-to-20 year olds was effective, the fraction of arrests for
      violent crimes that 18-to-20 year olds accounted for should have declined after the
      GCA went into effect late in 1968, since only this age group was newly subject to the
      age-based handgun purchase ban. Therefore, we analyzed arrest data for the United
      States for each year from 1963 (5 years before the GCA went into effect) to 1973
      (5 years after the GCA), for trends in three measures: (1) the percent of arrests for
      murders and nonnegligent manslaughters (hereafter "homicides") that 18-to-20 year
      olds accounted for, (2) the percent of arrests for robbery that 18-to-20 year olds
      accounted for, and (3) the percent of arrests for aggravated assault that 18-to-20 year
      olds accounted for. As with Study 1, these three offense types were studied because
      they are the only types of violent crime that involve handguns to any significant degree.
      Arrest data do not allow analysts to determine if the crime for which the person was
      arrested involved a gun, or more specifically a handgun, so it is not possible to directly
      measure trends in age patterns of persons committing, or arrested for, crimes in which
      handguns were used.
         It should be emphasized that, unlike in Study 1, we did not analyze estimated per
      capita rates of crime by 18-to-20 year-olds in Study 2. Instead, we analyzed the
      estimated share of violent crimes (regardless of their number) committed by this
      subpopulation. This strategy strengthens our ability to isolate the effect of changes in
      age-specific gun control measures by reducing the need to control for numerous
      possible confounders. The alternative of analyzing per capita rates of violent crime in
      this age group would be affiicted by a far more severe need to control for possible
      confounding variables, since virtually any variable that could affect violent criminal
      behavior in the population as a whole could also affect violent criminal behavior among
      those age 18-to-20. Isolating the impact of the GCA's new ban would require control-
      ling for all the other variables having causal effects among people of all ages. In

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      contrast, only factors specific to persons 18-20 are likely to affect the percent of crimes
      committed by those age 18-20.
          Violent crime (and arrests for violent crime) increased after 1968 but by itself this
      says nothing defmitive about the impact of the GCA as a whole or of its new
      restrictions concerning 18-to-20 year olds, since violence increased in all age groups,
      and had already been increasing well before the GCA went into effect. Thus, we need to
      introduce a feature into the research design that takes account of preexisting trends in
      violent crime, and thus in arrests for violent crime. We do this by measuring the average
      trend in the 18-to-20 year old share of arrests in the years immediately before the GCA
      went into effect in late 1968 (i.e., in 1963-1968) and comparing this with the average
      trend in the years immediately after the GCA (i.e., 1969-1973), excluding 1968
      because part of it was before the GCA went into effect and part was after. If the
      relevant provisions of the GCA were effective, the post-1968 trends should be either
      downward or at least be less steeply upward than they had been before the GCA. Thus,
      the preexisting upward trend in the 18-to-20 year old share of violent crime arrests
      should have at least slowed, and possibly even reversed itself after 1968.
          One other methodological feature was also essential to the analysis. The 18-to-
      20 year old share of arrests could change even if the GCA's relevant provisions had no
      effects, merely because the 18-to-20 year old share of the population changed. More
      specifically, the previously increasing 18-to-20 year old share of arrests could slow in
      its rate of increase if the previously increasing 18-to-20 year old share of the population
       slowed in its rate of increase. This is not a mere hypothetical - this is precisely what
      happened around 1968. Figure 1 shows that the 18-to-20 year-old share of the
      population (represented by the height of the line) was sharply increasing up until
       1968, but then decreased in 1968 and thereafter increased much more slowly than it
      had before 1968. This means that if an analyst did not control for trends in the 18-to-




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                             1963.00 1964.00 1965.00 1966.00 1967.00 1968.00 1969.00   1970.00 1971.00 1972.00 1973.00
                                                                      Year
       Fig. 1 Trends in the percent of the U.S. population that was age 18 to 20, 1963-1973


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      20 year old share of the population, the effect of this shift in the age structure of the
      population would be confused with the effect of the GCA.
         We therefore performed a linear regression analysis for each of our arrest outcome
      measures, in which the dependent variable was the 18-to-20 year old share of arrests for
      a given type of violent crime (murder, robbery, or aggravated assault), the year was the
      main independent variable, and the 18-to-20 year old share of the population was a
      control variable. The analysis was performed twice for each violent crime type, once
      for the years 1963-1968 (pre-GCA years) and once for the years 1969-1973 (post-
      GCA years). The coefficient for the YEAR variable represents the average annual
      change in the 18-to-20 year old share of arrests over the time period studied. If it is
      positive, it means that the 18-to-20 year old share of arrests for the target violent crime
      was increasing during that period, and if it is negative, it indicates that the share was
      decreasing. The larger the coefficient, the stronger the trend was. Thus, if the GCAwas
      effective, the coefficient for YEAR in the post-GCA period should be either a smaller
      positive number than the same coefficient for the pre-GCA period (indicating a
      weakening of the pre-GCA upward trend), or the post-GCA coefficient might even
      be negative, indicating that the trend had reversed itself from an upward trend to a
      downward trend.

      Study 2 Findings on the Impact of the GCA

      Table 3 displays the key results from the regression analyses, showing the YEAR
      coefficients for the pre-GCA period and the post-GCA period, for each of the three
      arrest outcome measures. The upper panel (Panel A) shows the potentially misleading
      results obtained when there are no controls for the 18-to-20 year old share of the
      population, and the lower panel (Panel B) shows the corresponding results when a
      control for this variable was introduced.


      Table 3 Changes in the trend in the 18-to-20 year old share of violent crime arrests, from the 1963-1967 (pre-
      GCA) period to the 1969-1973 (post-GCA) period

      Panel A. No control for percent of the population age 18-20
      Dependent variable
      18-to-20 year-old share            Coefficient for year                           Change from 1963 to 1968
      of arrests for ...                  1963-1968              1969-1973              to 1969-1973
      Murder                             .654                    -.060                  -0.714
      Robbery                            .834                    -.290                  -1.124
      Aggravated Assault                  .580                   -.020                  -0.600
      Panel B. Percent of the population age 18--20 controlled
      Dependent variable
       18-to-20 year-old share            Coefficient for year                          Change from 1963 to 1968
       of arrests for ...                 1963-1968              1969-1973              to 1969-1973
      Murder                              .410                   3.417                  +3.007
       Robbery                            .840                   2.651                  +1.811
       Aggravated Assault                 .525                   1.649                  +1.124



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         The Panel A resuJts initially indicated that trends in the 18-to-20 year old share of
      violent crime arrests moved in a desirable direction after 1968 - the previous upward
      trend prevailing p1ior to J968 leveled off or even declined slightly after 1968. The
      Panel B results, however, indicate that this change in trends was at least partly due to
      the changing trends in the 18-to-20 year old share of the population documented in Fig.
      I. Once that factor was statistically controlled, the positive coefficients for tbe YEAR
      vruiable for the pre-GCA peliod. which indicated an upward trend in the 18-to-20 year
      old sh~tre of violent crime arre~ts before I 968, became an even larger positive
      coefficient in the post-GCA period, indicating that the upward trend in the 18-to-
      20 year old share of violent crime arrests became even stronger after 1968, despite the
      new federal ban on handgun ptu-chases by persons age 18 to 20. That is, once one takes
      account oftrunds in the percent of the population age I 8 to 20, it· becomes apparent that
      upward trend in the share of an·ests claimed by I 8-to-20 year olds became stronger after
      1968.

      Study 2 Discussion and Conclusions

      The federal ban on 18-to-20 year olds purchasing handguns from licensed deaJers
      introduced in 1969 does not appear to have reduced the 18·to~20 year old share of
      violent crime. lt is this specific age group whose violent behavior should have been
      most influenced if the purchase ban was effective. so the ban was apparently ineffective
      in reducing climinal violence. These results specific to young adults comport with
      reseru-ch on the impact of the GCA on violent crime in the population as a whole.
      Magaddino and Medoff ( 1984) found no significant effect of the GCA on the U.S.
      homicide rate as a whole, i.e. for all ages. Zi.mting ( 1975) did not test the effect of the
      GCA on national crime rates, but did fmd that 1t failed to achieve the intermediate goals
      of reducing interstate movement of guns (pp. 181, 19 l) or decreasing the share of
      violent crimes corrunitted with handguns (p. 172).
          The focus on national-level data leaves open the possibility that the handgun
      purchase ban reduced young adult involvement io violence in some parts of the
      country. but not others. Since our results indicated no net effect for the nation as a
      whole, however. violence-reducing effects in some places could exist only if banning
      handgun purchases had violence-increasing effects in other places.
          The apparent lack of impact of the handgun purchase ban on young adult involve-
       ment in violent ctime does not mean that other elements of the GCA could not have had
      any beneficial effects. Ncvenhelcss, the cv1dence indicates that the law as a whole
      apparently did not have any net effect on the homicide rate and did not reduce the share
      of the nation's violent crimes committed whh guns (Magaddino and Medoff l QR4:
      Zi.mt·ing 1975).
          Why did the new ban on handgun buying not reduce violent crime among the young
       adults who should have been affected? One obvious explanation would be that they
      bought handguns from other sources besides licensed dealers, such as friends or
      relatives. Titey could have acquired handguns i.llegally, e.g., by stealing them or by
       using persons age 21 or older to act as "straw purchasers" on their behalf (Wright &
       Rossi, I Q86). Youth could also gain possession of handguns by borro•ving their
       parents' firearms, with or without their knowledge. It is even possible that the ban
       did reduce handgun acquisition in this group, but that this did not reduce the youths'

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      involvement in violent crime. Criminally inclined young adults could substitute long
      guns like shotguns or rifles. or weap<ms other than ftreanns, to use in crin1es, or commit
      offenses without using weapons of any kind - unsurprising possibilities given that most
      rapes, aggravated assaults, and robberies are in fact committed without firearms ~U.S.
      Federal Bureau of lnvcstigation, 2019. Table 19: U.S. Bureau of Justice Statistics.,
      20 10, Table 66).


      Overall Conclusions and Policy Implications

      Neither study reported berein found any violent crime-reducing eJfects of gun
      control measures aimed specifically nt young adults, notwithstanding the strong a
      priori reasons to expect that such effects would be strongest and easiest to detect
      within this population. These findings reduce any optimism one might have about
      the benefits of gun control restrictions directly specifically at young adults.
      Recent reviews of research on the impact of gun control laws as a whole likewise
      indicate that. with few exceptions. existing gun laws have no detectable net
      reducing effect on violent crime (KJeck, Kovandzic. & Bellows, 20 16; Rand
      Corporation. 20 ll:i ). For example, Rand searched for evidence bearing on the
      effects of 14 types of guo policies (excluding Stand-Your-Ground taws, which are
      not gun policies) with reference to eight violent crime outcomes, and found
      evidence bearing on 26 of the possible effects of policies on crime. Among these
      26, the authors failed to fmd either "strong" or "moderate" support for a
      violence-reducing effect of any gun policy on any violent crime outcome, witb
      a single exception - moderate suppOLt for the effect of prohibitions associated
      with mental illness. (The review also found moderate support for background
      checks on firearms homicides, but only "limited" support for an effect on total
       homicides - p. 304). For all the other possible effects, the authors rated the
       evidence as "inconclusive."
          Particularly relevant to the present repm1. the Rand authors found no strong or
       moderate suppmt for an impact of age restrictions on purchasing or possessing gnns -
       evidence regarding eU'ects on homicide was rated as "mconclusive." Similarly, K.leck
       et aL (20 16) f..<tiled to ftnd even weak support for violence-reducing effects of bans on
       possession or plU'cbase of gLms by minors. Thus, in this research context, the present
       report's null findings conceming restrictions on purchase or catrying of guns among
       persons age 18 to 20 are unsurprising.
          This does not mean that no gun control measures can reduce violent clime. Even tho
       generally unsupportive Rand review found some evidence that background checks and
       prohib{tions associated with mental illness may rednce homicide. Likewise. Kleck et aL
       (20 16, p. 508) found strong support for an effect of guo owner licensing (whose central
       element is background checks) on homicide, and weaker support for an assault-
       reducing effect of prohibition of gun possession by mentally ill persons. Fluther. there
       could be gun regulations that have never been implemented, or implemented but not
       evaluated, that might prove effective. Nevertheless, the full body of empirical evidence
       accumulated so fur Jru·gely indicates that most gun coutrol policies heretofore imple-
       mented, whether du·ected at yoLUlg adults or the population a~ a whole. do not have any
       measurable net effect on violent crime.

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      Appendix

      Data Sources

      State crime rate data

      U.S. Dept. of Justice, Federal Bureau oflnvestigation. Crime in the United States
      - Unjfotm Crime Reports, 2000. Washington, D. C.: U, S. Government Printing
      Office.
         Stale arres1 data by age, 2000-2002 (available from ICPSR website at http•//mvw.
      tcpsr.umich.edulicpstweb/JCPSR!access/indeK.jsp):
         U.S. Dept. of .Justice, Federal Bureau of Investigation. Uniform Crime Reporting
      Program Data runited States]: Arrests By Age. Sex, And Race, 2000 (Computer file).
      ICPSR03443-v2. Ann Arbor, Ml: Inter-university Consortium for Political and Social
      Research [producer and distributor], 2006- I 0-27.
         U.S. Dept. of Justice, Federal Btu·eau of Investigation. Uniform Crime Reporting
      Program Data [United States]: Arrests By Age, Sex. And Race, 2001 [Computer file].
      Compiled by the U.S. Dept. of Justice, Federal Bureau of Investigation. ICPSR03760-
      v2. Ann Arbor, MI: Inter-university Consonjum for Political and Social Research
      (producer and distributor], 2006-09-21.
         U.S. Dept. of Justic-e. Federal Bureau of Investigation. Unif01m Crime Reporting
      Program Data [United States]: An-ests By Age. Sex, And Race. 2002 [Computer file).
       ICPSR04443-v2. Ann Arbor, Mr: Ioter-w1iversity Consortium for Political and Social
      Research (producer and distributor], 2007-03-21

      State and Federal Prisoners

      U.S. Bureau of Justice Statistics. 200 l. Prisoners in 2000. BJS Bulletin NCJ 118207 at:
      http://~js.oJp.usdoj.gov/contcntlpub/pclf/pOO.puf


      Sworn police full-time employment

      U.S. Department of Justice, Bureau of Justice Statistics. ( 1998). Directory oj
      Law Enforcement Agencies, 1996: [UNITED STATES] [Computer file]. Con-
      ducted by U.S. Dept. of Commerce. Bureau of the Census. ICPSR ed. Ann
      Arbor, MI: Inter-university Consortium for Political and Social Research [pro-
      ducer and distributor), 1998 .

      Divorces

      U.S. National Center tbr Health Statistics. "Provisional Tables on Births. Mar-
      riages, Divorces, and Deaths 1998-2000". National Vital Statistics Reports, Vol-
      ume 49, number 6, available at http://www.cd c.gov/ nchs/data/nvsr/ nvsr49
      /41) 06 02 03 .pdf.
         Population estimates by age: U.S. Bureau of the Census website at http.//www
      census.gov/popest/arc.ll.iveslpre-1980/.
          http://www. census. gov/popcst/sta tcs/usrh/ ti les/SC-EST2009-AGES EX-RES .c~ v

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      All other variables

      U. S. Bureau of the Census. "Census 2000 Briefs and Special Reports" website at
      http://wv.lw.census.gov/population/www/cen20001briefs.html.
        Classification of the States as to Minimum Age for Lawful Carrying of
      Concealed Weapons, as of 1999.
        No Concealed Carrying Allowed: IL, KS. MO. NE, NM, OH, WI.
         MinimHm Age 23: OK.
         Minimum Age 21: AK, AZ. AR, FL, GA. HA. KY. LA. MA. MI. NV, NC. OR, PA.
      ~.SC,TN, TX.U~VA,WA
         No express minimum age: AL. CA. CO, CT. NH. NY.
         Minimum age 18: DE, ID, IN, IA, ME. MD. MI. MN. MT, NJ, ND, SD, WV, WY.
         Minimum age 16: VT.
         State Law Provisions on Minimum Age for Col/cealed Weapons Cany as of 1999:

       1.   Alabama. Code of Ala.§ l 3A-Il-75 (1999)
       2.   Alaska Alaska Stat.§ 18.65.705(1) (1999)
       3.   Alizooa. Atiz. Rev. Stat. § 13-3112(E)(2) (1999)
       4.   Arkansas. Ark. Stat. Ann.§ 5-73-309(1)(B) (1999)
       5.   California. Cal. Pen. Code§ 12,050 (1999)
       6.   Colorado. Col. Rev. Stat.§ 18-12-105.1 (1999)
       7.   Connecticut. Conn. Gen. Stat § 29-28 (2000)
       8.   Delaware. 1 Del. Code § 701: II DeL Code § 1441 (a) (1999)
       9.   Fl01ida Fla. Stat. § 790.06(2)(b) (1999)
      to.   Georgia. Official Code Ga. Ann. § 16-1J -129(b)(l) U999)
      11.   Hawaii. Haw. Rev. State§ l3~9(a) (1999)
      12.   Idaho. Idaho Code§§ 3302(1)(1), (11) (1999>
      13.   Ulinois. 720 Ill. Compiled Stat. Ann.§ 5/24-1(4) (1999)
      14.   lndiana. Bums Ind. Code Ann.§ 35-47-2-3(£)(2) (1999)
      15.   Lowa Iowa Code § 724.8(1) (!999)
      16.   Kansas. Kansas Stat. Ann.§ 21-420l(a)(4) (1999)
      17.   Kentucky. Kentucky Rev. Stat.§ 237. 110(2)(b)(2000)
      18.   Louisiana. La. Rev. Stat.§ 40:1379.3(C)(4) (1999)
      19.   Maine. 25 Maine Rev. Stat.§ 2003(l)(A) (1999)
      20.   Mruyland. Md. Ann. Code art. 27, § 36E(a)( I ) (1999)
      21.   Massachusetts. Mass. Ann. Laws ch. 140. § 131 (d)(iv) (1999)
      22.   Michigan. Mich. Code Laws§ 28.426 (1999)
      23.   Minnesota. Minn. Stat.§§ 624.713(1 )(a). 624.714(5)(a) (1999)
      24.    Mississippi. Miss. Code Ann.§ 45-9- 101(2)(b) (1999)
      25.   Missouri. Rev. Stat. Mo. § 5 71.030 ( 1999)
      26.    Montru1a. Mont. Code Ann.§ 45-8-321(1) (1999)
      27.   Nebraska, Rev. Stat. Neb. § 28-1202 (1999)
      28.   Nevada. Nev. Rev. Stat. Ann. § 202.3657(2)(b) (1999)
      29.   New Hampshire. N.H . Rev. Stat. Ann.§ 159:6 (1999)
      30.   New Jersey. N.J. Stat. §§ 2C:58-3(c)(4), 2C:58-4(c) (1999)
      31.   New Mexico. N.M. Stat § 30-7-2 (1999)
      32.   New York. N.Y. CLS Penal § 400.00(1) ( 1999)

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      33.    Nortb Carolina. N.C. Gen. Stat.§ 14-415.12(a)(2) (1999)
      34.    North Dakota. N.D. Cent. Code§§ 62.1-02-01 (4), 62.1- 04-03 ( 1999)
      35.    Ohio. Ohio Rev. Code Ann.§ 2923.12(A) (1999)
      36.    Oklahoma. 21 Ok.l. St. § 1290.9(3) ( 1999)
      37.    Oregon. Oregon Rev. Stat.§ 166.291(l)(b) (1999)
      38.    Pennsylvania. 18 Pa. C.S. § 6109(B) (1999)
      39.    Rhode Island. R.I. Gen. Laws§ l1-47-11(a) (1999)
      40.    South Carolina. S.C. Code Ann. § 23-31-215(A) ( 1999)
      41.    South Dakota. S.D. Codified Laws§ 23-7-7.1(1) (1999)
      42.    Tennessee. Tenn. Code Ann.§ 39-17-1351(b) (1999)
      43.    Texas. Tex. Gov't Code 4ll.l72(a)(2) ( 1999)
      44.    Utah. Utah Code Ann.§ 53- 5-704(1) (1999)
      45.    Vermont. 13 Vermont Stat Ann.§ 4008 (1999)
      46.    Virginia. Va. Code Ann. § 18.2-308(0) (1999)
      47.    Washington. Rev. Code Wash.§ 9.4!.070(l)(c) (1999)
      48.    West Virginia. W.Va. Code§ 6l-7-4(a)(3) (1999)
      49.    Wisconsin. Wis. Stat. § 941.23 ( 1999)
      50.    Wyoming. Wyo. State. § 6-8-104(j) ( 1999)




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      Gun5 (1997) and. witi1 Don B. Kates, Jr., The Great American Gun Debate (1997) and Armed (2001), and.
      with Brion Sever, Punishment and Crime (20 17). His articles have been published in the American Socio-
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      Criminology, Law & Society Review, Journal of Research in Crime and Delinquency, and many other
      journals. lie bas testified before Congress and state legislatures on gun control issues and his work h:ts been
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      Sentencing Commissiorfs Drugs-Violence Task Force, and a member of lhe Nationnl Research Council
      Committee on Priorities for a Public Health Research Agenda to Reduce the Threat of Fireann-related
      Violence. His most recent book is PuniShment and Crime. with Brion Sever, and was published in October
      20 16.




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             EXHIBIT "3"




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        Article
                                                                                                             Criminal Justice Review
                                                                                                             2016, Vol. 41(4) 488-513
                                                                                                             ª 2016 Georgia State University
        Does Gun Control Reduce                                                                              Reprints and permission:
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        Violent Crime?                                                                                       DOI: 10.1177/0734016816670457
                                                                                                             cjr.sagepub.com




        Gary Kleck1, Tomislav Kovandzic2, and Jon Bellows3



        Abstract
        Do gun control laws reduce violence? To answer this question, a city-level cross-sectional analysis
        was performed on data pertaining to every U.S. city with a population of at least 25,000 in 1990 (n ¼
        1,078), assessing the impact of 19 major types of gun control laws, and controlling for gun ownership
        levels and numerous other possible confounders. Models were estimated using instrumental vari-
        ables (IVs) regression to address endogeneity of gun levels due to reverse causality. Results indicate
        that gun control laws generally show no evidence of effects on crime rates, possibly because gun
        levels do not have a net positive effect on violence rates. Although a minority of laws seem to show
        effects, they are as likely to imply violence-increasing effects as violence-decreasing effects. There
        were, however, a few noteworthy exceptions: requiring a license to possess a gun and bans on
        purchases of guns by alcoholics appear to reduce rates of both homicide and robbery. Weaker
        evidence suggests that bans on gun purchases by criminals and on possession by mentally ill persons
        may reduce assault rates, and that bans on gun purchase by criminals may also reduce robbery rates.

        Keywords
        gun control, violence, gun ownership


        The United States has higher rates of violent crime, both fatal and nonfatal, than all but a handful of
        the industrialized nations of the world (Killias, van Kesteren, & Rindlisbacher, 2001). Many of these
        crimes are committed by offenders armed with guns. In 2014, 67.9% of homicides, 40.3% of
        robberies, and 22.5% of aggravated assaults known to police were committed by criminals with
        guns (U.S. Federal Bureau of Investigation [FBI], 2015). The United States also has a higher rate of
        private gun ownership than any other industrialized nation (Killias et al., 2001). This combination of
        facts has led many to conclude that America’s high rate of gun ownership must be at least partially
        responsible for the nation’s high rates of violence, or at least its high rate of homicide. This in turn
        has led many to conclude that stricter gun laws can reduce violent crime, especially the homicide
        rate (e.g., Cook & Ludwig, 2000).


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        Theory
        Why should gun levels influence rates of crime or violence? And if gun levels do have effects, how
        might gun control laws decrease crime rates? If a gun is available to a prospective aggressor, it can
        encourage attacks, especially by weaker attackers on stronger or more numerous victims, and can
        facilitate attacks from a distance or attacks by persons too squeamish to attack with messier weapons
        like knives or too timid to attack at close quarters. Similarly, guns may enable some people to
        attempt robberies they could not complete unarmed (Cook, 1976; Kleck, 1997, pp. 215–240; New-
        ton & Zimring, 1969). The sight of a gun also might trigger attacks by angered persons, due to the
        learned association between guns and violence. On the other hand, research on real-world crime
        incidents indicates that aggressor possession of guns is generally associated with a lower likelihood
        of attack and injury to the victim (Kleck & McElrath, 1991). Once an injury is inflicted, however, it
        is more likely to result in death if a gun was used, due to the weapon’s greater lethality (Block, 1977;
        Kleck & McElrath, 1991; Newton & Zimring, 1969). Part of the higher fatality rates of gun attacks,
        however, is probably due to greater deadliness of intent among attackers using guns, rather than just
        the deadliness of the weapon itself (Cook, 1982, pp. 247–248; Wright, Rossi, & Daly, 1983, pp. 189–
        212).
           Gun control laws, in turn, are intended to reduce crime and violence rates by restricting the
        availability of firearms among persons believed to be at higher risk of committing acts of violence.
        Although some laws hypothetically might do this by reducing gun levels in the general population,
        neither the federal government nor any state has ever banned the ownership of guns or even any large
        subset of guns, such as handguns. Further, prior research indicates that existing laws have no
        measurable effect on overall gun ownership levels in the population as a whole (Kleck & Patterson,
        1993). Instead, gun laws are intended to block acquisition, possession, and criminal use of guns by
        members of high-risk subsets of the population, such as convicted criminals, mentally ill persons,
        alcoholics, or drug addicts.
           Further, some gun laws are designed to reduce violence in ways that do not require reducing gun
        ownership in any subset of the population. For example, some controls aim to reduce unlicensed
        carrying of concealed guns through public spaces, reducing gun possession in situations likely to
        erupt in violence. Other controls try to deter criminal use of firearms by imposing enhanced (add-on)
        penalties for gun use in crimes, above and beyond the baseline penalties provided for the underlying
        crimes.
           On the other hand, critics argue that gun control laws could increase crime, by disarming pro-
        spective victims, reducing their ability to effectively defend themselves, and possibly reducing any
        deterrent effect that victim gun possession might have on offenders (Kovandzic & Marvell, 2003;
        Lott & Mustard, 1997; Moody & Marvell, 2005). This could happen even with laws narrowly aimed
        at disarming subsets of the population at high risk of offending, since such groups are also at high
        risk of victimization (Kleck, 1997, Chapter 5; Tark & Kleck, 2004). For example, few mentally ill
        people commit violent acts, but they are at higher risk of victimization (Friedman, 2006), so banning
        sales of guns to this group could reduce defensive and deterrent effects of their gun ownership more
        than it reduced its violence-elevating effects. If this happened, the net effect on violence rates could
        be positive.
           The purpose of the present study is to provide a methodologically sound evaluation of the impact
        of gun control laws on violent crime rates.


        Prior Research on the Impact of Gun Control Laws on Crime
        There are many macro-level studies of the impact of gun control laws on violent crime rates. Most
        report no significant negative association between violent crime rates and the gun control law under


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        study (see reviews by National Research Council, 2004; Hahn et al., 2005; Kleck, 2013), though a
        few (e.g., Koper & Roth, 2001; Loftin, McDowall, Wiersema, & Cottey, 1991) find evidence of
        crime-reducing effects of some gun control laws. Regardless of their findings, all these studies can
        be criticized on methodological grounds. The central problems have been (1) the failure of analysts
        to properly account for other factors that affect violence (omitted variable bias), (2) studying
        heterogeneous states rather than more homogenous cities or counties, (3) a failure to control for
        gun ownership levels, (4) a failure to take account of local gun ordinances, (5) the use of unreliable
        secondary sources of information on gun laws, (6) the use of uninformative ‘‘gun control strictness’’
        indexes that lump together heterogeneous mixtures of gun laws, and (7) the opposite problem of
        studying a single arbitrarily chosen instance of a given type of gun control, which precludes general-
        ization of findings and risks confusing the effects of a gun law with the effects of other crime-control
        measures likely to accompany it.
           One research design commonly used to assess the impact of gun control laws on violence rates
        has been the interrupted time-series design (ITSD). In the typical ITSD study, monthly violence
        rates for a single jurisdiction are analyzed to see if there is a significant downward shift in violent
        crime rates around the time a new gun law went into effect. The ITSD design requires that the
        researcher convincingly rule out changes in other crime-related factors (other than the legal change
        under study) as alternative explanations for observed shifts in crime trends (Campbell & Stanley,
        1963). This problem is especially acute in time-series studies of gun laws due to the fact that state
        legislatures are almost continuously making large numbers of changes in the criminal law, often for
        the express purpose of reducing crime. For example, over the period 1973–1992, the Florida
        legislature passed an annual average of 381 general bills (this total excludes resolutions), including
        an average of 2.45 gun control bills per year (Etten, 2002). Almost every enactment of a new gun law
        is accompanied by dozens or hundreds of other changes in criminal law passed during the same
        legislative session, making it virtually impossible to separate the effects of one new law from those
        of others, enacted at the same time, and also intended to reduce crime. Since the ITSD approach is
        univariate, it cannot explicitly rule out any specific changes that might account for observed shifts in
        violent crime rates.


        Panel/Multiple Time-Series Designs
        After 1997, ITSDs of individual laws in single jurisdictions were largely replaced by panel designs
        in which violent crime rates in large numbers of areas with and without the law under study were
        tracked over time. For example, at least two dozen panel studies have assessed the impact of ‘‘right
        to carry’’ (RTC) laws, using a county-level panel data set first compiled by Lott and Mustard (1997).
        They are a highly overlapping set of analyses of the same fatally flawed body of data (see
        Kovandzic, Marvell, & Vieraitis, 2005, pp. 294–302, for a summary; the review by Moody &
        Marvell, 2008).1 The results of both the original Lott–Mustard study and two dozen reanalyzes of
        their data set are all essentially uninterpretable because they are, regardless of methodological
        variations, based on analyses of a meaningless set of county-level ‘‘crime rates.’’ Better empirical
        evidence on the impact of these laws was provided by researchers who gathered their own crime data
        rather than merely reanalyzing the flawed Lott–Mustard county data set. The best evidence was
        produced by Kovandzic, Marvell, and Vieraitis (2005), whose panel data set pertained to 189 large
        cities (covering the period 1980–2000) using city-level crime data that did not have the problems
        associated with the attempt to aggregate crime counts of multiple local jurisdictions to create county
        violent crime rates. They found that RTC laws have no measurable effect on violent crime rates.
        Kovandzic and Marvell (2003) likewise found no impact of RTC laws on violence levels when using
        more complete county-level crime data for Florida counties and a more refined measure of the laws’
        ‘‘treatment’’ effects—the number of valid concealed carry permits in each county in each year.


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            Panel studies (also referred to as multiple time-series studies) were a substantial improvement
        over ITSD studies because they exploit evidence concerning numerous instances of new gun laws in
        multiple jurisdictions, but they also suffer, albeit it to a lesser degree, from potential bias due to
        omitted variables. The omitted variable bias problem occurs here because analysts fail to or are
        unable to control for more than a few genuinely crime-related, time-varying factors (including other
        gun laws) that affect violence rates.
            It is important to note that the issue here is the lack of needed controls for time-varying factors
        likely to influence violent crime rates (such as the passage of other gun laws), because the typical
        panel study uses a ‘‘fixed effects model’’ that is based solely on the cross-temporal relationship
        between the gun law under study and violence rates. Panel studies typically include dummy vari-
        ables that represent each year and each state, in an attempt to indirectly control for the effects of
        variables that differ across years and states, but that are not explicitly measured—these are called
        ‘‘fixed effects’’ variables. There is a common misperception among some scholars that the inclusion
        of these fixed effects variables minimizes the need to explicitly control for potential confounding
        time-varying factors. Although fixed effects help in creating ceteris paribus conditions by capturing
        all unobserved, time-invariant factors that affect violent crime rates and are correlated with the
        policy variable under study, they can still produce inaccurate estimates of the effect of the policy
        variable if other omitted variables are correlated with changes in the policy variable (Wooldridge,
        2000).
            How consequential can omitted variable bias be in panel studies with respect to conclusions about
        the effect of gun laws on violence rates? A recent state panel study of 13 gun laws enacted between
        1977 and 2000 by Moody and Marvell (2006) found that researchers analyzing any of the laws in
        isolation would have got their conclusions wrong for 5 of the 13 laws (see their table 7).
            Pioneers in the use of panel data for crime policy studies, Moody and Marvell conclude that
        ‘‘policy analysts must be careful to properly identify the coefficients in any policy analysis equation
        and to avoid omitted variable bias due to omitting other relevant laws which can lead to spurious
        results’’ (p. 14). Lott and Mustard (1997, p. 38) controlled for just two other types of gun laws in
        their assessment of ‘‘shall issue’’ carry laws, whereas Ludwig and Cook (2000) controlled for none
        in their evaluation of the federal Brady law. In contrast, Kleck and Patterson (1993, pp. 259–260)
        controlled for up to 19 types of gun laws in their cross-sectional (CX) analysis of gun laws.
            Given the importance of controlling for potential confounding time-varying factors, why have
        researchers chosen to include so few in their violence models? The answer is quite simple—the data
        simply do not exist or would be difficult to collect. For example, the U.S. Census Bureau and other
        federal/state government agencies only compute intercensal estimates for a handful of potential
        crime-related variables (e.g., poverty), and even those estimates are only available for larger areas
        such as states.
            The problem with using larger aggregates such as states as a unit of analysis in a study of gun laws
        is that states are more heterogeneous than cities and counties, which aggravates the problem of
        aggregation bias. For example, a state as a whole might be high on both gun ownership and violence
        rates, even though the parts of the state that have high gun ownership have low violence rates.
        Unwary analysts who used state-level data might only find that states with more guns had more
        violence, failing to realize the specific places with higher gun ownership were not the places with
        higher violence rates.
            Further, the use of state-level data can lead to mismeasurement of the strictness of gun controls to
        which residents of a given city are subject, as it precludes taking into account local gun control laws,
        the most restrictive in the nation. Thus, cities or counties are better units of analysis for a study of
        gun laws, both because they are more homogenous and because they allow analysts to control for
        both local and state gun controls. Unfortunately, if one wanted to do any kind of longitudinal
        research, such as a panel study, and needed to gather data describing cities or counties in the years


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        between censuses (e.g., 1994, 1995, etc.), one would find that intercensal data on crime-related
        variables for cities or counties are virtually nonexistent.


        CX Designs
        CX designs compare legal jurisdictions, such as states, with each other to see if those with a gun law
        have lower levels of violence, other things being equal, than those lacking the law. CX designs are
        often judged by scholars to be weaker than panel designs because it is inherently harder for
        researchers to establish ceteris paribus conditions with a CX design. If, for example, there are factors
        unobserved by the researcher that affect violent crime rates and are likely to be correlated with the
        gun law under study, then one is likely to get a biased estimate of the causal effect of the gun law on
        crime. The solution is for the analyst to control as many potentially confounding factors as possible
        before attributing crime reduction effects to gun regulation. Of course, it is not possible to literally
        hold all else equal because there is no way to know exactly which variables might generate spurious
        associations or suppress or distort genuine causal effects. Thus, the most sensible procedure is to
        control for as many relevant factors as available data allow. Unlike ITSD or panel studies, however,
        CX studies can take advantage of the very large volume of data that is available in census years for
        cities, counties, or states on possible determinants of violent crime rates.
            Likewise, in CX studies, it is easier for researchers to control for other types of gun laws by using,
        for example, the Bureau of Alcohol, Tobacco, and Firearms (BATF) report on state and local firearm
        ordinances. Controlling for the presence or absence of other preexisting gun laws is especially
        important for CX studies because it is likely that places whose residents favor one type of gun
        control are likely to favor others as well. Thus, failing to control for existing gun laws could lead to
        ordinary least squares (OLS) estimates for gun laws under study being biased in the negative
        direction (i.e., implying more of a crime-reducing effect) due to the omission of other gun laws
        and lead one to conclude that certain gun laws are effective when it is actually other gun laws that
        reduce violence.
            Panel designs are generally preferred to CX designs for purposes of establishing ceteris paribus
        conditions, but unfortunately panel approaches are simply not feasible in some situations, and this
        happens to be one of them. This is because (1) it is essential to control for gun ownership levels to
        avoid biasing gun control law coefficients in a negative direction, but (2) there are no known valid
        indicators of cross-temporal variation in gun levels, making it impossible to control for gun levels in
        any kind of cross-temporal analysis (Kleck, 2004). The spurious association problem derives from
        the simple political fact that larger numbers of gun-owning voters in high gun ownership areas make
        it politically more risky for legislators to vote in favor of additional gun control measures. Thus,
        although higher gun ownership might contribute to higher violence rates, it also reduces the like-
        lihood that a given area will have any given gun control law. If gun ownership increases violence but
        reduces the strictness of gun control, it will generate a spurious negative association between gun
        laws and violence rates, giving an erroneous impression that weaker gun laws caused higher vio-
        lence rates, when in fact it was the higher gun levels that caused the higher violence rates. Conse-
        quently, any analysis of gun law impact that fails to control for gun ownership levels will yield
        misleading results.
            It is, however, currently impossible to control for changes over time in gun levels because there
        are no valid measures of such changes. Even proxy measures that are excellent indicators of cross-
        area variation in gun levels, such as the percentage of suicides that are committed with guns (PSG),
        show no validity for measuring changes over time (Kleck, 2004, pp. 19–25). Although a few scholars
        have claimed that their validity checks indicated validity of PSG for use in panel studies (Cook &
        Ludwig, 2003; Duggan, 2001, p. 1093; Moody & Marvell, 2005), in fact the associations they
        observed between PSG and direct survey measures of gun ownership (used as criterion measures)


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        were almost entirely attributable to cross-area covariation (Kovandzic, Schaffer, & Kleck, 2013). As
        we demonstrate later, there is virtually no correlation over time between PSG and direct survey
        measures of gun prevalence.
           We believe CX data can also be used to approximate ceteris paribus conditions, given the
        immense amount of macro-level data available to researchers for census years. In fact, one might
        argue that in the context of policy studies of violent crime that CX data might actually be preferred to
        panel data sets as few macro-level determinants of violent crime are measured at regular intervals
        between census years, making it difficult for panel researchers to rule out omitted variables bias. In
        the next section, we discuss the inability to control for perhaps the most important time-varying
        factor related to the passage of gun laws, gun ownership levels.


        The Need to Control for Gun Ownership Levels
        Low or declining gun ownership may be part of what makes it politically feasible to pass new
        restrictions on guns, but declines in gun levels could also independently reduce violence rates, even
        if gun laws had no effect of their own on either gun levels or crime. Likewise, in CX analyses, the
        strictness of gun controls is likely to be negatively correlated with gun ownership levels for the
        aforementioned political reasons. In our sample of over a thousand U.S. cities, a principle compo-
        nents factor of gun laws was correlated .52 with our measure of gun ownership—that is, where gun
        ownership was higher in the general population, gun control was weaker. One of the main arguments
        for gun control is that gun levels, at least within some high-risk subsets of the population, affect at
        least some kinds of violent crime. If this were not true, it would be harder to argue that laws
        restricting guns could affect violence rates. On the other hand, if gun levels do affect crime, and
        also affect whether gun controls are implemented, then gun ownership levels are an important
        confounding factor, which must be controlled to avoid spurious negative associations between gun
        law variables and violence rates. It should be stressed that virtually all gun control laws in the United
        States are not designed to have their effects by reducing the level of gun ownership in the general
        population. Confirming this, past research indicates that gun laws in fact do not affect gun ownership
        levels in the general population (Kleck & Patterson, 1993). Rather, gun control laws are intended to
        reduce violence either by reducing gun levels within small high-risk subsets of the population or by
        other means that do not entail reducing gun levels within any part of the population, such as
        discouraging the unlicensed carrying of guns in public places or their use in crimes. Thus, gun laws
        do not have their effects on violence by reducing gun levels in the general public; indeed, it is
        unlikely that it would be politically feasible in America to pass any gun control measures that were
        likely to significantly reduce gun ownership among the noncriminal majority.
            Consequently, general gun levels do not mediate the relationship between gun laws and violence
        rates. Therefore, we do not include gun ownership levels in our models for the purpose of testing for
        their indirect effects of gun laws on violence via their effects on general gun ownership levels. The
        measure of gun levels that we use, the PSG, is a measure of gun prevalence in the general population
        and has been validated against estimates drawn from surveys of the general population. Instead, we
        control for general gun levels because the gun ownership level of the general population is a
        confounding factor that may affect violence rates but is also likely to influence the degree of gun
        control strictness in a given jurisdiction, thereby generating a spurious negative association between
        gun laws and violence rates.
            An evaluation of the validity of 21 previously used proxies for gun levels shows that although
        some are valid for purposes of CX comparisons, none show even minimal evidence of validity as a
        cross-temporal proxies for gun ownership. The CX correlation between the PSG and General Social
        Survey measures of household gun prevalence at the state-level was .92, whereas the correlation was
        .95 with similar CX survey estimates for nations. On the other hand, when evaluated for the United


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        States across years, the correlations for this proxy were exactly .00 with the survey-measured
        prevalence of handgun ownership, and actually negative with survey-based measures of ownership
        of all guns (Kleck, 2004).
           Some authors have nevertheless insisted that PSG is valid for intertemporal purposes, based on
        the fact that PSG is correlated with General Social Surveys (GSS) gun prevalence estimates in their
        panel analyses (Cook & Ludwig, 2000; Moody & Marvell, 2005). What these authors all failed to
        note was that this correlation is driven entirely by the CX correlation between PSG and the GSS gun
        measures. The cross-temporal correlations are negligible (Kovandzic et al., 2013). Thus, these tests
        actually indicated that PSG has no validity for measuring changes in gun levels.
           The exact same problems afflict the effort of Duggan (2001) to establish that the rate of sub-
        scriptions to Guns & Ammo magazine (GAR) is a valid proxy for changes in gun levels. As shown in
        Kovandzic, Schaffer, and Kleck (2013), the association he documented between state-level survey
        estimates of household gun prevalence and GAR was entirely attributable to CX covariation. Across
        years, there is no significant correlation between GAR and the survey-based criterion measure (R2 ¼
        .002).
           Because there are no known valid cross-temporal proxies for gun ownership available, it is, at
        present, impossible to control for gun levels using any kind of longitudinal design, including the
        otherwise preferable panel design. In the absence of valid time-series proxies for gun levels,
        researchers who want to isolate the effect of gun laws from the effects of gun ownership levels
        presently have no choice but to rely on CX data. For this and other reasons already discussed above,
        we use a CX approach in this article.



        Method
        Our study assesses the impact of gun control laws on violent crime rates using CX data from all
        U.S. cities with a 1990 population of 25,000 or more (n ¼ 1,078). These cities accounted for
        roughly three quarters of the violent crime in the United States in 1990 (U.S. FBI, 1991, pp. 150–
        151). We use data for 1990 rather than 2000 or 2010 because the city-level suicide data needed to
        measure the proxy for gun levels were no longer publicly available and there are no feasible and
        valid alternative measures of gun levels (Kleck, 2004). We are not aware of any evidence that the
        effects of gun laws of the type that were present in 1990 would have different effects in other time
        periods, and it has been empirically demonstrated that the effect of gun prevalence on violence has
        not changed over time (Kovandzic et al., 2013, pp. 528–539). We cannot, of course, say anything
        about types of gun control that did not exist circa 1990, but note that newer measures have
        generally been weak controls, due to the unfavorable political climate for passing stronger controls
        in recent years, and that research has generally found no impact on crime rates for these measures,
        such as child access protection laws and one-gun-a-month laws (Kleck, 2013, pp. 1405–1406,
        1409–1410).
           We use a double-log model in which both dependent and independent variables (except for gun
        law dummy variables) are expressed in their natural logs.2 Because the dependent variables are
        logged, the coefficients for the gun law dummy variables can be interpreted as elasticities. The
        coefficient, when multiplied by 100, is the percentage difference in rates of violent crime in cities
        with a particular gun law versus those without the law, holding all other factors fixed. Thus, a
        coefficient of .16 for a particular type of gun law in a robbery analysis means that cities with the
        gun law in effect have 16% lower robbery rates that cities without the law. Heteroscedasticity was
        detected using the Pagan–Hall (Pagan & Hall, 1983) statistic and was handled by using the Huber–
        White robust estimator of standard errors, which is valid in the presence of heteroscedasticity of
        unknown form (Wooldridge, 2006).


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        Violent Crime Rate Variables
        The dependent variables are the rates per 100,000 population of total homicide, gun homicide,
        nongun homicide, total robbery, and total aggravated assaults.3,4 Data on the total number of
        homicides, robberies, and aggravated assaults for each city were taken from the FBI Uniform Crime
        Reports (UCR) for 1989 to 1991 (U.S. Federal Bureau of Identification 1990–1992). Gun and
        nongun homicide data were taken from the FBI Supplementary Homicide Reports (SHR) computer
        data set (Fox, 2001; see Note 4). To estimate the number of gun homicides for each city in each year,
        we multiplied the total number of homicides in the published UCR reports for that year by the ratio
        of the number of SHR-recorded gun homicides to the total number of SHR-recorded homicides for
        the corresponding year. Nongun homicides were estimated using the same procedure.
           Following convention for CX studies, violence rates were averaged over 3 years, 1989–1991, to
        reduce the influence of random year-to-year aberrations. For cities missing crime count data for a
        given year, we estimated missing values by computing the average crime rate for that year in cities in
        the same census region and same population group (e.g., 25,000–99,999), among cities with valid
        crime data.


        Gun Law Variables
        Cities were coded for the presence of 19 major forms of gun control restrictions that were in
        existence as of 1989 at either the state or city level. Descriptions of the laws, variable names, means,
        and standard deviations are provided in Table 1. Gun law coding for most laws was based on State
        Laws and Published Ordinances—Firearms—1989, an authoritative and comprehensive verbatim
        collection of state statutes and local ordinances compiled by the U.S. BATF (1989).
           The coding for most gun laws was 1 if the law was present at either the state or city level,
        regardless of whether the law applied to all types of guns or, as was often the case, only to handguns,
        and 0 if it was absent. Most of the gun laws fall into one of the six categories: (1) bans on gun
        possession by members of ‘‘high-risk’’ groups such as criminals and minors, (2) restrictions on sale/
        transfer/purchase of guns to or by members of these groups, (3) restrictions on the carrying of guns in
        public places, (4) laws requiring the licensing of gun owners or registration of guns in order for a gun
        to be legally owned or possessed, (5) restrictions or bans on special gun types such as handguns, and
        (6) laws requiring a state or local license to be in the business of selling guns, in addition to the
        license required by the federal government.5 Gun laws that were too minor or technical to be likely
        to have any detectable effect on violence rates were not coded, nor were laws that were either
        universal (or nearly so) across states (e.g., federal laws or bans on machinegun possession) or that
        were unique to a single jurisdiction. In either of the latter two situations, there was too little variation
        across cities to reliably detect effects of the laws. The complete gun law coding protocol may be
        obtained from the senior author.
           These state and local laws do not merely duplicate or overlap similar controls at the federal law.
        The scope of state controls is often considerably broader than seemingly similar federal controls. For
        example, a state ban on acquisition or possession of guns by convicted criminal may apply to certain
        misdemeanants as well as felons, whereas the federal ban generally applies only to felons. Likewise,
        some state restrictions on juvenile acquisition or possession of long guns apply to 18- to 20-year-olds
        as well as those under 18, while federal law prohibits acquisition only by those under 18. Further,
        state and local capacity to effectively administer their controls is often considerably greater than that
        of the federal government. Even after the Brady Act was passed in 1994 (after our study period),
        background checks in connection with the federal Brady law could not make any significant use of
        records concerning mental illness—in 2005, over 4.9 million people applied to buy a gun from a
        federally licensed dealer, 66,705 were rejected via an FBI records check, but only one half of 1% of


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                                                           Exhibit 3
                                                             0030
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        Table 1. Variables Used in the Analysis and Descriptive Statistics.a

        Variables                                                                                                 Mean       SD      Sourceb

        Crime rates (1989–1991 average, rates per 100,000 residents)
          CRMUR, total homicides                                                                                   8.02 10.30           A
          CRGUNMR, gun homicides                                                                                   4.80   7.64          B
          CRNGUNMR, nongun homicides                                                                               3.19   3.31          B
          CRROB, total robberies                                                                                 242.85 282.17          A
          CRASLT, total aggravated assaults                                                                      454.61 405.73          A
        Gun ownership proxy
          PSG, % of suicides with guns, 1987–1993, county                                                          55.67    12.96      C
        Excluded instrumental variables (used to instrument for gun ownership)
          PCTREP92, % vote cast for Republican presidential candidate, 1992, County                               36.87    7.87        D
          VIETNAM, Vietnam veterans per 100,000 population, county                                               3,343.2 889.91        D
        Gun law variables
          Bans on Possession of guns
             CRIMPOS, prohibit possession, criminals                                                                0.80      0.40      E
             MINORPOS, prohibit possession, minors                                                                  0.50      0.50      E
             DRUGPOS, prohibit possession, drug addicts                                                             0.66      0.47      E
             ALCPOS, prohibit possession, alcoholics                                                                0.51      0.50      E
             MENTPOS, prohibit possession, mentally ill                                                             0.63      0.48      E
          Restrictions on transfer of guns
             CRIMBUY, ban on gun purchase by criminals                                                              0.78      0.42      E
             MINORBUY, ban on gun purchase by minors                                                                0.95      0.22      E
             DRUGBUY, ban on gun purchase by drug addicts                                                           0.74      0.44      E
             ALCBUY, ban on gun purchase by alcoholics                                                              0.61      0.48      E
             MENTBUY, ban on gun purchase by mentally ill                                                           0.71      0.46      E
             BYPERMIT, permit required to purchase gun                                                              0.19      0.39      E
             BYAPLIC, application required to purchase gun                                                          0.42      0.49      E
             WAITPERH, waiting period to receive handgun                                                            0.50      0.50      E
             REGISTER, transfer/sale of guns must be registered with a governmental agency                          0.43      0.50      E
             CARYHIDN, concealed carrying of loaded handgun prohibited or permit                                    0.82      0.39      F
               hard to get
          Restrictions on ownership/home possession
             LICENSE, license required to possess gun in home                                                       0.13      0.34      E
          Restrictions on special gun types
             HGBYBAN, handgun sales ban                                                                             0.00      0.06      E
             SNSBAN, ban on sale of cheap handguns                                                                  0.12      0.32      E
          Regulation of dealing in firearms                                                                                             E
             DEALER, state or city license required for gun dealers                                                 0.53      0.50      E
        Control variables
             PCTBLACK, % resident population Black                                                                11.66 15.60          D
             LIVLONE, % persons living alone                                                                      25.92     6.77       D
             PCTHISP, % resident pop. Hispanic origin                                                             10.59 15.55          D
             DENSITY, persons per square mile                                                                    3,783.2 3,440.8       D
             PCTDIV, % resident population 15 and older divorced                                                    9.23    2.27       D
             PCT18T24, % resident population age 18–24                                                            12.32     6.60       D
             PCT25T34, % resident population age 25–34                                                            18.12     2.91       D
             PCTPOOR, % resident population < poverty line, 1989                                                  13.21     8.14       D
             OWNEROCC, % housing units owner occupied                                                             58.23 12.79          D
             PCTVACAT, % housing units vacant                                                                       7.16    3.99       D
             PCTHIGH, % persons 25 and up with high school degree                                                 77.54 10.65          D

        Note. B ¼ Fox (2001); C ¼ U.S. National Center for Health Statistics (1997); D ¼ U.S. Bureau of the Census (1994); E ¼ U.S.
        Bureau of Alcohol, Tobacco, and Firearms (1989); F ¼ Thomas Marvell, personal communication (2001).
        a
         Unless otherwise noted, each variable refers to a city, as of 1990. In variable descriptions, ‘‘county’’ indicates variable refers
        to county in which city is located. bA ¼ U.S. Federal Bureau of Investigation (1990–1992).

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        these FBI rejections were for reasons of mental illness. In contrast, some states like Illinois have
        registries of all persons admitted to psychiatric hospitals in the state, while local enforcement
        agencies have access to local mental health sources. Consequently, much higher shares of the
        rejections by state and local agencies were for reasons of mental illness (Bordua, Lizotte, & Kleck,
        1979; U.S. Bureau of Justice Statistics, 2006, pp. 2, 5). Likewise, the requirements for state and local
        dealer licenses are stricter than those imposed by the federal government for issuance of its license.
        For example, although many states and localities required a criminal background check to become a
        licensed gun dealer, the federal government, as of 1989, did not do so (U.S. BATF, 1989).


        Gun Ownership Levels
        Gun levels were measured using the PSG, which research has shown to be the best proxy to use in
        CX research (Kleck, 2004). This measure has a near-perfect correlation with direct survey measures
        of household gun prevalence, that is, the percentage of households with one or more guns, so we
        interpret our measure of gun levels as a measure of household gun prevalence. Vital statistics data
        for 1987–1993 do not identify locations of deaths for cities with populations smaller than 100,000,
        so it was not possible to compute city-level measures of PSG for most of our cities. Therefore, we
        used PSG for the county in which the city was located as a proxy for city-level gun availability.
        Some of the smaller counties had few suicides per year, so misclassification of a few suicides as
        homicides or accidents in small counties could produce substantial measurement error in a single
        year’s count. Therefore, PSG was computed using data covering the 7-year period from 1987 to
        1993, bracketing the census year of 1990. Data were derived from special Part III Mortality Detail
        File computer tapes (not the general public use tapes) made available to the senior author by the
        National Center for Health Statistics (U.S. National Center for Health Statistics, 1997). Unfortu-
        nately, data access restrictions adopted later by the Centers for Disease Control and Prevention made
        it virtually impossible to acquire similar data for the years bracketing 2000 or 2010.


        Control Variables
        In addition to the gun levels measure and gun law dummies, we included 11 city-level control
        variables that prior macro-level crime research have shown to be reliable predictors of crime.
        Decisions as to which control variables were included in the violent crime models were based on
        a review of previous macro-level studies linking violent crime to structural characteristics of macro-
        level units like cities and states. Most of these control variables account for the causal effects
        emphasized by motivational, opportunity, and compositional theories of criminal behavior (see
        Kovandzic, Vieraitis, & Yeisley, 1998; Sampson, 1986; Vieraitis, 2000; the studies reviewed
        therein). Thus for each gun control law, we control for 18 other gun laws and 11 of the most
        important structural covariates of violent crime as determined by theory and prior research.
        Although it is impossible to know for sure if any important time-invariant confounding factors have
        been omitted, we suggest by holding constant 29 potential relevant factors that we can satisfactorily
        test the gun law efficacy hypothesis. Table 1 lists and provides a brief description of each control
        variable along with their means, standard deviations, and data sources.
           Fortunately, correlations between the gun law variables and the control variables were generally
        weak in almost all cases. Of the 209 bivariate correlations between the gun law variables and control
        variables (19 Gun Laws  11 Control Variables), none exceeded .5, and only one reached .4. Thus,
        there was no serious collinearity between gun law variables and control variables. This was con-
        firmed by examination of condition indices and variance-decomposition proportions (Belsley, Kuh,
        & Welsch, 1980).


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                                                          Exhibit 3
                                                            0032
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        Analytic Procedures
        As discussed above, it is important to control for gun levels to isolate the effect of gun laws, but this
        introduces a complication in estimation of the models. There is a strong theoretical basis, and a large
        body of empirical support, for the belief that higher violence rates drive up gun ownership levels, as
        more people acquire guns for self-protection (Bice & Hemley, 2002; Bordua, 1986; Clotfelter, 1981;
        Kleck, 1979, 1984; Kleck & Kovandzic, 2009; Kleck & Patterson, 1993; Kovandzic, Schaffer, &
        Kleck, 2012, 2013; McDowall, 1986; Rosenfeld, Baumer, & Messner, 2007; Southwick, 1997).
        Cities with higher violence rates, therefore, may tend to have higher gun ownership levels, even if
        gun availability reduced or had no effect on violence rates. When explanatory variables such as gun
        ownership are endogenous (affected by other variables in the analysis), the OLS estimator is biased
        and inconsistent (Wooldridge, 2000).
            The most common estimation procedure used to address potential endogeneity bias, and the
        procedure used here, is IVs regression. The key challenge in using IV methods is finding a source
        of identifying variation: here, variables that are correlated with gun ownership (instrument rele-
        vance), that are exogenous with respect to violent crime (i.e., not affected by violent crime—
        ‘‘instrument validity’’), and that a priori reasoning and evidence suggest should be excluded from
        the violent crime equations, that is, do not directly affect violent crime. In the terminology of IV
        estimation, the instruments used for gun levels are ‘‘excluded instruments,’’ and the control variables
        are ‘‘included instruments.’’ If appropriate IVs can be found for gun levels, the method of IVs will
        produce consistent estimates of the effect of gun levels on violent crime (Wooldridge, 2000).
            The excluded IVs used in this article to instrument gun levels are the percentage of the 1992
        Presidential vote for the Republican candidate (PCTREP92) and the 1990 county rate of Vietnam-
        era veterans per 100,000 population (VIETNAM). Both excluded IVs are theoretically important
        determinants of gun ownership that are plausibly otherwise unrelated to levels of violence. VIET-
        NAM serves as a measure of military training or service, while PCTREP92 serves as a measure of
        political conservatism. Prior research suggests both variables are significant predictors of gun
        ownership (Cook & Ludwig, 1997, p. 35; Kleck, 1997, pp. 70–72; Lizotte & Bordua, 1980). In
        contrast to past research, we carried out extensive specification testing to demonstrate that our
        excluded IVs VIETNAM and PCTREP92 are relevant and valid.


        Tests of the Relevance and Validity of the Instruments
        We test for instrument relevance using a heteroscedasticity-robust F-test of the joint significance of
        the excluded instruments VIETNAM and PCTREP92 in an OLS estimation of the first-stage equa-
        tion of gun levels (PSG), and we also examine the significance of VIETNAM and PCTREP92
        separately using conventional t-statistics. Research by Bound, Jaeger, and Baker (1995) and Staiger
        and Stock (1997) indicates that an F-test is useful for examining the explanatory power of the
        excluded IVs, and that F-statistics below 10 indicate weak instruments (Staiger & Stock, 1997, p.
        557). The results of the F-test for VIETNAM and PCTREP92 are reported at the bottom of column 2
        in Table 2. The second column in Table 2 also reports the estimated coefficients of the excluded IVs
        and the remaining exogenous regressors in the first-stage equation of gun levels. The first-stage F-
        statistic reported in column 2 is 38.9, well above the Staiger–Stock rule-of-thumb value of 10. Both
        of the excluded instruments are correlated with gun levels in the expected directions and at the 0.1%
        significance level: cities in counties with a greater proportion of Vietnam veterans and persons
        voting for the Republican candidate in the 1992 Presidential election have higher gun ownership
        levels. We conclude that our excluded instruments in this estimation are relevant and not ‘‘weak.’’
            The second requirement for excluded IVs is that they be uncorrelated with the error process in the
        violent crime equations. Because the violence equations are overidentified, we are able to assess the


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                                                          Exhibit 3
                                                            0033
                                                                            Table 2. The Estimated Impact of Gun Availability and Gun Laws on City-Level Violence Rates: Instrumental Variables Estimates, Gun Ownership Treated as
                                                                            Endogenous.

                                                                            Predictor Variables   First-Stage Regression         IV Estimation: Dependent Variables: Natural Log of the Violent Crime Rate per 100,000 Persons

                                                                                                     Gun Ownership          Total Homicide        Gun Homicide         Nongun Homicide         Total Robbery         Total Assault

                                                                            PSG                            —                 0.57 (1.17)         0.39 (0.72)          0.14 (0.35)           0.92 (1.69)          0.55 (1.10)
                                                                            CRIMINAL                  0.02 (1.25)            0.05 (0.64)         0.06 (0.76)          0.04 (0.66)            0.09 (1.29)          0.10 (1.27)
                                                                            CRIMBUY                  0.08 (3.22)**          0.03 (0.31)         0.15 (1.25)           0.10 (1.08)           0.32 (2.83)**       0.30 (2.54)*
                                                                            MINORPOS                 0.08 (4.20)**          0.06 (0.73)         0.11 (1.25)           0.04 (0.60)           0.04 (0.46)          0.01 (0.06)
                                                                            MINORBUY                  0.02 (0.66)             0.13 (1.25)          0.09 (0.78)           0.15 (1.58)            0.30 (2.61)**       0.09 (0.77)
                                                                            DRUGPOS                  0.19 (5.89)**          0.14 (1.00)         0.11 (0.70)           0.01 (0.08)           0.05 (0.29)         0.11 (0.79)
                                                                            DRUGBUY                   0.27 (9.26)**           0.59 (3.45)**        0.54 (3.00)**         0.29 (2.02)*           0.53 (2.92)**        0.13 (0.73)
                                                                            ALCPOS                    0.17 (5.41)**           0.26 (2.00)*         0.26 (1.86)           0.03 (0.27)            0.16 (1.10)          0.46 (3.46)**
                                                                            ALCBUY                   0.27 (10.11)**         0.61 (3.63)**       0.57 (3.11)**        0.30 (2.13)*          0.56 (3.13)**       0.19 (1.13)
                                                                            MENTALPOS                0.02 (1.26)            0.05 (0.57)         0.06 (0.67)          0.02 (0.34)           0.00 (0.03)         0.19 (2.22)*
                                                                            MENTBUY                   0.02 (0.84)            0.20 (2.04)*        0.11 (1.05)          0.16 (1.90)            0.12 (1.11)          0.20 (2.00)*
                                                                            BYPERMIT                 0.14 (5.86)**          0.15 (1.29)         0.12 (0.95)          0.05 (0.53)           0.19 (1.50)          0.32 (2.48)*
                                                                            BYAPLIC                   0.10 (3.51)**          0.13 (1.17)         0.02 (0.20)          0.24 (2.42)*          0.13 (1.04)          0.15 (1.21)
                                                                            REGISTER                  0.05 (1.96)             0.15 (1.74)          0.12 (1.38)           0.08 (1.11)            0.26 (3.10)**        0.06 (0.70)




  0034
                                                                            WAITPERH                 0.05 (1.59)             0.05 (0.46)          0.07 (0.63)           0.02 (0.21)           0.16 (1.23)          0.13 (1.09)




Exhibit 3
                                                                            CARYHIDN                  0.08 (4.64)**           0.25 (2.91)**        0.23 (2.50)*          0.12 (1.66)           0.02 (0.28)          0.03 (0.38)
                                                                            LICENSE                  0.18 (7.45)**          0.31 (2.25)*        0.34 (2.32)*         0.11 (0.96)           0.52 (3.37)**        0.11 (0.78)
                                                                            HGBYBAN                   0.13 (1.59)             0.52 (1.40)          0.69 (1.43)           0.19 (0.92)            0.54 (3.69)**        0.30 (1.64)
                                                                            SNSBAN                   0.07 (2.21)*            0.03 (0.31)          0.02 (0.15)           0.12 (1.32)            0.01 (0.08)          0.01 (0.05)




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                                                                            DEALER                   0.04 (1.78)             0.24 (3.15)**        0.16 (2.19)*          0.24 (3.64) **         0.24 (3.22)**        0.04 (0.55)
                                                                            PCTBLACK                 0.00 (0.92)             0.25 (14.89)**       0.27 (14.31)**        0.16 (10.51)**         0.38 (21.27)**       0.20 (9.55)**
                                                                            PCTHISP                  0.03 (6.46)**           0.00 (0.13)          0.02 (0.59)           0.02 (0.66)            0.11 (3.72)**        0.13 (4.13)**
                                                                            PCT18T24                  0.02 (0.95)            0.22 (2.19)*        0.12 (1.16)          0.32 (3.41)**         0.16 (1.42)         0.26 (2.52)*
                                                                            PCT25T34                 0.11 (2.98)**          0.13 (0.73)         0.21 (1.18)          0.02 (0.13)           0.34 (1.91)          0.14 (0.82)
                                                                            PCTPOOR                   0.13 (8.44)**           0.35 (3.79)**        0.27 (2.71)**         0.30 (3.73)**          0.20 (1.97)*         0.38 (4.10)**
                                                                            OWNER                     0.10 (2.47)*            0.00 (0.01)          0.05 (0.26)          0.23 (1.53)            0.05 (0.26)          0.03 (0.21)
                                                                            PCTVACAT                  0.02 (1.73)             0.22 (3.43)**        0.11 (1.63)           0.15 (2.67)**          0.02 (0.27)          0.21 (3.01)**
                                                                            LIVLONE                  0.16 (5.70)**          0.31 (2.01)*        0.39 (2.35)*         0.06 (0.41)            0.04 (0.26)         0.04 (0.31)
                                                                            PCTHIGH                   0.03 (0.64)            1.39 (6.83)**       1.31 (6.09)**        0.66 (3.21)**         1.45 (6.42)**       0.84 (3.75)**
                                                                            DENSITY                  0.05 (5.89)**           0.04 (0.77)          0.05 (0.98)          0.00 (0.03)            0.28 (4.40)**        0.07 (1.31)
                                                                                                                                                                                                                         (continued)




                                                                      499
                                                                                                                                                                                                                                       Case 3:19-cv-01226-L-AHG Document 21-15 Filed 11/12/19 PageID.3762 Page 47 of 232
                                                                      500
                                                                            Table 2. (continued)

                                                                            Predictor Variables       First-Stage Regression           IV Estimation: Dependent Variables: Natural Log of the Violent Crime Rate per 100,000 Persons

                                                                                                        Gun Ownership             Total Homicide           Gun Homicide           Nongun Homicide            Total Robbery           Total Assault

                                                                            PCTDIV                         0.13 (4.45)**             0.49 (3.05)**           0.47 (2.92)**            0.25 (1.85)             0.73 (4.31)**           0.15 (1.04)
                                                                            First-stage regression
                                                                               F-statistic                   39.76**
                                                                               VIETNAM                     0.18 (7.62)**
                                                                               PCTREP92                    0.07 (3.02)**




  0035
                                                                            Overidentification test




Exhibit 3
                                                                               J-statistic                        —                w2(1) ¼ 0.02            w2(1) ¼ 0.16             w2(1) ¼ 1.47             w2(1) ¼ 0.32            w2(1) ¼ 0.16
                                                                               p value                                                .88                     .69                      .22                      .57                     .69
                                                                            R2                             .709                     .605                    .840                     .852                     .705                    .550
                                                                            N                             1,078                    1,078                   1,078                    1,078                    1,078                   1,078




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                                                                            Note. Standard errors are computed using Huber–White robust estimate of variance. Robust t-statistics in parentheses. Excluded instruments are VIETNAM and PCTREP92.
                                                                            *Significant at 5%. **Significant at 1%.
                                                                                                                                                                                                                                                     Case 3:19-cv-01226-L-AHG Document 21-15 Filed 11/12/19 PageID.3763 Page 48 of 232
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        validity of the excluded instruments with an overidentification test.6 Although several such tests
        exist, we use the J-statistic of Hansen (1982) because it is robust in the presence of heteroscedas-
        ticity.7 Hansen’s J-statistic tests the null hypothesis that the excluded instruments and/or control
        variables (i.e., included instruments) are exogenous (Baum, Schaffer, & Stillman, 2003). For our IVs
        to be valid, we should fail to reject the null hypothesis. This test is especially valuable because it fails
        to have power only if all excluded IVs are invalid, that is, are not exogenous. As long as even one of
        our excluded instruments is valid, the J-test is effective in detecting the invalidity of the
        instruments.8
            The results of the J-test for each violent crime model are reported at the bottom of Table 2. The J-
        statistics are all both small and statistically insignificant. We therefore cannot reject the null that
        VIETNAM and PCTREP92 and the control variables are exogenous. Thus, the evidence suggests
        that both of our excluded IVs are exogenous and are correctly excluded from the violent crime
        equations. To summarize, VIETNAM and PCTREP92 easily pass the relevance (F-test) and validity
        requirements (J-test) for instruments.
            It might be argued that gun control laws should also be treated as endogenous because the passage
        of laws intended to reduce violent crime is affected by violent crime. That is, coefficients on the gun
        law variables might be biased upwards due to another form of endogeneity bias—simultaneity bias
        attributable to higher violent crime rates leading to passage of gun laws. We consider this to be
        unlikely, for several reasons. First, most major gun laws in effect in 1989 were originally enacted
        decades earlier (compare Newton & Zimring, 1969, appendix G with U.S. Bureau of Justice Sta-
        tistics, 1996), so their enactment could not have been influenced by violent crime rates in 1989–
        1991, or indeed in any recent years. Second, prior research directly testing for an impact of violent
        crime rates on gun control strictness has found no effect (Bruce & Wilcox, 1998).
            The probable source of the belief that crime affects passage of gun laws is the fact that highly
        publicized individual acts of violence, such as mass shootings, sometimes trigger the enactment of
        new gun control laws. Strictly speaking, the effect of news coverage of crime is irrelevant to whether
        crime rates affect the enactment of gun laws unless one assumes a significant correlation between
        crime rates and news coverage of crime. Past research, however, indicates that there is virtually no
        correlation between crime and the amount of news coverage of crime (Dorfman & Schiraldi, 2001;
        Garofalo, 1981; Marsh, 1989). In sum, crime news affects passage of gun laws, but crime rates do
        not.
            Finally, there is little reason to believe that higher violent crime rates increase public support for
        gun control, since survey research shows that public support for gun control is not affected by higher
        crime rates in the area where a person resides, prior victimization, or fear of crime but instead
        derives from more stable cultural determinants not directly related to crime (Kleck, 1996; Kleck &
        Kovandzic, 2009). If higher crime rates do not increase the likelihood that people support more gun
        laws, there is little reason to expect that higher crime rates, in the past or the present, would increase
        the level of gun control strictness (Kleck, 1997; Wright et al., 1983). In sum, there is no sound basis
        for regarding gun control laws as endogenous or influenced by violent crime rates.


        Results
        Effects of Gun Ownership Levels on Crime
        Estimates of the impact of gun ownership levels (as proxied by PSG) on crime can be found in Table
        2, in the first row of each column referring to a crime. For example, the coefficient on PSG in the
        total homicide equation using IV methods is .57 and it is not statistically significant at the 5%
        level. The basic finding in Table 2 is that when gun levels are treated as endogenous and instru-
        mented with VIETNAM and PCTREP92, gun levels show no net significant positive (violence-


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                                                           Exhibit 3
                                                             0036
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        increasing) effect on homicide, robbery, or aggravated assault rates. As discussed in Kovandzic et al.
        2013, this IVs strategy would probably overstate a violence-elevating effects of gun levels on violent
        crime, if there were any. Yet, it still produces estimates suggesting net negative (albeit not signif-
        icant) or null effects. Thus, our findings of a null or negative impact of guns on homicide are
        strengthened because the potential bias in estimation is likely to be positive, which would work
        against our interpretation. The implication is that our coefficient estimate is an upper bound on the
        estimated effect of gun levels on violence rates.
           One problem with using city-level data is that cities in the same state may share unobservable
        characteristics that could lead to intrastate correlation of errors. In such a situation, standard errors
        are underestimated, leading to inflated t-ratios on PSG and the gun law variables. Therefore, we
        reestimated the regressions in Table 3 using robust standard errors corrected for clustering by state
        (which allow for arbitrary within-state correlation), and the t-ratios for PSG and the gun law
        variables became much smaller. Nevertheless, when we reestimated regressions analogous to those
        in Table 2 using the two-step efficient generalized method of moments (GMM) estimator instead of
        the IV estimator, we obtained results similar to those reported in Table 2. The benefit of the GMM
        estimator relative to the traditional IV estimator is that it produces parameter estimates that are both
        consistent and efficient in the presence of heteroscedasticity of unknown form, whereas the IV
        estimator is consistent but inefficient (Wooldridge, 2000). The coefficients obtained for PSG using
        the GMM estimator were as follows (t-ratios in parentheses): .56 (1.16) for total homicide, .42
        (0.79) for gun homicide, .14 (0.33) for nongun homicide, .91 (1.68) for robbery, and .54 (1.09)
        for assault. Thus, the results once again indicate no significant positive (violence-elevating) effect of
        gun ownership on crime rates.
           To summarize, we have strong evidence that higher gun levels do not cause more crime. One
        implication of these findings is that general gun ownership could not mediate the effect of gun
        control laws on crime. Consequently, if gun laws were passed that were intended to reduce violent
        crime by reducing general gun ownership levels, they would be likely to fail because even if they did
        succeed in reducing general gun levels, this would not lead to a reduction in violent crime. Gun
        ownership levels among criminals, however, may have violence-increasing effects that are canceled
        out by violence-decreasing effects of gun ownership among noncriminals. Thus, our results do not
        allow us to rule out the possibility of violence-increasing effects of criminal gun possession.


        Effects of Gun Control Laws on Gun Ownership Levels
        We then estimate a model testing the effects on gun laws on gun ownership levels, as measured by
        PSG. Results of the first-stage estimation for this PSG model are presented in column 2 of Table 2.
        In all, 7 of the 19 gun laws showed an apparent negative effect on gun ownership levels, while 4
        others showed an apparent positive effect. This mix of signs on the coefficients suggest the operation
        of random chance in generating the estimates, in the absence of any compelling reasons to expect
        some gun laws to increase gun ownership and others to reduce it. Significant negative estimates
        should in any case be viewed with caution, as they may reflect negative effects of gun levels on the
        passage of gun control laws, due to the fact that larger numbers of gun-owning voters discourage
        legislators from supporting new gun controls.


        Effects of Gun Control Laws on Violence Rates
        The estimates displayed in Table 2 also indicate that most gun control measures appear to have no
        significant negative direct effect on total (gun plus nongun) violence rates—total homicide, total
        robbery, and total aggravated assault. Indeed, if the statistical results are taken at face value, some
        laws appear to increase violence rates. Of the 57 possible effects examined (19 laws, paired with


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        Table 3. The Estimated Impact of Gun Levels and Gun Laws on City-Level Violence Rates: Ordinary Least
        Squares (OLS) Estimates, Gun Ownership Treated as Exogenous.

                                        OLS Estimation: Dependent Variables: Natural Log of the Violent
        Predictor                                      Crime Rate per 100,000 Persons
        Variables
                          Total Homicide       Gun Homicide               Nongun Homicide                   Total Robbery     Total Assault

        PSG               0.23 (1.77)           0.39 (2.98)**               0.00 (0.00)                    0.06 (0.41)      0.17 (1.15)
        CRIMINAL         0.06 (0.83)          0.07 (0.95)                 0.04 (0.70)                     0.08 (1.12)       0.12 (1.39)
        CRIMBUY           0.03 (0.29)          0.09 (0.82)                  0.11 (1.30)                    0.26 (2.52)*     0.35 (3.13)**
        MINORPOS         0.00 (0.06)          0.05 (0.70)                  0.05 (0.86)                     0.02 (0.31)      0.05 (0.60)
        MINORBUY          0.12 (1.14)           0.08 (0.67)                  0.15 (1.56)                     0.28 (2.43)*     0.07 (0.67)
        DRUGPOS           0.00 (0.04)           0.04 (0.33)                  0.04 (0.35)                     0.11 (0.94)      0.24 (2.22)*
        DRUGBUY           0.38 (3.50)**         0.34 (3.02)**                0.25 (2.55)*                    0.31 (2.64)**     0.31 (2.71)**
        ALCPOS            0.14 (1.36)           0.14 (1.28)                  0.01 (0.08)                     0.02 (0.22)       0.57 (5.43)**
        ALCBUY           0.39 (4.00)**        0.35 (3.36)**               0.26 (2.94)**                  0.32 (3.07)**    0.38 (3.75)**
        MENTALPOS 0.02 (0.20)                 0.03 (0.33)                 0.02 (0.26)                     0.03 (0.40)      0.22 (2.60)**
        MENTBUY          0.23 (2.40)*         0.14 (1.35)                 0.16 (1.99)*                    0.09 (0.83)       0.23 (2.35)*
        BYPERMIT         0.03 (0.29)           0.00 (0.03)                 0.03 (0.38)                    0.05 (0.58)       0.21 (2.14)*
        BYAPLIC          0.20 (1.96)*         0.10 (0.95)                 0.25 (2.66)**                  0.21 (1.86)       0.21 (2.02)*
        REGISTER          0.12 (1.50)           0.10 (1.17)                  0.07 (1.07)                     0.23 (3.00)**     0.08 (1.00)
        WAITPERH          0.10 (0.89)           0.12 (1.07)                  0.03 (0.30)                    0.11 (0.89)       0.09 (0.81)
        CARYHIDN          0.18 (2.54)*          0.17 (2.12)*                 0.11 (1.68)                    0.09 (1.24)       0.09 (1.14)
        LICENSE          0.15 (1.54)          0.18 (1.83)                 0.08 (0.99)                    0.34 (3.34)**    0.04 (0.36)
        HGBYBAN           0.46 (1.36)           0.63 (1.42)                  0.17 (0.91)                     0.48 (3.10)**     0.36 (2.32)*
        SNSBAN             0.08(0.69)           0.06 (0.55)                  0.13 (1.41)                     0.05 (0.50)      0.03 (0.27)
        DEALER            0.26 (3.45)**         0.19 (2.53)*                 0.24 (3.68)**                   0.26 (3.58)**     0.03 (0.33)
        PCTBLACK          0.25 (15.66)**        0.27 (14.93)**               0.16 (10.60)**                  0.39 (22.22)**    0.20 (9.44)**
        PCTHISP           0.04 (1.67)           0.05 (2.07)*                 0.02 (1.16)                     0.15 (6.45)**     0.10 (4.18)**
        PCT18T24         0.25 (2.51)*         0.14 (1.43)                 0.32 (3.49)**                  0.19 (1.71)      0.24 (2.30)*
        PCT25T34         0.05 (0.30)          0.13 (0.79)                 0.01 (0.04)                    0.25 (1.49)       0.07 (0.43)
        PCTPOOR           0.25 (3.71)**         0.17 (2.44)*                 0.28 (4.52)**                   0.09 (1.23)       0.48 (7.01)**
        OWNER            0.08 (0.47)          0.03 (0.17)                 0.25 (1.65)                    0.04 (0.21)       0.10 (0.63)
        PCTVACAT          0.19 (3.12)**         0.08 (1.28)                  0.15 (2.67)**                  0.02 (0.26)       0.24 (3.41)**
        LIVLONE          0.15 (1.25)          0.23 (1.83)                 0.03 (0.25)                     0.21 (1.73)      0.19 (1.65)
        PCTHIGH          1.44 (7.31)**        1.36 (6.61)**               0.67 (3.27)**                  1.51 (6.87)**    0.79 (3.68)**
        DENSITY           0.09 (2.23)*          0.10 (2.47)*                 0.01 (0.24)                     0.34 (7.08)**     0.02 (0.56)
        PCTDIV            0.36 (2.56)*          0.34 (2.48)*                 0.23 (1.91)                     0.59 (3.98)**     0.27 (2.08)*
        Endogeneity test
           C-statistic        2.86                    2.58                          0.09                        2.82              2.29
           p value             .09                     .11                            .76                         .09               .13
        R2                    .619                    .555                           .497                        .716              .562
        N                    1,078                    1,078                         1,078                       1,078             1,078
        Note. Standard errors are computed using Huber–White robust estimate of variance. Robust t-statistics in parentheses.
        *Significant at 5%. **Significant at 1%.


        each of 3 violent crime types), results for 2 effects were strongly supportive of gun control effec-
        tiveness, whereas 5 others were at least weakly supportive. There were 20 gun law coefficients
        significant at the .05 level (counting total homicide results, but not counting those for gun homicide
        and nongun homicide). Given that we had a sample size exceeding a thousand, it is not surprising
        that many associations were statistically significant, as even weak associations can be statistically
        significant when analyzing so large a macro-level sample. The 8 negative coefficients, however,
        were outnumbered by 12 positive ones. There is no clear pattern of these ‘‘effects’’ by either type of


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        gun control or type of violent crime affected. Thus, while it is possible that some gun laws really do
        increase violent crime while others reduce it, some of these significant coefficients may reflect
        nothing more than random chance operating with a large number (57) of hypothesis tests, each of
        them based on a large sample.
           There was nevertheless solid support for two beneficial effects of gun control laws on violent
        crime. First, we found that state laws forbidding the purchase of guns by, or sale of guns to,
        alcoholics or persons under the influence (ALCBUY) reduced homicide. This is a relatively strong
        finding because the law not only showed significant negative effects on total (gun plus nongun)
        homicide but also showed a significant negative effect on gun homicide and a weaker effect on
        nongun homicide.
           Second, the results provide relatively strong evidence that laws requiring a license to possess a
        gun in the home (LICENSE) reduce homicide. This impact may reflect the consequences of more
        extensive state-level background checks conducted in connection with licensing. Like the results for
        laws restricting gun sales to alcoholics, these results showed a strongly supportive pattern of results
        by gun involvement—a significant negative effect on gun homicide, combined with no significant
        effect on nongun homicide.
           Only weaker evidence is available for gun law effects on robbery and assault, since flaws in
        available data made it impossible to reliably compare gun law effects on gun violence with their
        effects on nongun violence (e.g., gun robbery vs. nongun robbery). These weaker findings suggest
        that robbery may be reduced via state bans on purchases of guns by convicted criminals (CRIM-
        BUY), bans on gun purchases by alcoholics (ALCBUY), and requiring a license to possess a gun
        (LICENSE). Confidence is increased in the results concerning the latter two laws because our
        evidence indicated these laws also may reduce gun ownership (some portion of which is ownership
        by criminals) and appear to reduce homicide, suggesting some capacity to deny guns to criminals.
           Two types of gun control laws appear to reduce aggravated assault, though again the findings
        should be viewed as tentative, for the same reasons stated with connection with findings bearing on
        robbery. First, state or local bans on the purchase of guns by criminals (CRIMBUY) may reduce
        aggravated assaults. Second, the results suggest that bans on possession of guns by mentally ill
        persons may reduce aggravated assault. This latter interpretation, however, is questionable in light of
        the finding of a significant positive association between bans on purchase of guns by mentally ill
        persons and aggravated assault. There is no obvious explanation why banning gun purchases by
        mentally ill persons would increase assaults, while banning gun possession by such people would
        decrease them.


        Using a More Limited Set of Gun Laws
        Because we could not know in advance which of the 19 gun law measures affected violent crime, we
        initially specified all 19 gun control variables to be included in each violent crime equation. As
        discussed above, close examination of collinearity diagnostics did not reveal a harmful degree of
        collinearity among the gun law variables. Nevertheless, there is some collinearity among the gun law
        variables that could inflate standard errors somewhat and thereby bias hypothesis tests in favor of the
        null (no effect) hypothesis. Therefore, each violent crime equation was reestimated so as to test the
        effects of just nine stronger gun laws thought to be especially likely to show effects on crime—bans
        on the possession of guns by criminals and minors (CRIMPOS, MINORPOS), bans on sale/transfer
        of guns to criminals and minors (CRIMBUY, MINORBUY), laws requiring a permit and/or license
        to purchase a gun (BYPERMIT, BYAPLIC), laws requiring a license to possess a gun in a home
        (LICENSE), laws controlling the concealed carrying of loaded handguns in public places (CAR-
        YHIDN), and bans on the sale of ‘‘Saturday Night Specials’’ (SNSBAN). We obtained results
        virtually identical to those obtained using the full set of 19 gun law variables except that the


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        coefficient for CRIMBUY was no longer significant and negative in the assault equation. Gun levels
        still showed no positive effect on violence rates (estimates are available from the senior author).


        Using Lagged Violent Crime as a Proxy Variable for Omitted Historical Variables
        As noted above, it is impossible to control for literally all potential confounding factors, even though
        CX data are widely available for a rich variety of variables for census years. Despite our best
        attempts to control for the most likely confounding factors, we cannot rule out the possibility that
        the gun law variables are correlated with one or more omitted variables that affect violent crime
        rates. One way to address potential bias due to omitted historical variables in the context of CX data
        is to control for the value of the dependent variable from a previous time period. As Wooldridge
        (2000) notes

           using a lagged dependent variable in a CX equation increases the data requirements, but it also provides a
           simple way to account for historical factors that cause current differences in the dependent variable that
           are difficult to account for in other ways.’’ (p. 289)

        If, for example, cities with historically high violent crime rates were also more likely to have
        stricter gun laws, we would fail to get an unbiased estimator of the causal effect of gun laws on
        violent crime rates. Therefore, we reestimated the violence equations in Table 2 but also included the
        natural log of the violent crime rate for 1980 as an additional independent variable in an attempt to
        control for city unobservables that affect violent crime and may be correlated with the gun law
        variables. By including the violent crime rate for 1980 in the violence equations, we are examining
        whether cities with similar previous violent crime rates in 1980 and 1990 values for the socio-
        demographic control variables had lower violent crime rates in 1990 due to the presence of any of
        the 19 gun laws studied here. To conserve space, the results of these analyses are not shown but are
        available upon request from the senior author. Not surprisingly, the homicide, robbery, and assault
        rates for 1990 were strongly related to the past violent crime rate. With respect to the gun law
        variables, the results were almost identical to those reported in Table 2. The only exception pertained
        to the robbery equation—the coefficient for the gun law banning the sale of handguns (HGBYBAN)
        was positive but no longer statistically significant. Thus, the evidence does not support the suspicion
        that estimates for the gun law variables were biased upwards due to the omission of historical factors
        responsible for differences in violent crime rates across cities in 1990.


        OLS Estimates With Gun Ownership Treated as Exogenous
        Although prior research indicates that OLS estimates of the effect of gun ownership levels on
        homicide rates are likely to be biased, the possibility that these biases are small or negligible cannot
        be ruled out. If this were indeed the case, then gun ownership could be treated as an exogenous
        regressor, and estimation by OLS would be preferred to IV because it is the more efficient (lower
        variance) estimator. The standard approach to this question is to conduct a test of the endogeneity of
        gun ownership. Such a test relies implicitly on a comparison of an estimation in which gun own-
        ership is treated as exogenous and one in which it is treated as endogenous. For the test to have any
        meaning, it is therefore essential that the OLS estimation be contrasted with a well-specified IV
        estimation, that is, one that uses instruments for gun ownership that are both relevant and valid.
        Testing for the endogeneity of gun ownership by comparing OLS to a misspecified IV estimation
        cannot provide evidence that OLS is acceptable. Having shown that our instruments satisfy the
        requirements of both validity and reliability, we turn to the issue of whether gun ownership (again
        proxied by PSG) is endogenous.


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           We tested for the endogeneity of gun ownership using the C-test, which detects the impact of
        adding a restriction, in this case assuming that violence rates have zero immediate effect on gun
        ownership (thus treating gun levels as exogenous; Baum et al., 2003). The impact should be small if
        both equations (with and without the restriction) are valid. On the other hand, if there is a large
        change in the estimates of parameters, it suggests that the equation with the extra restriction
        (assuming gun ownership to be exogenous) is wrong.
           The results of the C-test for the endogeneity of PSG are presented in the bottom half of Table 3.
        The C-statistic suggests gun ownership may be endogenous in the total homicide and robbery
        equations, although it is only significant at the .10 level. Additionally, the results indicate that
        although gun ownership may also be endogenous to gun homicide and assault, the C-statistic in
        these equations is not significant at conventional significance levels. In light of the mixed C-test
        results, we reestimated the violence rate equations presented in Table 3 but treated gun ownership
        as exogenous to rates of violence and estimated models with OLS. These results are shown in
        Table 3.
           The OLS estimates indicate that gun ownership has a positive association with total homicide that
        is barely significant at the 5% (one-tailed) level (t ¼ 1.77) but is still not significantly related to
        robbery or assault rates. Thus, we have consistent findings regarding robbery and assault—gun
        ownership has no significant positive effect. But we have mildly contradictory findings regarding
        the impact of gun ownership on the homicide rate. The IV results, which are appropriate if homicide
        rates affect gun acquisition, indicate that gun ownership has no significant net effect on homicide
        rates, while the OLS results, which are appropriate only if homicide rates have no effect on gun
        acquisition, indicate a marginally significant positive effect of gun ownership on homicide rates.
           We doubt that gun ownership can be treated as exogenous, given the prior evidence of individual-
        level survey studies indicating that violent crime rates affect gun ownership. These studies are
        critical for breaking the deadlock concerning causal order because they are not subject to the same
        uncertainties concerning exogeneity and model identification that may afflict the numerous
        aggregate-level studies that have found an effect of violent crime rates on gun ownership. The
        survey studies relate the gun ownership of individual persons or households to the violent crime
        rates of the areas in which the individuals reside (Kleck & Kovandzic, 2009). Because it is highly
        unlikely that the gun ownership of any one person or household could materially affect the violent
        crime rates of an entire city or county, it is reasonable to conclude that the violent crime/gun
        ownership relationship in such studies is unidirectional, and that estimates of the effect of crime
        rates on gun ownership are not distorted by two-way causation.
           These studies find that violent crime rates of surrounding areas increase, directly or indirectly, the
        likelihood that a person or household owns a gun (Kleck & Kovandzic, 2009; Lizotte, Bordua, &
        White, 1981, p. 501; Smith & Uchida, 1988). Therefore, we think it is advisable, in macro-level
        studies, to treat gun ownership as endogenous, based on strong and consistent evidence that violent
        crime rates affect levels of gun ownership, especially handgun ownership. Thus, on the basis of prior
        information, the IV estimates of models assuming gun levels to be endogenous should be regarded as
        more reliable than OLS estimates that require the strong assumption that violent crime rates have no
        effect on gun levels.
           When gun levels were treated as exogenous (Table 3), nine effects of gun laws on violence rates
        substantially changed (i.e., coefficients changed from significant to nonsignificant, or the reverse).
        Five changes were in a direction favorable to the hypothesis that gun control either reduces violent
        crime or has no effect: the previously significant positive (counterproductive) effects of bans on gun
        possession among alcoholics (ALCPOS) became nonsignificant, while four previously nonsignifi-
        cant negative effects became significant (BYAPLIC ! HOMICIDE, BYAPLIC ! ROBBERY,
        DRUGPOS ! ASSAULT, ALCBUY ! ASSAULT). The remaining four changes were unfavor-
        able to the gun control efficacy hypothesis: the previously significant negative effect of gun owner


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        licensing became nonsignificant, while three previously nonsignificant positive (counterproductive)
        effects became significant.
            For the rest of the potential effects, resolution of the exogeneity issue turned out not to materially
        affect the results of primary interest, the impact of gun laws on violence rates—the OLS results were
        qualitatively identical to those obtained using IV methods. On net, results were no more supportive
        of gun control than those obtained when gun ownership was treated as endogenous. Considering the
        OLS estimates as a whole, the 10 significant negative associations were counterbalanced by 14
        significant positive coefficients. This pattern suggests, as did the IV results, that if one interprets
        these associations as causal effects, gun control laws are more likely to increase violent crime than to
        decrease it. We also estimated models with gun ownership omitted altogether, and results for gun
        law variables were essentially identical to those produced when gun ownership was included, but as
        an exogenous variable.
            Given the inevitable uncertainties of even the most careful nonexperimental research, it cannot be
        stated with certainty that gun ownership levels have no effect on violent crime rates. If they do not,
        gun ownership is not a confounder that needs to be controlled to isolate the effects of gun laws, but
        one of the most important underlying premises of gun control is undercut. On the other hand, if the
        level of gun ownership does affect violence rates, then it is a confounder that must be controlled if
        estimates of gun control effects are to be given much credence. Our results are therefore stronger
        than those of past research because we could rule out the possibility of a spurious negative associ-
        ation between gun laws and violent crime rates attributable to the negative association of gun control
        strictness with gun ownership levels.


        Discussion and Conclusion
        For the most part, the evidence fails to support the hypothesis that gun control laws reduce violent
        crime. The absence of any apparent impact may be partly because most laws do not disarm signif-
        icant numbers of violence-prone persons in the first place. It is also possible that gun laws have both
        violence-reducing and violence-increasing effects, the latter due to disarming of prospective victims.
        Opposite-sign effects may counterbalance each other, yielding no net effect.
           There were nevertheless some findings that point to possible gun law effects on violent crime
        rates, both desirable and undesirable (summarized in Table 4). Of 57 possible effects of a type of
        gun law on a type of violent crime, 20 were significantly different from zero—8 negative, 12
        positive. Some of these findings may be the product of chance, operating in combination with the
        very large number of tests for effects that were performed, though this would probably produce no
        more than around three coefficients significant at the 5% level (.05  57 ¼ 3). Taken at face value
        as causal effects, these findings indicate that gun control laws are at least as likely to increase
        violent crime as to decrease it, though on net gun control laws as a whole do not affect violent
        crime rates.
           Along with the two strong findings (the effect of bans on purchase by alcoholics and the impact of
        requiring a gun license on homicide rates) and five moderate-to-weak findings supportive of gun
        control efficacy, Table 4 also shows 12 possible positive effects of gun laws on violent crime rates.
        Unlike our tests of violence-reducing effects of gun laws on homicide, no sharp tests of violence-
        increasing effects are possible because reduction of gun levels among prospective victims could
        increase either crime committed with guns or crime committed without guns. Thus, findings point-
        ing to violence-elevating effects are necessarily weaker than findings pointing to violence-reducing
        effects on homicide. If interpreted as causal effects, the positive associations would indicate
        violence-increasing effects of gun control measures, perhaps due to potential victims (many within
        high-risk prohibited groups) being disarmed, making crime less risky for offenders. Among the more
        intriguing apparent counterproductive effects was that of laws restricting the concealed carrying of


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        Table 4. Summary of Effects of Gun Control Laws on Crime Rates.

                                                                                                            Types of Violent Crime
        Type of Gun Control Law                                                                                    Affected

        Violence-reducing effects
          Strongly supported
             Ban on gun purchase by alcoholics                                                              Homicide
             License required to possess gun in home                                                        Homicide
          Moderately supported
             Ban on gun purchase by alcoholics                                                              Robbery
             License required to possess gun in home                                                        Robbery
          Weakly supported
             Ban on gun purchase by criminals                                                               Robbery, assault
             Prohibit possession, mentally ill                                                              Assault
        Violence-increasing effects
        (All weakly supported)
             Ban on gun purchase by minors                                                                  Robbery
             Ban on gun purchase by drug addicts                                                            Homicide, robbery
             Prohibit possession, alcoholics                                                                Homicide, assault
             Ban on gun purchase by mentally ill                                                            Assault
             Permit required to purchase gun                                                                Assault
             Transfer/sale of guns must be registered with a governmental agency                            Robbery
             Concealed carrying of loaded handgun prohibited or permit hard to get                          Homicide
             Handgun sales ban                                                                              Robbery
             State or city license required for gun dealers                                                 Homicide, robbery



        guns on homicide. To the extent that these laws reduce gun carrying by prospective victims more
        than by offenders, the laws could increase violent crime by reducing any deterrent effects generated
        by victim gun carrying. The strongest prior research on this question, however, indicates that
        replacing restrictive carry laws with more lenient ‘‘shall issue’’ licensing has no net impact on
        violent crime rates (Kovandzic et al., 2005). Further, laws reducing the carrying of guns outside
        the home should have their strongest influence on crimes typically committed in nonresidential
        locations, such as robberies, but our results indicated no effect on the robbery rate.
           It is possible that still other laws, implemented since 1989 or not yet implemented, might
        have effects not produced by the older laws. Perhaps gun control strictness has not yet reached
        some unknown threshold level, below which no measurable crime reductions can be achieved.
        The laws enacted since 1989, however, are generally weaker than those passed earlier. The
        single possible exception is the federal Brady Act, but preliminary evaluation indicates that this
        law, at least in the first few years after its passage, was ineffective (Ludwig & Cook, 2000). In
        any case, this sort of speculation is nonfalsifiable, as one could continue to entertain it no
        matter how strict controls became in the future, and no matter how negative the results of
        research continued to be. It is also possible that some laws have effects, but they are too small
        to be statistically detectable using our models and data, even with a sample size exceeding a
        thousand.
           The main policy implication of this research is that the past performance of existing gun laws
        does not justify much optimism that new gun laws will reduce violent crime. Support for even the
        least promising strategy can be sustained by ultimately nonfalsifiable speculations about what might
        be achieved by the next, heretofore untried, variant of the strategy, but this is not a very practical way
        to set priorities for the allocation of limited resources for reducing social problems. This does not
        imply that we should not explore new variants of gun control, but it does imply that such efforts have


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        less a priori potential for measurable impact on crime rates than alternatives such as well-evaluated
        programs to reduce poverty or rehabilitate criminals (Walker, 2011).
            On a more positive note, the minority of gun control measures that show evidence of effective-
        ness share an important element in common—background checks on persons attempting to acquire
        firearms. Both licenses authorizing gun possession and permits for purchasing guns are implemented
        using background checks to screen out persons in prohibited categories, such as criminals, alco-
        holics, and mentally ill persons. Likewise, bans on gun purchases by criminals or alcoholics are little
        more than hollow recommendations if not backed up by a system for identifying whether persons fall
        into these prohibited categories. Currently, persons attempting to acquire guns from licensed gun
        dealers are required to pass a background check under federal law, but those trying to get guns from
        private (nondealer) sources are not required to do so, under either federal law or the laws of most
        states. Consequently, some reduction in violent crime could be produced by a federal law requiring
        background checks on all persons seeking to obtain a firearm, regardless of the source.

        Declaration of Conflicting Interests
        The author(s) declared no potential conflicts of interest with respect to the research, authorship, and/
        or publication of this article.

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        article.

        Notes
        1. Although Lott and Mustard (1997) represented their key data as county rates of crimes known to the police,
           their data in fact reflected only crimes within subsets of local police jurisdictions within each county that
           reported crime to state UCR agencies—subsets of jurisdictions that frequently changed from year to year.
           Their ‘‘crime rates’’ for a given county changed in this data set merely because different sets of areas
           contributed crime statistics in 1 year compared to the previous year, rather than because rates of crime (or
           even crimes known to police) changed (Maltz & Targonski, 2002; see also Martin and Legault, 2005,
           regarding similar problems in state-level crime data analyzed by Lott and Mustard). It is exactly as if a
           different set of counties were included in each wave of the panel. Lott and Mustard did nothing to correct this
           critical problem, nor did critics who reanalyzed their unmodified data set.
        2. A few low population cities reported zero homicides for the 1989–1991 study period. Because the logarithm
           of zero is undefined, 1 was added to the average annual number of total, gun, and nongun homicides before
           we computed the rates and then took the natural logs of those rates. The procedure was applied to all cities,
           not just those with zero homicides, to maintain relative homicide levels.
        3. We did not study the effects of gun ownership and gun laws on rape rates. Because less than 3% of rapes
           involve offenders armed with guns (U.S. Bureau of Justice Statistics, 2006), it is unlikely that gun ownership
           or gun laws could exert a detectable effect on the rape rate.
        4. It would have been desirable to separately assess rates of all types of violent crime with and without guns, to
           provide sharper tests of the hypotheses that gun levels and gun laws affect violence rates. Unfortunately,
           close examination of UCR data on gun versus nongun varieties of robbery and aggravated assault revealed
           that the data often covered less than 12 months of the year, were often coded incorrectly (e.g., all robberies
           were coded as gun robberies), or there were implausibly large or small numbers of crimes reported as
           involving guns. Consequently, we could reliably distinguish gun and nongun crimes only for homicide,
           by using SHR data.
        5. For the gun carrying law variable (CARYHIDN), 1 indicated that gun carrying was either completely
           unlawful or required a license that was rarely issued, and 0 indicated that either the city was located in a


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                                                             Exhibit 3
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           nondiscretionary ‘‘shall-issue’’ state where authorities were required to issue carry permits to applicants
           meeting certain objective criteria, or no license was required at all to carry guns.
        6. That is, the number of excluded instruments exceeds the number of endogenous regressors.
        7. The J-statistic for the instrumental variable estimator is numerically equivalent to Sargan’s (1958) NR2
           overidentification statistic.
        8. Where the test will lack power is if all the instruments fail the requirement of exogeneity and, in addition,
           they all imply the same bias in the estimate of gun levels.


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             EXHIBIT "4"




                                   Exhibit 4
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        The impact of minimum age and child access prevention laws
        on ﬁrearm-related youth suicides and unintentional deaths
        Mark Gius ∗
        Department of Economics, Quinnipiac University, Hamden, CT 06518, USA




        a r t i c l e        i n f o                        a b s t r a c t

        Article history:                                   The aim of the present study is to quantify the association between child access prevention
        Received 17 July 2014                              (CAP) and minimum age laws and state-level youth ﬁrearm-related suicide and uninten-
        Received in revised form 14 January 2015           tional death rates. This paper differs from prior research in several ways. First, this is one of
        Accepted 14 January 2015
                                                           the few studies to focus exclusively on youth death rates. Second, this study looks at those
        Available online 11 February 2015
                                                           laws with the most impact on youth suicides and unintentional deaths. Finally, this study
                                                           uses one of the largest and most recent data sets of any study on this topic. In order to esti-
        Keywords:
                                                           mate the determinants of youth ﬁrearm deaths, a ﬁxed effects regression model, controlling
        Minimum age handgun laws
                                                           for both state-level and year-speciﬁc effects, is used. Results indicate that state-level mini-
        Child access prevention laws
        Suicides                                           mum age laws have no signiﬁcant effects on either youth suicides or unintentional deaths
        Unintentional deaths                               and that state-level CAP laws have no signiﬁcant effects on unintentional deaths. States
                                                           with CAP laws, however, have lower rates of youth suicide, and, after the enactment of the
                                                           Federal minimum age requirement, both youth suicide and unintentional death rates fell.
                                                           Given the mixed results regarding state-level juvenile ﬁrearm laws, national restrictions
                                                           on juvenile handgun possession may be more effective in reducing both youth suicides and
                                                           unintentional deaths than state-level regulations.
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        1. Introduction                                                                 stricter gun control laws may be at least partly responsible
                                                                                        for these dramatic declines in youth death rates.
           In 1981, the ﬁrearm-related suicide rate for youths (ages                        Two gun control laws that primarily deal with children
        0–19) was 1.69 per 100,000 persons; in 2010, it was 0.9                         are child access prevention (CAP) laws and minimum age
        per 100,000 persons, a decline of over 47%. Even more                           laws. CAP laws impose criminal liabilities on adults who
        dramatic was the decline in ﬁrearm related unintentional                        allow children to have unsupervised access to ﬁrearms.
        deaths (ages 0–19) over the same time period. In 1981,                          One of the primary reasons for implementing CAP laws
        the ﬁrearm-related unintentional death rate was 0.84 per                        is to compel parents or guardians to supervise children’s
        100,000 persons; in 2010, it was 0.16 per 100,000 persons,                      access to ﬁrearms under the belief that it prevents poten-
        a decrease of over 80%. Although a variety of factors, includ-                  tially dangerous situations that may arise when children
        ing more prevalent use of gun locks and gun safes and                           have unsupervised access to guns.
        better counseling services, may explain some of the decline                         Although there is no federal CAP law, many states have
        in ﬁrearm-related deaths among youths, it is possible that                      enacted such laws. According to the Law Center to Prevent
                                                                                        Gun Violence, as of 2010, 16 states have enacted some type
                                                                                        of CAP law. These laws, however, vary widely. Some impose
         ∗ Tel.: +1 203 582 8576; +1 203 582 8664.                                      a criminal liability when an adult does not secure a weapon.
           E-mail addresses: Mark.gius@quinnipiac.edu, gius@sbcglobal.net               Others only prohibit an adult from providing a ﬁrearm to a

        http://dx.doi.org/10.1016/j.soscij.2015.01.003
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                                                                          Exhibit 4
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        child. Many of these laws also have varying deﬁnitions of                30 years of data for all 50 states. Using ﬁxed effects regres-
        what a minor is. In some states, adults only have to secure              sions and controlling for both state-level and year-speciﬁc
        ﬁrearms from children who are at most 14 years of age; for               effects, the results of the present study suggest that state-
        others, the age at which supervision is required is as high              level minimum age laws have no signiﬁcant effect on either
        as 18. Some states require secured access for all types of               youth suicides or unintentional deaths. States with CAP
        ﬁrearms; other states only require it for handguns. Finally,             laws, however, have lower youth suicide rates, but these
        most states have exceptions for hunting, sport shooting,                 laws have no signiﬁcant effect on unintentional deaths.
        and other legitimate purposes. Table 1 presents the status               Finally, after the Federal government imposed minimum
        of CAP laws at the state level for the period 1981–2010.                 age requirements for handgun possession, both youth sui-
            In addition to CAP laws, many states also have laws                  cide rates and unintentional death rates fell. Although state
        requiring minimum ages to possess ﬁrearms, especially                    laws appear mixed in their effects on youth deaths by
        handguns. In some states, the minimum age for posses-                    ﬁrearms, Federal minimum age requirement laws appear
        sion is as old as 21. Some states also have minimum age                  to be effective in reducing both suicides and unintentional
        requirements for possession of long guns (riﬂes and shot-                ﬁrearm related deaths among youths.
        guns); the federal government has no long gun possession
        minimum age requirement. There are, of course, exceptions
        to these laws, including hunting, target practice, and other             2. Literature review
        legitimate activities. Table 2 presents the status of mini-
        mum age laws at the state level for the period 1981–2010.                    As noted earlier, a number of studies examine the issue
        In addition to these state regulations, federal law prohibits            of gun control and its relationship to unintentional deaths
        possession of handguns by any person under the age of 18.                and suicides. Some studies look at the effects of gun control
            There has been much prior research on the effects of gun             laws or gun availability on overall suicide rates (Gius, 2011;
        control or gun availability on unintentional deaths (Lott                Duggan, 2003; Conner & Zhong, 2003; Yang & Lester, 1991;
        & Whitley, 2001; Leenaars & Lester, 1997; Lester, 1993;                  Lester, 1988; Sommers, 1984; Lester & Murrell, 1982).
        Lester & Murrell, 1981) and on suicides (Gius, 2011; Conner              Other studies look at the effects of gun control laws on
        & Zhong, 2003; Marvell, 2001; Ludwig & Cook, 2000;                       overall unintentional ﬁrearm deaths (Leenaars & Lester,
        Cummings, Koepsell, Grossman, Savarino, & Thompson,                      1997; Lester, 1993; Lester & Murrell, 1981). Finally, a lim-
        1997; Carrington & Moyer, 1994; Kellerman et al., 1992;                  ited number of studies look at the effects of gun control
        Yang & Lester, 1991; Lester, 1988; Sommers, 1984; Lester                 laws on youth suicides and unintentional deaths, which
        & Murrell, 1982). The results of these prior studies are                 is the topic of the present study (Lott & Whitley, 2001;
        mixed. Some ﬁnd stricter gun control laws or lower lev-                  Marvell, 2001).
        els of gun availability reduce ﬁrearm-related unintentional                  Lott and Whitley (2001) examine the effects of safe-
        death rates and suicide rates (Conner & Zhong, 2003;                     storage laws on juvenile ﬁrearm-related suicides and
        Marvell, 2001; Ludwig & Cook, 2000; Cummings et al.,                     unintentional deaths. The authors look at CAP laws and
        1997; Leenaars & Lester, 1997; Carrington & Moyer, 1994;                 laws requiring some type of gun lock to be used to secure
        Lester, 1993; Kellerman et al., 1992; Yang & Lester, 1991;               a ﬁrearm. State-level data for the period 1977–1996 is
        Lester, 1988; Sommers, 1984; Lester & Murrell, 1982;                     used. According to the authors, by 1996, ﬁfteen states had
        Lester & Murrell, 1981). Other studies ﬁnd either no signif-             adopted safe-storage laws. The authors use a ﬁxed effects
        icant relationship or an ambiguous relationship between                  tobit model that includes as explanatory variables a safe-
        these death rates and gun availability or gun control (Gius,             storage dummy variable, non-ﬁrearm unintentional death
        2011; Duggan, 2003; Lott & Whitley, 2001; Marvell, 2001).                rates, adult ﬁrearm unintentional death rates, and various
        When prior studies did ﬁnd relationships between guns                    control variables. Lott and Whitley ﬁnd that safe-storage
        and unintentional deaths and suicides, the relationships                 laws had no signiﬁcant effects on youth ﬁrearm-related
        tended to be weak and were typically overshadowed by the                 unintentional deaths or suicides.
        effects of socioeconomic factors. In addition, some studies                  Marvell (2001) looks at the effects of the Federal Crime
        ﬁnd stricter gun control laws actually increase non-ﬁrearm               Control and Law Enforcement Act of 1994 on homicides
        related suicides. Finally, many studies look at overall sui-             and suicides. This act banned the possession of handguns
        cide and unintentional death rates, instead of just youth                by persons under 18 years of age. The author looks at the
        death rates, and most do not focus on the gun control                    effects of this law on both juvenile and overall homicide
        laws that would have the most signiﬁcant impact on youth                 (1979–1998) and suicide (1976–1999) rates. Using state-
        deaths. The present study attempts to ﬁll that void.                     level data, Marvell ﬁnds that Federal and state laws on
            The aim of the present study is to quantify the associa-             underage possession of handguns have no statistically-
        tion between CAP and minimum age laws and state-level                    signiﬁcant effects on youth suicide rates.
        youth ﬁrearm-related suicide and unintentional death                         As noted earlier, the present study differs from this prior
        rates. This paper differs from prior research in several ways.           research in several ways. First, this is one of the few stud-
        First, it is one of the few studies focusing exclusively on              ies focusing exclusively on youth death rates. Second, this
        youth (0–19 years of age) death rates. Most studies look at              study looks at those gun control laws with the most impact
        overall death rates. Second, this study looks at those laws              on ﬁrearm related youth suicides and unintentional deaths.
        with the most impact on youth suicides and unintentional                 Third, this study uses a large and recent data set. The empir-
        deaths: CAP laws and minimum age laws. Third, this study                 ical technique in the present study is discussed in the next
        uses a much larger data set than prior studies, containing               section.


                                                                   Exhibit 4
                                                                     0051
                                                                                                                                                                                                  170
Table 1
CAP Laws at the state level.

                                   81   82   83   84    85   86    87   88    89    90   91    92    93      94   95   96   97   98   99   00   01   02   03   04   05   06   07   08   09   10
  AL
  AK
  AZ
  AR
  CA                                                                                           X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  CO
  CT                                                                                     X     X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  DE                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  FL                                                                                X    X     X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  GA
  HI                                                                                                 X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  ID
  IL
  IN
  IA                                                                                     X     X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X




                                                                                                                                                                                                  M. Gius / The Social Science Journal 52 (2015) 168–175
  KS
  KY
  LA
  ME
  MD                                                                                                         X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  MA                                                                                                                                  X    X    X    X    X    X    X    X    X    X    X    X
  MI
  MN                                                                                                         X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  MS
  MO
  MT
  NE
  NV                                                                                           X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  NH
  NJ                                                                                           X     X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  NM
  NY
  NC                                                                                                         X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  ND
  OH
  OK
  OR
  PA
  RI                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  SC
  SD
  TN
  TX                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  UT
  VT
  VA                                                                                                 X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  WA
  WV
  WI                                                                                                         X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
  WY
  X denotes existence of CAP law
Sources: Marvell (2001); Ludwig and Cook (2003); The Law Center to Prevent Gun Violence; The Brady Center.


                                                                                             Exhibit 4
                                                                                               0052
Table 2
Minimum age laws at the state level.

                                          81   82   83    84   85   86    87   88    89   90   91    92     93   94   95   96   97   98   99   00   01   02   03   04   05   06   07   08   09   10
 AL
 AK                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 AZ                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 AR                                                                                       X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 CA                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 CO                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 CT                                                                                                                                            X    X    X    X    X    X    X    X    X    X    X
 DE                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 FL                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 GA                                                                                                                        X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 HI                                                                                                                                            X    X    X    X    X    X    X    X    X    X    X
 ID                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 IL                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 IN                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 IA                                                                                            X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X




                                                                                                                                                                                                      M. Gius / The Social Science Journal 52 (2015) 168–175
 KS                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 KY                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 LA                                                                                                                                            X    X    X    X    X    X    X    X    X    X    X
 ME
 MD                                                                                                                             X    X    X    X    X    X    X    X    X    X    X    X    X    X
 MA                                                                                                                                            X    X    X    X    X    X    X    X    X    X    X
 MI                                                                                                  X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 MN                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 MS                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 MO
 MT
 NE                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 NV                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 NH
 NJ                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 NM                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 NY                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 NC                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 ND                                                                 X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 OH
 OK                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 OR                                                                                       X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 PA                                                                                                                                            X    X    X    X    X    X    X    X    X    X    X
 RI                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 SC                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 SD                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 TN                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 TX
 UT                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 VT                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 VA                                                                                                              X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 WA                                                                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 WV                                                                                       X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 WI                                       X    X    X     X    X    X     X    X     X    X    X     X      X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X
 WY
 X denotes existence of minimum age law
Source: Marvell (2001), Ludwig and Cook (2003); The Law Center to Prevent Gun Violence; The Brady Center.




                                                                                                                                                                                                      171
                                                                                           Exhibit 4
                                                                                             0053
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        3. Empirical technique                                                   variables are based upon their use in prior research (Gius,
                                                                                 2014; Pellegrini & Rodriguez-Monguio, 2013; Moody &
            In order to determine if CAP laws and minimum age laws               Marvell, 2009; Moody, 2001; Olson & Maltz, 2001; Bartley
        are related to ﬁrearm-related youth suicides and uninten-                & Cohen, 1998; Lott & Mustard, 1997; Yang & Lester, 1991;
        tional deaths, a ﬁxed effects model that controls for both               Lester, 1988; Sommers, 1984).
        state-level and year-speciﬁc effects is used. This type of                   As noted earlier, a two way ﬁxed effects model, control-
        model is similar to that used in other articles on this topic            ling for both state-level and year-speciﬁc effects, is used to
        (Gius, 2011; Lott & Whitley, 2001; Marvell, 2001).                       estimate the determinants of ﬁrearm-related youth suicide
            The following gun control measures are examined in the               rates and unintentional death rates. All observations are
        present study: CAP laws, state minimum age possession                    weighted using state-level population, and standard errors
        laws, and Federal minimum age possession laws. Each of                   are corrected using a clustering method. A Hausman Test
        these gun control measures is expressed as a dummy vari-                 is used to determine if ﬁxed effects or random effects are
        able that equals one if the state or Federal government has              more appropriate. Results of this test suggest that ﬁxed
        the law in question and zero otherwise. Although dummy                   effects are better suited for estimating the model in the
        variables are not precise measures of gun control laws, it is            present study. In addition, the Breusch–Pagan Test is used
        reasonable to assume that if a state has any type of CAP law,            to determine if heteroscedasticity is present in the model,
        for example, guns are more restricted in that state than in a            and the Ramsey Reset Test is employed to test the spec-
        state with no such law. In addition, most prior research on              iﬁcation of the model. The results of the tests indicate no
        gun control laws have employed this methodology (Gius,                   heteroscedasticity and the models were properly speciﬁed.
        2014; Rubin & Dezhbakhsh, 2003; Dezhbakhsh & Rubin,
        1998; Lott & Mustard, 1997; Kleck & Patterson, 1993).
                                                                                 4. Data and results
            Regarding Federal gun control measures, the Federal
        Crime Control and Law Enforcement Act of 1994 banned
                                                                                    All data are state-level and were collected for the years
        possession of handguns for persons under 18 years of age;
                                                                                 1981–2010. State-level socioeconomic data are obtained
        hence, the Federal minimum age dummy variable equals
                                                                                 from the Statistical Abstract of the United States and other
        one for those years post-1994 and zero otherwise. Finally,
                                                                                 relevant Census Bureau documents. State-level data on
        all three variables deal only with handguns and hand-
                                                                                 youth (ages 0–19) ﬁrearm-related suicides and uninten-
        gun possession. Restrictions on long gun possession and
                                                                                 tional deaths are obtained from the National Center for
        minimum age requirement for handgun purchases are not
                                                                                 Injury Prevention and Control, the Centers for Disease Con-
        considered in the present study.
                                                                                 trol (CDC). The WISQARS system is used to obtain the
            Regarding other factors that may affect the suicide and
                                                                                 necessary data from the CDC website. One issue with the
        unintentional death rate, variables that proxy for poten-
                                                                                 CDC data, however, is that for the years 1999–2010, state-
        tially depressing events that may serve as possible catalysts
                                                                                 level unintentional deaths are only reported when the
        for suicide are also included in the model. Guidance is
                                                                                 number of deaths was greater than ten. Hence, there are
        obtained from several studies investigating risk factors
                                                                                 many missing observations in the state-level unintentional
        associated with suicide and suicidal behavior (Nock et al.,
                                                                                 death data. Any observation with missing data are excluded
        2008; Bridge, Goldstein, & Brent, 2006; Mann, 2002). Given
                                                                                 from the sample. The latest year for which CDC data is
        this prior research, it is reasonable to assume that traumatic
                                                                                 available was 2010. The sample size for the suicide regres-
        life events such as divorce, prolonged unemployment, and
                                                                                 sion is 1500. The sample size for the unintentional death
        excessive alcohol consumption may trigger suicidal ten-
                                                                                 regression is 813. Descriptive statistics are presented on
        dencies.
                                                                                 Table 3.
            Given the above, the following equation is estimated in
        the present study:

         Yi,t = ˛0 + ˛1 CAPi,t + ˛2 State minimumi,t + ˛3 Federal minimumi,t +

         ˛4 Control variablesi,t + ˛5 State ﬁxed effectsi + ˛6 Year ﬁxed effectst + εi,t

        where Y denotes either the ﬁrearm-related youth suicide                      Regarding information on state-level CAP laws and min-
        rate (ages 0–19) or the ﬁrearm-related youth unintentional               imum age laws, data on these laws are obtained from
        death rate, State Minimum equals one if the state has a                  Marvell (2001), the Brady Center website, the Law Cen-
        minimum age requirement for handgun possession and                       ter to Prevent Gun Violence website, and Ludwig and Cook
        zero otherwise; Federal Minimum equals one if the Fed-                   (2003). If a state had any minimum age requirement at all
        eral minimum age requirement for handgun possession is                   for handgun possession, the state minimum age variable
        in effect (post 1994), and CAP equals one if the state has a             was denoted with a one. If the above references contradict
        CAP law. Control variables include the following: percent-               one another, the original state law is examined in order to
        age of population that is white; percentage of population                determine whether it has a CAP law or minimum age law.
        that is black; population density; percentage of popula-                     Regression results are presented in Tables 4 and 5. The
        tion with a four-year college degree; per capita median                  results for gun-related suicides suggest that state-level
        income; annual unemployment rate; percentage of popu-                    minimum age laws have no statistically signiﬁcant effects
        lation under the age of 18; per capita alcohol consumption;              on ﬁrearm related youth suicides. However, states with CAP
        and divorce rate per 100,000 residents. These control                    laws have lower youth suicide rates, and the youth suicide


                                                                  Exhibit 4
                                                                    0054
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        Table 3                                                                             rate fell after the imposition of the Federal minimum age
        Descriptive Statistics.
                                                                                            law.
          Variable                 Means                                                       For the unintentional death regression, state-level
                                                                                            minimum age laws and CAP laws have no statistically-
                                   Suicide data (n = 1500)       Unintentional
                                                                 death data                 signiﬁcant effects on ﬁrearm related youth unintentional
                                                                 (n = 813)                  deaths. However, youth unintentional death rates fell after
          Suicide rate             2.00 (1.15)
                                                                                            the enactment of the Federal minimum age law. Hence, the
          Unintentional                                          0.899 (0.718)              Federal minimum age law is more effective in reducing
            death rate                                                                      both ﬁrearm related youth suicides and youth uninten-
          White                    0.83 (0.29)                   0.838 (0.38)               tional deaths than similar state-level regulations. These
          Black                    0.099 (0.094)                 0.101 (0.094)
                                                                                            results contradict earlier studies on this topic (Lott &
          Income—adjusted          15,004 (3011)                 13,459 (2300)
            for inﬂation                                                                    Whitley, 2001; Marvell, 2001). However, other studies that
          College                  0.229 (0.0526)                0.204 (0.043)              do not focus solely on youths ﬁnd evidence that restrict-
          Unemployment             0.0596 (0.0218)               0.0645 (0.0218)            ing access to or reducing the availability of guns reduces
            rate
                                                                                            suicides and unintentional deaths.
          Alcohol                  2.40 (0.56)                   2.41 (0.577)
          Divorce                  4.58 (1.48)                   5.06 (1.62)
                                                                                               Regarding the signiﬁcance of the other explanatory
          Population density       175 (242)                     149 (209)                  variables, states with higher college education rates and
        Notes: Standard deviations in parentheses.
                                                                                            divorce rates have higher suicide rates, while states with
                                                                                            higher incomes and percentages of population less than 18
        Table 4                                                                             have lower suicide rates. For unintentional deaths, states
        Firearm-related youth suicide rate.
                                                                                            with higher incomes, college education rates, and percent-
          Variable                  Coefﬁcient        Standard           Test               ages of population less than 18 have higher unintentional
                                                      error              statistic          death rates, while states with higher unemployment
          Constant                   3.76             0.766               4.90***           rates have lower unintentional death rates. These results
          Cap law                   −0.218            0.0502             −4.36***           are consistent with the ﬁndings of prior research in this
          State minimum age         −0.046            0.044              −1.05              area.
            law
          Federal minimum           −1.24             0.133              −9.30***
            age law                                                                         5. Discussion and concluding remarks
          White                     −0.016            0.032              −0.51
          Black                     −2.04             1.82               −1.12                  Youth suicide and unintentional death rates have
          Income                    −0.00003          0.000017           −1.78*             declined dramatically since the early 1980s. As can be
          College                    1.74             0.483               3.60***
          Unemployment               0.406            1.13                0.36
                                                                                            ascertained from Charts 1 and 2, the most signiﬁcant
            rate                                                                            declines came after 1994, the year when the Federal mini-
          Alcohol                    0.143            0.101               1.41              mum age law took effect. The results of the present study
          Divorce                    0.0917           0.0244              3.76***           further suggest that, after the Federal law was enacted,
          Age less than 18          −7.27             2.22               −3.28***
                                                                                            youth suicide rates dropped by 1.2 per 100,000 persons,
          Population density        −0.0002           0.00104            −0.19
                                                                                            holding all other factors constant. This is a very signiﬁcant
        Notes: State and year ﬁxed effects not shown. Adjusted R2 = 0.789.
                                                                                            decline, especially given that the average youth suicide rate
        ** 5% level.
           *
             10% level.
                                                                                            for the entire period in question (1981–2010) was 1.49 per
         ***
             1% level.                                                                      100,000 persons. The decline in the youth unintentional
                                                                                            death rate was equally dramatic; according to the results
        Table 5
        Firearm-related unintentional death rate.
                                                                                            of the present study, the unintentional death rate fell by
                                                                                            0.47 per 100,000 persons out of an average death rate for
          Variable                   Coefﬁcient        Standard            Test             the entire period of 0.67 per 100,000 persons. Clearly, not
                                                       error               statistic
                                                                                            all declines in suicides and unintentional deaths can be
          Constant                  −2.102             0.864               −2.43**          explained by the enactment of the Federal minimum age
          Cap law                   −0.036             0.04497             −0.80
                                                                                            requirement. Other factors that were coincidental to the
          State minimum age         −0.0636            0.0398              −1.60
            law                                                                             law’s passage may have also contributed to this decrease in
          Federal minimum           −0.473             0.0667              −7.08***         youth suicide and unintentional death rates. For example, it
            age law                                                                         must be noted that a wide variety of other gun control mea-
          White                     −0.00385           0.022               −0.17
                                                                                            sures were enacted at the Federal level at approximately
          Black                      3.26              2.19                 1.49
          Income                     0.000036          0.000015             2.41**
                                                                                            the same time as the minimum age requirement for hand-
          College                    0.713             0.389                1.83*           guns. Hence, the result found in this study regarding the
          Unemployment              −2.81              0.965               −2.91***         Federal minimum age law may also be due to the contribu-
            rate                                                                            tory effects of other gun control restrictions that went into
          Alcohol                     0.142            0.112                 1.26
                                                                                            effect in the same year as the minimum age law. It is also
          Age less than 18            5.004            2.19                  2.28**
          Population density          0.00189          0.00124               1.53           important to note that the laws considered in this study
                                                                                            deal only with handgun possession and not the purchase
        Notes: State and year ﬁxed effects not shown. Adjusted R2 = 0.716.
           *
             10% level.
                                                                                            of handguns and that the enforcement of handgun posses-
          **
             5% level.                                                                      sion laws is problematic, especially if the possession occurs
         ***
             1% level.                                                                      within the juvenile’s own home.


                                                                                Exhibit 4
                                                                                  0055
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                                                                                    2.5




                             Youth suicide rate per 100,000 persons
                                                                                     2


                                                                                    1.5


                                                                                     1


                                                                                    0.5


                                                                                     0
                                                                                          1981         1986            1991            1996             2001            2006
                                                                                                                                      Year

                                                                                                           Chart 1. Crude youth suicide rate (source: CDC).


                                                                                      0.9
                               Youth unintentional death rate per 100,000 persons




                                                                                      0.8

                                                                                      0.7

                                                                                      0.6

                                                                                      0.5

                                                                                      0.4

                                                                                      0.3

                                                                                      0.2

                                                                                      0.1

                                                                                          0
                                                                                              1981        1986           1991           1996             2001            2006
                                                                                                                                       Year

                                                                                                     Chart 2. Crude youth unintentional death rate (source: CDC).


            Several important public policy implications can be                                                                         such laws uniformly across states and at the Federal level
        gleaned from the results presented herein. First, CAP laws                                                                      would be a low cost way to reduce youth death rates quite
        and minimum age laws sometimes work. States with CAP                                                                            substantially.
        laws have signiﬁcantly lower youth suicide rates, and
        Federal minimum age requirements reduce both suicides
                                                                                                                                        References
        and unintentional deaths. Second, these laws only affect
        juveniles. Therefore, for those concerned about poten-                                                                          Bartley, W., & Cohen, M. (1998). The effect of concealed weapons
        tial Second Amendment issues, these laws only restrict                                                                              laws: An extreme bound analysis. Economic Inquiry, 36,
        access to ﬁrearms for people who have not yet reached                                                                               258–265.
                                                                                                                                        Bridge, J., Goldstein, T., & Brent, D. (2006). Adolescent suicide and suicidal
        adulthood; the restrictions are limited in scope. Finally,                                                                          behavior. Journal of Child Psychology and Psychiatry, 47, 372–394.
        although there are, of course, many other factors that affect                                                                   Carrington, P., & Moyer, S. (1994). Gun control and suicide in Ontario. The
        youth suicide rates and unintentional death rates, CAP laws                                                                         American Journal of Psychiatry, 151, 606–608.
                                                                                                                                        Conner, K., & Zhong, Y. (2003). State ﬁrearm laws and the rates of sui-
        and minimum age laws are two factors that are within                                                                                cide in men and women. American Journal of Preventive Medicine, 25,
        the control of state and Federal legislators. Instituting                                                                           320–324.



                                                                                                                         Exhibit 4
                                                                                                                           0056
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        Cummings, P., Koepsell, T., Grossman, D., Savarino, J., & Thompson,                    Lott, J., & Mustard, D. (1997). Crime, deterrence, and right-to-carry con-
            R. (1997). The association between the purchase of a handgun                           cealed handguns. The Journal of Legal Studies, 26, 1–68.
            and homicide or suicide. American Journal of Public Health, 87,                    Lott, J., & Whitley, J. (2001). Safe-storage gun laws: Unintentional deaths,
            974–978.                                                                               suicides, and crime. Journal of Law and Economics, 44(S2), 659–689.
        Dezhbakhsh, H., & Rubin, P. (1998). Lives saved or lives lost? The effects             Ludwig, J., & Cook, P. (2000). Homicide and suicide rates associated with
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                                                                                   Exhibit 4
                                                                                     0057
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             EXHIBIT "5"




                                   Exhibit 5
                                     0058
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                                                              Contents lists available at ScienceDirect


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                                            journal homepage: www.elsevier.com/locate/healthpol




        Gun control and suicide: The impact of state ﬁrearm regulations in the
        United States, 1995–2004
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        a r t i c l e         i n f o                         a b s t r a c t

        Keywords:                                             Objective: To empirically assess the impact of ﬁrearm regulation on male suicides.
        Suicide                                               Method: A negative binomial regression model was applied by using a panel of state level
        Guns
                                                              data for the years 1995–2004. The model was used to identify the association between
        State regulations
                                                              several ﬁrearm regulations and male suicide rates.
        Panel data
                                                              Results: Our empirical analysis suggest that ﬁrearms regulations which function to reduce
                                                              overall gun availability have a signiﬁcant deterrent effect on male suicide, while regulations
                                                              that seek to prohibit high risk individuals from owning ﬁrearms have a lesser effect.
                                                              Conclusions: Restricting access to lethal means has been identiﬁed as an effective approach
                                                              to suicide prevention, and ﬁrearms regulations are one way to reduce gun availability. The
                                                              analysis suggests that gun control measures such as permit and licensing requirements have
                                                              a negative effect on suicide rates among males. Since there is considerable heterogeneity
                                                              among states with regard to gun control, these results suggest that there are opportunities
                                                              for many states to reduce suicide by expanding their ﬁrearms regulations.
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        1. Introduction                                                                    Prevention of suicide is an important part of the American
                                                                                           public health agenda, and the goal of many programmatic
        1.1. Firearms and suicide                                                          activities undertaken by the Centers for Disease Control
                                                                                           and Prevention (CDC) and other national and state agen-
           Suicide is a major cause of preventable death. In 2006,                         cies. In an attempt to combat this problem, spending by
        more than 32,000 suicides occurred in the United States,                           state mental health agencies (SMHAs) in the U.S. totalled $
        as compared with approximately 18,000 homicides. In the                            30.7 billion dollars in 2006 [2]. In recent years, restricting
        United States, suicide was the 8th leading cause of death                          access to ﬁrearms and other lethal means has been increas-
        for males, and the 19th leading cause of death for females                         ingly recognized as one of the most effective strategies for
        in 2006. For every suicide, there were more than ten hos-                          suicide prevention (for an excellent review of this litera-
        pitalizations for non-fatal attempts. In 2006, on average                          ture see, for example [3]), and is one of the key elements
        46 Americans committed suicide with a ﬁrearm every day,                            of suicide prevention in countries such as England [4], and
        accounting for approximately 50 percent of all suicides [1].                       Denmark [5].
                                                                                               There is a considerable body of empirical work that
                                                                                           has documented a positive relationship between access
         ∗ Corresponding author. Tel.: +45 89 423122.
                                                                                           to ﬁrearms and suicide (e.g. [6,7]). In fact, much of the
            E-mail addresses: ara@folkesundhed.au.dk (A. Rodríguez Andrés),
                                                                                           decline in suicide in the United States over the past decades
        khempstead@ifh.rutgers.edu (K. Hempstead).                                         has been linked to the reduced prevalence of ﬁrearms
          1
             Tel.: +1 732 932 3105; fax: +1 732 932 0069.                                  (see for example [7–9]). Although the respective roles of

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                                                                              Exhibit 5
                                                                                0059
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        self-selection and availability in explaining the relation-                     of mental illness, and alcohol or drug problem, and minors.
        ship between guns and suicide have not been completely                          The requirement of a “cooling off” period of some speciﬁed
        resolved, the implication in either case is that reducing                       period before the purchase can be completed is a measure
        access to ﬁrearms should reduce suicide [10]. Restricting                       designed to reduce the consequences of impulsive ﬁrearm
        access to ﬁrearms has been recommended as a suicide                             purchases.
        prevention strategy by national and international organi-                           There is considerable variation in the comprehensive-
        zations such as the CDC and the WHO. Gun control policies                       ness of ﬁrearm regulation across U.S. states. Some states
        can serve to reduce overall gun availability by creating bar-                   have almost no ﬁrearm regulation of their own. Forty-four
        riers to ﬁrearm ownership. Additionally, ﬁrearms policies                       states have a provision in their state constitutions simi-
        can also prevent individuals who are at a relatively higher                     lar to the Second Amendment of the Bill of Rights (the
        risk of suicide from purchasing ﬁrearms.                                        exceptions are California, Iowa, Maryland, Minnesota, New
                                                                                        Jersey, and New York). Firearm license holders are subject
        1.2. Gun control                                                                to the ﬁrearm laws of the state in which they are carrying
                                                                                        and not the laws of the state in which the permit was issued.
            Gun control is a highly contentious issue in the Amer-                      Reciprocity between states may exist for certain licenses
        ican political debate. Guns are common in the United                            such as concealed carry permits. These are recognized on a
        States–40 percent of Americans reported having a gun in                         state-by-state basis.
        their home in 2009 (see [11]) Calls for increased regula-                           Some ﬁrearms regulations are more relevant to suicide
        tion are based on the belief that restrictions will reduce                      prevention than others. Restrictions banning the purchase
        gun violence. Regulation is opposed by those who claim                          of guns by convicted felons, or laws banning the sale of
        infringement on the constitutional right to bear arms,                          “Saturday Night Specials”, for example, have little obvious
        and/or argue that ﬁrearm ownership deters crime. In the                         applicability to suicide. Yet other categories of restric-
        academic literature, the efﬁcacy of gun control in reducing                     tion are potentially more salient, particularly those that
        violence has received considerable attention, although lit-                     reduce overall ﬁrearm availability. Permit requirements
        tle consensus has emerged from the empirical work (e.g.                         create barriers to gun ownership and may also serve to
        [9,12–14]).                                                                     prevent impulsive purchases. The prohibition of purchases
            The current era of gun control in the United States orig-                   by minors serves a similar function. Some of the “prohib-
        inated with the Brady Handgun Violence Prevention Act                           ited persons” categories, such as those related to mental
        (1993)2 , more commonly known, as the Brady Bill. The                           illness, a drug or alcohol problem, or history of domestic
        Brady Bill established a federal requirement for a waiting                      violence problems may theoretically be relevant to suicide
        period of up to ﬁve days before the transfer of a hand-                         prevention.3 Mental illness is the single most important
        gun to a purchaser. During this period, a background check                      risk factor for suicide, and substance abuse and domestic
        is performed, which is intended to prohibit individuals                         violence are also risk factors. However, while the criteria
        with criminal backgrounds from purchasing ﬁrearms. The                          for “prohibited persons” categories vary by state, they are
        transfer of the handgun is completed whether or not the                         generally based on fairly serious incidents, such as hos-
        background check is ﬁnalized within the ﬁve-day period.                         pitalization against one’s will or conviction records. Such
        The federal waiting period was phased out in 1998 with the                      bans are likely to identify only a fraction of the population
        development of the National Instant Criminal Background                         with mental health, substance abuse, or domestic violence
        Check System (NICS), administered by the Federal Bureau                         problems.
        of Investigation (FBI). Over time, many states have passed                          At the state level, the comprehensiveness of gun control
        laws which matched or surpassed the federal minimums.                           laws tends to be correlated with ﬁrearm prevalence. The
            There are many different types of state ﬁrearm reg-                         causality most likely runs in both directions, since restric-
        ulations. Some seek to establish general oversight over                         tive gun control regimes reduce gun ownership, yet these
        individuals owning ﬁrearms, and mainly consist of per-                          laws are more likely to be passed in states where overall
        mit, registration, and/or license requirements, and bans                        gun ownership rates are low and the population of gun
        on the purchase of ﬁrearms by minors. These laws also                           rights advocates is relatively small. In general, Western
        facilitate the tracing of ﬁrearms used in crimes to original                    and more rural states have fewer gun control restrictions
        purchasers. Other state laws seek to prevent gun trafﬁck-                       and higher rates of gun ownership as compared with more
        ing and the use of ﬁrearms in crimes. These consist of bans                     urbanized states in the Northeast. These states also have
        on the sale of certain types of ﬁrearms, and restrictions                       signiﬁcantly higher rates of suicide, particularly ﬁrearm
        on the number of ﬁrearms that can be sold to individuals.                       suicide.
        Restrictions on carrying concealed weapons serve a sim-                             It should be noted that gun control is only one of the
        ilar purpose. A number of laws are designed to prevent                          factors that affect gun ownership. Aside from geographi-
        ﬁrearm ownership by individuals considered dispropor-                           cal patterns related to urbanization, popularity of hunting,
        tionately likely to commit gun crimes. These laws include                       and so forth, there are also trends in gun ownership at the
        prohibitions on gun ownership by those with criminal his-
        tories, such as conviction for a felony, misdemeanor, or
        domestic violence offence, as well as those with a history                        3
                                                                                            In some states, the alcohol regulation means that sale of ﬁrearms are
                                                                                        prohibited to people who are intoxicated at the time they are trying to buy
                                                                                        them, while in other states it refers to people with a documented alcohol
         2
             The Gun Control Act (1968) was the ﬁrst ﬁrearm act in the USA.             problem. Indeed, in some states it covers both situations.



                                                                          Exhibit 5
                                                                            0060
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        national level. Widespread anxiety can lead to an increase               ple and the imposition of the restrictions. In the case
        in ﬁrearm purchases, as was the case shortly after Septem-               of New Zealand, Beautrais et al. [24] ﬁnd that after
        ber 11th, 2001. Similarly, economic trends can potentially               the introduction of legislation restricting ownership and
        affect the propensity toward gun ownership—although                      access to ﬁrearms, ﬁrearm suicides signiﬁcantly decreased,
        the direction of the effect is not certain. Concern about                particularly among the young. Ozanne-Smith et al. [25]
        crime associated with rising unemployment may result in                  similarly conclude that the implementation of a strong
        increased gun ownership, while unemployment itself may                   reform in New Zealand lowered ﬁrearms deaths, particu-
        make guns less affordable to more people. The recent reces-              larly suicides. An evaluation of the 1996 National Firearms
        sion does not seem to be associated an increase in gun                   Agreement (NFA) in Australia documents a decline in
        purchases, as the proportion of households reporting a gun               ﬁrearm suicides after the implementation of the agree-
        between October 2007 and 2008 was unchanged (see [11]).                  ment [26]. However, these ﬁndings may be confounded
                                                                                 with an overall decline in gun ownership that preceded the
        2. Gun control and suicide: empirical evidence                           NFA. Additionally, there was some evidence of increased
                                                                                 suicides by hanging.
            Much of the empirical evidence on gun control comes                       In Europe, there are a few studies examining the efﬁ-
        from the United States [15] and might not be applicable to               cacy of ﬁrearm regulation in reducing ﬁrearm suicides and
        other countries [16]. One excellent review of gun control                homicides. For example, in Austria, Kapusta et al. [27] pro-
        in the United States, framed within the context of histor-               vide evidence that the introduction of restrictive ﬁrearm
        ical and rational choice theory, covers attempts to curb                 legislation reduced both ﬁrearm suicide and homicide.
        ﬁrearm violence in that country and the success of such                  Also, a number of studies in the UK [28,29] have shown
        measures, yet has relatively little treatment of the relation-           that changes in ﬁrearm legislation have led to fewer ﬁrearm
        ship between gun control and suicide [17].                               suicides. Another analysis of Austria found that ﬁrearm reg-
            In an important early study of gun ownership and sui-                ulations enacted in 1997 had a statistically signiﬁcant effect
        cide, Kellerman et al. [18] found that individuals who                   on suicide rates [30]. A very recent study in Switzerland,
        commit suicide in their own homes were disproportion-                    ﬁnds a positive association between ﬁrearm ownership and
        ately likely to own a gun. In general, the literature on                 ﬁrearm suicides at the local level [31].
        gun control and suicide has found a negative relation-                        Much of the empirical literature is based on simple
        ship between ﬁrearm restrictions and suicide. However,                   correlations or time series analysis. Most of these mod-
        most of these studies lack a strong design and are essen-                els cannot account for correlations that arise between
        tially pre- and post-comparisons [16]. Lambert and Silva                 suicide deaths and ﬁrearm availability due to exogenous
        [19] perform a literature review of studies in the United                factors. Furthermore, there are many factors affecting suici-
        States and Canada and conclude that available information                dal behavior and gun ownership which are not observable.
        generally supports the notion that gun control reduces sui-              A panel data approach is more compelling in this context, as
        cide rates, particularly among males. A recently published               it is possible to control for unobserved heterogeneity across
        analysis suggests that states where background checks are                states. Similarly, time varying factors that affect all states
        conducted locally have lower rates of ﬁrearm suicide and                 in the same way can be controlled by using ﬁxed speciﬁc
        homicide [20].                                                           effects. Additionally, there are many socioeconomic factors
            Several other studies ﬁnd no empirical evidence in favor             that might inﬂuence suicide deaths, and can be included in
        of a relationship between ﬁrearms regulations and sui-                   a panel data model.
        cide. However, one study has a weak design, while the
        other does not capture the most relevant types of ﬁrearms
        regulations. Price et al. [21] use cross-sectional state data            3. Empirical model and data
        for 1999 to perform a simple partial correlation analysis
        between several types of gun control laws and suicide rates.             3.1. Empirical model
        Their results suggest that gun control laws were not signif-
        icantly related to suicide in 1999, even after controlling for               The basic model that motivates the empirical analysis
        ﬁrearm prevalence. Rosengart et al. [22] conduct a study                 is that ﬁrearm availability affects suicide rates, and that
        of the relation between ﬁrearm regulations and homicides                 gun control affects ﬁrearm availability (see for a discus-
        and suicides using state panel data over 1979–1998. They                 sion of the mechanisms by which ﬁrearms might affect
        fail to uncover a statistically robust link between suicide              death rates [9]). Our hypothesis is that regulations such
        rates and ﬁrearm regulations. However, most of the regu-                 as permit requirements, which create overall barriers to
        lations they examined- such as bans on carrying concealed                gun ownership, are the most important way type of gun
        weapons, “junk gun” bans, and quantity sales restrictions                control from the standpoint of suicide prevention. While it
        are not particularly relevant to suicide.                                is possible that “prohibited persons” categories can affect
            Several studies in other countries where regulatory                  the likelihood that certain persons at above average risk
        change restricted general access to ﬁrearms have found                   of suicide will obtain ﬁrearms, the ways in which these
        evidence of an effect on suicide. Cheung and Dewa [23]                   categories are deﬁned in most cases will result in the pro-
        examine the relationship between suicide and the imple-                  hibition of a relatively small proportion of people at risk.
        mentation of new restrictions on ﬁrearms (Bill C-17), using              Firearms regulations designed to prevent gun trafﬁcking
        time series data from Canada. They concluded that there                  or other criminal activity involving guns are not expected
        was a relationship between means used by young peo-                      to inﬂuence suicide rates.


                                                                    Exhibit 5
                                                                      0061
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           There are several potential complications to this sim-                  so there tends to be relatively little within-state year–on-
        ple model. The ﬁrst is that of state variation in attitudes                year change. Further, once states adopt particular gun
        towards guns is likely to affect both ﬁrearm prevalence and                control regulations, they never remove them. For these rea-
        the comprehensiveness of gun control regulation. Addi-                     sons, it is not possible to analyze leads and lags, which
        tionally, views toward gun ownership evolve over time.                     would be a desirable robustness check. To maximize vari-
        Finally, there is the problem of the measurement error of                  ation, we have created several indices of categories of gun
        gun ownership.                                                             control regulations, which are additive measures of indi-
           The basic model can be expressed with two equations:                    vidual measures. The total sample contains 500 state-year
                                                                                   observations. The sample period (1995–2004) was cho-
        S = ˛ + ˇG +                                                  (1)         sen because data on gun control regulations by state are
        G = ı − R + ˚                                                 (2)         not available before 1995, in part because there are rel-
                                                                                   atively few state regulations. Since nearly ninety percent
        where S is suicide, G is ﬁrearm prevalence, and R is ﬁrearms               of ﬁrearm suicides are committed by males [1], we have
        regulation. The reduced form is:                                           excluded females from the analysis. The analysis was con-
                                                                                   ducted using STATA v.10 statistical software.
        S = ˛ + ˇı − ˇR + ˇ˚ +                                       (3)

           The potential endogeneity of ﬁrearm prevalence with                     3.2. Data
        respect to gun control is reﬂected in the identifying equa-
        tion,                                                                      3.2.1. Dependent variable
                                                                                       Data on the number of suicides in states over the
        R = ω + G + ϕ                                                 (4)         period 1995–2004 come from the Centers for Disease Con-
                                                                                   trol and Prevention (CDC). Deaths included in the study
            However, G is not measured annually. For our main
                                                                                   are those categorized as suicides according to the Inter-
        speciﬁcation we estimate the reduced form Eq. (3), thereby
                                                                                   national Classiﬁcation of Diseases (ICD). In 1999, there
        assuming that  is zero. In an alternative speciﬁcation, we
                                                                                   was a change in the classiﬁcation system from ICD–9 to
        proxy for G by using the number of hunting licenses per
                                                                                   ICD–10. This change in ICD version did not inﬂuence sui-
        capita, a statistic which is collected annually for all states.
                                                                                   cide classiﬁcation. For 1995–98, suicide deaths were coded
            The dependent variable, Sijt , is the number of suicides
                                                                                   as E950–E959. Starting in 1999 and later, suicide deaths
        for age group i = 15–24, 25–44, 45–64, and 65+; in state
                                                                                   were coded as X60–X84, Y87.0, and U03.
        j = 1, . . ., 50 during the year t = 1995, . . ., 2004. The inde-
                                                                                       Table 1 displays the average age adjusted male sui-
        pendent variables included in the model were based on
                                                                                   cide rates4 across US states for the years 1995–2004.5 As
        previous studies of suicide. In particular, the variables
                                                                                   Table 1 shows reported suicide rates in the US vary consid-
        selected were: education, income, alcohol consumption,
                                                                                   erably across states. The annual average male suicide rate
        the proportion of the population over age 65, and the pro-
                                                                                   for the whole country during the study period was 21.05
        portion of non-Hispanic white population. Each model also
                                                                                   per 100,000. As can be seen, suicide rates vary considerably
        includes the relevant population size as a right hand side
                                                                                   across states. The suicide rate in Nevada (34.2), for example,
        control variable to normalize by exposure. The speciﬁca-
                                                                                   is nearly thrice that in New York (11.3). Also it can be seen
        tion includes state ﬁxed effects that account for potential
                                                                                   from the standard deviations that the suicide rate varied
        unobserved heterogeneity across states. The ﬁxed effects
                                                                                   substantially over time in each state.
        model is appropriate in this case given the almost complete
        population coverage by the sample and it is likely that the
                                                                                   3.2.2. Independent variables
        omitted variables captured by the ˛i are correlated with
                                                                                   3.2.2.1. Socio-economic variables. Data on state personal
        some of the included covariates [32]. We also account for
                                                                                   income (income) were obtained from the Bureau of Eco-
        the time effect over the years by including time dummies.
                                                                                   nomic Analysis and deﬂated by the consumer price
            The expected value of the number of suicides, condi-
                                                                                   index (CPI) extracted from the Bureau of Labor Statis-
        tional on the independent variables is assumed to follow a
                                                                                   tics (BLS). Unemployment rates (unemployment) also
        negative binomial distribution with expected value
                                                                                   come from the BLS. Data on per capita ethanol con-
            S                                                                    sumption of beer (beer), an estimate for the amount
              it
        E          = it = exp(xit ˇ)                                 (5)         of pure ethanol consumption per capita, was extracted
             Xit
                                                                                   from the NIIA Surveillance Reports. Alcohol consump-
        and variance function                                                      tion and economic conditions have been linked to suicide
        Var[it ] = it + ˛(2it )                                     (6)         in a number of population level studies (e.g. [34,35]).
                                                                                   The percentage of people over 65 (psh65) years of age
            The negative binomial distribution was assumed since                   and the proportion of the population which is non-
        the dependent variable is a count and over-dispersed rel-
        ative to the Poisson distribution which assumes that the
                                                                                     4
        mean is equal to the variance. The negative binomial dis-                      For making comparisons across states and over time, the usual prac-
        tribution accounts for extra Poisson dispersion through the                tice is to use age adjusted suicide rates that standardize the rates across
                                                                                   the age distribution of the population of interest.
        quadratic term in the variance function [33].                                5
                                                                                       We do not show average suicide rates over 1995–2004 because of
            We face several identiﬁcation challenges. The ﬁrst is                  the relative position of the states is basically unchanged during the study
        that gun control regulations by state tend to change slowly,               period.



                                                                     Exhibit 5
                                                                       0062
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        Table 1                                                                           or absence of permit requirements and prohibitions on
        Average age-adjusted male suicide rates (per 100,000 pop), by state,
                                                                                          ﬁrearm purchases by minors. This index thus varies
        1995–2004.
                                                                                          between 0 and 2.
          State                              Average                   Std. Dev.              The second index measures prohibitions based on
         Alabama                             21.13                     1.46               behavioral problems, some of which have been identiﬁed
         Alaska                              31.45                     4.05               as risk factors for suicide. This index is the sum of ﬁve indi-
         Arizona                             26.37                     1.52               cators variables reﬂecting the presence or absence of bans
         Arkansas                            22.95                     0.97
                                                                                          on persons with mental health, alcohol, or drug problems,
         California                          16.79                     1.85
         Colorado                            26.30                     2.37               as well as prohibitions on those with prior convictions for
         Connecticut                         13.59                     1.40               misdemeanors and for domestic violence offenses.
         Delaware                            18.75                     2.29                   Our third and last index captures four types of prohibi-
         Florida                             21.64                     1.28               tions related to the potential purchaser’s criminal history.
         Georgia                             19.64                     0.99
         Hawaii                              16.28                     1.70
                                                                                          We include this variable primarily as a robustness check,
         Idaho                               27.26                     2.32               since the prohibitions captured are least likely to affect sui-
         Illinois                            14.50                     0.99               cide. The index, varying between 0 and 4, is the sum of
         Indiana                             20.31                     1.17               indicator variables measuring the presence of prohibitions
         Iowa                                18.81                     1.23
                                                                                          against “aliens”,6 convicted felons, fugitives from justice,
         Kansas                              20.60                     1.28
         Kentucky                            22.30                     0.93               and those who committed serious offenses as juveniles.
         Louisiana                           19.94                     1.25               Data on state gun regulations was obtained from the Bureau
         Maine                               21.61                     3.10               of Justice Statistics.7
         Maryland                            16.02                     1.25
         Massachusetts                       11.56                     1.33
         Michigan                            17.83                     1.02               3.2.2.3. Gun ownership. Given the relationship between
         Minnesota                           16.71                     1.20               ﬁrearm regulations and ﬁrearm prevalence, as well as that
         Mississippi                         20.54                     1.26               between ﬁrearm prevalence and suicide, it is necessary to
         Missouri                            21.81                     1.62               control for gun ownership. One concern is the accuracy of
         Montana                             33.15                     3.31
                                                                                          data on ﬁrearm availability. Gun ownership at the house-
         Nebraska                            18.78                     1.67
         Nevada                              34.19                     3.46               hold level is measured every several years by the CDC’s
         New Hampshire                       19.00                     1.71               Behavioral Risk Factor Surveillance System, but there is
         New Jersey                          11.47                     0.45               no annual data at the state level, and the available data
         New Mexico                          31.48                     1.30
                                                                                          only dates back to 2001. The most commonly used prox-
         New York                            11.32                     1.05
         North Carolina                      19.71                     0.93               ies for gun ownership are the proportion of homicides and
         North Dakota                        20.45                     2.67               the proportion of suicides committed with ﬁrearms (e.g.
         Ohio                                17.43                     0.98               [36–42]). These variables are combined to create a measure
         Oklahoma                            24.03                     1.06               called Cook’s index. However, given that the dependent
         Oregon                              25.28                     1.73
                                                                                          variable for this analysis is the total number of suicides,
         Pennsylvania                        18.88                     1.11
         Rhode Island                        13.25                     0.99               it was felt that this proxy was inappropriate. As an alter-
         South Carolina                      19.31                     1.15               native, the number of hunting licenses per capita from the
         South Dakota                        24.76                     3.89               Fish and Wild Life Service8 was used as a control for gun
         Tennessee                           21.93                     0.53
                                                                                          ownership9 . Hunting licenses per capita and ﬁrearm sui-
         Texas                               18.59                     1.37
         Utah                                25.51                     1.90
                                                                                          cides as a proportion of suicides (i.e. Cook’s Index) were
         Vermont                             22.12                     2.56               highly correlated (r = 0.74, p-value < .05).
         Virginia                            19.26                     1.32                   Table 2 reports summary statistics for the variables used
         Washington                          21.84                     1.45               in regressions.
         West Virginia                       24.64                     2.10
         Wisconsin                           19.04                     0.83
         Wyoming                             32.29                     3.96               4. Results
         United States                       21.05                     5.64

        Source: Centers for Disease Control and Prevention (CDC), and own con-                The regression results for the negative binomial regres-
        struction.                                                                        sion model of suicides are presented in Table 3. In all
        Note: The District of Columbia is excluded, since it had essentially banned       regression models, the state and year ﬁxed effects are
        the possession of handguns during the study years.                                statistically signiﬁcant. Table 3 shows the incidence rate
                                                                                          ratios (henceforth, IRR). The IRR are obtained by exponen-
        Hispanic white (white) were obtained from the US Census                           tiation of the regression coefﬁcients, that is, exp (ˇ). The
        Bureau.                                                                           expression 100*(exp(ˇ) − 1) is the percentage change in the

        3.2.2.2. Firearms regulations. In order to maximize varia-
        tion across states and over time in the measure of gun                              6
                                                                                              In some states, this prohibition refers to undocumented immigrants,
        control, we created three additive indices that reﬂect                            while in others to individuals who have “forsaken their allegiance to the
        different categories of ﬁrearms regulations. The ﬁrst                             United States”.
                                                                                            7
                                                                                              http://www.ojp.usdoj.gov/bjs/.
        index––arguably is the most important in terms of sui-                              8
                                                                                              Available at www.fws.gov.
        cide prevention––measures general prohibitions. It is the                           9
                                                                                              The model was also estimated using the ﬁrearm suicide proxy, and
        sum of two indicator variables reﬂecting the presence                             results were very similar. We do not report them here for brevity.



                                                                              Exhibit 5
                                                                                0063
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        Table 2
        Summary statistics (N = 500).

          Variables                                                    Mean                      Std. Dev.             Min             Max

          Dependent variables
          Male suicides, total                                         484.09                    476.87                49              2939
          Male suicide, ages 15–24                                      70.95                     62.67                 3               421
          Male suicide, ages 25–44                                     191.06                    181.23                18              1191
          Male suicide, ages 45–64                                     134.20                    134.80                 7               831
          Male suicide, ages >65                                        93.36                    102.79                 1               575

          Socio-economic variables
          Percent with bachelor’s degree                                24.65                       4.67               12.70             38.70
          Real per capita income (log)                                  10.20                       0.15                9.82             10.65
          Unemployment rate                                              4.81                       1.17                2.20              8.20
          Beer consumption per capita (units)                            1.27                       0.20                0.73              1.91
          Percent non-hispanic white (multiply by 100)                   0.78                       0.15                0.26              0.99
          Percent 65 years or older (same)                               0.14                       0.11                0.05              1.34

          Gun supply
          Hunting licenses per capita                                     0.087                     0.071               0.007             0.340

          Firearm regulation
          General prohibitions (1)
          Permit requirements                                             0.22                      0.41                0                 1
          Ban on purchase by minors                                       0.68                      0.47                0                 1
          General prohibitions index                                      0.90                      0.63                0                 2

          Behavioral prohibitions (2)
          Mental health problem                                           0.47                      0.50                0                 1
          Alcohol problem                                                 0.34                      0.47                0                 1
          Drug problem                                                    0.41                      0.49                0                 1
          Misdemeanor conviction                                          0.36                      0.48                0                 1
          Domestic violence conviction                                    0.29                      0.45                0                 1
          Behavioral prohibitions index                                   1.87                      1.70                0                 5

          Criminal prohibitions (3)
          Alien                                                           0.15                      0.36                0                 1
          Felony                                                          0.73                      0.45                0                 1
          Juvenile offense                                                0.41                      0.49                0                 1
          Fugitive                                                        0.17                      0.38                0                 1
          Criminal prohibitions index                                     1.46                      1.11                0                 4

        Sources: See text.



        incidence or risk of suicide mortality for each unit increase                 is included primarily as a robustness check. As expected,
        in the independent variable.                                                  this variable does not enter with a statistically signiﬁcant
            The ﬁrst two models show the effects of ﬁxed state and                    coefﬁcient.
        year effects (Model 1), and the ﬁxed effects in addition                          Table 4 shows the effects of the speciﬁc ﬁrearm restric-
        to a set of socio-demographic variables—namely educa-                         tions on suicide for particular age groups. Separate models
        tion, income, alcohol consumption, the proportion of the                      were estimated for males aged 15–24, 25–44, 45–64, and
        population over age 65, and the proportion of the pop-                        65 years of age and older. In all models, we control for gun
        ulation which is non-Hispanic white (Model 2). Model 3                        prevalence by including the number of hunting licenses per
        introduces the index of general prohibitions—namely gun                       capita. We ﬁnd that gun control measures do not affect
        control regulations which affect the largest number of peo-                   all age groups identically. For instance, a ban on ﬁrearm
        ple and which create general barriers to entry. We ﬁnd                        purchases by minors affects suicides particularly among
        the general prohibition index to be statistically signiﬁ-                     younger males, while restrictions on permits and waiting
        cant, both individually and when we include our proxy for                     period requirements have a more deterrent effect on for
        gun prevalence, (hunting licenses per capita), which enters                   older males. Unexpectedly, permit requirements appear
        insigniﬁcantly (Model 4).                                                     to have a positive effect on suicide rates among younger
            The next model includes the second index of gun control                   males. Among the behavior-related restrictions, prohibi-
        measures, which aims to capture ﬁrearm restrictions based                     tions related to mental health problems are only signiﬁcant
        on behavioral issues such as a history of mental health or                    for males aged 25–44 years, and prohibitions related to
        alcohol/drug problems. While signiﬁcant, the IRR is 0.9946,                   alcohol problems are only signiﬁcant for males aged 65
        as compared with the IRR from Model 3 which was 0.9440,                       years or older. The drug and misdemeanor conviction bans
        and the coefﬁcient in Model 4 is only signiﬁcant at the 10                    do not enter signiﬁcantly for any of the age groups, and the
        percent level. The addition of the gun ownership measure                      prohibition linked to a history of domestic violence only
        (Model 5) does not affect the results. Model 6 includes our                   affects suicides among those aged 45–64 years. None of
        last index, which captures gun control measures that are                      the criminal prohibitions enter signiﬁcantly for speciﬁc age
        hypothesized to be unlikely to affect suicide. This model                     groups, and are therefore omitted.



                                                                        Exhibit 5
                                                                          0064
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        Table 3
        Results of negative binomial regressions with additive indices of ﬁrearm restrictions. Regressions for all males, 1995–2004 (N = 500). Dependent variable
        is the number of male suicides, exposure variable is the male population.

                                           Model 1         Model 2                 Model 3         Model 4                            Model 5         Model 6
                                           Fixed effects   Socio-economic          General         General prohibitions and           Behavioral      Criminal
                                           only            variables               Prohibitions    hunting licenses per capita        prohibitions    prohibitions

         State Fixed Effects               X               X                       X               X                                  X               X
         Year Fixed Effects                X               X                       X               X                                  X               X
         High School graduates (%)                               0.9985             0.9991                0.9991                          0.9986          0.9984
         S.E.                                                    0.0017             0.0017                0.0017                          0.0016          0.0017
         Beer Consumption per capita                             1.1067             1.1022                1.1021                          1.1184          1.0988
         S.E.                                                    0.1062             0.1039                0.1037                          0.1012          0.1011
         Unemployment rate                                       1.0181**           1.0185**              1.0185**                        1.0165**        1.0179**
         S.E.                                                    0.0075             0.0076                0.0075                          0.0074          0.0073
         Log of median HH income                                 0.6394**           0.6433**              0.6428**                        0.6376**        0.6375**
         S.E.                                                    0.1424             0.1418                0.1429                          0.1338          0.1435
         Percent non-Hispanic White                              3.5333***          3.5115***             3.5152***                       3.3638***       3.5250***
         S.E.                                                    1.5326             1.5247                1.5171                          0.0145          1.5327
         Percent > 65 years                                      1.1245***          1.1232***             1.1232***                       1.1166***       1.1261***
         S.E.                                                    0.0147             0.0153                0.0153                          0.0145          0.0157
         General prohibitions index (1)                                             0.9440***             0.9438***
         S.E.                                                                       0.0093                0.0099
         Behavioral prohibitions index (2)                                                                                                0.9946*
         S.E.                                                                                                                             0.0030
         Criminal prohibitions index (3)                                                                                                                  1.0035
         S.E.                                                                                                                                             0.0068
         Hunting Licenses Per Capita                                                                      0.9692
         S.E.                                                                                             0.4548

         Log likelihood                    −2228.3         −2199.2                                 −2199.1                           −2199.1          −2200.3
         Ln alpha                          −7.0532            −7.6410             −7.6475             −7.6477                           −7.6692          −7.6597
         Alpha                             0.0009              0.0005              0.0005              0.0005                            0.0005           0.0005

        Notes: Constant term included but not reported. (1) General prohibitions index: permit requirement, ban on purchase by minor. Range 0–2 (2) Behavioral
        prohibitions index: mental health, alcohol problems (or intoxication), drug problems, domestic violence conviction, misdemeanor conviction. Range: 0–5.
        (3) Criminal prohibitions index: alien, prior felony conviction, fugitive from justice, serious offense as a juvenile. Range: 0–4.
           *
             p < .10.
          **
             p < .05.
         ***
             p < .01.




        Table 4
        Results of negative binomial regressions with individual ﬁrearm restrictions. Regressions by age groups (15–24, 25–44, 45–64, 65+) N = 500. Dependent
        variable is the number of male suicides, exposure variable is the male population, within age groups.

                                                               Model 1                      Model 2                       Model 3                         Model 4
                                                               15–24 years                  25–44 years                   45–64 years                     65+

         General prohibitions
         Permit requirement                                    1.2043***                    0.9741                        0.8601***                       0.8518***
         S.E.                                                  0.0343                       0.0188                        0.0208                          0.0222
         Ban on minor purchase                                 0.8715*                      0.8647***                     0.9867                          1.0304
         S.E.                                                  0.0679                       0.0183                        0.0817                          0.0756

         Behavioral prohibitions
         History of mental health problems                     0.9949                       0.9657***                     0.9948                          1.0435
         S.E.                                                  0.0245                       0.0111                        0.0212                          0.0246
         History of alcohol abuse                              1.0015                       1.0085                        0.9916                          0.9437***
         S.E.                                                  0.0199                       0.0168                        0.0196                          0.0166
         History of drug abuse                                 0.9723                       0.9972                        1.0017                          1.0086
         S.E.                                                  0.0229                       0.0167                        0.0220                          0.0241
         Misdemeanor conviction                                1.0169                       0.9848                        0.9758                          1.0062
         S.E.                                                  0.0216                       0.0159                        0.0160                          0.0293
         Domestic violence conviction                          0.9812                       1.0048                        0.9630**                        0.9700
         S.E.                                                  0.0261                       0.0190                        0.0167                          0.0185

        Note: All models include state and year ﬁxed effects, as well as control variables for the level of education, unemployment rate, income per capita, and
        the percent of non-Hispanic white population. A proxy for gun prevalence (hunting licenses per capita) is also included. Constant term included but not
        reported.
           *
             p < .10.
          **
             p < .05.
         ***
             p < .01.




                                                                             Exhibit 5
                                                                               0065
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        5. Discussion                                                             Camelia Minoiu, and Gary Kleck for helpful comments and
                                                                                  suggestions on earlier drafts.
            Restricting access to lethal means is an important
        element in suicide prevention. While means restriction                    References
        activities are not solely focused on ﬁrearms, in the United
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        Conﬂict of interest
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        for useful comments and suggestions on an earlier ver-                         with this method? Social Psychiatry and Psychiatric Epidemiology
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                                                                    Exhibit 5
                                                                      0066
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                                                                             Exhibit 5
                                                                               0067
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             EXHIBIT "6"




                                   Exhibit 6
                                     0068
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      ORIGINAL ARTICLE




                                                                                                                                                Inj Prev: first published as 10.1136/ip.2004.007062 on 1 April 2005. Downloaded from http://injuryprevention.bmj.com/ on 16 July 2019 by guest. Protected by copyright.
  An evaluation of state firearm regulations and homicide and
  suicide death rates
  M Rosengart, P Cummings, A Nathens, P Heagerty, R Maier, F Rivara
  ...............................................................................................................................
                                                                            Injury Prevention 2005;11:77–83. doi: 10.1136/ip.2004.007062


                              Objective: To determine if any of five different state gun laws were associated with firearm mortality: (1)
                              ‘‘shall issue’’ laws permitting an individual to carry a concealed weapon unless restricted by another
                              statute; (2) a minimum age of 21 years for handgun purchase; (3) a minimum age of 21 years for private
                              handgun possession; (4) one gun a month laws which restrict handgun purchase frequency; and (5) junk
                              gun laws which ban the sale of certain cheaply constructed handguns.
                              Design: A cross sectional time series study of firearm mortality from 1979 to 1998.
                              Setting: All 50 states and the District of Columbia.
  See end of article for      Subjects: All residents of the United States.
  authors’ affiliations
  .......................     Main outcome measures: Firearm homicides, all homicides, firearm suicides, and all suicides.
                              Results: When a ‘‘shall issue’’ law was present, the rate of firearm homicides was greater, RR 1.11 (95%
  Correspondence to:          confidence interval 0.99 to 1.24), than when the law was not present, as was the rate of all homicides, RR
  Dr M R Rosengart,
  University of Pittsburgh,   1.08 (95% CI 0.98 to 1.17), although this was not statistically significant. No law was associated with a
  F1266.1, 200 Lothrop        statistically significant decrease in the rates of firearm homicides or total homicides. No law was
  Street, Pittsburgh, PA      associated with a statistically significant change in firearm suicide rates.
  15213, USA;                 Conclusion: A ‘‘shall issue’’ law that eliminates most restrictions on carrying a concealed weapon may be
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                              associated with increased firearm homicide rates. No law was associated with a statistically significant
  .......................     reduction in firearm homicide or suicide rates.




  D
         uring 2001 there were approximately 81 firearm fatal-          cheaply constructed handguns. We used a longitudinal
         ities each day in the United States1 2 Over the decade         analysis to estimate the adjusted rate of each mortality
         1991–2000, 215 822 homicides occurred, of which                outcome after each law went into effect, compared with what
  147 281 (68%) were committed with a firearm, and 305 384              would have been anticipated without that law. We used cross
  suicides occurred, of which 179 244 (59%) were committed              sectional time series data for all 50 states and the District of
  with a firearm.3                                                      Columbia in the US with data regarding mortality, laws, and
     Legislators have passed many state level statutes regulating       other variables for each year from 1979–98.
  ownership or access to handguns with the anticipated goal of
  curtailing deaths related to firearms.1 4 Many laws have not          MATERIALS AND METHODS
  been studied, and little is known about the association of            Outcome data
  these state laws with firearm deaths. For other laws,                 Our main outcome measures were firearm related and total
  uncertainty persists regarding the presence and direction of          homicide, and firearm related and total suicide death rates
  the association with firearm mortality.5 6 Studies of ‘‘shall         per 100 000 person years. Total mortality rates were included
  issue’’ laws that permit an individual to carry a concealed           in the analysis to evaluate whether any association between
  weapon unless restricted by another statute have reported             the law and firearm mortality rates persisted in the respective
  decreased, unchanged, and increased homicide rates with               total death rate. State and year specific deaths and popula-
  law implementation.5 6 An evaluation of Maryland’s junk gun           tion data were available from the National Center for Health
  law, banning cheaply constructed handguns, reported both              Statistics’ compressed mortality files for the period 1979–98.3
  increased and decreased firearm homicide rates after law              Data were categorized by sex, race (white, black, or other),
  enactment, although the association and its magnitude                 and age (less than 1 years, 1–4, 5–9, 10–14, 15–19, 20–24,
  depended upon the manner by which the effect of the law               25–34, 35–44, 45–54, 55–64, 65–74, 75–84, and older than
  was modeled.7 Recently a study of minimum age restrictions            85 years). Violent deaths were categorized using the
  for the purchase and possession of firearms reported that             International Classification of Disease, Ninth Revision
  neither law appeared to reduce overall rates of suicide among         (ICD-9) external cause of death codes as follows: homicides
  youth.8 Because of the lack of evidence and continued                 (E960–969), suicides (E950–959), homicides by firearm
  controversy, we studied the association between five different        (E965.0–965.4), and suicides by firearm (E955.0–955.4).9
  state gun laws and four outcomes: firearm homicides, all
  homicides, firearm suicides, and all suicides. The laws               Legislation data
  studied were: (1) ‘‘shall issue’’ laws permitting an individual       Information about the presence of each law was obtained by
  to carry a concealed handgun unless that person is restricted         reviewing the criminal statutes and codes of each state for
  to do so by another statute; (2) laws restricting the minimum         the period 1979 through 1998. Enactment dates for each law
  age for purchase of a handgun to 21 years; (3) laws                   were ascertained by reviewing the sessions of each statute for
  restricting the minimum age for private possession of a               each state. From 1979–98, 23 states adopted ‘‘shall issue’’
  handgun to 21 years; (4) one gun a month laws which
  restrict handgun purchase frequency to one in a 30 day                Abbreviations: ICD-9, International Classification of Diseases, Ninth
  period; and (5) junk gun laws which ban the sale of certain           Revision.



                                                             Exhibit 6                                              www.injuryprevention.com
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  laws permitting an individual to carry a concealed weapon            state and the District of Columbia.10 To control for national
  unless restricted by another statute, seven states adopted and       trends over time in firearm mortality rates, all states and the




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  two states repealed a law restricting the minimum age for the        District of Columbia were included in the analysis, and 19
  private purchase of a handgun to 21 years, five states adopted       indicator variables were used to represent each calendar year.
  laws restricting the minimum age for the private possession          This approach attempted to control for the influences of
  of a handgun to 21 years, two states adopted laws restricting        unmodeled factors that were common across states and were
  the number of guns purchased to one in a thirty day period,          associated with trends in homicide or suicide. We also
  and one state adopted a law banning the manufacture and              controlled for state level and individual level changes in the
  sale of junk guns (table 1).                                         following factors that may have influenced rates of crime and
    This information was compared with the state legislation           violence: proportion of the population living in metropolitan
  data published by the Bureau of Justice Statistics and the           areas, proportion of the population living below the official
  Open Society Institute to confirm the laws of each state.1 4         poverty line, proportion unemployed, and age, sex, and race
  Within each state, the time period affected by each law was          distribution.11–13 Each of the state level variables was
  considered to start with the first calendar year in which each       measured annually except proportion living in metropolitan
  law was in effect for at least six months. This assumes that         areas, which were statistics from the decennial census and
  the law’s effect occurs during the first complete year after it is   were interpolated for intercensal years. In addition, all laws
  implemented and that this effect is constant over time.              were modeled simultaneously in the regression analysis for
                                                                       each outcome. We used a robust (sandwich) estimator of
                                                                       variance, which accounts for overdispersion and for cluster-
  Statistical methods
                                                                       ing of events within a state.14 15
  Mortality rate ratios (RRs) were estimated using Poisson
  regression to compare time periods during which a law was               Because temporal trends in mortality rates varied by state,
  in effect with time periods without a law within each state;         we included interaction terms between each state and time
  hence, 50 indicator variables were included to represent each        (year as a continuous variable) to account for this variation,
                                                                       thereby modeling temporal trends in mortality rates specific
                                                                       to each state. In addition, because the effect of a law may
          Table 1 Year of statute implementation, United               vary by state, interaction terms between the categorical
          States, 1979–98                                              variables state and law were included, and state specific RRs
                                                                       were calculated. Each law was modeled with state inter-
           State                              Year
                                                                       actions, while the remaining laws were included as binary
           ‘‘Shall issue’’ law                                         covariates. Variation in state specific RRs was evaluated with
              Alaska                           1994                    both tests of homogeneity and I2.16–19 This latter statistic
              Arizona                          1994
              Arkansas                         1995
                                                                       ranges from 0–100% and estimates the percentage of total
              Florida                          1987                    variation in RR estimates that is due to heterogeneity
              Georgia                          1989                    between states. Because of the heterogeneity in RRs, we
              Idaho                            1990                    summarized rate ratio estimates across states using the
              Kentucky                         1996
                                                                       random effects method of DerSimonian and Laird.17 The
              Louisiana                        1996
              Maine                            1985                    random effects summary allows for the possibility that each
              Mississippi                      1990                    law may have a different effect in each state and this
              Montana                          1991                    additional variation between states is accounted for in the
              Nevada                           1995                    confidence interval. All rate ratios were adjusted for temporal
              North Carolina                   1995
              Oklahoma                         1995                    trends and for all potential confounding variables.
              Oregon                           1990                       The minimum age laws restricted the purchase or posses-
              Pennsylvania                     1989                    sion of a handgun to people over 20 years of age. To evaluate
              South Carolina                   1996                    whether the association of these laws with each outcome
              Tennessee                        1994
              Texas                            1995                    may vary with a particular age group, we introduced
              Utah                             1995                    interaction terms between age and each of these two laws.
              Virginia                         1986                    Initially we introduced interaction terms between age
              West Virginia                    1989                    (younger than 20 years, 20 years or older) and all other
              Wyoming                          1994
           Minimum age of 21 years for private
                                                                       model terms. We chose this definition for this new
           purchase                                                    dichotomous age covariate as it was compatible with the
              California                       1984                    categories of age stratification provided by the available
              Connecticut                      1994                    database. The model with the lowest Akaike information
              Delaware                         1987
              Georgia                          1994 (repealed)
                                                                       criteria statistic included terms for the interaction of both
              Hawaii                           1994                    state and year with age.15 We then introduced a term for the
              Massachusetts                    1994                    interaction of age and the two laws and estimated separate
              Missouri                         1981                    RRs for each age group.
              Nebraska                         1991
              Washington                       1994 (repealed)
           Minimum age of 21 years for private                         Regression to the mean
           possession
                                                                       There was temporal variation in state specific firearm
              Connecticut                      1994
              Hawaii                           1994                    mortality rates. If a state were to have a period of unusually
              Maryland                         1996                    high firearm mortality rates as part of this expected variation,
              Massachusetts                    1994                    lawmakers might have been stimulated to pass laws
              Missouri                         1981                    regulating handguns. Hence, any observed beneficial
           One gun per month
              Maryland                         1996                    response of legislation may represent the natural tendency
              Virginia                         1993                    for mortality rates to regress to their mean rates.20 Similarly, a
           Junk gun ban                                                law may be observed to have an adverse effect if mortality
              Maryland                         1990                    rates were particularly low before its implementation. To
                                                                       evaluate whether regression to the mean might explain all or
                                                                       part of any statistically significant association of any law with



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  firearm mortality, we compared the firearm mortality rate in                                                 years before implementation of the shall issue law was nearly
  the two year period before that law went into effect with                                                    the same as in earlier years, RR 1.01 (95% CI 0.94 to 1.09).




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  previous years in the same state, adjusted as in all our
  analyses.                                                                                                    Homicide rate ratios by age subgroups
     All data used were publicly available without identifiers,                                                The RRs for laws restricting the minimum age to 21 years for
  and thus the study was considered exempt from institutional                                                  private purchase or possession varied little by age group; p
  review board review.                                                                                         values for a test that RRs varied by age group (younger than
                                                                                                               20 years, 20 years or older), were all equal to or greater than
  RESULTS                                                                                                      0.10 (table 3).
  Temporal trends in mortality                                                                                   In all subgroups the RR estimates had 95% confidence
  During the 20 years of the study, there were 442 702                                                         intervals that included 1.
  homicide deaths, of which 289 719 (65%) were firearm
  related, and 596 704 suicides, of which 352 196 (59%) were                                                   Suicide rate ratios
  firearm related (figs 1 and 2). Firearm homicide rates peaked                                                There was little evidence that state rate ratios varied with
  at 7.1 per 100 000 person years in 1993, while total homicide                                                each law, except for the minimum age of 21 years for
  rates peaked at 10.5 in 1980 and again at 10.4 in 1991.                                                      possession: p = 0.02 and I2 reached 64% (fig 4, table 4).
  Firearm suicide rates peaked twice at 7.6 per 100 000 person
                                                                                                                 No law was associated with a statistically significant
  years, once in 1986 and again in 1990; total suicide rates
                                                                                                               change in firearm suicide rates (table 4). A law that banned
  peaked at 12.9 in 1986. Mortality rates differed substantially
                                                                                                               the sale of junk guns was associated with a decrease in total
  between states; to display this we plotted the median
                                                                                                               suicide rates, RR 0.86 (95% CI 0.77 to 0.96).
  mortality rate among the states with the interquartile range
  (figs 1 and 2).
                                                                                                               Suicide rate ratios by subgroups
                                                                                                               The RRs for laws restricting the minimum age to 21 years for
  Homicide rate ratios
                                                                                                               private purchase or possession varied little by age group; p
  There was little evidence of variation in state rate ratios with
                                                                                                               values for a test that RRs varied by age group (younger than
  a minimum age of 21 years for private purchase law or a one
                                                                                                               20 years, 20 years or older), were all equal to or greater than
  gun a month law; p values for heterogeneity were not less
                                                                                                               0.20 (table 3).
  than 0.38 and the I2 values did not exceed 7% (fig 3, table 2).
     For the minimum age of 21 years for possession law, the I2
  reached 39%. For ‘‘shall issue’’ laws the p values for tests of                                              DISCUSSION
  heterogeneity in rate ratios were statistically significant                                                  From 1979 to 1998 many states passed laws regulating
  (p,0.001) and the I2 values were 86% and 85%. The observed                                                   handguns. Our analyses suggest that a ‘‘shall issue’’ law that
  homicide rate after passage of a ‘‘shall issue’’ law was lower                                               eliminates most restrictions on carrying a concealed weapon
  in the period without the law (table 2). However, after                                                      does not confer a reduction in firearm homicide and may be
  adjusting for potential confounding and temporal trends in                                                   associated with increased mortality rates. No law was
  homicide rates, when a ‘‘shall issue’’ law was present, the                                                  associated with a statistically significant decrease in firearm
  rate of firearm homicides was greater than when it was not                                                   homicide or suicide rates.
  present, RR 1.11 (95% CI 0.99 to 1.24), as was the rate for all                                                 Due to the observational and ecological nature of this
  homicides, RR 1.07 (95% CI 0.98 to 1.17), although neither                                                   study, bias due to confounding may persist because of an
  was statistically significant (table 2). Summarized across all                                               inability to account for all risk factors that might distort the
  states, no law was associated with a statistically significant                                               observed associations.21 22 However, the ‘‘shall issue’’ law was
  decrease in the rates of firearm homicides or total homicides.                                               passed in many states, which are diverse in nature and
     We found little evidence that regression to the mean might                                                represent all regions of the United States. In addition, the
  explain this association of a ‘‘shall issue’’ law and increased                                              analysis was state specific, based upon a comparison within
  firearm homicide, as the firearm homicide rate in the two                                                    each state before and after each law took effect. Information


                                                  80                                                                                       Figure 1 Trends in firearm and total
                                                               Firearm homicides                                                           homicide rates, United States, 1979–
                                                                                                                                           98. Each box and whisker represents
  Deaths per 100 000 person years (log scale)




                                                               Total homicides
                                                  40
                                                                                                                                           the range of state mortality rates for that
                                                                                                                                           year. Horizontal line indicates the
                                                  20                                                                                       median; box denotes the 25–75th
                                                                                                                                           percentile (interquartile range (IQR));
                                                  10                                                                                       whiskers indicate outer limits and
                                                                                                                                           extend to the last value before 1.5 6
                                                                                                                                           IQR past the 25th and 75th percentile;
                                                   5                                                                                       squares and circles indicate states
                                                                                                                                           exceeding outer limits.
                                                  2.5


                                                 1.25


                                                0.625




                                                        1979    1981    1983    1985    1987    1989    1991    1993    1995    1997
                                                            1980    1982    1984    1986    1988    1990    1992    1994    1996    1998
                                                                                              Year




                                                                                                     Exhibit 6                                          www.injuryprevention.com
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                                                     80                                                                                                                                   Figure 2 Trends in firearm and total
                                                                        Firearm suicides                                                                                                  suicide rates, United States, 1979–98.




                                                                                                                                                                                                                                       Inj Prev: first published as 10.1136/ip.2004.007062 on 1 April 2005. Downloaded from http://injuryprevention.bmj.com/ on 16 July 2019 by guest. Protected by copyright.
   Deaths per 100 000 person years (log scale)
                                                                        Total suicides                                                                                                    Each box and whisker represents the
                                                     40                                                                                                                                   range of state mortality rates for that
                                                                                                                                                                                          year. Horizontal line indicates the
                                                                                                                                                                                          median; box denotes the 25–75th
                                                     20
                                                                                                                                                                                          percentile (IQR); whiskers indicate outer
                                                                                                                                                                                          limits and extend to the last value before
                                                                                                                                                                                          1.5 6 IQR past the 25th and 75th
                                                                                                                                                                                          percentile; squares and circles indicate
                                                     10                                                                                                                                   states exceeding outer limits.


                                                      5



                                                    2.5



                                                   1.25

                                                             1979    1981    1983    1985    1987    1989    1991    1993    1995    1997
                                                                 1980    1982    1984    1986    1988    1990    1992    1994    1996    1998
                                                                                                                   Year



  from other states was only used to control for any national                                                                                             with ‘‘shall issue’’ laws.5 This difference may stem from the
  trend in mortality.                                                                                                                                     additional 13 states that implemented a ‘‘shall issue’’ law
     The increased firearm homicide rate observed after                                                                                                   during the period of our study. We have used dates of
  implementation of a ‘‘shall issue’’ law permitting nearly                                                                                               enactment similar to those of Lott and Mustard and of Ayres
  unrestricted carrying of concealed weapons was based upon                                                                                               and Donohue.5 6 Even if we employ the coding scheme of
  an analysis of 23 states. Regression to the mean does not                                                                                               Vernick, which identified different implementation dates for
  explain our observations, as the homicide rate in the two                                                                                               five states, we obtain a similar increase in firearm homicide
  years preceding the law differed little from the rate in                                                                                                with passage of a ‘‘shall issue’’ law, RR 1.10 (95% CI 0.98 to
  previous years within the same state.                                                                                                                   1.23).23
     Our results are in contrast to those of Lott and Mustard,                                                                                               Hence, differing statistical methods appear to account for
  who reported a 7.65% reduction in homicide rates associated                                                                                             most of the discrepancy. Lott and Mustard used weighted


     A                                                                                              B                                                                                     Figure 3 State mortality rate ratio:
                                                                                                                                                                                          firearm homicide, United States, 1979–
                                                      AK                                                                                                                                  98. (A) ‘‘Shall issue’’ law; (B) minimum
     States amending law, 1979–98




                                                                                                    States amending law, 1979–98




                                                      AZ                                                                                CA
                                                      AR                                                                                                                                  age of 21 years for private purchase;
                                                       FL
                                                     GA                                                                                 CT                                                (C) minimum age of 21 years for
                                                       ID
                                                      KY                                                                                DE                                                private possession; (D) one gun a
                                                      LA
                                                     ME                                                                                 GA                                                month law. States enacting the law
                                                     MS                                                                                                                                   during the study period are represented
                                                     MT                                                                                  HI
                                                     NV
                                                     NC                                                                                                                                   on the ordinate. Boxes indicate state
                                                                                                                                        MA
                                                     OK
                                                     OR                                                                                                                                   rate ratio. Box size is proportional to
                                                     MO
                                                      PA
                                                                                                                                       MO                                                 the inverse variance of each state rate
                                                      SC
                                                      TN
                                                                                                                                        NE                                                ratio. Lines indicate 95% confidence
                                                       TX
                                                      VA                                                                                WA                                                interval. Diamond indicates random
                                                     WV                                                                                                                                   effects summary estimate of mortality
                                                     WY
                                                 Combined                                                                          Combined
                                                                                                                                                                                          rate ratio.
                                                                  0.5          1            2   4                                                   0.5           1               2   4
                                                                               Rate ratio                                                                        Rate ratio

  C                                                                                                 D
     States amending law, 1979–98




                                                                                                    States amending law, 1979–98




                                                      CT

                                                                                                                                        MD
                                                       HI


                                                      MD
                                                                                                                                        VA
                                                      MA


                                                     MO




                                                 Combined                                                                          Combined
                                                            0.5            1                2   4                                             0.5            1                2       4
                                                                               Rate ratio                                                                        Rate ratio




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                       Table 2      Homicides in states with a change in the law, United States, 1979–98*




                                                                                                                                                                       Inj Prev: first published as 10.1136/ip.2004.007062 on 1 April 2005. Downloaded from http://injuryprevention.bmj.com/ on 16 July 2019 by guest. Protected by copyright.
                                                                       Minimum age        Minimum age
                                                     ‘‘Shall issue’’   of 21 years for    of 21 years for   One gun a      Junk
                                                     law               purchase           possession        month          gun ban

                        Firearm homicides
                           Rate with law            5.00              4.91               4.61              6.13           8.83
                           Rate without law         5.90              3.10               3.86              6.55           6.12
                           Range of rate ratios      0.53–2.71         0.60–1.64          0.93–1.72         1.01–1.07      NA
                           p Value`                  ,0.001            0.38               0.16              0.76           NA
                           I21                       86%               7%                 39%               0%             NA
                           RR                       1.11              0.98               1.06              1.02           0.94
                           95% CI                    0.99–1.24         0.91–1.06          0.88–1.27         0.89–1.17      0.73–1.19
                        All homicides
                           Rate with law            7.50              7.70               6.99              8.49           12.2
                           Rate without law         8.99              5.51               6.48              9.74           9.71
                           Range of rate ratios      0.58–2.10         0.85–1.37          0.89–1.43         0.99–1.09      NA
                           p Value`                  ,0.001            0.55               0.12              0.56           NA
                           I21                       85%               0%                 46%               0%             NA
                           RR                       1.07              1.00               1.02              1.00           0.94
                           95% CI                    0.98–1.17         0.94–1.05          0.89–1.18         0.90–1.12      0.78–1.14

                        *For states amending or implementing the law during the period 1979–98.
                        Mean count per 100 000 person years for states in which law was implemented during study period.
                        `p Value for test of homogeneity.
                        1Percentage of total variation in RR due to between state heterogeneity.
                        Regression derived rate ratio of mortality rate with the law to mortality rate without the law, adjusted for all
                        confounders.
                        NA, not applicable because there was only one state with this law.



  least squares linear regression to evaluate the association                       state and year. Finally, we used a random effects summary
  between the natural logarithm of homicide rates and passage                       estimator to calculate a final law summary estimate, which
  of the law. Their regression aggregated all states, thereby                       gives more weight to smaller states compared with a fixed
  assuming a similar impact of the law for each state in which                      effects summary. Nevertheless, although the confidence
  it was implemented. However, the heterogeneity in state                           intervals for the random effects summary rate ratios were
  specific RRs after implementation of the law was substantial;                     appreciably greater than those from a fixed effects summary
  the RRs for firearm homicide ranged from 0.53 to 2.71 (test of                    estimate, the rate ratios for random and fixed effects never
  homogeneity, p,0.001), and 86% of this variation was due to                       differed by more than 0.01. If we assume a constant impact of
  heterogeneity beyond what was expected by chance.                                 the law across all adopting states and combine the states by
  Donohue and Ayers reported similar state variation in the                         removing the state-law interaction term and assume that
  association between ‘‘shall issue’ laws and homicide rates.                       temporal trends in mortality were the same for every state by
  They emphasized that the aggregated estimate was more                             removing the state-year interactions from our regression
  heavily influenced by earlier adopting jurisdictions, as they                     model, yet still employ a Poisson regression model with
  contributed more post-passage years to the analysis.6 In their                    robust variance estimator and control for all the same
  disaggregated analysis of Lott’s data, 16 of the 23 states                        demographic and socioeconomic covariates, we produce
  implementing a ‘‘shall issue’’ law observed an increase in                        estimates similar to those of Lott and Mustard for firearm
  murder, similar to the 15 noted in our study, and the                             homicide, RR 0.95 (95% CI 0.91 to 1.00) and total homicide,
  population weighted fixed effects summary estimate was                            RR 0.97 (95% CI 0.94 to 1.01). We believe these estimates are
  associated with a non-significant 0.6% increase in homicides.                     inaccurate because they fail to account for the variation in
     We tried to account for this variation in state rate ratios by                 risk ratios across states and the variation between states in
  including state specific interactions and calculating state                       homicide rates over time.
  specific RRs. We also modeled time specific to each state by                         No law was associated with a significant reduction in
  allowing temporal trends in homicide rates to vary between                        either firearm homicide or suicide rates. Similar to the recent
  states through the inclusion of interactions terms between                        study of Webster et al, we did not find significant evidence

                       Table 3 Rate ratios for homicide and suicide rates post-law compared with pre-law by
                       age group, United States, 1979–98*
                                             Minimum age of 21 years for purchase             Minimum age of 21 years for possession

                                             Homicide                  Suicide                Homicide              Suicide

                                             RRÀ        95% CI         RR        95% CI       RR         95% CI     RR         95% CI

                        Firearm deaths
                           ,20 years         0.92       0.80–1.06 0.94           0.80–1.06 0.91          0.72–1.15 0.93        0.77–1.12
                           >20 years         0.99       0.93–1.06 1.02           0.96–1.08 1.08          0.89–1.31 0.99        0.88–1.13
                           p Value`          0.22                 0.62                     0.10                    0.95
                        All deaths
                           ,20 years         0.92       0.81–1.05 1.10           0.94–1.29 0.98          0.79–1.20 1.15        0.93–1.42
                           >20 years         1.01       0.95–1.06 1.04           0.99–1.10 1.03          0.88–1.20 1.04        0.95–1.13
                           p Value`          0.39                 0.12                     0.43                    0.21

                        *For states implementing the law during the period 1979–98.
                        Regression derived rate ratio of mortality rate with the law to mortality rate without the law.
                        `p Value for age-law interaction.




                                                                        Exhibit 6                                                           www.injuryprevention.com
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Case                                                    Rosengart, Cummings,
                                                                         PageNathens,
                                                                                 87 ofet al232



   A                                                                                  B                                                                                           Figure 4 State mortality rate ratio:
                                                                                                                                                                                  firearm suicide, United States, 1979–




                                                                                                                                                                                                                             Inj Prev: first published as 10.1136/ip.2004.007062 on 1 April 2005. Downloaded from http://injuryprevention.bmj.com/ on 16 July 2019 by guest. Protected by copyright.
                                       AK                                                                                                                                         98. (A) ‘‘Shall issue’’ law; (B) minimum
   States amending law, 1979–98




                                                                                       States amending law, 1979–98
                                       AZ                                                                                  CA
                                       AR                                                                                                                                         age of 21 years for private purchase;
                                        FL
                                      GA                                                                                   CT                                                     (C) minimum age of 21 years for
                                        ID
                                       KY                                                                                  DE                                                     private possession; (D) one gun a
                                       LA
                                      ME                                                                                   GA                                                     month law. States enacting the law
                                      MS                                                                                                                                          during the study period are represented
                                      MT                                                                                    HI
                                      NV                                                                                                                                          on the ordinate. Boxes indicate state
                                      NC
                                                                                                                           MA
                                      OK
                                      OR                                                                                                                                          rate ratio. Box size is proportional to
                                      MO
                                       PA
                                                                                                                          MO                                                      the inverse variance of each state rate
                                       SC
                                       TN
                                                                                                                           NE                                                     ratio. Lines indicate 95% confidence
                                        TX
                                       VA                                                                                  WA                                                     interval. Diamond indicates random
                                      WV                                                                                                                                          effects summary estimate of mortality
                                      WY
                                  Combined                                                                            Combined
                                                                                                                                                                                  rate ratio.
                                             0.5   1                 2            4                                              0.5         1                2               4
                                                        Rate ratio                                                                               Rate ratio

  C                                                                                   D
   States amending law, 1979–98




                                       CT                                              States amending law, 1979–98
                                                                                                                           MD
                                        HI


                                       MD
                                                                                                                           VA
                                       MA


                                      MO




                                  Combined                                                                            Combined
                                             0.5    1                2            4                                              0.5         1                2               4
                                                        Rate ratio                                                                               Rate ratio



  that laws restricting the minimum age for purchase or                                                                                 law, raises suspicion as to the validity of these observations.
  possession reduced either firearm suicide or homicide rates in                                                                        Alternatively, our results may stem from our assumption that
  youths, although our estimated rate ratios were all less than                                                                         the effect of each law was immediate and constant. A study
  1.8 These minimum age for purchase or possession laws,                                                                                of Maryland’s ban on ‘‘Saturday Night Specials’’ noted that
  however, were amended in only nine and five states,                                                                                   estimates of the law effect on firearm homicide rates
  respectively, for which only three and one state had at least                                                                         depended upon assumptions made about the timing of the
  five years of post-amendment data. This, in combination with                                                                          law’s effect; assuming a delayed and gradual effect of the law
  the increase, albeit non-significant, in total suicides for either                                                                    best accounted for the variability in the data.7


                                                   Table 4      Suicides in states with a change in the law, United States, 1979–98*
                                                                                                                           Minimum age       Minimum age
                                                                                Shall issue                                of 21 years for   of 21 years for      One gun a
                                                                                law                                        purchase          possession           month            Junk gun ban

                                                   Firearm suicides
                                                      Rate with law            9.70                                       7.03              5.98                 7.34             5.46
                                                      Rate without law         10.2                                       4.94              4.18                 7.20             6.07
                                                      Range of rate ratios      0.90–1.28                                  0.80–1.46         0.83–1.50            0.99–1.09        NA
                                                      p Value`                  0.56                                       0.26              0.02                 0.32             NA
                                                      I21                       0%                                         21%               64%                  0%               NA
                                                      RR                       1.00                                       1.00              0.99                 1.03             0.91
                                                      95% CI                    0.97–1.02                                  0.94–1.06         0.88–1.13            0.94–1.12        0.81–1.04
                                                   All suicides
                                                      Rate with law            14.5                                       12.4              11.5                 11.6             9.95
                                                      Rate without law         14.5                                       10.7              9.80                 11.8             11.0
                                                      Range of rate ratios      0.87–1.18                                  0.95–1.25         0.93–1.21            0.96–1.02        NA
                                                      p Value`                  0.35                                       0.37              0.12                 0.40             NA
                                                      I21                       8%                                         8%                45%                  0%               NA
                                                      RR                       0.98                                       1.02              1.03                 1.00             0.86
                                                      95% CI                    0.96–1.01                                  0.98–1.07         0.96–1.11            0.94–1.08        0.77–0.96

                                                   *For states amending or implementing the law during the period 1979–98.
                                                   Mean count per 100 000 person years for states in which law was implemented during study period.
                                                   `p Value for test of homogeneity.
                                                   1Percentage of total variation in RR due to between state heterogeneity.
                                                   Regression derived rate ratio of mortality rate with the law to mortality rate without the law, adjusted for all
                                                   confounders.
                                                   NA, not applicable because there was only one state with this law.




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                                                                                                                             Exhibit 6
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                                                                          F Rivara, Department of Pediatrics, University of Washington, Seattle,
   Key points                                                             WA, USA




                                                                                                                                                                     Inj Prev: first published as 10.1136/ip.2004.007062 on 1 April 2005. Downloaded from http://injuryprevention.bmj.com/ on 16 July 2019 by guest. Protected by copyright.
                                                                          Competing interests: the authors declare no competing interests.
   N   There is disagreement regarding the effects of some
       laws regulating handguns on firearm mortality rates.
   N   This ecological study observed considerable variation              REFERENCES
       between states in the association of some laws                      1 Open Society Institute. Gun Control in the United States. New York,
       regulating handguns with firearm homicide and suicide                 2000:1–15.
                                                                           2 Arias E, Anderson RN, Kung HC, et al. Deaths: final data for 2001. Natl Vital
       rates.                                                                Stat Rep 2003;52:1–115.
   N   A ‘‘shall issue’’ law that permits the carrying of a                3 Compressed Mortality Files. National Center for Health Statistics, Centers for
                                                                             Disease Control and Prevention (Hyattsville, MD), 2002. Available at http://
       handgun in an unrestricted fashion may be associated                  wonder.cdc.gov (accessed 28 January 2005).
       with an increase in firearm homicide rates.                         4 US Department of Justice. Survey of state procedures related to firearm
   N   Little evidence was observed that any of the laws                     sales, midyear 2001. St Louis, Missouri: Bureau of Justice Statistics,
                                                                             2002:1–87.
       evaluated were associated with a significant reduction              5 Lott JR, Mustard DB. Crime, deterrence, and right-to-carry concealed
       in either firearm homicide or firearm suicide rates.                  handguns. J Legal Stud 1997;XXVI:1–69.
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                                                                           7 Webster DW, Vernick JS, Hepburn LM. Effects of Maryland’s law banning
                                                                             ‘‘Saturday night special’’ handguns on homicides. Am J Epidemiol
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  was associated with a statistically significant 14% reduction            8 Webster DW, Vernick JS, Zeoli AM, et al. Association between youth-focused
  in all suicide deaths. However, the reduction in firearm                   firearm laws and youth suicides. JAMA 2004;292:594–601.
  suicide deaths associated with this law was only 8%. It does             9 World Health Organization. Manual of the International Statistical
                                                                             Classification of Diseases, Injuries, and Causes of Death. Ninth Revision (ICD-
  not seem plausible to us that this law would reduce suicide                9). Geneva, Switzerland: World Health Organization, 1977.
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  that the association between this policy and all suicides is not           analysis of cohort studies. Lyon, France: International Agency for Research on
                                                                             Cancer, 1987:207–9.
  likely to be causal.                                                    11 Historical Poverty Tables. United States Census Bureau (Washington DC),
     Our analysis was restricted to states that had passed any of            2002. Available at http://www.census.gov/hhes/poverty/histpov/
  the laws under study. Had smaller jurisdictions within these               hstpov21.html (accessed 28 January 2005).
  states passed similar laws before statewide implementation,             12 Unemployment Rates. United States Department of Labor (Washington DC),
                                                                             2002. Available at http://data.bls.gov (accessed 20 February 2005).
  then our analysis might underestimate any effect. Similarly,            13 Census of Population and Housing. United States Census Bureau
  if any city or town passed these laws without statewide                    (Washington DC), 2000. Available at http://census.gov/population/www/
  implementation or if passage of these laws affected gun                    censusdata/hiscendata.html (accessed 28 January 2005).
                                                                          14 White HA. A heteroskedasticity-consistency covariance matrix estimator and a
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  analysis might also underestimate any effect. Finally, if any           15 Hardin J, Hilbe J. Generalized Linear Models and Extensions. College Station,
  city or smaller ordinance passed the law after state                       Texas: Stata Press, 2001, 27–28, 45.
                                                                          16 Higgins JP, Thompson SG, Deeks JJ, et al. Measuring inconsistency in meta-
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  Authors’ affiliations                                                      reviews of clinical trials: a critical appraisal of guidelines and practice. J Health
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  Center, Seattle, WA, USA                                                   methods. Annu Rev Public Health 1995;16:61–81.
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                                                                  Exhibit 6                                                      www.injuryprevention.com
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             EXHIBIT "7"




                                   Exhibit 7
                                     0076
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                                             1
-     ORlGl rAL CONTRIBUTIO




Association Between Youth-Focused
Firearm Laws and Youth Suicides
Dur1iel W. Webster, SeD, MPH                       Context Firearms are used in approximately half of all youth suicides. Many state
Jon S. Vernick, JD. MPH                            and federal laws include age-specific restrictions on the purchase, possession, or stor·
                                                   age of firearms; however, the association between these laws and suicides among youth
April M. Zeoli, MPH                                has not been carefully examined.
Jennifer· A. M~tugan e llo, PhD, MPH               Objective To evaluate the association between youth-focused firearm laws and sui-
                                                   cides among youth.



S
        LHCIDC: LS THF TII IRD LEADING             Design, Setting, and Participants Quasi-experimental design with annual state-
        cause of death among youth                 level data on suicide rates among US youth aged 14 through 20 years, for the period
        aged 10 ro 19 years in the                 1976-2001. Negative binomial regression models were used to estimate the associa-
        Umted Stales, accounting for               tion between state and federal youth-focused firearm laws mandating a minimum age
1883 deaths in 2001. 1 Firearms were               for the purchase or possession of handguns and state child access prevention (CAP)
used in approximately half of suicides             laws requiring safe storage of firearms on suicide rates among youth
within this age gToup in 2001 ; how-               Main Outcome Measures Association between youth-focused state and federal
ever, as recently as L994, 7 of every 10           firearm laws and rates of firearm, non firearm. and total suicides among US youth aged
su1cides among teenagers invoh·ed                  14 to 17 and 18 through 20 years.
firearms.•                                         Results There were 63954 suicides among youth aged 14 through 20 years dur-
   Firearms are one of the most lethal             ing the 1976-2001 study period, 39655 (62%) of which were committed with fire-
methods of self-harm.2 Case-control                arms. Minimum purchase-age and possession-age laws were not associated with
                                                   statistically significant reductions 1n suicide rates among youth aged 14 through 20
studies using commumty and clinical                years. State CAP laws were associated with an 8.3% decrease (rate ratio [RR] , 0.92;
samples have consistently found that               95% confidence interval [CI], 0.86-0.98) in suicide rates among 14- to 17-year-
the presence of firearms in the home               olds. The annual rate of suicide rn this age group in states with CAP laws was 5.97
substantially increased the risk of ado-           per 100000 population rather than the projected 6.51 This association was also
lescent suicide. 3•7 In addition, a recent         statistically significant for firearm suicides (RR, 0.89; 95% Cl, 0.83-0.96) but not for
state-level study, us1ng the ratio of fire-        nonfirearm suicides (RR, 1.00; 95% Cl, 0.91-1.10), CAP laws were also associated
arm suicides 10 total suicides as a pro"'Y         with a significant reduction in suicides among youth aged 18 through 20 years (RR,
for the prevalence of gun ownership,               0.89; 95% Cl, 0.85-0.93); however, the association was similar for firearm suicides
found that suicide rates among teen-               (RR, 0.87; 95% Cl, 0.82-0.92) and nonfirearm suicides (RR, 0.91 ; 95% Cl,
                                                   0.85-0.98).
agers and adults are significantly higher
in states with higher rates of gun own-            Conclusions There is evidence that CAP laws are associated with a modest reduc-
ership.8                                           tion in suicide rates among youth aged 14 to 17 years. As currently implemented, mini-
                                                   mum age restrictions for the purchase and possession of firearms do not appear to
   Several firearm policies are in-                reduce overall rates of suicide among youth.
tended to limit the access that under-             JAMA 2004;292:594-601                                                             www.jamacom
age youth have to firearms. Since 1968,
federal law has required licensed fire-
arms dealers to prohibit handgun sales
to purchasers younger than 21 years.               of law intended to keep firearms from        Author Affiliations: Centerf()( the Prevenbon of Youth
In 1994, a federal law established 18              youth are gun safe storage laws, often       Violence CDr Webster and Mr Vemfck and Ms Zeoli)
                                                                                                and Center for Gun Polley and Research {Dr Webster
years as the minimum legal age for pos-            referred to as child access prevention       and Mr Vernick), Johns Hopkins Bloomberg School of
sessing or purchasing handguns, in-                (CAP) laws. As of 200l. 18 states had        Public Health. Baltimore. Md; Annenberg PubliC Poncy
cluding sales by gun owners who are                some fonn of CAP law that makes it a         Center, University of Pennsylvania, Philadelphia CDr
                                                                                                Manganello).
not licensed dealers. Many states have             crime to store firearms in a manner that     Corresponding Author. Daniel W. Webster, SeD,
also adopted laws establishing a mini-             allows them to be easily accessed by         MPH. Center for Gun Policy and Research. Johns Hop-
                                                                                                kins Bloomberg School of Public Health, 624 N Broad·
mum legal age for being able to pur-               children and adolescents. Most re-           way. Room 593, Balhmore, MD 21205 (dwebster
chase or possess a fireann . Anolher type          quire gun owners Lo lock up their guns.      Cjhsph.t>du).

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                                                                 Exhibit 7
                                                                   0077
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                                                                     YOUTH-FOCUSED Fl REARM LAWS AND YOUTll SUICIDES


   There has been little empirical re-       rates of suicide among youth in stales           Dummy variables were created, set
search on 1he associal ion between these     that adopted laws to restrict youth ac-        equal to 1 when the law was in effect
youth-focused laws and rates o f sui-        cess to firearms with rate changes in          for the whole year and equal to 0 when
cide among youth. Marvel 9 examined          states that did not make such changes          no law was in effect. For laws that were
laws banning the possession of fire-         in their raws, while controlling for po-       in effect for only part of a specific year,
arms by JUVeniles and found no evi-          tential confounders. State-level data sel!.    we set the law variable equal to 1 in a
dence that these laws reduced yoUih          were constructed that included the             state-year if the law was in place for at
suicides. However, in that study the out-    number of suicides among youth within          least half of the year and equal to 0 oth-
come examined was suicides among             each state for the years 1976 through          erwise. For the few laws that affected
youth aged 15 to l9 years, over half of      2001 for the 2 age groups potentially          one pan of our age groups (eg, age 17
which involve suicides among 18- and         affected by the laws. Youth aged 14 to         years as the minimum age for f-irearm
19-year-olds, an age group not cov-          17 years were the target group for laws        purchase), we set the law variable equal
ered by most of the laws. We are not         establishing 18 years or younger as a          LO l if the law applied to the majority
aware of any 01 her study that has ex-       minimum age for handgun purchase or            of youth committing suicide in the age
amined the association between mini-         possession, and for most CAP laws.             group and equal to 0 otherwise. The
mum age restrictions for nrearm pur-         Youth aged 18 through 20 years were            federal law establishing a minimum le-
chases and llrearm s uicides among           legally affected by laws that increased        gal age for handgun purchase and pos-
youth . ln a study of the association be-    the minimum age for handgun pur-               session was assumed to affect only states
tween the nrst l2 CAP laws and mor-          chase or possession from 18 to 21 years.       that, prior to the federal law, either had
tality among youth through 1994, Cum-                                                       no minimum-age law of this type or had
mings et aJI 0 reported that state CAP       Outcome Variables                              a law that established a minimum le-
laws were associated with a 19% de-          The outcome variables were the num-            gal age younger than 18 years.
cline in suicides among youth aged 10        ber of total, firearm, and non firearm SUI -
to 14 years This estimate was not em-        cides in each age group targeted by the        Statistical Analysis
phasized by the authors, presumably be-      laws. Death certificate data from the Na-      To derive estimates of the association
cause the upper bound of the 95% con-        tional Center for Health Statistics were       between the laws and youth suicide, we
fidence interval for the rate rauo was       used to identify suicide as a cause of         used negative binomial regression mod-
1.01 Lou and Whitley 11 reponed no           death (lntemaiional Classification of Dis-     els and generalized estimating equa-
statistically significant association be-    eases, Ninth Revision external cause of        uons to estimate regression param-
tween CAP laws and suicides among            death codes E950-E959 11 and lntema-           eters. Negative binomial regression is
children younger than 15 years or            t ion a I Classification of Diseases, 1Otlt    appropriate for estimating models for
among youth aged 15 to 19 years. How-        Revision codes X60-X84, Y87.0, and             count data that are overdispersed (ie,
ever, their use of Tobit regression toes-    U0314).                                        the variance is greater than the mean),16
timate the laws' effects is vulnerable to                                                   as is the case with slate-level youth sui-
bias when data are highly skewed and         Firearm Laws                                   cide data. Likelihood ratio tests re-
heteroskedastic, as is the case for state-   We conducted legal research and con-           jected the nu II hypothesis that the dis-
level data on youth sulcidesY                sulted existing compilations of state           tributions were Poisson. Generalized
   The study herein seeks to address the     lawsL1 to obtain information about the         estimating equations take into ac-
gap in research on the effecrs of hre-       youth-focused firearm laws of inter-           count that the data are correlated, in this
ann laws spectfically designed to re-        est: minimum purchase age, mini-               case by state and year, and make ap-
duce the access that children and youlll     mum possession age, and CAP laws.               propriate adjustments to standard er-
have to firearms. We examine the as-         When states had minimum-age cut-                rors for accurate hypothesis testing. 17
sociation between these laws and sui-        offs for purchase or possession of hand-        Correlation matrices of model residu-
cides among youth aged 14 through 20         guns that were different from those for        als were examined to identify any clear
years, an age group at much greater risk     purchase or possession of long guns, we         pattern of autocorrelation; however, no
of firearm s uicide than the younger         used the cutoffs for handguns. We also          pattern was evident. Therefore, the
groups examined in prior research.           coUected information about other fire-          models were specified with unstruc-
                                             arm laws, such as handgun licensing re-         tured autocorrelation , as is recom-
METHODS                                      quirements (also known as permit-to-            mended for studies of this type,18 us-
Study Design                                 purchase laws) , which might affect our         ing the PROCGEN program in SAS
To estimate the associauon between           outcomes of interest. For each law, we         version 8.2 (SAS Institute Inc, Cary,
youth-focused firearm policies and sui-      then detennined the date it took effect,        NC) . Each model included the natural
cide, we used a quasi-experimental de-       and whether there had been any                  logarithm of the population as an off-
sign and regression analyses (de-            changes to the law itself during the           set variable with the coefficient con-
scribed below) to comrast changes in         study period.                                  strained to equall. Model coefficients
                                                                                     (Reprinted) lAMA, Augusr -1, 2004-V<>I 292. No "1   595




                                                            Exhibit 7
                                                              0078
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YOUTil-FOCUSED FlREARM LAWS AND YOUTH SUICIDES


were converted to rate ratios (RRs) so            (the District of Columbia was not in-           Most law changes restricting the ac-
that dfects could be expressed in tenns           cluded in our study) Because the state       cess of youth to firearms went into effect
of percentnge changes 10 suicide rates.           firearm policies of interest target a par-   between 1990 arul1995. The federal law
We used 2-tailed tes~ of significance             ticular age group, we used \vi thin-state    establishing 18 years as the minimum
and c:x~.05 for rejecting the null hy-            suicide rates among young persons aged       age for handgun purchase and posses-
pothesis of no effect.                            22 to 24years who were not targeted by       sion went into effect in 1994. After
   When statistically significant asso-           the law to control for difficult-to-         Florida implemented the nation's first
ciations were identified , we assessed            measuresocial factors (eg, social norms      CAP law in late 1989, 14 more states
whether an association not attribut-              regarding suicide) that influence sui-       followed suit before the end of 1995.
able to change in the covariates could            cide rates among young persons in a par-
be auributable to differential prelaw             ticular state and year. We used year         Suicide Trends Among Youth
trends in slates that passed the law vs           dummy variables to control for na-           There were 63 954 suicides among
those that did not pass the law. This was         Lional trends in suicides among youth        youth aged l4 through 20 years dur-
assessed by estimating the effects for a          bUL also estimated alternative models        ing the 1976-2001 study period, 39655
set of dummy variables representing               with linear trend parameters when such       (62%) of which were committed with
each of the 5 years just prior to the pas-        patterns were dearly evident                 firearms. Firearm suicide rates among
sage of the Law and each of the first 5              Data on state population of youth aged    youth aged 14 to l 7 years increased
years the law was in place. We as-                14 through 20 years~ 1 -13 and the per-      steadily from 2.6 (per 100000 popula-
sessed the plausibility that signiflcant          centage of residents living in rural areas   tion) in 1976to 5.7 in 1994, and then
changes in suicide rates for an age group         were obtained from the US Census.1" An-      declined rapidly to 2.5 in 2001
were caused by the law by examining               nual per capita beer consumption data        ( FIGURE). There were less-dramatic
whether statistically significant asso-           based on beer sales were obtained from       changes in fireann suicide rates among
ciations were specific to suicides us-            the Alcohol Epidemiologic Data Sys-          youth aged 18 through 20 years, ex-
ing firearms and were not associated              tem of the National Institute of Alco-       cept for a steep decrease from 9.6 in
wilh changes in suicide rates among               holism and Alcohol Abuse.u Data on           1994 to 5.9 in 2001. There were no
young persons aged 22 to 24 years, a              personal income. unemployment, edu-          noteworthy trends in rates of nonfire-
group not legaUy affected by the laws.            cational attainment, and religious am.Ji.    ann suicides within the 2 age groups
We also estimated a model that in-                ation were provided by Markowitz et al,16
cluded only those states that had en-             who obtained the data from govern·           Association Between Firearm Laws
acted their laws prior to 1996, provid-           menL and private sources.21 •29              and Suicides Among Youth Aged
ing at least 6 years of follow-up data.                                                        14 to 17 Years
Model fit was assessed by comparing de-           RESULTS                                      Our regression models for suicides
viance statistics with their asymptotic           Youth-Focused Firearm Laws                   among youth aged 14 to I 7 years re-
X2 distribution 19 and the Aka ike infor-         As of 2001 , federal law and the laws of     veal no statistically significant associa-
mation criterion statistic.20                     46 states have mandated a minimum            tion between suicide rates and laws set-
                                                  age for the purchase of a handgun, with      ting minimum ages for ftreann purchase
Other Explanatory Variables                       the age ranging from 14 LO 21 years. Of      or possession enacted at the state or fed-
ln addition to Lhe firearm law vari-              these, 21 states enacted or changed their    eral level (TABlE 2 ). State CAP laws
ables, the models included indicator vari-        law during the study period. Federal law     were associated with an 8.3% reduc-
ables for each stale, suicides for a within-      and the laws of 39 states mandated a         tion in suicide rates (RR, 0.92; 95% con-
state comparison group (individuals               minimum possession age, ranging from         fidence interval [CIL 0.86-0.98). In
aged 22 to 24 years), per capita beer con-        15 to 21 years, with 29 states enacting      states with CAP Laws, the annual sui-
sumption, percentage of the popula-               or changing their Law during the Sl udy      cide rate for youth aged 14 to 17 years
tion living in rural areas, real income per       period. Nearly all of these changes es-      was 5.97 per 100000 during the pe-
capita, unemployment rates, percent-              tablished 18 years as the minimum age        riod in which these Laws were in effect.
age of the adult population with a bach-          for frrearm possession. Only 3 states in-    Our model estimates that i.n the ab-
elors degree, percentage of the popula-           creased their minimum legal age for          sence of these laws the e>:pected rate
tion of black race, the ratio of adult            handgun possession to 21 years dur-          would have been 6.51.
firearm suictdes to total suicides as a           ing the study period. Eighteen states           The reduction associated with CAP
proxy for the prevalence of gun owner-            had CAP laws as of 200l. The maxi-           laws was observed for firearm sui-
ship, and percentage of the population            mum age of youth covered by these            cides, which decreased an estimated
affiliated with specific religious denomi-        CAP laws ranged from l3 w l 7 years          10.8% in response to tl1e inrroduction
nations. The dummy variables for each             (TABl E 1). Only 3 states adopted per-       of CAP laws ( RR , 0 .89; 95% Cl,
state control for baseline differences in         mit-to-purchase firearms licensing sys-      0. 83~0 . 96) . There was no statistically
youth suicide levels across the 50 states         tems during the study period.                significant association between CAP
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                                                                Exhibit 7
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                                                                                     YOUTH-FOCUSED FIREARM LAWS AND YOUTH SUICIDES



Table 1. State Firearm Laws Focused on Youth, 1976- 2001
                                   Minimum Purchase/Sale Age                                Minimum Possession Age

                                          Change During Study Period                              Change During Study Period                CAP Law
     State                Age, y               (Effective Date)                   Age, y               (Effective Date)                  (Effective Date)
Fedemllaw                  18             No law to age 18 (09/19/94)               18            No law to age 18 (09/ 19194)                  NA
Alabama                    18                          NA                                                        NA                             NA
Alaska                     16             No law to age 16 (09/14192)              16             No taw to age 16 (01/01 /80)                  NA
Arizona                    18                          NA                          18             No law to age 18 (07/ 18193)                  NA
Arkansas                    18            No law to age 18 (01/01/76)              18             No law to age 18 (03/17189)                  NA
CalHornia                   18                             NA                       18                         NA                    Up lo age 17 (01/01/92)
Colorado                    18            No law to age 18 (09/13/93)               18            No law to age 18 (09/13/93)                  NA
Connecticut                 21            Age 18 toage21 (10/01/95)                                            NA                    Up to age 15 (10/01/90)
Delaware                    21            Age 16 to age 21 (07/16/87)              18             No law to age 18 (07/15/94)        Up to age 17 (07/ 12/94)
Florida                     18                         NA                          18             No law to age 18 (01/01/94)        Up to age 15 (1 0/01/89)
Georgia                     18            Age21lo age 18 (07/01/94)                 18            No law to age 18 (07/01/94)                  NA
Hawaii                      21            Age 18 to age 21 (07/01 /94)                                         NA                    Up to age 15 (06/29/92)
Idaho                       18            Age 16 to age 18 (07/01/94)               18            No taw to age 18 (07/01/94)                  NA
Illinois                    21                         NA                           21                         NA                    Up to age 14 (01/01100)
Indiana                     18            Age 21 to age 18 (07/01/77)               18            No law to age 18 (07/01/94)                  NA
Iowa                        21            Age 18 to age 21 (01/01/79)                                          NA                    Up to age 13 (04/05/90)
Kansas                      18                         NA                           18            No law to age 18 (07/01/94)                   NA
Kentucky                    18            No law to age 18 (07/15194)               18            No law to age 18 (07/15/94)                   NA
Louisiana                   18                         NA                           17            No law to age 17 (09/07199)                   NA
Maine                       16                             NA                                                  NA                               NA
Maryland                    21                         NA                           21            No law to age 21 (10/01196)         Up to age 15 (10/01/92)
Massachusetts               21            Age 18 to age 21 (10/21198)               21            Age 18toage21 (10/21/98)            Up to age 17 (10/21198)
MIChigan                    18                             NA                       18            No law to age 18 (03128191)                   NA
M1nnesota                   18                             NA                       18                         NA                     Up to age 13 (08101/93)
Mississippl                 18                         NA                           18            No law to age 18 (07/01194)                   NA
Missouri                    21            Age 18 to age 21 (09128/81)                                          NA                               NA
Montana                                                NA                                                      NA                               NA
Nebraska                    21            Age 18toage 21 (06/07191)                 18                         NA                               NA
Nevada                      18                         NA                           18            Age 14 to age 18 (07/01195)         Up to age 17 (10/01/91)
New Hampshire               18                         NA                                                      NA                     Up to age 16 (01/01/01)
New Jersey                  21            Age 18 to age 21 (01 /01/01)              21            Age 18 lo age 21 (01/01 /01)        Up to age 15 (01/17/92)
New Mexico                                             NA                           19            No law to age 19 (07/01/94)                   NA
New York                    21            No taw to age 21 (11/01 /00)              16                         NA                               NA
North Carolina              18                         NA                           18            No law to age 18 (09/01193)         Up to age 17 (12/01 /93)
North Dakota                18            Age 17 to age 18 (07/01/85)               18            Age 17 to age 18(07/01/85)                    NA
Oh10                        21            Age 17 to age 21 (11/09/95)               •                          NA                               NA
Oklahoma                     18                        NA                           18            No law to age 18 (07/01/94)                   NA
Oregon                       18                        NA                           18            No law to age 18 (01/01190)                   NA
Pennsy1vanla                18                         NA                           18            No law to age 18 (09/11/95)                   NA
Rhode Island                21                             NA                       15                         NA                     Up to age 15 (06/19195)
South Carot1na              21                             NA                       21                         NA                               NA
South Dakota                                               NA                       18            No law to age 18 (07/01/94)                   NA
Tennessee                    18                            NA                       18            No law to age 18 (07/01194)                   NA
Texas                        18                            NA                                                    NA                   Up to age 16 (09/01/95)
Utah                         18           No law to age 18 (10121/93)               18                           NA                             NA
Vermont                      16                            NA                       16                         NA                               NA
Virginia                     18                            NA                       18            No law to age 18 (07/01/93)         Up to age 13 (07/01192)
Washington                   18           Age 21 to age 18 (07/01/94)               18            No law to age 18 (07/01194)                   NA
West Virg1n1a                18           No law to age 18 (07/08189)               18            No law to age 18 (07/08189)                   NA
Wisconsin                    18                            NA                       18                         NA                     Up to age 13 (04/16/92)
Wyoming                                                    NA                                                     NA                            NA
Abbreviations: CAP. child access prevention; NA, not applicable/no change.               •Minimum ega not established

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YO UTI I-FOCUSED FIREARM LAWS AND YOUTH SUICIDES


                                                                                                              cide rates (RR, 1.13; 95% CJ, 1.01 -
Figure. Youth Suicide Rates by Method and Age Group, United States, 1976-2001
                                                                                                              1.27) (Table 2). This effect was not
                                                                                                              statistically significant, however, either
                            YouthAged14·17y                 Youth Aged 18·20 y
  12                        - - Rloonn Sudetes              - - Frrearm SuiCides
                                                                                                              for fireannsuicides (RR, l.l4; 95% Cl,
                            - - - Nonf~llarm Suicides       - - - No1111roorm S.acidoo                        0. 98-1.34) or nonfirearm suicides (RR,
                                                                                                              1.07; 95% Cl, 0 .90-1.27). State laws
  10
                                                                                                              raising the minimum legal purchase age
                                                                                                              to 21 years were associated with a 9.0%
                                                                                                              decline in rates of firearm suicides
                                                                                                              among youth aged 18 through 20 years
                                                                                                              (RR, 0 .91 ; 95% Cl , 0.83-1.00); how-
                                                                                                              ever, there was no statisticall) signifi-
                                                                                                              cant association for overall suicidenttes

                                   _,------ -- ....,,_________                           ;-----~,--
                                                                                                              (RR, 0.97; 95% Cl, 0.91-1.05) .
                                                                                                                 State CAP laws were associated with
   2
        -------------                                                                                         an 11.1% decline in suicide rates
                                                                                                              among youth aged 18 through 20
       1976   1978   19BO   1962    1984    1986    1988       1990     1992    1994     1996   199S   2000
                                                                                                              years (RR, 0.89; 95% CI, 0 .85-0.93)
                                                    Ye!ll                                                      In this group, suicide reductions asso-
                                                                                                              ciated with CAP laws were similar for
                                                                                                               firearm suicides (-12.9%; RR, 0.87;
laws and nonfirearm suicides among                      ferences between states with and those                95% Cl , 0.82-0.92) and nonfirearm
youth aged 14 to 17 years (RR, 1.00;                    without CAP laws JUSt prior to the                    suicides (-8.8%; RR, 0 .91; 95% C l,
95% Cl, 0.91-1.10). Estunates of the as-                adoption of these laws. When we ex-                   0.85-0.98) The 3 permit-to-purchase
sociation between CAP laws and sui-                     amined the relationship between the                    licensing laws were associated wiLh a
cides among 14- to 17-year-olds were                    length of Lime a CAP law was in place                 17.7% increase in suicide rates (RR,
dependent on how national suicide                       and (he effects of the laws, thert> was                US; 95% Cl, 1.04-1.34).
trends were modeled. The eslimates                      also no dear pattern in successive post-
from the primary model noted above                      law year effects on LOI.al suicide rates,             COMMENT
included separate linear-trend param-                   but the association between CAP laws                  After steadily increasing between 1976
eters for the 1976-1994 period of m-                    and frrearm suicide rates for this group              and 1994, rates of firearm suicides
creasing suicide rates and for the 1995-                was most pronounced for the first year                among youth have decreased sharply.
2001 period of a downturn in rates. The                 the law was in effect (RR, 0.89; 95% CI,              AltJ1ough many laws enacted during the
trend parameters in this model were                     0.77-1.02).                                           early 1990s were intended to decrease
highly significant and, based on Akaike                    There was no statistically signifi-                access t.o firearms by chil.dren and
information criterion statistics, this                  cant association between permit-to-                   youth, this study found no evidence that
model fit the data better than did a                    purchase licensing laws and suicide                   minimum-age restrictions for firearm
model that included year indicator vari-                rates among youth aged l4 to 17 years                 purchase and possession have re·
ables. Models that assutnecl no overall                 (RR, 1.06; 95% Cl , 0.92-1.23). Asso-                 duced suicide rates among the age
pattern in youth suicide trends but that                ciation between the laws and suicide                  groups targeted by the laws.
comrolled for year-to-year Ouctua-                      rates among youth aged 14 to 17 years                    Our models estimate that 3 state laws
tions nationally with year indicator vari-              were not substantially altered when the               that increased the minimum legal age
ables found no statistically significant                suicide rate among 22- to 24-year-                    for handgun possession to 21 years were
association between CAP laws and sui-                   olds and other covariates were re-                    associated with a l 2.9% increase in total
cide rates in the group aged 14 to 17                   moved from the model.                                 suicide risks among youth ages 18
years. CAP Jaw estimates did not vary                                                                         through 20 years. There are several rea-
substantially by whether violators could                Association Between Firearm Laws                      sons, however, to doubt the validity of
be charged with felony crimes or by Lhe                 and Suicides Among Youth                              this estimate, including: ( 1) (irearm and
maximum age of youth targeted by the                    Aged 18 Through 20 Years                              nonftrearm suicide rates were affected
laws (data not shown) .                                 The model for total s uicides among                   equally; {2) there was no increase in sui-
   The models used to estimate differ-                  youth aged 18 through 20 years esti-                  cides among 14- to 1 7-year-olds asso-
ences in suicide rates among youth aged                 mated that state laws that increased the              ciated with minimum possession age
14 to 17 years in each of the 5 years be-               legal age (or handgun possession to 21                laws; (3) it is based on only 3 states, 2
fore and after the adopuon of a CAP law                 years during the study period were as-                of which adopted the change in the fl.
revealed no pattern of unmodeled dif-                   sociated with a 12.9% increase in sui-                nal2 years of the study; and (4) the ab-

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                                                                               Exhibit 7
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                                                                                             YOUTH-FOCUSED FIREARM LAWS AND YOUTH SUICIDES


sence of a theory for how an "interven-                        of which involved a very restrictive li-              lions were specific to suicides commit-
tion designed to reduced access to                             censing scheme.                                       ted with firearms and to the age group
means of s uicide could lead to a sub-                            We did fmd convincing evidence that                principaUy targeted by CAP laws. We
stantial increase in suicide rates. Simi-                      the 18 CAP laws adopted during the                    found no association between CAP laws
larl y, o ur findings fo r permit-to-                          study period led to an 8.3% reduction                 and suicide rates among young per-
purchase licens ing laws sh o uld be                           in suicide rates among youth aged H to                sons aged 22 to 24 years. Our estimate
regarded with skepticism since they are                        17 years. As would be expected if these               of the association between CAP laws and
based on just3 changes in state law oc-                        reductions were attributable to re-                   firearm suicides ( -1 0.8%; 95% CI ,
curring during the s tudy period, none                         duced access to firearms , the reduc-                 -18.4% l.o-3.7%) among youth aged 14


Table 2. Association Between Youth-Focused Firearm Laws and Suicides Among Youth Aged 14 to 17 Years and 18 Through 20 Years
                                                          Aged 14 to 17 Years                         A.ged 18 Through 20 Years

                                                                        RR (95% Cl)                   PValue                  RR (95% Cl}                 PValue
                                                                                   Total Suicides
Flrearm laws
    Federal taw
       Minimum purchase age                                           1.02 (O,g1 -1 14)                 .72                        NA                           NA
        Minimum possession age                                        0 .98 (0.90-1.08)                 .75                        NA                           NA
    State laws
       Minimum purchase age                                           1.04 (0.90-1.21)                  .58                  0.97 (0.91 -1.05}                  .47
        Minimum possession age                                        0.97 (0.90-1.05}                  .44                  1.13 (1.01-1.27}                   .04
        Ch11d access prevention laws                                  0.92 (0.86-0.98}                  .005                 0.89 (0.85-Q.93)              <.001
        Permtt to purchase laws                                       1.06 (0.92-1.23)                  .43                  1,18 (1.04·1.34}                   .01
Other covariales
   l.Jnear time trend. 1976-1994                                      1.10 (1.07-1.12}                <.001                        NA                           NA
    Unear time trend, 1995-2001                                       0.95 (0.93-Q.98}                <.001                        NA                           NA
    Per capita beer consumption                                       0.99 (0.99-1.00}                  .10                  1.00 (0.99-1.01)                   .27
    PoputatJon livtng in rural areas                                  0.99 (0.98-1.01}                  .37                  1.00 (0.99-1.01)                   .50
    Unemployment                                                       1.00 (0.99-1 .00)                .48                  1.01 (1.00-1.02)                   .1 2
    Real per capna inCome                                              1.00 (1.00-1 .00)                .22                  1.00 (1.00-1.00}                   .85
    Adult population with bachelors degree                            0.99 (0.98-1 .00}                 .08                  1.00 (0.99-1.01)                   .78
    Religious affiliation
        Southern Baptist                                               1.04 (1.00-1.07)                 .01                  1.01 (0.98- 1.03)                  .57
        Other Protestant                                               1.01 (0.99-1.02)                 .37                  0.99 (0.98-1.00)                   .16
         Mormon                                                        1.12 (1.05-1 .18)              <.001                  1.04 (0.98-1 .09}                  .17
        Catholic                                                      0.98 (0.97-1.00}                  .006                 0.98 (0.98-0.99)                   .002
    Proxy lor adult firearm prevalence                                0.41 (0.26-0.64)                <.001                  0.46 (0.32-0.65}              <.001
    Suicide rates among ages 22-24 y                                   1.01 (1 .00-1.01)                .002                 1.01 (1.00-1.01)                   .002
                                                                                 Firearm Suicides
Federal taw
   Minimum purchase age                                                1.00 (0.87-1 .1 6)               .96                         NA                          NA
    Minimum possess1on age                                            0.99 (0.89-1.09)                  .80                         NA                          NA
State laws
   Minimum purchase age                                                1.04 (0.87 -1. 16}               .66                  0.91 (0.83-1.00)                   .05
    Minimum poSSBSSlon age                                             1.02 (0.92-1.12}                 .77                  1. 14 (0.98-1 .34}                 .10
    Child access prevention laws                                      0.89 (0.83-0.96}                  .003                 0.87 {0.82-0.92)              <.001
    Permit to purchase laws                                           0.92 (0.76-1.10}                  .33                  1.22 (1.04-1.43)                   .02
                                                                               N onfirearm Suicides
Federal law
    Mnimum purchase age                                                1.08 (0.91-1.28}                 40                          NA                          NA
    Mintmum possession age                                             1 .1 2 (0.99-1 .26}              .08                         NA                          NA
State laws
    Minimum purchase age                                               1.05 (0.85-1.31}                 .64                  1.05 (0.94-1.17)                   .37
    M inimum possessiOn age                                           0.93 (0.82-1.05}                  .24                  1.07 (0.90-1.27}                   .44
    Child access prevention laws                                       1.00 (0.91-1 10)                 .95                  o.g1 {0.85-0.98)                   .02
    Permit to purchase laws                                            1.27 (1.00-1.61}                 .047                 1. 14 (0.93-1.39)                  .21
Abbreviallons: Cl. confidence lnti!IVaJ; NA, not appNcabla: RR. r-ate ratlo.

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                                                                                   Exhibit 7
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YOUTll-FOCUSED FIREARM LAWS AND YOUTH SUICIDES


to 17 years is consistent with, though          quired of licensed firearm dealers. Since    access of youth to firearms might have
smaller in magnitude than, the esti-            1968, federal law has prohibited li-         in reducing unintentional shootings or
mate of Cummings et aJI0 of the asso-           censed dealers from selling handguns         homicides. Two prior studies of the as-
ciation between CAP laws and firearm            to individuals younger than 21 years.        sociation between CAP laws and deaths
suicides among adolescents younger              In addition, there is little evidence that   among children younger than 15 years
than LS years (-19.0%; 95% Cl ,-34.0%           laws governing sales by those who are        from unintentional shootings, with
to +1.0%) . CAP laws were also associ-          not dealers are vigorously enlorced          similar methods but over different time
ated with statistically significant de-         in most states12 (Frattaroli 5, unpub-       periods. produced similar estimates of
clines in suicide rat~ among those in the       lished doctoral dissertation, 1999; on       aggregate eiTccl (-23% and -17%).10 -36
group aged 18 through 20 years. How-            file with the authors).                      However, one of these studiesJ6 found
ever, the statistically signillcant nega-          Thus, it is important to recognize that   that the aggregate benefits were largely
tive association between CAP laws and           our stUdy is not a test of the relation-     driven by a single state law (Florida).
rates of suicide using means other than         ship between firearm availability and        Marvel'~ found no evidence that laws
firearms casts doubt on any causal con-         risk of suicide among youth. Our re-         prohibiting possession of firearms by
nection between the laws and lower sui-         sults for minimum purchase-age and           juveniles were associated with youth
cide rates in this group of older youth.        possession-age laws suggest that these       being killed by guns or ·with their use
   Some may queslion whether there-             laws have not substantially reduced the      of guns to commit homicide.
ductions in youth suicides that were as-        availability of firearms to youth at risk       The reductions ln suicides asso-
sociated with CAP Laws in this study            for suicide Therefore, our results are       ciated with CAP laws are relatively
might be spurious, smce many in the             not necessarily inconsistent with prior      modest in terms of percentage change.
group aged 14 to 17 years were older            research, such as findings from Win-          However, because the laws target an im-
than the maxtmum age required for safe          temute et al31 that adult handgun pur-       portant risk factor, a high-risk group,
fiream1 storage. However, many older            chasers were at higher risk for suicide,     and a leading cause of death, the pub-
youth have younger siblings, rela-              even 6 years after purchase. If a youth's    lic health significance of the laws is
uves, or friends that may prompt their          risk of suicide were greatest several         meaningful. Assuming that the ob-
parents to comply with CAP law re-              years after he otshe hadacquued a lire-      served association is causal, we esti-
quirements. In addition, CAP laws may           arm. we may have underestimated the           mate that the 18 CAP laws imple-
encourage gun owners with children              full effect of these Laws. But when we       mented prior to 2002 have prevented
young enough to be covered by the law           limited the analysts to state law:. en-      333 s uicides among youth aged 14 to
to adopt safe storage practices that en-        acted through 1995-providing at least         17 years from the time that Florida
dure even after their children are be-          6 years of follow-up data for the re-         implemented the nation's first CAP law
yond the age required for safe nrc-             maining 45 states-we still idenrified         (October 1989) through 200L tn 2001
arms storage under the law. Finally, gun        no significant effects for these laws.        alone, we estimate that there were 35
owners simply may not respond to very              As with prior studies of CAP laws,         fewer suicides among this group in the
specific aspects of a CAP law in order          we were unable to directly measure            18 states with CAP laws than would
to be in compliance. Instead, CAP laws          wbetl1er these laws resulted in actual        have been e""-pected without the Jaws.
may increase awareness and change so-           changes in firearm storage practices.        These benefits have been obtain.ed with
cial norms to encourage gun owners to           Nevertheless, our weapon-specific es-         very modest levels of publicity and en-
secure firearms from underage youth.            timates of the effects of CAP Jaws sug-       forcement. Increased efforts to encour-
These interpretauons are consistent             gest that these laws did limit the ac-        age compliance with CAP laws have the
with our finding that the ages covered          cess that youth have to firearms.             potemial to enhance their effective-
by the CAP law were unrelated to the               This study does not examine the full       ness in preventing deaths and injuries
association between CAP laws and sui-           range of potential effects of CAP laws.       resulting from unsupervised access of
cides among youth.                              Lott and Whitley11 repon that CAP laws        youth to firearms.
   There are several reasons that CAP           were associated with increases m rapes           Further research is needed to ascer-
laws might be more effective than mini-         (9%) and robberies (1 0%), presum-            tain what factors have contributed to
mum-age restrictions for firearm pur-           ably because firearms kept in locked          the recent decline in firearm suicides
chases and possession in reducing               storage are potentiaUy less available for     among youth in the United States. The
suicides among youth. First, a large            self-defense. Their findings are ques-        timing of the decline is coincident with
majority of youth who commit or                 tionable because the vast majority of         the adoption of several laws designed
attempt suicide with a firearm use              these crimes take place outside the           to reduce youth access to fireanns, yet
guns owned by thetr parents or rela-            home 34 and firearms are very rarely used     the only evidence we found that these
tives.10·11 Second, the adopted restric-        for self-defense.35                           Laws are responsible for reductiOns in
tions on mmimum purchase age did not               Our study also does not consider the       suicides among youth was a modest re-
affect the handgun sales practices re-          potential role that laws restricting the      duction associated with CAP laws. The
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                                                                                         YOUTH-FOCUSED FIREARM LAWS AND YOUTH SUICIDES


passage of many youth-focused fire-                       understate the effect or these laws on                    Statistical analysts; study supervision: Webster.
                                                                                                                    Funding/Support: This study was funded by grant
ann restnctions during the early 1990s                    suicide rates among youth.                                R49/CCR318627 ·04 from the Centers for Dosease
may have been associated with broader                                                                               Control and Prevenilon, Nabonal Center for InJury Pre-
                                                          Author Contributions: Dr Webstet, as pnndpal In·          venbon and Control to the Johns Hopkins Center for
changes in those social norms that in-                    vestigator of this study, had full access to all of the   the Prevention of Youth Violence
volve allowing youth access to fire-                      data in the study and takes responslblloty for the        Role of the Sponsor: The Centers for Disease Con-
arms-norms that affect states both                        integrity of the data and the accuracy of the data        trol and Prevention had no role in the design and con·
                                                          anal)'5es.                                                duct of the study; in the collection, analysiS. or inter-
with and withoul recent changes to                        Study concept and design; draft•n& of /Jle manu           pretatton of the data; in the preparation of the data;
the1r firearm laws. If the passage oflaws                 script; oblamed fundmg: Webster. Vernock.                 Ofln the preparation, rev;ew, or approval of the rnanu·
                                                          Acquisition of data: en tical revtslon of the mdnU·       script
restricting youth access to fi reanns in-                 script for important lntelfecWal content; admimslr.!      Acknowledgment We thank Usa Hepburn and Sara
nuenced norms and practices both                          Live. lechntca/, or material support· Vernick,            Markowitz for assistance in obtaining the data for thos
                                                          Manganello. Zeoli.                                        study, Maria Bulzacchelll for assistance with data man-
within and outstde the states that                        Analysis and interpretation of data: Webs let, Vernick,   agement. and Elizabeth Johnson for statistical
adopted the laws, our estimates would                     Manganello. Zeoli.                                        advice.

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LETTERS

dividuals already infected with HIV should thus continue vigi-                        Role ofthe Sponsors: The orgamzations funding this study had no role in the de ·
                                                                                      sign and conduct of the study; the collection , analysis. and interpretation of the
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Elic 5. Daar, MD
Division of HIV Medicine, Harbor-UCLA Research and Education
Institute and the David Geffen School of Medicine at UC LA                            CORRECTIONS
los Angeles, Calif
Douglas D. Ri chman, MD                                                               Incorrect Dosages: In the Original Contribution entitled "Salety and Efficacy of
                                                                                      Enoltaparin vs Unfractionated Heparin in Patients With Non-ST·Segment Eleva-
Departments of Medkine and PatJ10logy                                                 tion Acute Coronary Syndromes Who Receive Tirofiban and Aspirin: A Random-
 University of California, San Diego                                                  tzed Controlled Trial" published in the July 7, 2004, issue oflAMA (2004;29;!:55-64),
San Diego Veterans Affairs Healthcare Systems                                         there were 2 incorrect dosages on page 56. At the bottom of column 2, the sen-
                                                                                      tence should read, ''The dosing regimen for tirofiban in the A to Z ttial was a hy·
Susan]. Lillie, MD                                                                    brld between the previously proven ACS and percutaneous toron<l<)' intervention
Department of Medicine                                                                dosing regimens: a bolus of 10 !)g/kg over 3 minutes, followed by a maintenance
Un iversity of California, San Diego                                                  mfuston of 0.1 j.Jg/kg per minute for a suggested minimum of 48 hours (or a mini-
                                                                                      mum of 12 hours after intervention) and a ma~imum of 120 hours.9•13"
Access to Data: Dr Smlth had full access to all of the data in the study and takes
responsibility for the integrity of the data and the accuracy of the data analyses.   Funding Source Omitted: In the Original Contribution entitled "Association Be-
Funding/Support This work was supported by National institutes of Health grants       tween Youth-Focused firearm Laws and Youth Suicides" published In the August
5K23AI055276, At27670, Al38858, Al43638, Al43752 , UCSD Centers for AIDS              4, 2004, issue of JAMA (2004;292;594·601), a funding source was omitted. In
Research (AI36214), Al29164, and M01-RR00425, and the Research Centerf6r              addition to the sources cited. the study also received support from the David and
AIDS and HIV Infection of the San Diego Veterans Affair5 Heatthcare System.           Lucile Packard Foundation.




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             EXHIBIT "8"




                                   Exhibit 8
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                         THE IMPACT OF BANNING JUVENILE
                                 GUN POSSESSION
                                                THOMAS B. MARVELL
                                                  Justec Research




                                                     Abstract
                 A 1994 federal law bans possession of handguns by persons under 18 years of
              age. Also in 1994, 11 states passed their own juvenile gun possession bans. Eighteen
              states had previously passed bans, 15 of them between 1975 and 1993. These laws
              were intended to reduce homicides, but arguments can be made that they have no
              effect on or that they even increase the homicide rate. This paper estimates the laws’
              impacts on various crime measures, primarily juvenile gun homicide victimizations
              and suicide, using a fixed-effects research design with state-level data for at least 19
              years. The analysis compares impacts on gun versus nongun homicides and gun
              versus nongun suicides. Even with many different crime measures and regression
              specifications, there is scant evidence that the laws have the intended effect of re-
              ducing gun homicides.


                                               I.     Introduction

              G    uns are the second leading cause of death in the United States among
              youths ages 10–24, and the firearm death rate for U.S. minors is 12 times
              the average for other industrialized countries.1 Gun murders of and by ju-
              veniles roughly doubled between 1985 and 1992, while the number of nongun
              murders remained stable.2 Consequently, governments have attempted to get
              guns out of the hands of juveniles. The federal government and probably all
              states have long prohibited gun sales to minors.3 Later laws, the subject of
              this study, go further and prohibit possession of guns by juveniles (aimed
              at, presumably, guns that were originally purchased by adults). States passed
              such laws with increasing frequency in the 1980s and early 1990s, and Title
              XI of the Federal Crime Control and Law Enforcement Act of 1994 made
              the ban effective nationwide on September 13, 1994.
                 Table 1 lists 34 state laws that ban juvenile gun possession, along with
              their effective dates (the laws only apply to violations on or after the

                1
                   Susan DeFrancesco, Children and Guns, 29 Pace L. Rev. 275 (1999).
                2
                  James A. Fox & Marianne W. Zawitz, Homicide Trends in the United States (2000).
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                  Jens Ludwig, Concealed-Gun-Carrying Laws and Violent Crime: Evidence from State Panel
              Data, 18 Int’l Rev. L. & Econ. 239 (1998).

              [Journal of Law and Economics, vol. XLIV (October 2001)]
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                                                            TABLE 1
                                      Laws Banning Juvenile Handgun Possesson

                                           Under Age of               Brief Citation               Effective Date
              Federal                            18                   18-922(x)                 September 13, 1994
              Alaskaa                            16                   11.61.220                 January 1, 1980
              Arizonaa,b                         18                   13-3111                   July 18, 1993
              Arkansasa,b                        18                   5-73-119                  July 4, 1989
              Californiaa                        18                   Penal 12101               January 1, 1989
              Coloradoa                          18                   18-12-108.5               September 13, 1993
              Delaware                           18                   11-1448                   July 15, 1994
              Florida                            18                   790.22                    January 1, 1994
              Georgiab                           18                   16-11-132                 July 1, 1994
              Idahob                             18                   18-3302F                  July 1, 1994
              Illinois                           18                   720-5/24-3                pre-1970
              Indiana                            18                   35-47-10-5                July 1, 1994
              Kansasb                            18                   21-4204a                  July 1, 1994
              Kentuckyb                          18                   527.100                   July 15, 1994
              Michigana                          18                   750.234f                  March 28, 1991
              Minnesotaa                         18                   624.713                   August 1, 1975
              Mississippib                       18                   97-37-14                  July 1, 1994
              Nebraskaa                          18                   28-1204                   July 1, 1978
              Nevadab,c                          18                   202.300                   July 1, 1995
              New Jerseya                        18                   2C:58-6.1                 June 27, 1980
              New Yorka                          16                   265.05                    September 1, 1974
              North Carolinaa,b                  18                   14-269.7                  September 1, 1993
              North Dakotaa,b                    18                   62.1-02-01                July 1, 1985
              Oklahomaa,b                        18                   21-1273                   June 7, 1993
              Oregona                            18                   166.250                   January 1, 1990
              Rhode Islandb                      15                   11-47-33                  pre-1970
              South Carolinab                    21                   16-23-30                  pre-1970
              South Dakotab                      18                   23-7-44                   July 1, 1994
              Tennessee                          18                   39-17-1319                July 1, 1994
              Utaha                              18                   76-10-509                 October 21, 1993
              Vermontb                           16                   13-4008                   pre-1970
              Virginiaa                          18                   18.2-308.7                July 1, 1993
              Washingtonb                        21                   9.41.040                  July 1, 1994
              West Virginiaa,b                   18                   61-7-8                    July 9, 1989
              Wisconsin                          18                   948.60                    pre-1970

                 Note.—Sixteen states do not have bans. Ten are Brady Act states (Alabama, Louisiana, Maine, Montana,
              New Hampshire, New Mexico, Ohio, Pennsylvania, Texas, and Wyoming), and six are non–Brady Act
              states (Connecticut, Hawaii, Iowa, Maryland, Massachusetts, and Missouri).
                 a
                   States with laws effective 1974–93.
                 b
                   Brady Act states. (Federal waiting periods and background checks apply in 1994 because these states
              did not have preexisting laws.)
                 c
                   A pre-1970 Nevada law applied to persons under 14.


              effective dates). This information was obtained through research into state
              statutory compilations and session laws, and it was checked against two
              other surveys.4

                4
                  Gwen A. Holden, et al., Compilation of State Firearm Codes that Affect Juveniles (1994);
              Bureau of Alcohol, Tobacco and Firearms, Firearms State Laws and Published Ordinances
              (20th ed. 1994) (hereafter referred to as ATF).




                                                          Exhibit 8
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                                            juvenile gun possession                                    693

                 The federal law, as well as the typical state law, makes it a misdemeanor
              for a person under 18 (21 in two states) to possess a handgun, with several
              exceptions, such as hunting or target shooting with the permission of a parent.
              Many state laws also ban possession of rifles and other deadly weapons by
              juveniles. As of 1994, five state bans applied only to persons younger than
              15 or 16 (Table 1). These are not counted as juvenile gun ban laws for the
              purpose of this study because children that young seldom commit homicide.5
              Among the states that did not enact juvenile gun possession bans, Massa-
              chusetts and New York have strict general gun possession laws,6 and law-
              makers there might have believed that special laws for juveniles were un-
              necessary. The federal law also makes it illegal for a person to provide a
              minor with a handgun. Most states have similar laws, some enacted with the
              possession ban and some before the ban.
                 The issue addressed in this article is whether the juvenile gun possession
              bans have the effect of reducing gun homicides, especially of juveniles. The
              assumption behind the laws is that the bans reduce the number of juveniles
              who have guns and, thus, the number who use guns.7 The impact on crime
              might be limited because existing laws prohibited juveniles from purchasing
              guns, carrying concealed handguns, and possessing guns if they have been
              convicted of a felony.8 Thus, the question is whether crime rates are affected
              by a change from a situation where juveniles can possess guns, but cannot
              legally purchase or conceal them, to a situation where they can possess guns
              only with adult monitoring. Perhaps the major practical impact is creating
              disincentives to keeping guns at home. The laws might add an additional
              incentive for juveniles not to carry concealed weapons or purchase weapons
              since it adds a second charge when prosecuted, a charge that can be pros-
              ecuted in federal court.
                 An initial consideration is whether the bans increase the expected cost to
              juveniles for possessing guns, which largely determines whether the ban can
              have any effect.9 The costs include confiscation of the weapon, informal
              sanctions applied by such persons as relatives, juvenile officers, and prose-
                 5
                   See Terry Allen & Glen Buckner, A Graphical Approach to Analyzing Relationships be-
              tween Offenders and Victims Using Supplementary Homicide Reports, 1 Homicide Stud. 129
              (1997); and Michael D. Maltz, Visualizing Homicide: A Research Note, 14 J. Quantitative
              Criminology 397 (1998).
                 6
                   ATF, supra note 4.
                 7
                   There apparently is no statement that this is the actual intent of juvenile gun bans. The
              legislative history of the federal ban consists of justifications for federal action under the
              Commerce Clause of the U.S. Constitution; that is, guns and drug markets are interrelated and
              cross state lines. See Steven Rosenberg, Just Another Kid with a Gun? United States v. Michael
              R.: Reviewing the Youth Handgun Safety Act under the United States v. Lopez Commerce
              Clause Analysis, 28 Golden Gate Univ. L. Rev. 51 (1998).
                 8
                   ATF, supra note 4.
                 9
                    See Philip J. Cook & James A. Leitzel, “Perversity, Futility, Jeopardy”: An Economic
              Analysis of the Attack on Gun Control, 59 Law & Contemp. Probs. 91 (1996).




                                                      Exhibit 8
                                                        0089
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              cutors, and conviction and sentencing by courts. These costs are more likely
              to occur with greater efforts to uncover and report juveniles’ gun possession.
              Information on all these topics is lacking, so it is impossible at this point to
              hypothesize whether the laws have much impact.
                 Assuming that possession actually entails a cost, there are many mecha-
              nisms by which the bans might affect the actual use of guns and, thus, crime
              rates. The most obvious is that juveniles who do not possess guns are less
              likely to carry guns and thus less likely to use them during crimes or alter-
              cations. If they do not possess guns, juveniles are less likely to retrieve them
              in the middle of a dispute or to use them later in retaliation. The bans can
              disrupt gun markets among juveniles because the law increases the costs of
              carrying gun inventories.
                 On the other hand, the gun bans might increase crime against young persons
              because criminals might consider them less risky targets.10 A criminal con-
              templating robbery or assault probably takes into consideration the likelihood
              that potential victims are armed and likely to defend themselves. If the
              potential victim appears to be under 18 years old, after a ban goes into effect,
              an aggressor might believe that armed resistance is less likely because of the
              juvenile gun possession ban. As discussed earlier, the possession bans do not
              make it any more illegal to carry a concealed handgun, but, again, the juvenile
              is less likely to have a handgun available if possession is less likely. The
              ban also can make aggression more likely because the aggressor is less
              concerned that the victim will retaliate by retrieving a gun.
                 An additional indicator of the impact of the juvenile gun possession bans
              is whether they reduce gun suicide by juveniles. There is a close relationship
              over time between the percentages of juvenile suicides and homicides by
              gun.11 One would expect that the choice of whether to use a gun in suicide
              depends largely on whether a gun is readily available. Although possession
              is only one of several factors suggesting availability, if the laws reduce
              possession, they should reduce gun suicides.
                 Preliminary indications of the likely impact can be seen in trends for gun
              homicide victimization for persons 15–19 years old, which is a group likely
              to be affected by the ban if it has an impact. Figure 1 plots the trends for
              the percentage of homicide victims who were killed by guns (since the
              number of nongun homicides changed little over time, the lines in Figure 1
              also approximate trends in the number of gun homicides). This percentage
              rose from about 65 percent in the first half of the 1980s to 86 percent in
              1992, leveled off for 2 years, and then declined modestly. The leveling off
              occurred when more and more states were enacting juvenile gun possession
                10
                   For example, John R. Lott, Jr., & David B. Mustard, Crime, Deterrence, and Right-to-
              Carry Concealed Handguns, 26 J. Legal Stud. 1 (1997).
                11
                   Alfred Blumstein & Daniel Cork, Linking Gun Availability to Youth Gun Violence, 59
              Law & Contemp. Probs. 5 (1996).




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                                            juvenile gun possession                                     695




                                        Figure 1.—Percent of homicides with guns


              bans, and the decline occurred right after the substantial lawmaking activity
              in 1994, when most states first became covered by the ban (Table 1). At first
              glance, the trends suggest that the laws have the desired effect of reducing
              gun homicides. However, this impression disappears when one looks at trends
              in adult crimes; the post-1994 drop in percentage of homicides with guns
              occurred here as well. The initial impression from Figure 1 that the laws
              reduce gun homicide is probably only a reflection of general trends in
              homicides.12
                 The purpose of this paper is to explore this relationship with more elaborate
              data and analysis than are illustrated in Figure 1. The next section describes
              the methodology, which is a state-level multiple time-series regression that
                 12
                    Commentators have given many reasons for the decline in murder and other crimes in the
              1990s. I argue that it is due to the incapacitation impact of rising prison populations and the
              slackening of the crack era. Thomas B. Marvell & Carlisle E. Moody, The Impact of Out-of-
              State Prison Population on State Homicide Rates: Displacement and Free-Rider Effects, 36
              Criminology 513 (1998); Thomas B. Marvell & Carlisle E. Moody, Female and Male Homicide
              Victimization Rates: Comparing Trends and Regressors, 37 Criminology 879 (1999). Other
              suggested causes include the legalization of abortion in the 1970s (John J. Donohue III &
              Steven D. Levitt, The Impact of Legalized Abortion on Crime, 116 Q. J. Econ. 379 (2001))
              and better police practices (Malcolm Gladwell, The Tipping Point: How Little Things Can
              Make a Big Difference (2000)).




                                                      Exhibit 8
                                                        0091
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              compares the impacts of the laws on different homicide categories. The third
              section describes the variables, and the fourth gives the results, which are
              that there is no evidence that the juvenile gun possession bans, taken as a
              whole, reduce gun homicides or total homicides.

                                                II.    Methodology
                 The multiple time-series regression has become a common tool to estimate
              the impact of legal changes, and the methods are continually improving.13
              The regressions here encompass 45–50 states and 18–29 years, depending
              on the dependent variable, using the standard fixed-effects procedure. The
              regressions are weighted by population when the dependent variable is hom-
              icide and by lesser amounts (varying from population to the .3 power to
              population to the .7 power) for other crimes as determined by the Bruesch-
              Pagan test.14 Weighting is necessary because crime rates vary over time more
              in small states, and weights are greater in homicide equations because hom-
              icides are less frequent events; so the discrepancy between variation in small
              and large states is especially large. The data start in 1970 because several
              control variables lack data for earlier years. The last year with available data
              is 1998 or 1999, depending on the series. The analysis, therefore, includes
              at least 4 full years of experience under each law. The main dependent
              variables are homicide victimizations for various age groups, and I use a
              sizeable number of other crime measures for robustness checks. The gun
              possession bans are represented by dummy variables.
                 The basic procedure is strengthened by comparing the estimated impacts
              of the laws on crimes that one would expect to be affected the most by the
              laws to the impacts on crimes less likely to be affected. The analysis, for
              example, compares the coefficients on the law dummies when gun homicides
              are the dependent variable with coefficients with nongun homicides. This
              helps control for missing variables that are not otherwise controlled for by
              the elaborate control mechanism possible with the multiple time-series design,
              as discussed below. The comparison is done with the STEST option in the
              SYSLIN procedure in SAS,15 which tests whether differences between co-

                 13
                    For example, Lott & Mustard, supra note 10; Thomas B. Marvell & Carlisle E. Moody,
              Determinate Sentencing and Abolishing Parole: The Long-Term Impacts on Prisons and Crime,
              34 Criminology 107 (1996).
                 14
                    William H. Greene, Econometric Analysis 394–95 (2d ed. 1993).
                 15
                    SAS Institute, SAS/ETS User’s Guide, Version 6 (2d ed. 1993). Using the multiple time-
              series procedure with dummy variables to evaluate the impact of laws or other impacts is the
              same as the difference-on-difference procedure (Jeffrey M. Wooldridge, Introductory Econom-
              ics: A Modern Approach (2000)), but it has the benefit that one can set dummies at the effective
              date of each law that went into effect during the period when data are available, as opposed
              to setting a uniform date for all laws. Also, using an F-test to compare coefficients is an
              improvement on the difference-on-difference-on-difference procedure, whereby the impact of
              the law change on a crime type that is expected to be affected by the law is compared with
              the impact on a crime having no expected impact (for example, Ludwig, supra note 3). The




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                                             juvenile gun possession                                     697

              efficients on an independent variable used in separate regressions are statis-
              tically significant.

                                         III.     Dependent Variables16
                 Most dependent variables are gun homicide victimization rates for various
              age groups and homicide offending rates by juveniles. When juveniles com-
              mit homicide, the victims are overwhelmingly persons of the same age or
              slightly older,17 so measures of gun homicide victimization are for persons
              in their late teens and early twenties. Alternate specifications use measures
              of juvenile homicide offending and general crime rate variables. All crimes
              are expressed as rates, divided by 100,000 persons in the age group in
              question. The numerous variables are best described in outline form.

                                  A.     Victimization (Homicide and Suicide)

              1. The primary victimization data are from the Centers for Disease Control
                 and Prevention Internet site, where state-level mortality data are available
                 for 1979–98. In addition, earlier total homicide and gun homicide data
                 were obtained from published mortality tables.18 The four types of data,
                 and the years available, are the following:
                  a. Gun and nongun homicide victims, ages 15–19 (1979–98).
                  b. Gun and nongun homicide victims, ages 15–24 (1979–98).
                  c. Gun and nongun homicide victims of all ages (1968–98).
                  d. Gun and nongun suicide victims, ages 15-19 (1979–98).

              2. Additional juvenile victimization data, compiled by James A. Fox in
                 January 2001, were obtained from the Bureau of Justice Statistics (BJS)
                 Internet site. Data are not used for five states for which observations are
                 missing for more than 2 years (Florida, Iowa, Kansas, Maine, and Mon-
                 tana):
                  a. Homicide victims, ages 14–17 (1976–99).
                  b. Homicide victims, ages 14–24 (1976–99).



              separate regressions mean that the two types of crime are allowed to have their own coefficients
              on the control variables, and again we need not set law dummies at the same year.
                16
                   The data set and basic programs used here are available from the author at marvell@cox.net
              or at http://www.mmarvell.com/justec.html.
                17
                   Allen & Buckner, supra note 5; Maltz, supra note 5.
                18
                   Data are from National Center for Health Statistics, Vital Statistics of the United States
              1978 (1982), and earlier versions. All the homicide data exclude legal homicides (executions
              and police killings).




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                                     B.     Offending and Reported Crime
                 Homicide arrests for the following two categories were also prepared by
              James A. Fox and placed on the BJS Internet site:
              1. Homicide offending ages 14–17 (1976–99).
              2. Homicide offending ages 14–24 (1976–99).
                 Finally, we use the seven Uniform Crime Report (UCR) categories (hom-
              icide, rape, robbery, assault, burglary, larceny, and auto theft) with data from
              1968–99.

                          C.      Issues Pertaining to Homicide and Suicide Data
                  Small states often have no juvenile homicides in any given year. Because
              this theoretically creates problems with regression analysis, I have dropped
              states from a given analysis if the dependent variable is zero for more than
              2 years. The states that were dropped, which number up to 16, are listed in
              the tables along with the regression results. In the parallel SYSLIN regres-
              sions, the state is dropped when data are missing for either dependent variable.
              For the remaining zero values (that is, one or two such zeros in a state), the
              number of homicides is set at .1 before logging (or for the Fox data sets,
              the homicide rate is set at .1). Coefficients on aggregate law variables change
              little when all states are included (because the regressions are weighted by
              population), but coefficients for individual state law dummies are erratic in
              states with many zero homicide years.
                  The juvenile homicide offending rates, because they are based on arrests,
              are probably overstated in relation to victimization rates and offending rates
              for older age groups because juveniles are less likely to escape arrest.19
                  We have no measure of gun homicides committed by juveniles, although
              that is the immediate target of the law, because data at the state level are
              very incomplete and erratic. As a practical matter, however, the measure of
              total juvenile homicide offending serves nearly the same purpose because
              the variation in homicide rates is largely due to variations in gun homicide
              rates.20 Also, for policy purposes, victimization is more important than of-
              fending because the overriding purpose of the laws is to reduce harm, and
              any impact on offending is simply the means to achieve that purpose.




                19
                   Howard N. Snyder, The Overrepresentation of Juvenile Crime Proportions in Robbery
              Clearance Statistics, 15 J. Quantitative Criminology 151 (1999); Thomas B. Marvell & Carlisle
              E. Moody, Age Structure and Crime Rates: The Conflicting Evidence, 7 J. Quantitative Crim-
              inology 237 (1991).
                20
                   Fox & Zawitz, supra note 2.




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                                            juvenile gun possession                                   699


                                        IV.        Independent Variables

                                              A.     Juvenile Gun Bans
                 The key independent variables, of course, are those representing laws that
              ban juvenile gun possession, as listed in Table 1. After the year the law went
              into effect, the law variable is one. During that year, it is a decimal repre-
              senting the portion of the year the law was in effect. The states are divided
              into three groups (Table 1): (1) 15 states that passed laws in 1975–93, (2)
              11 states that passed laws in 1994, and (3) 21 states without laws by 1994
              (the remaining three states had laws before 1970).21 Again, laws banning
              possession only for those under 15 or 16 are ignored. In the second group,
              the state laws went into effect only a few months before the federal law, so
              that dummy variables cannot separate their impact from that of the federal
              law. The main difference between the second and third groups is that the
              latter is affected only by the federal law, typically enforced only in the federal
              courts, whereas in the second group enforcement is possible in both state
              and federal courts. These 11 states received a double dose of law, although
              largely redundant (state authorities can enforce the federal law, and it is
              unlikely that federal prosecutors indict many juveniles for gun possession).
                 Homicides in the second and third groups of states, where dummy variables
              begin in 1994, are also subject to the changes made by other federal laws that
              year. The most important are waiting periods and background checks for firearm
              purchases, required under the Brady Act, beginning February 28, 1994. The
              act is applicable to the majority of states that did not already require waiting
              periods.22 These states are indicated in Table 1, and dummies representing the
              Brady Act for these states are included in later regressions. Also, the Crime
              Control and Law Enforcement Act of 1994 contains several major crime-
              reduction programs such as truth in sentencing, enhanced penalties for drug
              offenses and using firearms in crimes, and funds for hiring new police and
              advancing community policing. These nationwide events are controlled for by
              entering year effects and by comparing gun and nongun crime regressions.

                                       B.     Other Independent Variables
                 Additional independent variables are those typically used in other state-
              level studies of crime.23 These studies explain the theoretical importance of

                 21
                    The fact that most law dummies are for the same year suggests that clustering effects
              might bias the t-ratios. To test for these, I used the ACOV option in SAS PROC REG, with
              the TEST statement for the law dummies. The resulting significance levels for the law dummies
              are very close to those for the original t-ratios.
                 22
                    ATF, supra note 4.
                 23
                    See Thomas B. Marvell & Carlisle E. Moody, The Lethal Effects of Three-Strikes Laws,
              30 J. Legal Stud. 89 (2001).




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              the variables and describe the sources of data. Age structure variables are
              census data for the percent population of persons ages 15–17, 18–24, 25–29,
              and 30–34, the ages with highest arrest rates. Economic variables are the
              unemployment rate, the number employed, real welfare payments, real per-
              sonal income, and the poverty rate. Economic downturns might increase
              violent crime by increasing strain or might reduce it by reducing interaction
              among potential aggressors and victims. Prison population is the number of
              prisoners sentenced to more than 1 year, and it is the average of the current
              and prior year-end figures. All these variables are per capita and logged.
                 In addition, I make full use of the unique ability of the multiple time-
              series design to control for missing variables—variables that are not known
              or that lack adequate data. State dummies control for such factors that cause
              crime rates to differ generally from one state to another. Year dummies control
              for missing variables that cause crime rates to rise or fall nationwide in a
              year. Separate linear trend variables for each state control for factors that
              cause trends in the state to differ from nationwide trends. Without them,
              coefficients on the law dummies are likely to be dominated by such trend
              differences, as opposed to any changes that took place at the time the law
              went into effect. Finally, lagged dependent variables reduce autocorrelation
              and further mitigate missing-variable bias. Two lags are entered when the
              dependent variables are UCR crimes and total gun and nongun victimization
              because data start before 1970. The remaining regressions have one lagged
              dependent variable and lose 1 year of data.

                                              V.    Results
                 The most important regressions are in Tables 2, 3, and 4, where dependent
              variables are homicide victimization rates for persons 15–19 years old, per-
              sons 15–24 years old, and all persons, respectively. For each table, there are
              two regressions, one with gun and one with nongun homicides. The coef-
              ficients for the early state laws are very small and not significant throughout
              except for the negative estimate for nongun total homicides (Table 4). On
              the one hand, the coefficients on the 1994 state law dummies are positive
              in the three gun homicide regressions, but only significant to the .10 level.
              On the other hand, the elasticities of up to .17 are fairly sizeable, and their
              decline as the age bracket expands is consistent with the suggestion that the
              1994 state laws increase juvenile homicide. The 1994 state law dummy has
              no noticeable impact on nongun homicides. Finally, all coefficients on the
              “federal law only” dummies are negative, but significant to the .05 level only
              for gun homicides of all ages (Table 4), which is due solely to New York,
              a topic discussed later. As might be expected, in a separate analysis in which
              the 1994 state law variable and the federal law variable are combined into
              one variable, it is everywhere far from significant. The same result also occurs
              when the three law variables are combined into a single variable.




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                                                              TABLE 2
                              Homicide Victimizations of Persons Ages 15–19, Regressed
                                             on Juvenile Gun Ban Laws

                                                                  Gun Homicide                    Nongun Homicide
                                                              Coefficient           t           Coefficient           t
              Early state laws                                   .000              .008         ⫺.135              1.175
              1994 state laws                                    .172             1.787         ⫺.010               .068
              Federal law only                                ⫺.045                .582         ⫺.181              1.501
              Ages 15–17                                      ⫺.447                .721            .195             .203
              Ages 18–24                                       2.181              3.473         ⫺.291               .300
              Ages 25–29                                         .882             1.511         ⫺.775               .862
              Ages 30–34                                       1.293              1.409        ⫺2.185              1.535
              Unemployment rate                               ⫺.102                .844            .265            1.413
              Employment                                     ⫺1.222               1.068          1.816             1.022
              Welfare                                            .193             1.010         ⫺.302              1.014
              Military employment                                .478             1.977            .718            1.929
              Real personal income                             1.672              1.711         ⫺.358               .237
              Poverty rate                                    ⫺.039                .374            .246            1.499
              Prison population                               ⫺.510               3.368         ⫺.192               .819
              Lag dependent variable                             .174             4.409         ⫺.134              3.213
              Degrees of freedom                             597                               597
              Adjusted R2                                        .90                               .48
              F-statistics:
                For three law types                             1.59 (.19)                        1.21 (.30)
                For differences between equations:
                   Early state laws                                                       .98 (.32)
                   1994 state laws                                                        1.05 (.31)
                   Federal law only                                                       .90 (.34)
                   All three types                                                        .74 (.53)

                 Note.—These two regressions encompass 37 states over 19 years, 1980–98 (after losing a year because
              of the lagged dependent variable). Thirteen small states are not included because they had at least 3 years
              with zeros for one of the dependent variables (Alaska, Delaware, Hawaii, Idaho, Maine, Montana, Nebraska,
              New Hampshire, North Dakota, Rhode Island, South Dakota, Vermont, and Wyoming). Not shown are year
              dummies, state dummies, and individual state linear trend variables. The first three variables listed are
              dummies representing laws banning juvenile gun possession. Except for dummies and trends, the variables
              are per capita and logged. The first F-statistics are for the significance of the three law types taken as a
              group. The remaining F-statistics are for comparing coefficients on the individual law types, determining
              whether differences between the two equations and the net effect of the three are statistically significant.
              Numbers in parentheses are probabilities.


                 A key feature of these tables is the F-test to determine whether differences
              between each law dummy coefficients in gun and nongun homicide regres-
              sions are significant. The laws are designed to reduce gun use, and, if that
              were the only theory involved, one would not expect to see a reduction in
              nongun homicides. In fact, the laws might even increase nongun homicides
              because the reduced availability of guns might lead juveniles to substitute
              other means of killing. Thus, if the laws have their intended effects, one
              would expect the coefficients on the law dummies to be significantly lower
              in the gun homicide regressions. However, if the opposing theory—the one
              that holds that bans increase juvenile homicides because the victims are more
              vulnerable—dominates, both gun and nongun homicides should increase. The




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                                                          TABLE 3
                             Homicide Victimizations of Persons Ages 15–24, Regressed
                                            on Juvenile Gun Ban Laws

                                                              Gun Homicide                   Nongun Homicide
                                                           Coefficient         t            Coefficient       t
              Early state laws                             ⫺.000              .007             .007          .118
              1994 state laws                                 .129           1.757             .124         1.450
              Federal law only                             ⫺.079             1.324          ⫺.052            .748
              Ages 15–17                                      .195            .419             .140          .259
              Ages 18–24                                    1.098            2.524          ⫺.136            .271
              Ages 25– 29                                   1.208            2.826          ⫺.101            .207
              Ages 30–34                                      .462            .682         ⫺1.050           1.330
              Unemployment rate                               .018            .202             .135         1.295
              Employment                                   ⫺.336              .388          ⫺.221            .219
              Welfare                                         .121            .831             .027          .162
              Military employment                             .350           1.913             .065          .310
              Real personal income                          1.366            1.901             .811          .970
              Poverty rate                                    .007            .089             .097         1.047
              Prison population                            ⫺.449             3.898          ⫺.200           1.497
              Lag dependent variable                          .211           6.005          ⫺.100           2.749
              Degrees of freedom                          750                              750
              Adjusted R2                                     .91                              .72
              F-statistics:
                For three law types                         2.44 (.06)                       1.29 (.28)
                For differences between equations:
                   Early state laws                                                  .01   (.92)
                   1994 state laws                                                   .00   (.96)
                   Federal law only                                                  .09   (.77)
                   All three types                                                   .04   (.99)

                 Note.—See note to Table 2. The regressions encompass 46 states over 19 years, 1980–98. Four small
              states are excluded (New Hampshire, North Dakota, Vermont, and Wyoming).



              increase might be greater for nongun homicides, because if the attacker no
              longer fears the victim has a gun, he or she is less likely to rely on the
              quickest and most lethal means of attack.
                 In practice, both hypotheses receive little support. Nowhere in Tables 2–4
              is there evidence that the laws cause gun homicides to decline more than
              nongun homicides. The hypothesis that the laws increase homicides receives
              only very slight support: the difference for early state laws in Table 4 is
              significant to the .10 level. With the large number of comparisons and F-
              tests, however, one such result is to be expected by chance. Finally, an
              important result is that coefficients on the three law variables as a group are
              not significantly different between the gun and nongun variables (last rows
              in Tables 2–4).
                 By aggregating the laws into three groups in Tables 2–4, I am assuming
              that the coefficients on the dummies are the same for each law in a group.
              Similar assumptions are common in time-series cross-sectional analyses of
              legal changes, but they are unrealistic. One would expect that impacts vary




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                                                          TABLE 4
                       Homicide Victims, All Ages, Regressed on Juvenile Gun Ban Laws

                                                              Gun Homicide                    Nongun Homicide
                                                           Coefficient          t            Coefficient       t
              Early state laws                             ⫺.002               .080         ⫺.063            2.529
              1994 state laws                                 .060            1.659            .014           .400
              Federal law only                             ⫺.084              2.786         ⫺.048            1.670
              Ages 15–17                                      .158             .829            .036           .196
              Ages 18–24                                      .186            1.029            .170           .966
              Ages 25–29                                      .365            2.130            .282          1.719
              Ages 30–34                                   ⫺.167               .784            .249          1.197
              Unemployment rate                            ⫺.069              1.794            .068          1.829
              Employment                                   ⫺.151               .464          1.114           3.465
              Welfare                                      ⫺.149              3.093         ⫺.175            3.744
              Military employment                             .213            3.107            .260          3.897
              Real personal income                            .408            1.774         ⫺.372            1.650
              Poverty rate                                 ⫺.002               .057            .076          1.838
              Prison population                            ⫺.172              4.456         ⫺.147            3.882
              Lag dependent variable                          .349           12.774            .106          3.919
              Second lag dependent variable                   .173            6.212           .050           1.885
              Degrees of freedom                        1,307                            1,307
              Adjusted R2                                     .95                              .90
              F-statistics:
                For three law types                          5.55 (.001)                        3.25 (.02)
                For differences between equations:
                   Early state laws                                                   2.94   (.09)
                   1994 state laws                                                     .83   (.36)
                   Federal law only                                                    .72   (.39)
                   All three types                                                    1.90   (.13)

                Note.—See note to Table 2. The regressions encompass all 50 states for 29 years, 1970–98.


              between states because of differences in the precise terms of the laws, en-
              forcement efforts, other contemporaneous changes in criminal law and op-
              erations, and preexisting conditions. To address this problem, each law is
              given a separate dummy variable, which is zero except in the postlaw period
              in the particular state. Dummies were not entered for three states that had
              laws before 1970. Because we only have data for juvenile homicides begin-
              ning in 1979, regressions with these variables do not include dummies for
              three early laws. Also, as indicated in Tables 2–4, several small states were
              deleted because they had more than 2 years with no homicides.
                 As expected, the coefficients vary greatly (Table 5). The coefficients for
              New York stand out; they are negative, large, and highly significant because
              of the extreme decline in homicide rates there since the early 1990s. Most
              coefficients are positive, however, and a few are large. One cannot attribute
              these, or any other individual coefficient in Table 5, specifically to the juvenile
              gun possession bans because the coefficients might be affected by other
              contemporaneous changes that are not captured by control variables, although
              the multiple time-series design permits numerous controls. Assuming that




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                                                     TABLE 5
                  Gun Homicide Victimization Regressed on Individual State Law Dummies

                                        Ages 15–19             Ages 15–24              All Ages
                                    Coefficient      t     Coefficient      t     Coefficient     t
             States passing laws
                  in 1975–93:
               Arizona                  .284        .942       .299      1.316       .302       2.922
               Arkansas                 .546      1.275        .203        .630      .110        .805
               California               .163      1.315        .135      1.451       .081       1.883
               Colorado               ⫺.367       1.189      ⫺.065         .280      .168       1.500
               Michigan              ⫺1.002       4.504      ⫺.553       3.319      ⫺.188       2.668
               Minnesota              . . .        . . .      . . .       . . .     ⫺.293       2.965
               Nebraska               . . .        . . .      . . .       . . .     ⫺.225       1.411
               New Jersey             . . .        . . .      . . .       . . .     ⫺.025        .308
               North Carolina           .036        .145       .044        .237      .101       1.274
               North Dakota           . . .        . . .      . . .       . . .     ⫺.331       1.201
               Oklahoma               ⫺.245         .737     ⫺.062         .251      .079        .706
               Oregon                   .752      2.129      ⫺.388       1.455      ⫺.250       2.066
               Utah                     .360        .838       .498      1.540       .342       2.245
               Virginia               ⫺.105         .424       .082        .442      .162       1.972
               West Virginia          ⫺.064         .133     ⫺.271         .740     ⫺.120        .773
             States passing laws
                  in 1994:
               Delaware               . . .        . . .      .537       1.070       .295       1.227
               Florida                ⫺.112         .690      .047        .383      ⫺.011        .202
               Georgia                ⫺.202         .823     ⫺.118        .639       .108       1.303
               Idaho                  . . .        . . .      .617       1.490       .421       2.165
               Indiana                  .752      3.065       .743       3.986       .261       2.994
               Kansas                   .212        .596      .347       1.290       .229       1.795
               Kentucky                1.076      3.586       .448       1.995       .248       2.365
               Mississippi            ⫺.149         .414     ⫺.069        .258       .021        .169
               South Dakota           . . .        . . .     ⫺.271        .544      ⫺.176        .752
               Tennessee                .462      1.757       .217       1.096       .181       1.976
               Washington             ⫺.282       1.020      ⫺.150        .723       .081        .861
             Federal law (states
                  without laws by
                  1994):
               Alabama                ⫺.083         .297       .033        .158      .116       1.150
               Alaska                 . . .        . . .       .675      1.230       .476       1.758
               Connecticut            ⫺.263         .827     ⫺.107         .446     ⫺.107        .928
               Hawaii                 . . .        . . .       .121        .306      .379       1.987
               Iowa                     .630      1.855        .505      1.968       .254       2.112
               Louisiana              ⫺.282       1.010      ⫺.199         .945      .052        .533
               Maine                  . . .        . . .       .433      1.166       .015        .088
               Maryland                 .290      1.076        .053        .264      .148       1.576
               Massachusetts            .077        .300     ⫺.130         .671     ⫺.091       1.021
               Missouri               ⫺.438       1.753      ⫺.249       1.324      ⫺.022        .244
               Montana                  .104        .171       .360        .780      .134        .612
               Nevada                 ⫺.219         .460       .078        .219      .280       1.613
               New Hampshire          . . .        . . .      . . .       . . .     ⫺.197       1.047
               New Mexico               .089        .204       .236        .713      .342       2.151
               New York               ⫺.468       3.078      ⫺.506       4.387      ⫺.551       9.415
               Ohio                     .119        .677       .047        .356      .005        .088
               Pennsylvania             .537      2.936        .395      2.870       .276       4.250
               Rhode Island             .193        .343       .172        .405     ⫺.274       1.357




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               Texas                         ⫺.379        2.127        ⫺.254         1.900         ⫺.184         3.109
               Vermont                       . . .        . . .         . . .        . . .         ⫺.252          .956
               Wyoming                       . . .        . . .         . . .        . . .         ⫺.112          .378
              Means (with t-ratios):
               All laws                       .073         .818         .096         1.938          .048         1.447
               Early states                   .032         .224        ⫺.007          .071         ⫺.006          .099
               1994 states                    .224        1.174         .214         1.921          .151         2.515
               Federal only                  ⫺.005         .067         .088         1.280          .033          .591

                 Note.—See note to Table 2. These three regressions are the essentially the same as the regressions in
              the “Gun Homicide” columns in Tables 2–4, except that there are separate law dummies for each state.
              The Minnesota, Nebraska, and New Jersey laws are not included in the first two regressions because the
              laws went into effect before or during 1980, when the data in the regressions start. The remaining blank
              spaces occur because states are deleted if they have 3 or more years with no murders. The t-ratio for the
              means is based on the standard error of the means, which is a conservative estimate.


              the other changes are largely random, the overall impact of each law type
              can be estimated by taking the means of the coefficients.24 As seen at the
              end of Table 5, these estimates are generally consistent with those in Tables
              2–4, although the evidence is a little stronger that the 1994 state laws are
              associated with more gun homicides.25
                 Table 6 gives the results of the analysis of suicides of persons ages 15–19
              years, presenting only the results concerning the law variables. In regressions
              similar to those in Table 2, the law dummies are never significant and there
              is no evidence of a difference between gun and nongun suicide. It is likely,
              however, that any impact of the laws is dampened in Table 6 because the
              suicide measure includes persons 18 and 19 years old, who are not covered
              by the gun possession ban, and unlike with the gun homicide measures, one
              would expect an exact correspondence between age and impact of the law.
                 Next, in Tables 7–9, the basic homicide regressions are replicated with
              seven additional homicide measures, again using dummies for the three types
              of laws. Only the law coefficients are shown. The results are consistent with
              the gun homicide regressions in Tables 2–4; the 1994 state laws have positive
              coefficients, while the federal law has negative coefficients, significant in
              two regressions. Coefficients on the federal law are greatly affected by New

                 24
                    There is no uniformly accepted way to calculate the standard error of means of coefficients.
              The procedure used in Table 6 is that recommended in M. Hashem Persaran & Ron Smith,
              Estimating Long-Run Relationships from Dynamic Heterogenous Panels, 68 J. Econometrics
              79 (1995). Another procedure is to calculate the standard deviation of the mean by dividing
              the mean standard deviation by the square root of the number of law dummies involved (see
              Badi H. Baltagi & James M. Griffin, Pooled Estimators vs. Their Heterogeneous Counterparts
              in the Context of Dynamic Demand for Gasoline, 77 J. Econometrics 303 (1997)), which
              usually produces larger t-ratios. Baltagi & Griffin, supra, and Pesaran & Smith, supra, address
              coefficient heterogeneity by conducting separate regressions for each unit. That is not feasible
              here because the time series are too short and, more importantly, because separate regressions
              are likely to be misspecified because they lack year effects.
                 25
                    One reason for the slight differences between the means in Table 5 and the law coefficients
              in Tables 2–4 is that the latter are based on regressions weighted by population, whereas the
              means in Table 5 treat each coefficient equally and thus emphasize smaller states. Thus,
              excluding New York has little impact on the mean for the federal law only states in Table 5.




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                                                             TABLE 6
                    Suicide Rates Regressed on Juvenile Gun Ban Laws (Ages 15–19), 1980–98

                                                                    Firearm                           Nonfirearm
                                                            Coefficient           t           Coefficient            t
              Early state laws                               ⫺.009              .155                .127           1.346
              1994 state laws                                   .005            .063                .022            .187
              Federal law                                    ⫺.060              .940                .078            .800
              Number of states                               46                                46
              Degrees of freedom                            750                               750
              Adjusted R2                                       .78                                 .36
              F-statistics:
                Three law types                                 .35 (.79)                           .77 (.51)
                For difference between equations:
                   Early state laws                                                    1.58   (.21)
                   1994 state laws                                                      .01   (.92)
                   Federal law only                                                    1.40   (.24)
                   All three types                                                      .97   (.41)

                Note.—This table gives coefficients on the three law variables from regressions that are the same as in
              Table 2 except for the dependent variables.



              York, and when it is dropped from the analysis, there is no evidence that
              the federal law reduces homicide.
                 Table 9 also analyzes UCR crimes other than homicides. If the laws actually
              reduce gun possession, they might reduce these crimes because some ju-
              veniles might be reluctant to commit them without the protection of firearms.
              If the laws embolden criminals to commit crimes because they believe that
              victims who appear to be juveniles are less likely to be armed, then one
              would expect these other crimes to increase after the bans. The increases
              would probably be greater for violent crimes, where the offender comes into
              contact with the victim. All these possible impacts, however, are likely to
              be muted because the bans do not apply to adults, who comprise the majority
              of victims and offenders, and there are no useable data disaggregated by age.
              In any event, there is no sign that the bans affect nonhomicides (Table 9).
              In particular, the F-statistics for the three law types are far from significant.
                 The regressions discussed thus far were also estimated with a wide variety
              of variable specifications. Results change little when law variables are lagged
              1 year or converted into distributed lags (a linear trend until the fourth lag).
              The same is true when the regression is conducted in differences, when the
              continuous variables are not per capita, and when they are not logged. Co-
              efficients on the 1994 state law variable are usually a little larger and more
              likely to be significant when the law variable is lagged, but they are less
              likely to be significant when variables are differenced or not logged.
                 As stated earlier, interpretation of the 1994 laws is uncertain because many
              other nationwide changes were made that year. The regression design miti-
              gates this problem by entering year dummies and state trends and by com-




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                                                  juvenile gun possession                                                 707

                                                               TABLE 7
                       Homicide Victimization Rates Regressed on Juvenile Gun Ban Laws

                                                    1980–98                                           1977–99
                                       Ages 15–19             Ages 15–24             Ages 14–17                 Ages 14–24
                                   Coefficient      t     Coefficient      t     Coefficient      t        Coefficient       t
              Early state laws      ⫺.021          .332      .024         .547      .000         .005        .035          .879
              1994 state laws         .160        1.910      .132        2.285      .157        1.339        .092         1.320
              Federal law           ⫺.063          .932    ⫺.064         1.383    ⫺.166         2.261      ⫺.125          2.817
              F for three types      2.21 (.09)             3.59 (.01)             3.00 (.03)               4.51 (.004)
              Number of states      44                     49                     34                       42
              Degrees of freedom   716                    801                    672                      838
              Adjusted R2             .87                    .92                    .80                      .89

                Note.—This table gives coefficients on the three law variables from regressions that are the same as in
              Table 2 except for the dependent variables.


              paring coefficients in gun and nongun homicides. Still, the best estimates
              are probably for the pre-1994 laws, which were passed before the spate of
              federal law activity. There is virtually no evidence that the pre-1994 laws
              have an impact.
                 Another way to control for at least some of the other changes occurring
              around 1994 is to add dummy variables for specific laws. I added three
              categories to the regressions in Tables 2–4. The first is background checks
              for handgun purchases, which under the Brady Act were first applied after
              February 1994 in 33 states that did not already have background checks
              (indicated in Table 1).26 The second is that 24 states have three-strikes laws
              (usually enhanced penalties for third violent felonies).27 The third is that 25
              states have shall-issue laws (which facilitate concealed handgun permits).28
              These additions had very little impact on the results reported above.29
                 26
                    Jens Ludwig & Philip J. Cook, Homicide and Suicide Rates Associated with Implemen-
              tation of the Brady Handgun Violence Prevention Act, 284 JAMA 585 (2000).
                 27
                    See Marvell & Moody, supra note 23.
                 28
                    See Lott & Mustard, supra note 10. The dates for these laws are as follows: Alaska,
              August 30, 1994; Arizona, July 17, 1994; Arkansas, July 8, 1995; Florida, October 1, 1987;
              Georgia, August 25, 1989; Idaho, July 1, 1990; Kentucky, October 1, 1996; Louisiana, April
              19, 1996; Maine, August 7, 1980; Mississippi, July 1, 1990; Montana, October 1, 1991; Nevada,
              October 1, 1995; New Hampshire, August 1, 1994; North Carolina, December 1, 1995;
              Oklahoma, September 1, 1995; Oregon, January 1, 1990; Pennsylvania, June 18, 1989, and
              October 19, 1995; South Carolina, August 23, 1996; Tennessee, July 1, 1994; Texas, August
              28, 1995; Utah, May 1, 1995; Virginia, July 1, 1983, and July 1, 1995; West Virginia, July
              1, 1988; Wyoming, October 1, 1994.
                 29
                    Analysis of the results for these three law variables is outside the scope of this paper. A
              rough summary is that the shall-issue laws have little discernable impact except for reducing
              rape. The three-strikes laws are strongly associated with increases in almost all measures of
              homicide (the major exceptions are nongun homicides of persons ages 15–19 and 15–24). The
              likely reasons for this result are discussed in Marvell & Moody, supra note 23. The Brady
              Act is also strongly associated with more homicides (except victimizations of persons ages
              15–19 and 15–24), as well as with robbery, burglary, and auto thefts. A possible reason is
              that criminals believe that citizens are more vulnerable. However, this finding suffers from the




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                                                             TABLE 8
                     Homicide Arrest Rates Regressed on Juvenile Gun Ban Laws, 1977–99

                                                       Ages 14–17                                Ages 14–24
                                               Coefficient               t               Coefficient               t
              Early state laws                    .054                  .796                .080                 1.843
              1994 state laws                     .218                 1.784                .159                 2.103
              Federal law                      ⫺.095                   1.254             ⫺.070                   1.454
              F for three types                 2.31 (.08)                                4.03 (.01)
              Number of states                 35                                        44
              Degrees of freedom              693                                       880
              Adjusted R2                         .83                                       .86

                Note.—This table gives coefficients on the three law variables from regressions that are the same as in
              Table 2 except for the dependent variables.


                 The next analysis is another comparison of coefficients, with young person
              and adult victimizations as dependent variables. If the juvenile handgun bans
              act to increase homicides because criminals have less cause to fear that
              victims are armed, then the impact should fall only on persons whom the
              attacker believes to be juveniles (it is possible, however, that offenders might
              refrain from attacking adults if there are juveniles present whom the offender
              believes might be armed). Although the bans apply to persons under 18, the
              attacker often does not know the victim’s age and might believe older persons
              are similarly without gun protection. In any event, I use victimizations of
              persons ages 14–17, 15–19, and 15–24. Likewise, it is difficult to determine
              which age group is not affected, and the variables used are persons older
              than 19 and persons older than 24. These various combinations lead to five
              comparisons, and there is no indication of a difference between the age groups
              for any of the three law types.
                 It is possible that the apparent lack of crime-reduction impact of the law
              is due to simultaneity—that is, state legislatures pass juvenile bans in response
              to rising juvenile homicide, such that this positive relationship counteracts
              a negative impact of the laws. This possibility is suggested by Figure 1 and
              Table 1. Most laws in the “early state law” category were enacted in the late
              1980s and early 1990s, just when juvenile gun homicide was increasing.
              Although these crimes peaked in about 1992, the 1994 federal and state laws
              might be in response to the trends in the prior decade. This issue is addressed
              in two ways. First, any such simultaneity would be mitigated (but not elim-
              inated) by lagging the law dummy variables, because the legislatures are not
              fact that the categorization of states as Brady Act states and non–Brady Act states by Ludwig
              & Cook, supra note 26, has little to do with the extent of gun control exercised before and
              after the Brady Act. Several Brady Act states (subjected to the law) already had strong gun
              control laws, while the federal government classified several states as non–Brady Act states
              on the basis of laws passed just before the Brady Act went into effect. In all, because of this
              problem and because of the positive coefficients on the Brady Act variable, I question the
              results in Ludwig & Cook, supra note 26.




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                                                                               TABLE 9
                                   Uniform Crime Report Crime Rates Regressed on Juvenile Gun Ban Laws
                                                 (50 States, 1,353 Degrees of Freedom), 1970–99

                        Homicide                Rape               Robbery               Assault              Burglary               Larceny            Auto Theft
                    Coefficient     t     Coefficient     t     Coefficient    t     Coefficient     t     Coefficient     t     Coefficient     t     Coefficient    t
Early state laws       .003        .161     ⫺.010        .702     ⫺.002       .113     ⫺.000        .011       .001       .171      .010       1.260     ⫺.001       .093
1994 state laws        .051       1.741     ⫺.026       1.326       .019      .790     ⫺.024       1.186     ⫺.008        .604      .009        .856       .007      .333
Federal law          ⫺.076        3.180     ⫺.013        .827       .007      .361     ⫺.027       1.563     ⫺.015       1.281      .001        .119     ⫺.017       .944
F for three types    6.89                     .67                   .24                  .99                   .62                  .71                    .51
                      (.001)                 (.57)                 (.87)                (.40)                 (.60)                (.55)                  (.67)
Adjusted R2            .95                    .97                   .99                  .98                   .98                  .98                    .98

  Note.—This table gives coefficients on the three law variables from regressions that are the same as in Table 2 except for the dependent variables. Two dependent-
variable lags are used.




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              influenced by crime rates in the next year. As discussed earlier, lagging the
              dummy has little impact on the results.
                 Another way to explore possible simultaneity is the Granger test.30 Using
              a probit procedure, with the variables listed in Table 2 plus the state effects,
              the law dummies are regressed on crime lagged 2 years, as well as the law
              dummies lagged 2 years. If rising crime caused the laws to be enacted, the
              coefficients on the crime variables would be significant and positive.31 The
              analysis showed that there is no evidence of this for any of the three law
              categories and for any of the numerous crime measures. Most coefficients
              on lagged crime (the regressions use lags of 1 and 2 years) are negative, and
              none is positive and significant.

                                                 VI.      Conclusion
                  Juvenile handgun bans have little or no impact on a wide variety of crime
              measures. This finding renders the analysis more difficult than if an impact
              were found. Most published evaluations of laws do find an impact one way
              or another, and they typically only present a regression with significant results,
              with perhaps a few supporting analyses. Such a procedure, however, is not
              valid to show the absence of an impact because still other specifications
              might uncover an apparent impact. Also, the lack of significant results does
              not mean absence of impact, just that it is less likely. One can never claim
              to have covered all possibilities, but this paper attempts to mitigate these by
              using numerous crime measures as well as several configurations of the law
              variables and of the continuous variables. The multiple time-series design
              using coefficient comparisons, moreover, provides far more controls than
              other procedures.
                  One can posit theories that the juvenile gun bans either increase or decrease
              homicides. If the bans reduce juvenile gun access, they would probably reduce
              the use of guns by juveniles in crimes. If the bans lead others to believe that
              juveniles are more vulnerable targets, the result is likely to be more crime,
              especially violent crimes involving juveniles. The finding that the laws have
              little or no impact could mean that both types of theories are without merit
              or that they cancel each other out. The former appears more likely. It is not
              likely that theories cancel each other in a similar way for so many different
                 30
                    Clive W. J. Granger, Investigating Causal Relations by Econometric Models and Cross-
              Spectral Methods, 37 Econometrica 424 (1969).
                 31
                    The rationale for the Granger test is that there is no simultaneity between the dependent
              variable and lagged independent variable, so long as the lagged dependent variable is entered
              to control for possible serial correlation between the lagged independent variable and dependent
              variable through the lagged dependent variable. It is possible for the Granger test to miss
              causation if it occurs only in the current year, since the current year independent variable is
              not entered (because the causal direction in the current year is undetermined). This is very
              unlikely here because the legislature in one year is unlikely to react only to crime in that year
              and not consider crime in the prior year.




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                                       juvenile gun possession                            711

              crime measures, and the lack of impact on juvenile suicide rates suggests
              that the laws do not reduce gun access.
                 The results are almost uniform with respect to the pre-1994 state laws
              banning juvenile gun possession: they have no discernible crime-reduction
              impact, and there is only very slight evidence of an increase, mainly with
              respect to total gun homicides (Table 5). The results for the 1994 law variables
              are more uncertain because the results might be influenced by substantial
              federal efforts commenced that year to regulate guns and reduce crime gen-
              erally. Where the 1994 laws seem to have an impact, the suggestion is almost
              always that crime increases; thus, there is no evidence that these bans had
              their intended effect. There is some slight support for the theory that the
              bans increase homicides because juveniles appear more vulnerable. With
              aggregate law variables, this effect appears mainly for state 1994 laws and
              it is usually counterbalanced by negative results for the federal 1994 law.
              The strongest indication occurs when the law variable is disaggregated, but
              these results are affected by large positive coefficients in a few small states.
              Finally, there is no discernable difference between the impact of the laws
              on murders by juveniles and those by adults; if the laws encouraged crime,
              the impact would only apply to the former.

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              EXHIBIT "9"




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         Ownership Levels on Violence
         Rates

         Article in Journal of Quantitative Criminology · September 1993
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        Journal of Quantitative Criminology, Vol. 9, No. 3, 1993




        The Impact of Gun Control and Gun Ownership
        Levels on Violence Rates

                     Gary Kleck 1 and E. Britt Patterson 2


                     What effects do gun control restrictions and gun prevalence have on rates of
                     violence and crime? Data were gathered for all 170 U.S. cities with a 1980
                     population of at least 100,000. The cities were coded for the presence of 19
                     major categories of firearms restriction, including both state- and city-level
                     restrictions. Multiple indirect indicators of gun prevalence levels were measured
                     and models of city violence rates were estimated using two-stage least-squares
                     methods. The models covered all major categories of intentional violence and
                     crime which frequently involve guns: homicide, suicide, fatal gun accidents,
                     robbery, and aggravated assaults, as well as rape. Findings indicate that (1) gun
                     prevalence levels generally have no net positive effect on total violence rates,
                     (2) homicide, gun assault, and rape rates increase gun prevalence, (3) gun
                     control restrictions have no net effect on gun prevalence levels, and (4) most
                     gun control restrictions generally have no net effect on violence rates. There
                     were, however, some possible exceptions to this last conclusion~of 108
                     assessments of effects of different gun laws on different types of violence, 7
                     indicated good support, and another 11 partial support, for the hypothesis of
                     gun control efficacy.

                     KEY WORDS: gun control; violence.


        1. INTRODUCTION
             Crime is widely viewed by the public as one of the most important
        problems facing our society, and violent crime is regarded as the most
        serious and fearful kind of crime. While violence is often regarded as an
        intractable problem difficult to reduce through deliberate governmental
        effort, many have argued that it, nonetheless, may be reduced through the
        regulation of weapons, especially firearms.

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              The rationale for gun control, of course, includes the assumption that
         the availability of guns has a significant net positive effect on violence rates.
         This assumption has not yet been consistently supported by a credible
         body of evidence, partly because evidence from better studies has largely
         been negative or mixed regarding the assumption and partly because so
        much of the evidence is too weak to be credible one way or the other (see
         overviews by Wright et al., 1983, pp. 129-137; Kleck and McElrath, 1991).
        There are a number of possible effects which gun availability could have on
         violence rates. If a gun is available, it could encourage attacks, especially
         by weaker attackers on stronger victims, and could facilitate attacks from
        a distance or attacks by persons too squeamish to attack with messier
         weapons such as knives or too timid to attack at close quarters. Similarly,
        guns may enable some people to attempt robberies they could not complete
         unarmed (Newton and Zimring, 1969; Cook, 1976). The sight of a gun
        might "trigger" attacks by angered persons, due to the learned association
        between guns and violence (Berkowitz and LePage, 1967). On the other
        hand, research also indicates that the presence of guns usually inhibits the
        expression of aggression, reducing the likelihood of attack (Kleck and
         McElrath, 1991; Kleck and DeLone 1993). There is support for the claim
        that once an injury is inflicted, it is more likely to result in death if a gun
        was used, due to the weapon's greater lethality (Newton and Zimring,
        1969; Block, 1977; Kleck and McElrath, 1991 ), although part of the higher
        fatality rates of gun attacks is probably due to greater seriousness of intent
        on the part of those using guns, rather than just the weapon itself (Wright
        et al., 1983 ). Regarding suicide, some authors argue that guns provide a
        uniquely quick, easy, and sure means of self-destruction which reduces the
        chances of successful outside intervention (Newton and Zimring, 1969). On
        the other hand, many highly lethal and otherwise satisfactory means for
        committing suicide are even more widely available than guns, and can
        easily be substituted where guns are not available.
              Prior studies of the aggregate relationship between gun availability
        and violence rates have used a variety of measures, none entirely satis-
        factory (Cook, 1982, pp. 264--272). These studies have failed to generate
        consistent evidence of a net positive effect of gun availability on violent
        crime rates (Kleck, 1984a, 1991, Chap. 5). The present study measures gun
        levels through the use of multiple indirect indicators, for two purposes:
        (1) to assess the impact of gun availability on violence rates and (2) to
        assess the effects of gun laws on violence rates, including both direct effects
        and indirect effects operating through the impact of gun control on gun
        availability. The study addresses every major form of gun control and every
        major form of violence involving firearms, including not only the violent
        crimes of homicide, robbery, assault and rape, but also suicides and fatal
        gun accidents.

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         Impact of Gun Control and Ownership Levels on Violence Rates             251

         2. METHODS OF PRIOR RESEARCH

             Two general strategies have been used to assess the impact of gun
        control laws on violence rates: interrupted time series designs and cross-
        sectional designs. In the typical time series design, monthly violence rates
        for a single jurisdiction are analyzed with ARIMA or regression time series
        methods to see if there is a significant downward shift in crime around the
        time a new gun law goes into effect. Cross-sectional designs compare legal
        jurisdictions, usually states, with each other to see if those having a given
        type of gun law have lower levels of violence than those lacking the law.
             Studies of gun control's impact on violence have been characterized by
        a variety of methodological flaws. The first is the failure to control
        adequately for other determinants of violence rates besides gun control
        laws, before attributing crime reduction effects to gun regulation. This is at
        least as much of a problem for time series studies as for cross-sectional
        ones. Careful modeling of preintervention trends in violence is required
        in time series studies, rather than simple before-and-after comparisons,
        because the time when an intervention is most likely to be implemented is
        at, or shortly after, the time when the target problem peaks, i.e., when it
        is most likely to stimulate attempts to combat it. Thus, one would expect
        to find decreases in the problem after an intervention even if the interven-
        tion were ineffective, due to this simple timing issue-the problem was
        peaking and thus was going to decline at the time of intervention anyway,
        even if nothing was done about it. Unfortunately, if this reasoning applies
        to the intervention being evaluated, it also applies to other "interventions"
        as well. Other efforts, public or private, collective or individual, to reduce
        the target problem would also be most likely to start (or peak) at about
        the same time. Time series modelers attempting to isolate the impact of gun
        laws necessarily assume that the evaluated intervention was the only new
        element in the causal structure generating trends in violence rates. This is,
        at best, a convenient simplification; at worst, an implausible one.
             Cross-sectional designs can take advantage of considerable data in
        census years for cities, metropolitan areas, or states on extraneous deter-
        minants of crime rates, while time series data on most such variables,
        except at the national level, are nonexistent. Consequently, time series
        designs usually do not explicitly control for any other important deter-
        minants of crime which might show changes coincident with changes in
        gun laws. Thus, they do not allow the analyst to rule out explicitly any
        alternative explanations of violence decreases. Instead they, at best, make
        do with comparisons to "control" jurisdictions which, it is assumed, would
        show crime trends similar to those in the intervention jurisdiction, were it
        not for the impact of the gun law changes. This was the strategy followed
        by Pierce and Bowers (1981 ). Other time series studies use trends in

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        nongun violence rates within the impact jurisdiction as internal controls,
        relying on the implicit, and implausible, assumption that gun and nongun
        rates would follow similar trends were it not for changes in gun regulation
        (e.g., Loftin and McDowall, 1981, 1984 ). Evidence from the present study
        (Table III) indicates that gun violence and nongun violence rates are
        driven by different sets of exogenous variables (apart from gun laws and
        gun prevalence), suggesting that they are likely to show divergent trends
        even in the absence of new gun laws.
              Cross-sectional studies of a large number of jurisdictions offer clear
        advantages over longitudinal designs if one wants to identify which specific
        features of gun regulation are likely to generally produce violence reduc-
        tions. The former tests the average effect of many specific instances of a
        form of regulation, while the latter tests only the effects of a single new gun
        law in a single jurisdiction, allowing little generalizability. With the former
        design it is possible to separate the effects of different types of gun controls
        which are sometimes lumped together in a single new law, while this is
        impossible in the latter.
              Further, it is impossible to state for certain, a priori, when the effect of
        a new law should become evident, rendering the gun law efficacy
        hypothesis difficult to falsify with a time series design. For example, some
        analysts have assumed that any impact should begin at the law's "effective
        date," while others assert that effects can begin earlier, due to an "announce-
        ment effect" (Pierce and Bowers, 1981). Loftin and his colleagues (1991)
        even concluded that local handgun bans reduced homicide in the District
        of Columbia, even though the declines in both gun homicides and total
        homicides began 2 years before the law went into effect! One could just as
        easily argue that effects would only become evident after a lag of indeter-
        minate length. In contrast, with a cross-sectional design the corresponding
        question .is where the law would have its effects, and there is little doubt
        that the effects should be most pronounced in the jurisdiction which
        implemented the regulation.
              The principal weakness of cross-sectional studies is one shared by time
        series studies-the difficulty of meeting the ceteris paribus condition by
        correctly specifying a model of how crime rates are generated. It should,
        however, be noted that the cross-sectional design does not require, as
        Wright et al. (1983, p. 285) assert, that "the investigator have a fairly
        complete understanding of how the particular crime rates are generated."
        This is an impossible standard to meet and fortunately, an unnecessary
        one. Instead, unbiased estimates of the impact of a gun control measure
        can be obtained if one includes in the model only those extraneous
        variables which affect crime rates and which also have nontrivial correla-
        tions with the gun control measures. It turns out that none of the known



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        causes of variation in violence rates are strongly correlated with gun laws,
        making this a less crucial empirical issue than it seemed.
             With only two exceptions (Geisel et a!., 1969; Cook, 1979), prior
        cross-sectional studies have exclusively used states as their unit of analysis.
        This exacerbates the problem of aggregation bias. States are larger units
        than cities and, also, more heterogeneous with regard to levels of violence
        and variables affecting violence rates. Consequently, the best level of
        aggregation to use would be the lowest and most homogeneous one at
        which gun law is made-the city level.
             Another problem with state-level analyses is that they cannot incor-
        porate measures of local gun controls. Only one prior study has measured
        gun regulation at both the state level and the city level (Geisel et al., 1969),
        yet the most restrictive gun laws in the nation are at the local level. Many,
        even most, of the residents of a given state might be subject to very strong
        gun laws, at the city level, yet be subject to little or no state regulation.
        Consequently, studies failing to measure local ordinances seriously
        mismeasure the degree of gun control to which much of the population is
        subject.
             For some gun laws, one presumed reason for any effects on violence
        they may have is that they reduce levels of gun prevalence or availability,
        which in turn affects violence rates. Indeed, regardless of the way the laws
        were designed to work, almost any restriction on guns could in practice
        discourage gun ownership, by reinforcing public perceptions of guns as
        dangerous objects. Conversely, most gun laws could hypothetically reduce
        violence in ways other than by reducing gun ownership, e.g., by making
        carrying or criminal use more risky or reducing the immediate availability
        of guns in violence-prone situations. Only three of the studies published to
        date explicitly measured gun prevalence or availability (see column 5 in
        Table I). Thus it was usually impossible to tell whether observed effects
        were produced through reductions in gun ownership or through some
        other causal mechanism. Further, if high gun prevalence makes it harder to
        pass gun laws, and also contributes to higher violence rates, failing to
        control for gun prevalence could result in a spurious negative association
        between gun laws and violence rates.
             None of the three gun law studies which measured gun levels treated
        the gun-violence relationship as a simultaneous reciprocal one. This is
        problematic because there is both individual-level and aggregate-level
        evidence that violence rates can motivate gun acquisition and increase
        aggregate gun ownership levels (Lizotte and Bordua, 1980; Lizotte et al.,
        1981; Kleck, 1984a; McDowall, 1986; Smith and Uchida, 1988). If the rela-
        tionship were a simultaneous reciprocal one, failing to model it properly
        would result in biased and inconsistent estimates of the gun coefficient, and


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              Table I. Previous Studies of the Impact of Gun Control on Violent Crime Rates"

                                                                     Weakness
                                                                                             Gun control
                       Study                              2      3      4       5   6     7 effective?

        Wisconsin (1960)                            X     X     X       X       X                No
        Krug (1967)                                 X     X     X       X       X   X            No
        Geisel e t a!. ( 1969)                                 (x)      X       X   X            No
        Olin Mathieson (1969?)                      X     X     X       X       ?   X            No
        Seitz (1972)                                X     X     X      (x)      X   X            Yes
        Murray (1975)                               X     X     X      (x)      X                No
        Zimring (1975)                              X                                     X      Mixed
        Beha (1977)                                 X           X      (x)                X      Mixed 6
        Deutsch and Alt (1977)                      X                   X                 X      Mixed 6
        Cook (1979)                                             X               ?                No
        Hay and McCleary (1979)                     X                   X                 X      No 6
        Nicholson and Garner (1980)                 X                   X                 X      Mixed
        Sommers ( 1980)                             X     X     X       X       X         X      Mixed
        Jones(1981)                                 X                   X                 X      Mixed
        Lester and Murrell (1981)                   X           X       X       X   X            No
        Pierce and Bowers ( 1981)                   X                   X                 X      Mixed 6
        Lester and Murrell (1982)                   X     X     X       X       X   X            Mixed
        Magaddino and Medoff (1982)                 X     X     X       X       X                No
        DeZee (1983)                                      X     X       X       X                No
        Loftin et a!. ( 1983)                       X                   X                 X      No
        Loftin and McDowell ( 1984)                 X                   X                 X      No
        Magaddino and Medoff I (1984)                     X     X       X       X                No
        Magaddino and Medoff II ( 1984)                                                   X      No
        McPheters eta!. (1984)                      X                   X                 X      Yes
        Lester and Murrell (1986)                   X     X     X       X       X   X            No
        Lester (1987)                               X     X     X       X       X   X            No
        Lester (1988)                              (x)    X     X               X   X            Yes
        Jung and Jason ( 1988)                      X                   X                 X      No
        Loftin eta!. (1991)                         X                   X                 X      Yes

        "Summary: 4 yes, 8 mixed, 17 no. "Gun control effective?" means "Did gun laws appear to
          reduce significantly total (gun plus nongun) rates of violence or crime?" Weakness codes: x,
          problem existed; blank, no problem; -, problem is irrelevant; (x), partial presence of
          problem or problem inadequately dealt with. Weaknesses: (1) included no, or very few,
          control variables; (2) state level of analysis used, rather than city; (3) no measure of local gun
          control laws; (4) no measure of gun ownership included; (5) only one source of information
          on gun control laws used; (6) lumped heterogeneous mixture of gun laws together, without
          separate measures of impact of different types of gun laws; (7) studied just one specific law;
          little generalizability.
        6
         These four studies are not independent since they are all evaluations of the same law (the
          Massachusetts Bartley-Fox law) in the same time period, using the same general methods.
         They contributed three of the eight studies classified as "mixed." Their findings are classified
          this way because, taken as a whole, they indicate that the law had no effect on homicide, may
          have reduced robbery (two studies indicated this, one did not), and reduced gun assaults by
         a moderate amount, while increasing nongun assaults by a larger amount.


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        the positive effects of violence on gun levels would be confused with the
        possible positive effects of gun levels on violence rates.
             Finally, close examination of the various surveys and compilations of
        gun laws reveals significant differences between sources, indicating in many
        instances that at least one source was in error. Consequently, studies
        using a single source of information are especially vulnerable to error in
        measurement of the key variables. This was true of all prior studies of
        multiple laws.


        3. RESULTS OF PRIOR RESEARCH
             The Table I summary of prior research on gun law effects indicates
        that most of the 29 studies found no impact of gun laws on total violence
        rates. [Throughout this paper, the term "total violence rate" refers to rates
        of gun violence plus nongun violence in a given violence category. For
        example, the term could refer to total homicide (gun homicide plus nongun
        homicide) or to total robbery (gun robbery plus nongun robbery), and so
        on. It does not refer to homicide plus robbery plus assault and so on.] Of
        the 12 studies yielding favorable or mixed results, 3 were time series evalua-
        tions of the same law, the Bartley-Fox carrying law. Of these three, the
        Pierce and Bowers (1981) study found a drop in violence which preceded
        the law's effective date, casting doubt on the authors' favorable assessment
        of the law. Further, a fourth study of this same law concluded that evidence
        regarding the law's impact was inconsistent and that the optimistic conclu-
        sions of previous researchers were premature (Hay and McCleary, 1979).
        The middle columns in Table I indicate that most of the rest of the studies
        offering at least mixed support for gun control efficacy are seriously flawed.
        Taking prior research as a whole, it would be fair to say at this point
        that a consistent, credible case for gun control efficacy in reducing violence
        has not yet been made. 3 [For reviews of research on the impact of gun

        3
        Assessments of the studies' implications regarding gun control efficacy are based on their
        empirical findings, not necessarily on their authors' conclusions. As an example of conclu-
        sions diverging from data, Geisel et al. (1969) concluded that increased gun control severity
        would save lives, based on analyses using an index which lumped together all forms of gun
        control. Construction of this index involved a weighting scheme which, contrary to the
        author's claims, biased results in favor of finding a stronger correlation with violence rates
        (see p. 659). Even so, the results of analyses using the index did not generally support the
        author's conclusions. Of the seven violence rates studied, only two showed a significant
        negative association with the index: gun suicides (but not total suicides, indicating nothing
        more than a substitution effect) and accidental death by firearm (p. 663 ). Further, buried in
        the last page of their Appendix was a one-paragraph summary of the results of their more
        appropriate analysis (which even the authors described as "more refined"), using separate
        dummy variables for each type of gun control: "We could obtain no significant or even
        meaningful results" (p. 676).


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        prevalence on crime, suicide, and gun accident rates, see Kleck (1991,
        pp. 187-188, 214-214, 248-250, 265, 303-304).]


        4. METHODS OF THE PRESENT STUDY
             The present study is a city-level cross-sectional study. Data were
        gathered on all 170 U.S. cities which had a population of 100,000 or larger
        in 1980, i.e., all large cities. Cities were chosen as the unit of analysis
        because they are the smallest, most homogeneous unit or area to which
        gun laws apply, and analyses which use larger units necessarily must ignore
        laws passed by smaller constituent areas. A majority of the reported violent
        crimes in the United States occurred in these 170 cities [U.S. Federal
        Bureau of Investigation (FBI), 1981, p. 173]. Smaller cities could not be
        included because person-level vital statistics mortality data do not identify
        locations of deaths for cities with populations smaller than 100,000 [U.S.
        National Center for Health Statistics, (NCHS), 1983, p. 8]. These data
        were needed to obtain city counts of gun homicides and gun suicides, data
        which were essential both as components in dependent variables and as
        indirect indicators of gun prevalence.
             The dependent variables are the rates per 100,000 resident population
        of homicide, suicide, aggravated assault, robbery, rape, and fatal gun
        accidents. For all but the last two of these, we had data allowing separate
        analyses of rates of violence with guns, without guns, and with gun and
        nongun events combined.
             The violence rates were averaged over 3 years, 1979 to 1981, thus
        bracketing the Census year of 1980 for which data on most of the control
        variables were available. Some of the smaller cities had fewer than a half-
        dozen homicides or suicides per year; thus, misclassification of just one or
        two homicides or suicides as other kinds of deaths could substantially alter
        a single year's official count. Therefore, 3 years were covered, to minimize
        the potential measurement error produced by misclassification and to
        minimize the instability due to year-to-year fluctuations.
             The dependent variables were expressed as natural logs. The transfor-
        mation produced more normal distributions on the violence rate variables.
        (Without exception, skewness and kurtosis statistics moved closer to zero
        after the transformation.) It also helped to stabilize the variance of the
        residuals, reducing heteroscedasticity.
             Models of violence rates were estimated using two-stage least-squares
        procedures because a simultaneous reciprocal relationship was specified
        between violence rates and gun prevalence levels, based on the assumption
        that higher violent crime rates could motivate gun acquisition, in addition
        to gun prevalence increasing violence rates. No effect of suicide and fatal



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        gun accident rates on gun acquisition was expected, so models of these
        violence rates were specified as recursive and estimated using ordinary
        least-squares methods. Figure 1 illustrates the general form of the models
        estimated. This is the general causal structure assumed for all models
        estimated, except that we assumed there was no effect of suicide and gun
        accidents on gun prevalence. There was a total of 14 models (one for each
        type of violence rate listed in Table II), and each model consisted of two
        equations, one for the violence rate and one for the gun prevalence level.
             The initial choice of possible control variables to include in the models
        was based on a review of previous city-level and metro area-level studies.
        An effort was made to include all predictors which had frequently and
        consistently been found to significantly predict the violence rates examined
        here. Most of the violence predictors besides the gun law dummies and gun
        prevalence indicators were measures of the relative sizes of population
        groups which have especially high or low violence rates, or were measures
        of social integration, isolation, or transience, or measured the prevalence of
        statuses which can give rise to violence, such as divorce, alcoholism, and
        unemployment. Theoretical rationales for including these variables, and
        relevant empirical evidence, can be found in numerous sources (e.g., Byrne,
        1986; Sampson, 1986; Land et a!., 1990, and studies reviewed therein).
        Exogenous variables which remained in the final models were those whose
        coefficients in the violence rate equations were significant at the 0.10 level
        in preliminary screening using OLS.


                                                     Hunting
                                                  License Rate




                      Gun/Outdoor           +                          Gun Ownership
                      Magazine Rate   -----------!>                        Level




                        Individual
                        Gun Laws
                                                                        +       +



                         Control                                          Violence
                        Variables     -----------~                          Rate


                          Fig. 1. General causal diagram of violence rate models.



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               Table II. Descriptive Statistics for Variables Used in Analysis (N = 170 Cities)"

                                                                        Mean          SD        Sourceb

        Violence rates (1979-1981 average, rates per 100,000
          resident population, in natural logs)
          LNMR, Homicides (total)                                          2.47         0.78    a
          LNASLT, Aggravated assaults (total)                              5.90         0.58    b
          LNROB, Robberies (total)                                         5.79         0.75    b
          LNRAPE, Forcible rapes (total)                                   4.04         0.54    b
          LNSUICID, Suicides (total)                                       2.63         0.35    a
          LNFGA, Fatal gun accidents (total)                               0.50         1.35    a
          LNGUNMR, Homicides with gun                                      1.98         0.88    a
          LNNGMR, Homicides without gun                                    1.42         0.72    a
          LNGNASL T, Assaults with gun                                     4.55         0.75    b,c
          LNNGASL T, Assaults without gun                                  5.55         0.60    b, c
          LNGNROB, Robberies with gun                                      4.87         0.76    b,c
          LNNGROBR, Robberies without gun                                  5.22         0.84    b, c
          LNGNSUIC, Suicides with gun                                      1.94         0.56    a
          LNNGSUIC, Suicides without gun                                   1.81         0.47    a
        Gun prevalence indicators
         PGH7982,% gun, homicide, 1979-1982                               61.48        11.89    d
         PCTGNAST, %gun, aggr. assault, 1979-1980                         28.31        11.39    c
         PCTGNROB, %gun, robbery, 1979-1980                               42.00        13.11    c
         PGS7982, %gun, suicide, 1979-1982                                53.37        14.91    a
         GUNSTOL, ($value, stolen guns/$ value,
           all stolen property) x 100                                      1.20         0.75    e
        Instrumental variables
          RGUNMAG, Subscription rate top 4 gun/hunting
             magazines, county                                         6,564.74     8,656.41
          HUNTERS, Hunting License holder rate per
             lOOK pop., state                                          6,985.58     4,252,36    g
          NRA, NRA members per lOOK pop.                                 870.90       634.59
          LIBERAL, % 1972 presidential vote for McGovern,
             county                                                       38.46         9.90    u

        aunless otherwise noted, each variable refers to a city, as of 1980. In variable descriptions,
         "county" indicates variable refers to county in which city was located, and "state" indicates
         variable refers to state in which city is located. Methods of estimating missing values may be
         obtained from senior author.
        b(a) Tabulations from Mortality Detail Files (U.S. NCHS, 1983 ); (b) U.S. FBI (1980--1982);
         (c) ICPSR (1983); (d) ICPSR (1984a); (e) ICPSR (1984b); (f) Audit Bureau of Circulations
         (1979-1982); (g) U.S. Fish and Wildlife Service (1980); (h) Blose and Cook (1980); (i) U.S.
         Bureau of Alcohol, Tobacco and Firearms (1980); (j) Ronhovde and Sugars (1982);
         (k) Jones and Ray (1980); (I) Wright eta/. (1983); (m) U.S. Bureau of the Census (1983a);
         (n) U.S. Bureau of the Census (1983b); (o) Quinn eta/. (1982); (p) U.S. Bureau of the
         Census (1981); (q) Gastil (1971); (r) U.S. Bureau of Justice Statistics (1982); (s) U.S. Federal
         Bureau of Investigation (undated); (t) unpublished membership counts supplied to senior
         author by National Rifle Association; (u) Scammon (1972).




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                                           Table II. Continued

                                                                    Mean    SD        Sourceb

         Gun control variables
          LICENSE, License to possess gun in home                   0.11      0.32     h, i,j
          BYPERMIT, Permit to purchase or acquire                   0.34      0.47     h, i,j
          WAITPER, Waiting period to buy, receive, etc              0.44      0.50     h,j
          CRIMINAL, Prohibit possession (poss. )-criminals          0.82      0.38     i,j, k
           MENTAL, Prohibit poss., mentally ill, incomp.            0.25      0.43     i,j, k
          ADDICT, Prohibit poss., drug addicts, users               0.41      0.49     i,j, k
          ALCOHOLIC, Prohibit poss., alcoholics, etc.               0.19      0.40     i,j, k
           MINORS, Prohibit purchase by minors                      0.98      0.15     i, j
           REGISTER, Registration of guns                           0.47      0.50     h, i
          DEALER, State or city license, gun dealers                0.61      0.49     h, i,j
          CARYHIDN, Concealed handgun carrying forbidden or
                permit hard to get                                  0.88      0.33     j, k
           CAR YO PEN, Open handgun carrying forbidden
             or permit hard to get                                  0.56      0.50
           MANDPEN, Mandatory penalty, illegal carrying             0.12      0.33
           ADDONDIS, Additional penalty for committing crimes
             with gun, discretionary                                0.58      0.50
          ADDONMND, Additional penalty for committing
             crimes with gun, mandatory                             0.61      0.49
           RTBRARMS, State constitutional provision-individual
             right to bear arms                                     0.43      0.50
           HGBAN, De facto ban on handgun possession                0.01      0.11
           SNSBAN, Saturday Night Special sales ban                 0.04      0.20
           HGBYBAN, Ban on handgun sales                            0.01      0.11
         Control variables
           PCTBLACK, % respop, black                               19.27      16.69    m
           PCTHISP, % respop, Spanish origin                        8.82      12.23    m
           PCTM1524, % respop, male, age 15-24                     10.05       2.30    n
           PCTOLD, % respop, age 65 +                              11.20       3.53    m
           RUNM1624, Unemployment rate males, age 16--24           13.18       6.12    n
           RPOV, % respop <poverty line 1979                       13.97       5.16    m
           MFI, Median family income, $s, 1979                 19,435.52   3,592.01    m
           INEQUALT,% hshlds w. income >$10K or >$50K              35.51       6.91    m
           OWNEROCC, % housing units owner-occupied                54.14      11.19    m
           COLLEGE, College enrollment/lOOK respop              7,619.66   4,267.42    n
           PCTMOVE, % respop age 5 + not in same house as
             5 yr before                                           51.01      8.44     m
           TRNSIENT,% respop, born out of state                    42.74     15.79     m
           PCTFOREN, % respop, foreign born                         7.68      8.25     n
           POPCHANG, % pop change 1970 to 1980                      7.32     20.37     m
           CNTDIVRT, Divorces per lOOK respop, county             639.20    245.25     m
           FEMHEAD, % families headed by females                   21.21     10.93     m
           CHRCHMEM, Church membership per 100 respop,
             county                                                20.38      12.02    0




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                                            Table II. Continued


                                                                     Mean        SD       Sourceb

          ALCHLSM, Alcoholic liver disease deaths per
            lOOK respop                                                 7.77       4.45   a
          ADDICTRT, Deaths due to nonmedical accidental
            poisoning by opiates per lOOK respop                       0.22       0.52    a
          PCTSMSA, City respop as a% ofSMSA respop                    34.58      22.73    n
          VISITORS, Lodging receipts in dollars/lOOK
            respop, SMSA                                              111.00    269.38    p
          INVPOP, Inverse population, 1/(respop in lOO,OOOs)            0.56      0.29    m
          HSACTRAT, Household activity ratio-fraction of
            households not of husband-wife, wife not working type       0.71      0.05    n
          HOSPITAL, Hospital beds per lOOK respop                   1,013.90    661.20    m
          LIVLONE, % households with 1 person                          10.18      2.91    m
          STORES, Retail establishments/lOOK respop                   851.72    167.09    m
          MAXTEMP, Avg. daily max temperature, July                    87.16      6.64    m
          CROWDING, Percent of occupied housing units with
            1.01 + persons/room                                         4.89       3.23   m
          DENSITY, Persons per square mile                          4,334,26   3,375.96   m
          STHNBORN, Percent respop born in South                       12.93       6.33   n
          SOUTH, South region dummy                                     0.32       0.47   m
          WEST, West region dummy                                       0.28       0.45
          STHNNESS, Gastil "Southernness Index"                        20.24       7.43   q
          POLEXP, Police expenditures per capita                       70.65      24.92   m
          COPS, Sworn police officers/lOOK respop                     207.57      82.40   b
          STPRISRT, State prisoners/lOOK respop                       157.90     164.58
          WEAPARST, Weapons arrests, avg. for 1979-1981,
            per 100 sworn police officers                              58.26     30.83
          ACCIDENT, Accidental deaths, excl. gun accidents/
            lOOK respop                                               46.43      15.45    a



             It is important to stress at this point that the exact combination of
        control variables included in each model was not critical with respect to the
        gun control results. Gun law coefficient estimates were not sensitive to the
        choice of control variables to include because correlations between the gun
        law variables and the control variables were almost all weak. Of 290
        bivariate correlations between gun law variables and control variables,
        none exceeded 0.4, and only 7 even reached 0.3. Multicollinearity involving
        the gun law variables was generally minor. In the final violence rate equa-
        tions, variance inflation factors (VIF) for each of the 19 gun law variables
        were under 10, and all but two were under 4. [Kennedy (1985, p. 153)
        suggests that a VIF over 10 incidates harmful collinearity.] Thus,
        regardless of which theoretical perspectives might be used to inform the
        specification of control variables, the key coefficient estimates were not


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        substantially affected by specification decisions concerning which control
        variables to include in the models.
             A few of the control variables are sufficiently uncommon to require
        comment. Like nearly all aggregate analyses of violence, the present study
        uses ratio variables, with city population being the denominator in many
        variables, both exogenous and endogeneous. Some critics have argued that
        the presence of common components in ratio variables can lead to biased
        or artifactual associations. Firebaugh and Gibbs (1985, p. 715) recom-
        mended that if one seeks unbiased coefficient estimates in a regression
        model containing both endogeneous and exogenous variables with a com-
        mon component (commonly population size) in the denominator, one
        should also include one divided by the common component as another
        predictor. Thus we have included, in all models, one divided by resident
        population (in lOO,OOO's) as a predictor.
             Computing aggregate crime variables as per capita rates is conven-
        tionally done to control for the size of the population at risk of either
        committing crimes or being victimized in crime. Standard city resident
        population figures, however, are not completely adequate for this purpose
        because they do not count nonresident persons at risk, including daily
        commuters and visitors such as tourists and business travelers. We roughly
        controlled for the omission of commuters by including as a separate predic-
        tor the city population as a fraction of the surrounding metropolitan area,
        on the assumption that cities located in much larger metro areas are likely
        to have more commuters, in which case resident population would be a
        more serious underestimate of the population at risk [see Gibbs and
        Erickson ( 1976) for a fuller rationale]. We controlled for the contribution
        of short-term visitors by including as a separate predictor a "visitors
        index": the per capita total receipts for hotels, motels, and other lodging
        places, for the metropolitan area in which a city is located, in 1977. This
        is an especially important control for cities with large numbers of tourists
        relative to resident population, such as Las Vegas, Orlando (Disney
        World), and Miami.


        4.1. Measurement of Gun Laws
             Table II lists all of the variables which are included in later tables, as
        well as control variables which were evaluated but found to be unrelated
        to violence rates, along with the sources of the data. The following four
        sources were used for gun law coding, in descending order of importance:
        U.S. Bureau of Alcohol, Tabacco, and Firearms (BATF) (1980), Jones and
        Ray (1980), Blose and Cook (1980), and Ronhovde and Sugars (1982).
        Multiple sources were used wherever possible because each source provided


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        some information the others did not, and each served as a reliability check
         on the others. When sources conflicted, state statute books were consulted.
              Both state laws and city ordinances were coded. Nineteen major
         categories of existing gun laws which could affect violence rates were
        included in the analysis. The philosophy guiding coding of the gun law
         variables was to code them so that each variable would measure the
         presence or absence of a given form of regulation, regardless of what other
        elements might have accompanied it in a given law, and regardless of what
        governmental level imposed the restriction. Thus a gun law variable was
        coded 1 if the form of regulation applied in 1980 to a given city, either due
        to a city ordinance or because the city was located in a state with such a
        law, whether the law applied to all types of guns or, as was usually the
        case, only to handguns; the city was coded 0 otherwise. A single law
        therefore might result in a city being coded 1 on two or three different gun
        control variables.
              The gun law variables were constructed in such a way that any city
        subject to a gun license law was also subject to purchase permit
        requirements, since existing license laws all include as a component a
        requirement that a license be presented in order to buy guns from licensed
        dealers, in addition to requiring a license for home possession of guns. On
        the other hand, a city could be subject to a purchase permit requirement
        without requiring a license for home possession of firearms.
              The gun registration variable was coded 1 if gun sales were recorded
        in such a way that a governmental agency received a record of a specific
        gun being sold to a specific person or if all persons currently possessing a
        gun were required to record their ownership of each gun with an agency.
             The codings for most gun law variables were simply 1 for the regula-
        tion being present at either the state or the local level and 0 if they were
        absent. However, for the gun carrying law variables (CARYHIDN,
        CARYOPEN), 1 indicated that gun carrying (concealed or open, respec-
        tively) was either completely unlawful or required a license which was hard
        to get and rarely issued, while 0 indicated that the city was located in a
        so-called "shall issue" state-carry permits are fairly easy to get because
        they must be granted to applicants unless they have certain specified
        disqualifying attributes (Blackman, 1985 ).

        4.2. Measurement of Gun Prevalence
             We measured gun prevalence using a principal-components factor
        based on multiple indirect indicators. For cities, Cook (1979) used a simple
        index consisting of the average of two indicators: the percentage of suicides
        committed with guns and the percentage of nonfelony homicides com-



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        mitted with guns. He showed this measure to be highly correlated with
        survey measures of urban household gun prevalence, aggregated over eight
        regions, indicating validity for purposes of cross-sectional analyses. Earlier
        researchers had used similar indirect measures (Brearley, 1932, p. 71; Seitz,
        1972; Curtis, 1974, p. 110; Brill, 1977, p. 20).
              We improved on these measures by using as many as five indicators
        of city gun prevalence levels: ( 1) percentage of suicides committed with
        guns, 1979-1982; (2) percentage of nonfelony homicides committed with
        guns, 1979-1982; (3) percentage of aggravated assaults known to the police
        committed with guns, 1979-1980; (4) percentage of robberies known to the
        police committed with guns, 1979-1980; and (5) percentage of the dollar
        value of all stolen property reported to the police which was due to
        firearms thefts, 1979-1981. We also evaluated three other indicators: the
        fatal gun accident rate, the rate of National Rifle Association members, and
        the rate of contributors to the Second Amendment Foundation, another
        gun owners' group. However, in a factor analysis these did not load with
        the other indicators. A simple explanation would be that the latter group
        of indicators reflects mainly gun prevalence among noncriminals, while the
        first five measures reflect mainly gun prevalence among criminals.
              In each model, when the dependent variable could have an artifactual
        association with one of the gun prevalence indicators, that indicator was
        deleted. Thus, for example, the percentage of homicides involving guns was
        omitted from the homicide model, the gun percentage of assaults was
        omitted from the assault model, etc.
              All these indicators but the suicide item relate on their face to criminal
        gun possession. Therefore, we interpret the gun index as an indirect
        measure of gun prevalence among criminals. For conceptual and theoreti-
        cal purposes, and at the individual level of empirical analysis, it is impor-
        tant to maintain the distinction between criminal and noncriminal gun
        possession. However, at the city level it is doubtful whether the two can be
        distinguished, as we suspect they are highly correlated. One simple reason
        would be the high rate of illegal gun transfers (Wright and Rossi,
        1986)---cities with high noncriminal gun ownership will also have high
        criminal gun ownership because criminals steal guns from noncriminals.
        Therefore, as a practical matter, our indicators probably necessarily serve
        as indicators of noncriminal gun prevalence, as well as gun prevalence
        among criminals.

        4.3. Validation of the Gun Prevalence Measure
           Following Cook (1979), we assessed the validity of our gun indicators
        by measuring their associations with survey-based measures of gun



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        prevalence. We combined the results of three national surveys, the General
        Social Surveys for 1980, 1982 and 1984, to compute reported gun
        prevalence figures for the nine major U.S. census regions, among persons
        living in places of 100,000 or larger population. Comparable measures were
        computed for each of our gun indicator variables by weighting each city
        measure by the city's population and calculating a weighted average for
        our cities in each of the nine regions.
             All but one of the indirect indicators was strongly correlated across
        regions with the regional survey measures of gun prevalence, and the
        indicators were highly correlated among themselves. The only indicator
        about which there was some doubt is one of the two used by Cook (1979)
        -the percentage of homicides committed with guns. It was correlated only
        0.38 with the survey-based percentage of households reporting a gun, over
        the nine regions, which was not significantly different from zero. The other
        indicators showed the following significant correlations with the percentage
        of households reporting a gun: 0.69 for percentage of aggravated assaults
        committed with a gun, 0.83 for percentage of robberies committed with a
        gun, 0.86 for percentage of suicides committed with guns, and 0.90 for the
        percentage of the value of reported stolen property attributable to guns.
        This last measure, not previously used in gun research, appeared to be the
        best single indicator of gun prevalence. These same results were confirmed
        using survey-based measures of respondent (as opposed to household) gun
        prevalence and both household and respondent prevalence of handguns.
        An important finding of this validity test was that all of the indicators were
        more strongly associated with survey measures of handgun prevalence than
        with gun prevalence in general. Thus our indicators may reflect handgun
        prevalence more strongly than longgun prevalence. This is probably advan-
        tageous, since handguns are the predominant gun type involved in crime
        (U.S. Bureau of Justice Statistics, 1987).


        4.4. Reciprocal Effects
             Levels of violence might influence how much gun control a city has,
        as well as the reverse. If violence levels and the presence of gun laws had
        a simultaneous reciprocal relationship, a nonrecursive model would be
        called for, using an appropriate estimation procedure. However, gun laws
        were not passed frequently enough for violence levels in 1979-1981 to
        influence the passage of any significant number of gun laws during the
        same period [see Jones and Ray (1980, Appendix III) regarding the pace
        of gun law changes]. Rather, the level of gun control strictness in
        1979-1981 was almost entirely a cumulative product of legislative activity
        before 1979. Further, there is no evidence that actual or measured violence



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        rates have any impact on legislative decisions regarding gun controls.
        Nevertheless, the relationship was treated as a simultaneous one in
        supplementary estimations, and recursive models were specified.
             We always treated the relationships between gun prevalence and
        violent crime rate as simultaneous reciprocal ones, expecting that while gun
        levels may affect crime levels, crime may also simultaneously stimulate
        gun acquisitions (Kleck, 1984a). We used the rate of subscriptions to
        gun-related magazines and the state hunting license rate as measures of
        recreational interest in firearms. They served as instruments which should
        have a direct effect on gun prevalence but not on violence or crime rates,
        allowing identification of the model. [For a good introduction to identi-
        fication problems, see Maddala (1988, pp. 293-304).]
              This study improves on previous work in the following ways: ( 1) we
        modeled the two-way relationship between gun levels and violence levels,
        (2) we measured gun prevalence, and used multiple, validated indicators of
        gun prevalence levels, instead of just one or two, (3) we used extensive
        controls for possible sources of spuriousness, (4) we used cities as the unit
        of analysis, a smaller, more homogeneous unit than states, ( 5) we took
        account of both city and state gun laws, (6) we used four different sources
        for measuring gun laws, (7) we assessed 19 different types of gun laws
        instead of just 1 or 2, (8) we assessed whether the effectiveness of gun laws
        depends on the level of enforcement of weapons laws, and (9) we used a
        large sample of 170 cases, rather than the 50 or fewer common in prior
        studies.


        5. INFERENTIAL LOGIC
              The conditions under which one could tentatively conclude that gun
        laws reduce violence are as follows: If gun laws are effective, they should
        have ( 1) a significant negative association with the gun violence rate (e.g.,
        the rate of homicides committed with guns), (2) a significant negative
        association with the total violence rate [e.g., the total homicide (gun
        homicide plus nongun homicide) rate], and, preferably, (3) a weaker
        association with the nongun violence rate (e.g., the rate of homicides not
        committed with guns) than with the gun violence rate.
              If 1 is true, but not 2, it would generally indicate that gun laws merely
        shift people from guns to nongun weapons, with no net reduction in deaths
        or crimes. If 2 is true, but 1 is not, it suggests that gun laws are merely
        associated with some omitted variables which have an effect on total
        violence rates but that gun laws themselves have no effect, since they
        should have their effects by, at minimum, reducing rates of violence com-
        mitted with guns. Interpretation is ambiguous if 1 and 2 are true, but 3 is


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        not (i.e., gun laws are as strongly negatively associated with nongun rates
        as with gun rates). This would suggest that either (a) the gun control
        variable is simply a correlate of some omitted variable which affects the
        violence rate, since there is no strong a priori reason why gun controls
        should reduce the rate of violent acts without guns, or (b) the gun control
        does reduce acts of violence with guns but is also a correlate of some factor
        which reduces violent acts without guns as well. Interpretation is also
        ambiguous if 1 is true, 2 is not true, and the gun control was not
        significantly associated with the nongun violence rate. As noted, the first
        two circumstances would ordinarily suggest substitution of nongun means
        for guns, with no net effect on total violence. However, the fact that the
        gun law did not show any evidence of increasing the nongun violence rate
        would seem to contradict this interpretation, making a clear interpretation
        impossible.
             Note that this logic is irrelevant to the analyses of rape and fatal gun
        accidents since there were no data available to separately measure gun
        and nongun rates of rape, and the inferential logic is irrelevant to gun
        accidents. For these two, interpretations had to be based entirely on findings
        concerning the total rape and fatal gun accident rates.

        6. FINDINGS
              Table III reports two-stage least-squares (2SLS) parameter estimates
        of the effects of gun laws, gun prevalence, and control variables on rates of
        total (gun plus nongun) violence, gun violence, and nongun violence. To
        clarify interpretation of Table III, consider A, pertaining to homicide rates.
        It reports estimates for three homicide models, with each pair of columns
        referring to a two-equation model of a given type of homicide. For example,
        the columns 2 and 3 present estimates of a two-equation model, column 2
        pertaining to the total (gun plus nongun) homicide equation and column 3
        pertaining to the gun prevalence equation.
              Now consider estimates pertaining to a particular predictor variable.
        The row of numbers for BYPERMIT is estimates of coefficients reflecting
        the effects of laws requiring gun purchase permits on: (column 2) the total
        homicide rate, (column 3) gun prevalence in the total homicide model,
        (column 4) the rate of homicides committed with guns, (column 5) gun
        prevalence in the gun homicide model, (column 6) the rate of homicides
        not committed with guns, and (column 7) gun prevalence in the nongun
        homicide model, respectively. These estimates indicate that this type of
        gun control appears to have a significant negative effect on the total
        homicide rate, no significant negative effect on the gun homicide rate, and
        a significant negative effect on the nongun homicide rate. The interpreta-



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                 Table III. Two-Stage Least-Squares Estimates (Standardized Coefficients)

                                          (A) Homicide models

                           Total        Gun          Gun         Gun        Nongun        Gun
                         homicide    prevalence    homicide   prevalence    homicide   prevalence

        PCTHISP          -0.035     -0.017        -0.041     -0.005        -0.030     -0.028
        RPOV               0.762*** -0.257          0.704*** -0.298          0.746*** -0.175
        COLLEGE          -0.299***    0.034       -0.302***    0.068       -0.254*** -0.017
        CNTDIVRT           0.243***                 0.164***                 0.325***
        PCTSMSA          -0.135**     0.030       -0.132**     0.033       -0.121 *     0.022
        INVPOP           -0.223***                -0.213***                -0.232***
        DENSITY          -0.037     -0.266***     -0.008     -0.268***     -0.056     -0.275***
        STHNNESS           0.253*     0.472***      0.289**    0.400***      0.129      0.582***
        RGUNMAG                        0.150**                  0.131**                     0.174**
        HUNTERS                        0.247***                 0.237***                    0.255***
        LICENSE          -0.077      -0.028       -0.083      -0.011       -0.047    -0.052
        BYPERMIT         -0.150**    -0.13        -0.095      -0.030       -0.248***   0.012
        WAITPER          -0.060        0.049      -0.041        0.046      -0.088      0.055
        CRIMINAL         -0.035      -0.150**     -0.026      -0.138**     -0.032    -0.167***
        MENTAL           -0.018**      0.029      -0.177***     0.046      -0.020**    0.021
        ADDICT             0.112       0.072        0.114       0.053        0.092     0.099
        ALCOHOLIC          0.037       O.G28        0.035       0.020        0.033     0.040
        MINORS             0.015       0.049        0.020       0.041      -0.010      0.064
        REGISTER           0.124*      0.079        0.120*      0.068        0.127*    0.091
        DEALER           -0.065      -0.133       -0.079      -0.117       -0.039    -0.155*
        CARYHIDN           0.077       0.075        0.033       0.078        0.143     0.070
        CAR YO PEN       -0.056      -0.078       -0.058      -0.064       -0.023    -0.105
        MANDPEN          -0.050        0.003      -0.075        0.025      -0.027    -0.013
        ADDONDIS         -0.088      -0.058       -0.115**    -0.027       -0.033    -0.095
        ADDONMND         -0.023      -0.071       -0.030      -0.054         0.019   -0.094
        RTBRARMS         -0.047      -0.003       -0.038      -0.005       -0.031    -0.012
        HHGBAN             0.08 7      0.014        0.093     -0.002         0.073     0.298
        SNSBAN             0.083     -0.086         0.089*    -0.094         0.088   -0.082
        HGBYBAN            0.001       0.005      -0.013        0.011        O.G28   -0.003
        LNMR                           0.487* *
        LNGUNMR                                                 0.561 **
        LNMGMR                                                                              0.413 *
        Gun prevalence" -0.283                    -0.111                   -0.525*
        Gun Law Indexh    0.409**    -0.775         0.408**   -0.714         0.324*     -0.799




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                                           Table III. Continued

                                      (B) Aggravated assault models

                            Total        Gun          Gun         Gun         Nongun       Gun
                           assault    prevalence     assault   prevalence     assault   prevalence

        RPOV               0.626***               0.487***                   0.591***
        COLLEGE          -0.154***              -0.116*                    -0.132*
        CNTDIVRT           0.247***    0.078      0.168***        0.079      0.264***     0.077
        ALCHLSM            0.232***               0.253***                   0.210***
        PCTSMSA          -0.124*                -0.111                     -0.116
        INVPOP             0.087                -0.036                       0.128*
        STHNNESS           0.103       0.640***   0.159           0.580***   0.109        0.659***
        RGUNMAG                        0.133**                    0.143***                0.127**
        GUNTERS                        0.177***                   0.158***                0.183***
        LICENSE          -0.040       -0.083       -0.029      -0.075        -0.068     -0.083
        BYPERMIT           0.114      -0.064         0.129     -0.069          0.072    -0.056
        WAITPER          -0.014         0.013      -0.028      -0.021        -0.033     -0.003
        CRIMINAL         -0.028       -0.105*      -0.167**    -0.079          0.051    -0.114*
        MENTAL             0.109      -0.118*        0.112     -0.125*         0.093    -0.112
        ADDICT             0.093        0.050        0.161       0.026         0.049      0.057
        ALCOHOLIC          0.082*       0.130**      0.017       0.128**       0.019      0.132**
        MINORS           -0.044         0.064      -0.036        0.061       -0.043       0.065
        REGISTER           0.013        0.019        0.111     -0.002          0.134      0.027
        DEALER           -0.167       -0.086       -0.225**    -0.056        -0.137     -0.096
        CARYHIDN           0.045        0.025        0.040       0.020         0.017      0.028
        CAR YO PEN         0.118      -0.060         0.004     -0.049          0.166*   -0.061
        MANDPEN          -0.026       -0.025       -0.050      -0.020        -0.024     -0.024
        ADDONDIS         -0.078       -0.118**     -0.096      -0.103*       -0.026     -0.127**
        ADDONMND           0.014      -0.109         0.068     -0.111        -0.011     -0.111
        RTBRARMS           0.098      -0.008         0.046     -0.007          0.122    -0.009
        HGBAN              0.022      -0.026         0.045     -0.037          0.017    -0.024
        SNSBAN             0.069      -0.064         0.156**   -0.075          0.043    -0.065
        HGBYBAN          -0.106         0.038      -0.103        0.044       -0.084       0.034
        LNASLT                         0.126
        LNGNASLT                                                  0.190**
        LNNGASLT                                                                          0.107
        Gun prevalence' -0.021                      0.277                    -0.194
        Gun Law Indexb    0.095       -0.607**      0.014      -0.711 ***     0.107     -0.531 **




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                                           (C) Robbery models

                           Total         Gun          Gun          Gun        Nongun         Gun
                          robbery     prevalence    robbery     prevalence    robbery     prevalence

        PCTBLACK           0.525*      0.541 **      0.375        0.446***     0.610*       0.550***
        PCTM1524         -0.073                    -0.101                    -0.051
        INEQUALT           0.458***                  0.385***                  0.438***
        COLLEGE          -0.197***                 -0.087                    -0.236***
        ADDICTRT           0.082                     0.096*                    0.070
        PCTSMSA          -0.201 **     0.085       -0.311 ***     0.103      -0.010         0.089
        VISITORS           0.257***    0.042         0.278***     0.004        0.212***     0.046*
        INVPOP           -0.277***                 -0.252***                 -0.276***
        WEST               0.176                     0.219**                   0.160
        RGUNMAG                        0.082                      0.105                     0.064
        HUNTERS                        0.100                      0.108                     0.085
        LICENSE          -0.013       -0.078         0.012      -0.085       -0.029       -0.072
        BYPERMIT         -0.089       -0.143*      -0.081       -0.132       -0.077       -0.129
        WAITPER            0.033      -0.175         0.066      -0.227**     -0.024       -0.150
        CRIMINAL         -0.070         0 .034     -0.107*        0.031      -0.033         0.038
        MENTAL           -0.142       -0.292***    -0.035       -0.321 ***   -0.234       -0.273***
        ADDICT             0.164        0.249**      0.160        0.233**      0.180        0.234**
        ALCOHOLIC          0.066        0.040        0.047        0.037        0.059        0.038
        MINORS           -0.002         0.013      -0.008         0.016        0.004        0.012
        REGISTER         -0.007       -0.126         0.020      -0.145*      -0.065       -0.122
        DEALER           -0.143*      -0.125       -0.126*      -0.110       -0.155       -0.121
        CARYHIDIN          0.063        0.094        0.088        0.077        0.049        0.089
        CARY OPEN        -0.032       -0.112         0.008      -0.126       -0.082       -0.106
        MANDPEN          -0.147**     -0.066       -0.124**     -0.062       -0.164**     -0.066
        ADDONDIS         -0.167**     -0.114       -0.110*      -0.102       -0.181 **    -0.113
        ADDONMND           0.018      -0.003         0.054      -0.011       -0.017         0.000
        RTBRARMS           0.032        0.137        0.014        0.119        0.062        0.138
        HGBAN              0.104      -0.031         0.194***   -0.052         0.051      -0.031
        SNSBAN             0.060        0.019        0.070        0.020        0.074        0.019
        HGBYBAN          -0.105*        0.007      -0.095*        0.034      -0.095       -0.003
        LNROB                         -0.149
        LNGNROB                                                   0.012
        LNNGROBR                                                                          -0.206*
        Gun prevalenced -0.538                      0.197                    -0.793*
        Gun Law Indexb    0.140       -0.216       -0.062       -0.538*** -0.043          -0.197***




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                           (D) Rape and fatal gun accident models

                                                  Gun         Fatal gun               Gun
                            Rape               prevalence     accidents            prevalence

        PCTBLACK            0.750***                            0.296***            0.384***
        CNTDIVRT            0.249***
        INVPOP            -0.242***                           -0.117              -0.064
        WEST                0.340***          -0.310*
        DENSITY           -0.168                                0.088
        MFI                                     0.340
        OWNEROCC                                0.556**
        ALCHLSM                                               -0.143
        ACCIDENT                                                0.217**
        RGUNMAG                                 0.187                               0.155***
        HUNTERS                               -0.065                                0.178***
        LICENSE             0.079             -0.191 *        -0.101              -0.129
        BYPERMIT          -0.109                0.079           O.Q25             -0.189**
        WAITPER           -0.061              -0.050            0.053             -0.248**
        CRIMINAL            0.053             -0.106            0.123               0.023
        MENTAL            -0.045              -0.076          -0.157              -0.287***
        ADDICT              0.215             -O.Q38            0.001               0.176*
        ALCOHOLIC           0.103             -0.127            0.030               0.068
        MINORS              0.087             -0.057          -0.062              -0.033
        REGISTER          -0.097              -0.059          -0.018              -0.039*
        DEALER            -0.063                0.114           0.098             -0.159*
        CARYHIDN            O.D78               0.111
        CARY OPEN         -0.015              -0.098
        MANDPEN           -0.096                0.113
        ADDONDIS          -0.066              -0.038
        ADDONMND            0.133             -0.237*
        RTBRARMS            0.182**           -0.144
        HGBAN             -0.092                0.138           0.009             -0.028
        SNSBAN              0.084             -0.128            0.063               0.000
        HGBYBAN           -0.112                0.055         -0.099                0.061
        LNRAPE                                  1.088***
        Gun prevalencee   -0.249                               0.121
        Gun Law Indexb    -0.051              -0.593           0.111              -1.262***




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                                             Table III. Continued

                                   (E) Suicide models (OLS estimates)

                                   Total               Gun             Nongun         Gun
                                  suicide             suicide          suicide     prevalence

        TRNSIENT                  0.240***            0.098*            0.286***
        CNTDIVRT                  0.159**             0.165***          0.004       0.134
        ALCHLSM                   0.332***            0.255***          0.275***
        INVPOP                    0.020             -0.071              0.125*
        DENSITY                 -0.237***           -0.386***           0 .017     -0.197*
        HOSPITAL                  0.069               0.101 *           0.008
        LIVLONE                   0.183**             0.065             0.257***
        PCTOLD                    0.138*              0.064             0.113
        RGUNMAG                                                                      0.065
        HUNTERS                                                                      0.063
        LICENSE                 -0.033               -0.062              0.008     -0.171*
        BYPERMIT                -0.089               -0.146**            0.053     -0.005
        WAITPER                   0.005              -0.025              0.008     -0.211*
        CRIMINAL                  0.071                0.090           -0.056      -0.129
        MENTAL                  -0.071               -0.134*             0.014     -0.095
        ADDICT                    0.058              -0.008              0.154       0.240***
        ALCOHOLIC               -0.038               -0.010            -0.087        0.041
        MINORS                  -0.038               -0.018            -0.048        0.036
        REGISTER                -0.063               -0.089              0.016     -0.139
        DEALER                  -0.229***            -0.140**          -0.207**      0.001
        CARYHIDN
        CAR YO PEN
        MANDPEN
        ADDONDIS
        ADDONMND
        RTBRARMS
        HGBAN                   -0.062               -0.095            -0.037        0.114
        SNSBAN                    0.094              -0.014              0.148**   -0.013
        HGBYBAN                 -0.066                 0.051           -0.093        0.107
         Gun prevalence!          0.132**              0.252***        -0.101
         Gun Law lndexb         -0.242               -0.319*            0.005      -0.084

        "Principal-components factor with indicators PCTGNAST, PCTGNROB, PGS7982, and
         GUNSTOL.
        bPrincipal-components factor with indicators: all gun laws.
        'Principal-components factor with indicators PGH7982, PCTGNROB, PGS7982, and
         GUNSTOL.
        d Principal-components factor with indicators PGH7982, PCTGNAST, PGS7982, and
          GUNSTOL.
        'Principal-components factor with indicators PCTGNAST, PCTGNROB, PGS7982,
         GUNSTOL, and PGH7982.
        /Principal-components factor with indicators PGH7982, PCTGNROB, PCTGNAST, and
         GUNSTOL.
           *P < 0.10.
          **P<0.05.
        ***P<O.Ol.



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        tion of this pattern of results is that the law is ineffective in reducing
        homicide, since it did not have a significant negative association with the
        rate of gun homicide.


        6.1. Effects of Gun Prevalence Levels on Violence Rates
             Estimates of the impact of gun prevalence on violence rates can be
        found in Table III in the penultimate row of each column referring to a
        violence rate. For example, the 2SLS coefficient estimating the impact of
        gun prevalence on the total murder rate is a nonsignificant -0.283
        (column 2 in A).
             Gun prevalence had an apparent significant positive effect on total
        rates of suicide, but not on any of the other five types of violence. The
        apparent effect of gun prevalence on suicide rates, however, is not entirely
        stable, being evident only when the suicide models were estimated with
        OLS. Some would argue that high suicide rates could discourage gun
        acquisition among people living in households with a person they believed
        to be suicide-prone. If this were true, then gun prevalence should be treated
        as endogeneous in the suicide models, just as in the other models (though
        for different reasons). When gun prevalence was treated as endogeneous,
        and the model was estimated with 2SLS, the results indicated no significant
        impact of gun prevalence on suicide. We tentatively conclude that gun
        prevalence rates may increase total suicide rates but have no effect on total
        rates of homicide, robbery, aggravated assault, rape, or fatal gun accidents.


        6.2. Effects of Violence Rates on Gun Prevalence Levels
              Coefficients estimating these effects can be found in the Gun Prevalence
        columns in Table III, in the rows near the bottom of each panel labeled
        with the names of the various violence rates. For example, in column 3
        in A, the LNMR coefficient is a significant 0.487, indicating that the total
        homicide rate appears to have a positive impact on gun prevalence.
              Homicide (gun, nongun, and total), gun assault, and rape rates all had
        significant positive coefficients in the gun prevalence equations. This
        supports the hypothesis that some violence rates encourage the acquisition
        of firearms for self-defense, accounting at least partially for bivariate
        positive associations observed between gun prevalence levels and violence
        levels. That rape in particular should have this effect is consistent with
        survey evidence that women's gun ownership, while lower than men's, is
        disproportionately likely to be motivated by self-defense concerns and with
        county-level findings that female gun ownership rates are more responsive
        to violence rates than men's ownership rates are (Bordua and Lizotte,



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        1979, p. 172 ). More generally, the results support the simple idea that rates
        of more serious violent crimes are more likely to increase gun acquisition.


        6.3. Effects of Gun Controls on Gun Prevalence Levels
              The effects of 19 types of gun regulations on gun prevalence levels
        are summarized in Table IV A. The effect of each gun restriction on gun
        prevalence was estimated multiple times, once in each of six violence rate
        models. Because the exact set of gun prevalence indicators used varied from
        one model to the next, it therefore was possible for estimated effects of gun
        controls on gun prevalence levels to vary somewhat from one violence rate
        model to the next. None of the gun controls appeared to have any impact
        on gun prevalence. Each law's effect on gun prevalence was initially
        estimated six times, but only bans on gun possession by criminals and
        mentally ill persons showed significant effects in even half of the initial
        tests.

          Table IV. Summary of Effects of Gun Prevalence and Gun Controls on Violence Rates

                   (A) Significant negative impact of gun controls on gun prevalence?"

                                                     Violence rate model

                                       Aggrvtd.                              Gun
                            Homicide    assault     Robbery      Rape      accidents Suicide

        LICENSE                No        No/Yes    No/Yes         Yes       NojYes       Yes
        BYPERMIT               No        No/Yes    Yes            No        Yes          No
        WAITPER                No        No        No             No        Yes          Yes
        CRIMINAL               Yes       Yes       No             No        No           NojNojYes
        MENTAL                 No        Yes       Yes            No        Yes          No
        ADDICTS                No        No        No             No        No           No
        ALCOHOLIC              No        No        No             No        No           No
        MINORS                 No        No        No             No        No           No
        REGISTER               No        No        NojNojYes      No        Yes          No
        DEALER                 No        No        No             No        Yes          No
        CARYHIDN               No        No        No             No
        CAR YO PEN             No        No        No             No
        MANDPEN                No        No        No             No
        ADDONDIS               No        Yes       No             No
        ADDONMND               No        No        No             Yes
        RTBRARMS               No        No        No             No
        HGBAN                  No        No        No             No        No           No
        SNSBAN                 No        No        No             No        No           No
        HGBYBAN                No        No        No             No        No           No




                                             Exhibit 9
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                                               Table IV. Continued

                            (B) Effects of gun prevalence and gun laws on violence rates

                                                         Violence rate model

                                              Aggrvtd.                           Gun
                                   Homicide    assault Robbery         Rape    accidents        Suicide

        Significant
          positive
          effect of gun
          prevalence?            No            No         No      No              No         (Yes)b

        Significant
          negative effect
          of gun laws?"

          LICENSE             No/Yes/Maybe     No        No      No              No        No/Maybe/No
          BYPERMIT            No/Maybe/No      No        No      No              No        Maybe
          WAITPER             No               No        No      No              No        No
          CRIMINAL            No               Maybe     Maybe   No              No        No
          MENTAL              Yes              No        No      No              No        Maybe
          ADDICT              No               No        No      No              No        No
          ALCOHOLIC           No               No        No      No              No        No
          MINORS              No               No        No      No              No        No
          REGISTER            No               No        No      No              No        No
          DEALER              No               Maybe     Yes     No              No        Maybe
          CARYHIDN            No               No        No      No
          CARYOPEN            No               No        No      No
          MANDPEN             No               No        Maybe   No
          ADDONDIS            Maybe/ /Yes      No        Maybe   No/ /Yes
          ADDONMND            No               No        No      No
          RTBRARMS            No               No        No      No
          HGBAN               No               No        No      No/Yes/Yes      No        No/No/Maybe
          SNSBAN              No               No        No      No              No        No
          HGBYBAN             No               No        Yes     No              No        No
        Gun Law Index         No               No        No      No              No        No

        "Where more than one interpretation appears in a cell, it means that interpretations became
         more supportive of the gun control efficacy hypothesis when different specifications were
         used. ( 1) The first (and usually the only) interpretation pertains to models containing all
         19 gun laws and no provision for interactions; (2) the second one pertains to results when
         using a reduced set of four gun control variables; (3) the third one pertains to results when
         multiplicative terms testing for interactions between gun laws and enforcement levels were
         specified (see text). Unsupportive results which remained unsupportive (No) under the latter
         two alternative specifications are not shown, to simplify the table.
        bAn effect of gun prevalence on total suicide rates was evident only when the model was
         estimated with OLS. When gun prevalence was treated as endogenous and the model was
         estimated with 2SLS, results did not indicate an impact of gun prevalence.




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              We checked to see if gun control effects on gun prevalence would
        become evident if we used a reduced set of four of the stronger gun laws
        (listed in a later section). The results for just one type of gun control
        changed (indicated by Yes appearing after one slash in a given cell in
        Table IV A)-gun owner licensing appears to reduce gun prevalence in five
        of the six violence models. However, since this apparent effect is evident
        only when there are no controls for other gun laws, this result may reflect
        the cumulative, albeit apparently slight, effects of other, correlated, gun
        laws as well as the effects of licensing itself. Therefore, interpretation of this
        result must remain ambiguous.
              We also checked for interactions between gun laws and police enforce-
        ment effort by adding to each gun prevalence equation a multiplicative
        term for each gun control variable, consisting of the gun control variable
        multiplied times the weapons arrest rate. Of 108 tests for interactions, only
        2 suggested an effect of gun controls on gun prevalence which was
        contingent upon enforcement effort, where no impact of the controls had
        been evident in the additive analysis. These are denoted by Yes appearing
        after two slashes in any of the cells in Table IVA (see CRIMINAL in the
        Suicide model and REGISTER in the Robbery model). Given the large
        number of tests, we believe that these two deviant results could be the
        product of chance. Thus, our evidence generally fails to support the
        hypothesis that the impact of gun controls on gun levels depends on
        the level of police enforcement.

        6.4. Effects of Gun Control Laws on Violence Rates
             Table III contains detailed results on this issue, which are summarized
        in Table IV. The findings indicate that most gun restrictions appear to
        exert no significant negative effect on total violence rates, though some
        gun controls do seem to be effective. Of 102 possible effects tested, 7 were
        consistently supportive of, and 11 others were at least partially consistent
        with, a hypothesis of gun control effectiveness, albeit using fairly generous
        evaluative criteria. As described below, each gun law's effect on a given
        form of violence was estimated under three conditions: (1) with all gun law
        variables specified in the models but with no measure of enforcement effort
        included, (2) with all gun control variables specified in the models and with
        interactions of gun laws and enforcement effort included, and (3) with a
        reduced set of four especially strong gun control variables included in the
        models. In the subsequent discussion, each law is assessed based on the
        most supportive of the three sets of results, i.e., the results most supportive
        of a violence-reducing impact of the law. Thus, the gun control efficacy
        hypothesis was given 18 chances at confirmation for any one form of gun


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        control, with hypothesis tests in three sets of circumstances, in each of six
        violence rate models. (There were, however, no tests of the impact of carry
        laws, add-on penalties for committing a crime with a gun, or right-to-bear-
        arms provisions on suicide or gun accident rates, as these regulations were
        considered irrelevant to suicides or accidents. For example, nearly all gun
        suicides are committed in a private location and thus are unlikely to be
        affected by carry laws.)

        6.4.1. Results with All 19 Gun Control Variables Included,
               No Enforcement Interactions
             Because we could not know in advance which gun control measures
        affected violence rates, we initially specified all 19 gun control variables in
        each violence rate equation (with the exceptions described in the previous
        paragraph). As noted previously, collinearity among these variables was
        generally slight, so this was not a serious statistical problem. We first
        present interpretations based on these specifications, followed by discussion
        of any results which were modified when a reduced set of gun laws were
        used or when interactions with enforcement levels were specified.
             Requiring permits to buy guns (BYPERMIT) may reduce rates of
        suicide. Bans on possession of guns by convicted criminals (CRIMINAL)
        may reduce rates of aggravated assault and robbery. Bans on possession of
        guns by mentally ill persons (MENTAL) appear to reduce homicide and
        may reduce suicide. Requiring a state or local license to be a gun dealer
        (DEALER) appears to reduce rates of robbery and may reduce aggravated
        assaults and suicides. Laws that provide mandatory penalties for unlawful
        gun carrying (MANDPEN) may reduce robbery. Laws providing
        discretionary additional penalties for committing crimes with a gun
        (ADDONDIS) may reduce murder and robbery. Finally, local bans on the
        purchase of handguns appear to reduce robbery rates.
        6.4.2. Results Using a Reduced Set of Gun Law Variables
             While the problem is mild, there is some collinearity among the gun
        law variables which could inflate standard errors somewhat and thereby
        bias hypothesis tests in favor of the null hypothesis. Therefore the violence
        rate models were reestimated with just four gun law variables thought to
        be especially likely to show effects, since they were fairly strong measures-
        licenses, purchase permits, handgun possession bans, and bans on sale of
        "Saturday Night Specials." When this was done, four of the previous results
        were altered so as to strengthen, to varying degrees, support for the
        hypothesis of gun control efficacy. (Two results changed mildly from No to
        Maybe, while two changed substantially from No to Yes.) With the
        reduced set of gun law variables, estimates indicated that owner licensing



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        appears to reduce homicides and may reduce total suicides. Purchase
        permits may reduce homicides (there was still, however, a stronger negative
        association of permits with nongun homicide than with gun homicide).
        These estimations also indicated that handgun bans appear (somewhat
        implausibly, given how rarely rapists use guns) to reduce rapes, but not
        any other forms of violence. The rest of the gun law assessments were unaf-
        fected. Gun prevalence still showed no positive effect on any of the violence
        rates except the gun suicide and total suicide rates, the same as with
        models including the full set of gun laws. (Results are summarized in
        Table IV; estimates are not reported here but are available from the senior
        author.)
        6.4.3. Interactions with Enforcement Level
             It could be argued that gun laws are not always given a fair chance to
        work because in many places they are not adequately enforced. We tested
        this idea by forming multiplicative interaction terms between each gun
        law variable and a measure of police enforcement effort, the number of
        weapons arrests per 100 sworn police officers (WEAPAR TS ), and adding
        these terms into our models of violence rates. The resulting estimates
        generally confirmed the previous results. The coefficients for the interaction
        terms were rarely negative and significant, indicating that the effects of gun
        laws apparently were not dependent on the level of police enforcement
        effort, at least not based on the measure of effort used and not within the
        range of enforcement effort currently exerted in large U.S. cities. Of 102
        possible interaction effects tested, only 5 suggested possible gun law effec-
        tiveness contingent upon the level of law enforcement effort: ( 1) laws
        providing discretionary add-on penalties for committing crimes with a gun
        appear to reduce the total homicide rate when accompanied by sufficient
        enforcement effort, (2) the same appears to be true for rape, (3) owner
        licensing may have such a contingent effect on homicide (4) handgun bans
        appear to have a contingent effect on the rape rate, and (5) handgun bans
        may have such an effect on the suicide rate. Given the large number of tests
        for interaction effects, however, five "significant" results might be little
        more than a product of chance. (Interaction test results are summarized in
        Table IV; estimates are available from the senior author.)

        6.5. Gun Control as a Single Endogenous Variable
             As noted before, we consider it unlikely that there is a simultaneous
        reciprocal relationship between gun laws and violence rates. Nevertheless,
        we estimated models of violence rates which assumed that such a rela-
        tionship was possible. To do this, a Gun Law Index (GLI) was created


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        from all 19 gun control variables, using principal components analysis.
        This variable was treated as endogenous, in a model which assumed that
        simultaneous relationships existed among the GLI, the violence rate, and
        gun prevalence. Two instrumental variables were assumed to affect directly
        the GLI but not violence rates or gun ownership: LIBERAL, the percent-
        age of a city's voters who voted for George McGovern in the 1972
        presidential election (a measure of political liberalism), and NRA, the city's
        rate of membership in the National Rifle Association.
             Estimates of the GLI coefficient are reported near the bottom of each
        violence rate column in Table III. Note that these are estimates from
        separate models which did not include the individual gun control variables
        and, thus, are not a part of the models to which the rest of the coefficients
        in Table III correspond. These estimates indicate that the overall level of
        gun control in a city does not appear to exert a significant negative effect
        on any of the six violence rates. The only hint of a possible exception was
        with suicide. Although the GLI was not related to the total suicide rate, its
        coefficient was negative and marginally significant (0.05 :( P < 0.10) in the
        gun suicide equation and nonsignificant in the nongun suicide equation.
        Thus, treating gun control as a single endogenous variable did not
        strengthen support for the gun control efficacy hypothesis.


        7. DISCUSSION
              These results generally support the view that ( 1) existing gun control
        laws do not reduce gun prevalence in U.S. cities, (2) gun prevalence does
        not have any measurable net positive effect on violence rates except for a
        possible effect on suicide rates, and (3) most gun control laws do not
        reduce violence rates, though a few may do so.
              For many gun regulations, such as carry controls or add-on penalties,
        it is not surprising that they do not reduce gun ownership, since they were
        not intended to do so. Still other gun controls may operate to restrict
        ownership only among "high-risk" groups such as criminals or alcoholics.
        However, results indicated that most gun controls fail to reduce gun use in
        acts of violence, undercutting the idea that controls reduce gun prevalence
        even in criminally involved subsets of the population. One simple explana-
        tion for this failure would be the huge size of the U.S. gun stock. With over
        200 million guns in private hands, it is hard to keep guns away from
        anyone who strongly desires one.
              Few of the tests unambiguously supported the gun law efficacy
        hypothesis. However, it increases confidence in some of these few suppor-
        tive findings to know that they correspond closely with similar results in
        past research. ( 1) The present study found partial support for the claim


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        that laws establishing additional penalties for committing felonies with a
        gun may reduce total robbery rates, and prior research by McPheters et a!.
        (1984) indicated the same thing. (2) Bans on gun possession by mentally
        ill persons may reduce suicide, consistent with the findings of Sommers
        (1984 ). (3) Mixed evidence suggested that handgun bans may reduce
        suicide, though this weak result reflected such controls in only two cities
        (New York City and Washington, DC). This is consistent with results
        of Loftin et a!. (1991). (4) Finally, a previous study indicated that a
        mandatory penalty carry law, the Bartley-Fox law, appeared to reduce
        robbery (Deutsch and Alt, 1977), and the present research also indicates
        that such laws may reduce robbery.
              As actually administered, "mandatory penalty" carry laws do not
        impose penalties in a truly mandatory fashion but, rather, merely in a
        relatively less discretionary one (Beha, 1977). Rather than mandatory
        penalties being viewed as essential, a more plausible interpretation of these
        results is that the mandatory penalty provision serves as an indicator of
        strong support among court actors for relatively severe punishment of
        unlicensed gun carrying. Where such laws exist, prosecutors may devote
        more resources to prosecuting illegal weapons carriers, and may be more
        likely to seek stiff penalties, even though they could evade the mandatory
        provisions if they chose to do so.
              One type of gun law which clearly appeared to have some beneficial
        effect was a somewhat surprising one. Laws requiring a state or local
        license to be a firearms dealer were negatively related to aggravated assault,
        robbery, and suicide rates, with the results being strong (i.e., a Yes conclu-
        sion) for robbery. Because dealers everywhere in the United States are
        required to have a federal gun dealer license, additional state or local licen-
        sing requirements might seem trivial. However, if these requirements are
        more stringent or require high licensing fees, they can reduce the number
        of retail gun outlets and possibly reduce casual acquisition of guns among
        persons not sufficiently motivated or persistent to seek out less convenient
        stores or nonretail sources (Blose and Cook, 1980, p. 20). Although results
        summarized in Table IVA do not support the idea that this law reduces
        aggregate gun prevalence levels, it may affect a subset of weakly motivated
         buyers.


        7.1. Gun Prevalence Effects
             Why do gun prevalence levels have no apparent net positive effect on
        violence rates, with the possible exception of suicide? The absence of any
        net effects of gun levels could be due to counterbalancing effects of opposite
        sign, with criminal ownership increasing the rates and noncriminal


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         ownership decreasing them, due to deterrent effects of ownership among
         prospective victims (Kleck, 1988 ). If this were so, it might still be useful to
         reduce gun levels among criminals if measures used to accomplish this did
         not also reduce gun levels among noncriminals by an equal or greater
         amount.
               Ordinary least-squares results indicated that gun prevalence may
         influence the choice of method in suicides and also the overall frequency of
         suicide. Gun prevalence was positively associated with both total suicide
         rates and gun suicide rates and negatively (though nonsignificantly) related
         to the nongun suicide rate.
               No impact of gun prevalence on fatal gun accident rates was detected.
         Given the random component in accident causation and the rarity of fatal
         gun accidents (one or two a year in most cities), the absence of a rela-
         tionship is perhaps not that surprising. It may also be that many cities with
         a higher gun prevalence, especially smaller cities and those in the South
         and West, have gun owners more thoroughly socialized from childhood
         into safe handling of guns, as opposed to getting guns as adults, without
         training.
              The present results confirm those of the two best previous studies of
         city gun ownership and robbery rates, which also found no evidence of a
         net impact of gun ownership levels on the total robbery rate (Cook, 1979;
         McDowall, 1986). The present findings indicate that gun ownership levels
         increase (albeit nonsignificantly) gun robbery and decrease nongun rob-
         bery, suggesting that where guns are not available, robbers substitute other
         weapons, with no net effect on total robbery rates. Gun ownership levels
         also may have no net effect on total robbery because they may have a
        mixture of both positive and negative effects. On the one hand, guns make
        it possible for larger numbers of people to rob, including those too timid
        to rob without a gun, and expand the number of targets a given robber can
        successfully tackle. On the other hand, guns also enable robbers to rob
        more lucrative targets, increasing the average "take" per robbery and
         allowing them to gain a given amount of income with fewer robberies
         (Cook, 1976; Wright et al., 1983 ). Also, gun ownership by prospective
        victims, especially retail store owners, may deter some robbers (Wright and
        Rossi, 1986, pp. 141-159; Kleck, 1988). The finding are consistent with an
        interpretation that these effects of opposite sign cancel each other out, with
        no net effect on the total robbery rate.
              In assaultive crimes such as homicide and aggravated assault, gun
        availability also seems to have a mixture of positive and negative effects. In
        an individual-level analysis of violent incidents, Kleck and McElrath ( 1991)
        found that an aggressor's possession or use of a gun appears to reduce the
        probability of a physical attack (as opposed to a mere threat) on the victim



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        and appears to reduce the probability that the attack will result in a
        physical injury, while increasing the probability that an injury will be fatal.
        Further, possession of guns by prospective victims may exert a modest
        deterrent effect on would-be aggressors (Wright and Rossi, 1986; Kleck,
        1988 ). The present aggregate level findings are consistent with a claim that
        the negative, violence-reducing effects of gun ownership may roughly cancel
        out the violence-increasing effects, consistent with the findings of previous
        time series research indicating no net effect, positive or negative, of gun
        ownership levels on the homicide rate (Kleck, 1984a).


        7.2. Gun Law Effects
              Why do most of 19 different major vanehes of gun control laws
        appear to have no impact, with a few exceptions, on the types of violence
        which frequently involve guns? Many explanations are suggested by both
        our own results and those of prior research. First, some gun laws are
        intended to have their effects by reducing gun ownership levels, so some
        gun laws may fail because they do not achieve their proximate goal of
        reducing gun ownership (Table IV A). However, our results also generally
        indicate that gun prevalence levels do not have a net positive effect on
        violence rates (top row, Table IVB). Consequently, gun laws may fail
        simply because, even if they did reduce gun prevalence, this would not
        produce a reduction in violence rates.
              On the other hand, the rationale for some gun regulations does not rely
        on an assumption that gun ownership levels affect violence. For example,
        carrying laws are intended to make guns less immediately available in
        public places rather than to reduce overall gun ownership levels; the
        rationale for such laws assumes only that the immediate availability of
        guns in public places is relevant to some violence rates, especially robbery.
        Likewise, add-on penalties are intended to discourage criminals from
        choosing guns to use in their crimes. It is also possible that gun laws have
        only a short-term effect on violence rates when they are passed and that the
        effect then fades. Most of the laws we have evaluated were implemented
        well in the past, so we cannot assess this idea.
              Most gun laws regulate only handguns, or regulate handguns more
        stringently than the more numerous longguns such as rifles and shot-
        guns (Kleck, 1991, Chap. 8 ). This permits the substitution of relatively
        unregulated longguns for the more heavily regulated handguns. While
        longguns are larger than handguns, and thus not so easily concealed or
        conveniently carried on the person, such a limitation is rarely relevant for
        suicides and is also irrelevant for many violent crimes, because either
        ( 1) the crime is committed in or near a private place, in a way which


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        does not require carrying or concealment of the gun, or (2) the crime was
        committed after some advance planning, in a way which would require
        only short-term carrying or which could involve use of a longgun whose
        barrel and stock had previously been cut down to render it concealable.
        Longguns are generally more lethal than handguns. Thus, while restrictions
        on handgun availability could cause some violent persons to go without
        guns of any kind, they may also have the undesirable effect of encouraging
        others to substitute more lethallongguns. The implication for the homicide
        rate would be that these effects would cancel out or, worse, produce a net
        increase in homicides (Kleck, 1984b ).
              No matter how severe current measures are, it is always possible that
        stronger measures are needed. However, even fairly strong measures such
        as ·banning sales of "Saturday Night Specials" and de facto bans on
        handgun possession appear generally to exert no negative effect on violence
        rates. Nevertheless, the findings reported herein cannot inform us about the
        effectiveness of gun control measures not yet tried.
              It has been argued that many gun laws fail because they are local and
        that guns from more lenient jurisdictions "leak" into the stricter jurisdic-
        tions. Thus, federal measures regulating acquisition of guns might work
        (Newton and Zimring, 1969). Research on existing federal regulations has
        failed to generate consistent evidence of their effectiveness (Zimring, 1975;
        Magaddino and Medoff, 1984 ), but these controls were very weak,
        loophole-ridden measures. Some of the few measures found in this study to
        be effective were controls which are not vulnerable to this "leakage"
        problem. "Leakage" is an issue relevant mainly to regulations aimed at the
        acquisition of guns, rather than their use. In contrast, laws forbidding
        possession of handguns, regulating the carrying of guns, or providing for
        add-on penalties for using guns in crimes are not affected by interjurisdic-
        tional leakage because the legal risks of possessing or carrying a gun or
        using it in a crime in a given jurisdiction are the same regardless of whether
        bordering areas have similar measures.
              It cannot be argued that the effects of gun ownership and gun control
        could not be detected due to a lack of meaningful variation in these
        variables. It is clear from the standard deviations for the gun prevalence
        indicators and the means for the gun law dummies in Table II that levels
        of both gun prevalence and gun control strictness vary enormously across
        U.S. cities. Direct survey measures of gun prevalence in very large cities
        indicate that the fraction of households reporting a gun varies from
        extremely low levels, such as 6% in New York City and Washington, DC
        (lower than in many Western European nations), to high levels, such as
        61% in Houston (unpublished tabulations from specially geocoded
        General Social Surveys for 1973-1989).



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              Three limitations of this study should be noted. First, we had no
        measures of how strictly permit and license laws are administered, e.g., how
        narrowly authorities interpret rules defining which applicants are qualified,
        as distinct from how much effort is put into apprehending and punishing
        violators. Second, analysts always need to be skeptical about restrictions
        used to achieve identifiability in structural equation models. The key iden-
        tification restrictions needed to model the assumed reciprocal relationship
        between gun prevalence and violence rates were the exclusion of gun
        magazine subscription rates and hunting license rates from the violence
        equations. Interest in hunting and other gun-related sports was assumed to
        affect gun prevalence rates but to not directly affect violence rates. One
        might argue that such interests may reflect, or even generate, proviolent
        attitudes, but Eskridge (1986) and Bordua (1986) have found county
        hunting license rates to have small to moderate negative associations with
        violence rates. Finally, it is possible that we have failed to control for
        some confounding variable which suppresses a guns-violence or gun law-
        violence association, though we do not know what that variable might be.


        8. CONCLUSIONS
              While the results are generally negative for the violence control effec-
        tiveness of gun control, the significance of the few supportive results should
        not be overlooked. There do appear to be some gun controls which work,
        all of them relatively moderate, popular, and inexpensive. Thus, there is
        support for a gun control policy organized around gun owner licensing or
        purchase permits (or some other form of gun buyer screening), stricter
        local dealer licensing, bans on possession of guns by criminals and mentally
        ill people, stronger controls over illegal carrying, and possibly discretionary
        add-on penalties for committing felonies with a gun. On the other hand,
        popular favorites such as waiting periods and gun registration do not
        appear to affect violence rates.


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                               Joshua Lawrence Traub, M.S.



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 Preface




 Effective gun policies in the United States must balance the constitutional right to
 bear arms and public interest in gun ownership with concerns about public health
 and safety. However, current efforts to craft legislation related to guns are hampered
 by a paucity of reliable information about the effects of such policies. To help address
 this problem, the RAND Corporation launched the Gun Policy in America initia-
 tive. Throughout RAND's 70-year history, in multiple projects, in many policy arenas,
 and on topics that are sensitive and controversial, researchers have conducted analyses,
 built tools, and developed resources to help policymakers and the public make effective
 decisions. The primary goal of the Gun Policy in America project is to create resources
 where policymakers and the general public can access unbiased information that
 facilitates the development of fair and effective firearm policies.
       This report is one of several research products stemming from the initiative. The
 research described here synthesizes the available scientific evidence on the effects of
  13 types of firearm policies on a range of outcomes related to gun ownership. In addi-
 tion, this report includes essays on several topics that frequently arise in discussions of
 gun policy.
        Other project components include a survey of policy experts that identifies where
  access to reliable data would be most useful in resolving policy debates, plus an online
  tool allowing users to explore how different combinations of gun policies are likely to
 affect a range of outcomes. In another line of effort, RAND conducted simulation
  studies to evaluate the strengths and weaknesses of different approaches to modeling
  the effects of gun policies on outcomes, the results of which will be used to develop
  new estimates of the effects of state firearm policies. Finally, the project includes the
  development of a longitudinal database of state firearm laws as a resource for other
  researchers and the public.
        The Gun Policy in America initiative did not attempt to evaluate the merits of
  different values or principles that sometimes drive policy disagreements. Rather, our
  focus is strictly on the empirical effects of policies on the eight outcomes specified
  in this report. All of our resources are publicly available on the project website at
  www.rand.org/gunpolicy.




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  vi   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



       The work should be of interest to policymakers and other stakeholders consider-
  ing decisions related to firearm policy. Furthermore, this report may be of interest to
  the research community and to the general public.


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  The RAND Corporation is a research organization that develops solutions to public
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 Summary




 The RAND Corporation's Gun Policy in America initiative is a unique attempt to
 systematically and transparently assess available scientific evidence on the real effects
 of gun laws and policies. Our goal is to create resources where policymakers and the
 general public can access unbiased information that informs and enables the develop-
 ment of fair and effective policies. Good gun policies in the United States require con-
 sideration of many factors, including the law and constitutional rights, the interests of
 various stakeholder groups, and information about the likely effects of different policies
 on a range of outcomes. This report seeks to provide the third factor-objective infor-
 mation about what the scientific literature examining gun policies can tell us about the
 likely effects of those policies.
       This report synthesizes the available scientific evidence on the effects of various
 gun policies on firearm deaths, violent crime, the gun industry, participation in hunt-
 ing and sport shooting, and other outcomes.1 It builds and expands on earlier com-
 prehensive reviews of scientific evidence on gun policy conducted more than a decade
 ago by the National Research Council (NRC) (see NRC, 2004) and the Community
  Preventive Services Task Force (see Hahn et al., 2005).



  Methodology

 We used Royal Society of Medicine guidelines for conducting systematic reviews
 of a scientific literature (Khan et al., 2003). We focused on the empirical literature
 assessing the effects of 13 classes of firearm policies or of the prevalence of firearms
 on any of eight outcomes, which include both public health outcomes and outcomes
 of concern to many gun owners. We reviewed scientific reports that have been pub-
 lished since 2003, a date chosen to capture studies conducted since the last major
 systematic reviews of the science of gun policy were published by NRC (2004) and
 Hahn et al. (2005).


  1 Although not all guns are firearms, in this report, we follow conventional use in U.S. policy discussions and
  treat the terms gun and firearm as interchangeable.



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          The 13 classes of gun policies considered in this research are as follows:

     1.     background checks
     2.     bans on the sale of assault weapons and high-capacity magazines
     3.     stand-your-ground laws
     4.     prohibitions associated with mental illness
     5.     lost or stolen firearm reporting requirements
     6.     licensing and permitting requirements
     7.     firearm sales reporting and recording requirements
     8.     child-access prevention laws
     9.     surrender of firearms by prohibited possessors
     10.    minimum age requirements
     11.    concealed-carry laws
     12.    waiting periods
     13.    gun-free zones.

 The eight outcomes considered in this research are

     1.     suicide
     2.     violent crime
     3.     unintentional injuries and deaths
     4.     miss shootings
     5.     officer-involved shootings
     6.     defensive gun use
     7,     hunting and recreation
     8.     gun industry.2



  Policy Analyses, by Outcome

 Building on the earlier reviews (NRC, 2004; Hahn et al., 2005) and using standard-
 ized and explicit criteria for determining the strength of evidence that individual stud-
 ies provide for the effects of gun policies, we produced research syntheses that describe
 the quality and findings of the best available scientific evidence. Each synthesis defines
 the class of policies being considered; presents and rates the available evidence; and
 describes what conclusions, if any, can be drawn about the policy's effects on outcomes.
       In many cases, we were unable to identify any research that met our criteria for
 considering a study as providing minimally persuasive evidence for a policy's effects.
 Studies were excluded from this review if they offered only correlational evidence for a


 2 The terms in these lists describe broad categories of policies and outcomes that are defined and described in

 detail in the full report.



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 possible causal effect of the law, such as showing that states with a specific law had lower
 firearm suicides at a single point in time than states without the law. Correlations like
 these can occur for many reasons other than the effects of a single law, so this kind of
 evidence provides little information about the effects attributable to specific laws. We
 did not exclude studies on the basis of their findings, only on the basis of their methods
 for isolating causal effects. For studies that met our inclusion criteria, we summarize
 key findings and methodological weaknesses, when present, and provide our consen-
 sus judgment on the overall strength of the available scientific evidence. We did this by
 establishing the following relativistic scale describing the strength of available evidence:

    1.   No studies. This designation was made when no studies meeting our inclusion
         criteria evaluated the policy's effect on the outcome.
    2.   Inconclusive evidence. This designation was made when studies with comparable
         methodological rigor identified inconsistent evidence for the policy's effect on
         an outcome or when a single study found only uncertain or suggestive effects.
    3.   Limited evidence. This designation was made when at least one study meeting
         our inclusion criteria and not otherwise compromised by serious methodologi-
         cal problems reported a significant effect of the policy on the outcome, even if
         other studies meeting our inclusion criteria identified only uncertain or sugges-
         tive evidence for the effect of the policy.
    4.   Moderate evidence. This designation was made when two or more studies found
         significant effects in the same direction and contradictory evidence was not
         found in other studies with equivalent or strong methods.
    5.   Supportive evidence. This designation was made when (1) at least three studies
         found suggestive or significant effects in the same direction using at least two
          independent data sets or (2) the effect was observed in a rigorous experimental
         study.

       These ratings are meant to describe the relative strengths of evidence available
  across gun policy research domains, not any rating of our absolute confidence in the
  reported effects. For instance, when we find supportive evidence for the conclusion that
  child-access prevention laws reduce self-inflicted injuries and deaths, we do not mean to
  suggest that it is comparable to the evidence available in more-developed fields of social
  science. That is, in comparison to the evidence that smoking causes cancer, the evi-
  dence base in gun policy research is very limited. Nevertheless, we believe that it may
  be valuable to the public and to policymakers to understand which laws currently have
  more or less persuasive evidence concerning the effects the laws are likely to produce.
        Table S.l summarizes our judgments for all policy and outcome pairings. Several
  outcomes show multiple judgments, and these correspond to different characteriza-
  tions of the specific policy-outcome association. For instance, we identified limited
  evidence that background checks reduce total suicides and moderate evidence that they
  reduce firearm suicides.


                                                  Exhibit 10
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 xx The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



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             Table 5.1-Continued

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Exhibit 10




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             policy increases the outcome; -&-=the policy decreases the outcome.                                                                                                                                               v;·
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             a We concluded that there is moderate evidence that dealer background checks decrease firearm homicides, and there is inconclusive evidence for the                                                               ::a
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             effect of private-seller background checks on firearm homicides.                                                                                                                                                  "'tD
Exhibit 10




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                                                                             Summary xxiii



      Rather than concerning how strong a policy's effects are, our findings concern
 the strength of the available scientific evidence examining those effects. Thus, even
 when the available evidence is limited, the actual effect of the policy may be strong.
 Presumably, every policy has some effect on a range of outcomes, however small or
 unintended. Until resear<:hers design studies that can detect these effects, available evi-
 dence is likely to remain inconclusive or limited. But this fact should not be confused
 with the conclusion that the policies themselves have limited effects. They may or may
 not have the effects they were designed to produce; available scientific research cannot
 yet answer that question. Moreover, even a policy with a small effect may nevertheless
 be beneficial to society or worth its costs. For instance, a policy that reduces firearm
 deaths by just a few percentage points could save more than 1,000 lives per year. This
 kind of "small" effect might be very difficult to detect with existing study methods but
 could represent an important contribution to public health and safety.



 Supplementary Essays

 The 13 types of policies reviewed in this report and the scope of the systematic review
 for the research synthesis were selected a priori and represent the central focus of our
 research synthesis efforts. Nevertheless, in reviewing evidence on these policies, other
 important themes emerged that the research team believed provided useful context for
 the policies or that were frequently cited in gun policy debates. Thus, we also researched
 what rigorous studies reveal about

    • the possible mechanisms by which laws may affect outcomes
    • how taxes, access to health care, and media campaigns might affect gun violence
    • the effectiveness of laws used to target domestic violence
    • methodological challenges in defining and estimating the prevalence of mass
      shootings and defensive gun use
    • how suicide, violence, and mass shootings were affected by Australia's implemen-
      tation of the National Firearms Agreement.



 Conclusions and Recommendations

 Of more than 100 combinations of policies and outcomes, we found that surprisingly
 few were the subject of methodologically rigorous investigation. Notably, research into
 four of our outcomes was essentially unavailable, with three of these four outcomes-
 defensive gun use, hunting and recreation, and the gun industry-representing issues
 of particular concern to gun owners or gun industry stakeholders. Here, we summarize
 the key conclusions and recommendations that can be drawn from the policy-outcome




                                                  Exhibit 10
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 combinations with the strongest available evidence (conclusions 1 through 8). There-
 after, we draw conclusions and recommendations concerning how to improve evidence
 on the effects of gun policies (conclusions 9 through 13).

 Conclusions and Recommendations Based on the Existing Evidence Base
 Our first set of conclusions and recommendations describes the policy-outcome com-
 binations with the strongest available evidence as identified through our review of the
 existing literature, as well as recommendations for policy based on this evidence.
       Conclusion 1. Available evidence supports the conclusion that child-access pre-
 vention laws, or safe storage laws, reduce self-inflicted fatal or nonfatal firearm inju-
 ries among youth. There is moderate evidence that these laws reduce firearm suicides
 among youth and limited evidence that the laws reduce total (i.e., firearm and non-
 firearm) suicides among youth.
       Conclusion 2. Available evidence supports the conclusion that child-access pre-
 vention laws, or safe storage laws, reduce unintentional firearm injuries or uninten-
 tional firearm deaths among children. In addition, there is limited evidence that these
 laws may reduce unintentional firearm injuries among adults.

             Recommendation J. States without child-access prevention laws should con-
             sider adopting them as a strategy to reduce firearm suicides and unintentional
             firearm injuries and deaths. We note, however, that scientific research cannot,
             at present, address whether these laws might increase or decrease crime or
             rates oflegal defensive gun use.

             Recommendation 2. When considering adopting or refining child-access pre-
             vention laws, states should consider making child access to firearms a felony;
             there is some evidence that felony laws may have the greatest effects on unin-
             tentional firearm deaths.

       Conclusion 3. There is moderate evidence that background checks reduce fire-
  arm suicides and firearm homicides, as well as limited evidence that these policies can
  reduce overall suicide and violent crime rates.
        Conclusion 4. There is moderate evidence that stand-your-ground laws may
  increase state homicide rates and limited evidence that the laws increase firearm homi-
  cides in particular.
        Conclusion 5. There is moderate evidence that laws prohibiting the purchase
  or possession of guns by individuals with some forms of mental illness reduce violent
  crime, and there is limited evidence that such laws reduce homicides in particular.
  There is also limited evidence these laws may reduce total suicides and firearm suicides.

             Recommendation 3. States that currently do not require a background check
             investigating all types of mental health histories that lead to federal prohibi-



                                                            Exhibit 10
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                                                                            Summary xxv



          tions on firearm purchase or possession should consider implementing robust
          mental illness checks, which appear to reduce rates of gun violence. The most
          robust procedures involve sharing data on all prohibited possessors with the
          National Instant Criminal Background Check System.                     .

       Conclusion 6. There is limited evidence that before implementation of a ban on
 the sale of assault weapons and high-capacity magazines, there is an increase in the
 sales and prices of the products that the ban will prohibit.
       Conclusion 7. There is limited evidence that a minimum age of21 for purchasing
 firearms may reduce firearm suicides among youth.
       Conclusion 8. No studies meeting our inclusion criteria have examined required
 reporting of lost or stolen firearms, required reporting and recording of firearm sales,
 or gun-free zones.

 Conclusions and Recommendations for Improving Gun Policy Research
 Based on our review of the existing literature on the effects of firearm policy changes,
 we offer the following conclusions and recommendations for improving the evidence
 base on the effects of gun laws.
      Conclusion 9. The modest growth in knowledge about the effects of gun policy
 over the past dozen years reflects, in part, the reluctance of the U.S. government to
 sponsor work in this area at levels comparable to its investment in other areas of public
 safety and health, such as transportation safety.

          Recommendation 4. To improve understanding of the real effects of gun poli-
           cies, Congress should consider whether to lift current restrictions in appro-
           priations legislation, and the administration should invest in firearm research
           portfolios at the Centers for Disease Control and Prevention, the National
           Institutes ofHealth, and the National Institute ofJustice at levels comparable
           to its current investment in other threats to public safety and health.

           Recommendation 5. Given current limitations in the availability of federal
           support for gun policy research, private foundations should take further steps
           to help fill this funding gap by supporting efforts to improve and expand data
           collection and research on gun policies.

      Conclusion 10. Research examining the effects of gun policies on officer-involved
 shootings, defensive gun use, hunting and recreation, and the gun industry is virtually
 nonexistent.

           Recommendation 6. To improve understanding of outcomes of critical con-
           cern to many in gun policy debates, the U.S. government and private research
           sponsors should support research examining the effects of gun laws on a wider



                                                Exhibit 10
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              set of outcomes, including crime, defensive gun use, hunting and sport shoot-
              ing, officer-involved shootings, and the gun industry.

        Conclusion 11. The lack of data on gun ownership and availability and on guns
  in legal and illegaltnarkets severely limits the quality of existing research.

              Recommendation .7. To make important advances in understanding the effects
              of gun laws, the Centers for Disease Control and Prevention or another fed-
              eral agency should resume collecting voluntarily provided survey data on gun
              ownership and use.

              Recommendation 8. To foster a more robust research program on gun policy,
              Congress should consider whether to eliminate the restrictions it has imposed
              on the use of gun trace data for research purposes.

        Conclusion 12. Crime and victimization monitoring systems are incomplete and
  not yet fulfilling their promise of supporting high-quality gun policy research in the
  areas we investigated.

              Recommendation 9. To improve the quality of evidence used to evaluate gun
              policies, the National Violent Death Reporting System should be expanded
              to include all states with rigorous quality control standards.

              Recommendation 10. The Bureau ofJustice Statistics should examine the cost
              and feasibility of expanding its existing programs to generate state-level crime
              data.

              Recommendation 11. The Bureau of Justice Statistics should continue to
              pursue its efforts to generate state-level victimization estimates. The current
              goal of generating such estimates for 22 states is a reasonable compromise
              between cost and the public's need for more-detailed information. How-
              ever, the bureau should continue to expand its development of model-based
              victimization rates for all states and for a wider set of victimization experi-
              ences (including, for instance, crimes ·involving firearm use by an assailant
              or victim).

        Conclusion 13. The methodological quality of research on firearms can be sig-
  nificantly improved.

              Recommendation 12. As part of the Gun Policy in America initiative, we have
              published a database containing a subset of state gun laws from 1979 to 2016
              (Cherney, Morral, and Schell, 2018). We ask that others with expertise on




                                                            Exhibit 10
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                                                                             Summary xxvii



          state gun laws help us improve the database by notifying us of its errors,
          proposing more-useful categorizations of laws, or submitting information on
          laws not yet incorporated into the database. With such help, we hope to make
          the database a resource beneficial to all analysts.

          Recommendation 13. Researchers, reviewers, academics, and science reporters
          should expect new analyses of the effects of gun policies to improve on earlier
          studies by persuasively addressing the methodological limitations of earlier
          studies, including problems with statistical power, model overfitting, covari-
          ate selection, poorly calibrated standard errors, multiple testing, undisclosed
          state variation in law implementation, unjustified assumptions about the time
          course of each policy's effects, the use of spline and hybrid effect codings that
          do not reveal coherent causal effect estimates, and inadequate attention to
          threats of reciprocal causation and simultaneity bias.

       In conclusion, with a few exceptions, there is a surprisingly limited base of rigor-
 ous scientific evidence concerning the effects of many commonly discussed gun poli-
 cies. This does not mean that these policies are ineffective; they might well be quite
 effective. Instead, it reflects shortcomings in the contributions that scientific study
 can currently offer to policy debates in these areas. It also reflects, in part, the policies
 we chose to investigate, all of which have been implemented in some U.S. states and,
 therefore, have proven to be politically and legally feasible, at least in some states. This
 decision meant that none of the policies we examined would dramatically increase or
 decrease the stock of guns or gun ownership rates in ways that would produce more
 readily detectable effects on public safety, health, and industry outcomes. The United
 States has a large stock of privately owned guns in circulation-estimated in 2014 to
 be somewhere between 200 million and 300 million firearms (Cook and Goss, 2014).
 Laws designed to change who may buy new weapons, what weapons they may buy, or
 how gun sales o.ccur will predictably have only a small effect on, for example, homi-
 cides or participation in sport shooting, which are affected much more by the existing
 stock of firearms. Although small effects are especially difficult to identify with the
 statistical methods common in this field, they may be important. Even a !-percent
 reduction in homicides corresponds to more than 1,500 fewer deaths over a decade.
        By highlighting where scientific evidence is accumulating, we hope to build con-
 sensus around a shared set of facts that have been established through a transparent,
  nonpartisan, and impartial review process. In so doing, we also mean to highlight
  areas where more and better information could make important contributions to estab-
 lishing fair and effective gun policies.




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 NRC-See National Research Council.




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 Abbreviations




 aOR             adjusted odds ratio

 ARIMA           autoregressive integrated moving average

 ATF             Bureau of Alcohol, Tobacco, Firearms and Explosives

 BJS             Bureau ofJustice Statistics

 BRFSS           Behavioral Risk Factor Surveillance Survey

 CAP             child-access prevention

 cc              concealed carry

 CDC             Centers for Disease Control and Prevention

 CI              confidence interval

 DGU             defensive gun use

 FBI             Federal Bureau of Investigation

 PSIS            proportion of suicides that are firearm suicides

 GSS             General Social Survey

 IPH             intimate partner homicide

 IRR             incidence rate ratio

 NCVS            National Crime Victimization Survey

 NFA             (Australian) National Firearms Agreement

  NIBRS          National Incident-Based Reporting System

  NICS           National Instant Criminal Background Check System




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                                                 0182
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  NIS                       Nationwide Inpatient Sample
  NRC                       National Research Council

  NSDS                      National Self Defense Survey
  NSPOF                     National Survey of Private Ownership of Firearms
  NSSF                      National Shooting Sports Foundation
  NVDRS                     National Violent Death Reporting System
  OR                        odds ratio
  VA                        U.S. Department ofVeterans Affairs




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                                                           PART A
                                     Introduction and Methods·




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 CHAPTER ONE

 Introduction




 Americans are deeply divided on gun policy (Parker et al., 2017). Many Americans
 cherish the traditions of hunting, sport shooting, and collecting guns and value the
 security and protection that guns can provide. Many regions rely on hunting as an
 important driver of the tourism economy (Nelson, 2001; BBC Research & Consult-
 ing, 2008; Hodur, Leistritz, and Wolfe, 2008), and the wider gun industry employs
 hundreds of thousands of Americans, including instructors; shooting range operators;
 hunting equipment suppliers; and manufacturers, distributors, and retailers of fire-
 arms and ammunition. At the same time, many Americans have suffered grievous
 injuries and lost friends and family members in incidents involving firearms. 1 More
 than 36,000 Americans die annually from deliberate and unintentional gun injuries,
 and two-thirds of these deaths are suicides (Centers for Disease Control and Preven-
 tion [CDC], 2017a). Another 90,000 Americans per year receive care in a hospital for
 a nonfatal gun injury (CDC, 2017c).
        Few are satisfied with the levels of mortality and injury associated with firearms,
 but there is passionate disagreement about how policies could be shaped to create a
 better future. There is a quite limited base of science on which to build sound and effec-
 tive gun policies. Instead, when the public or members of Congress consider proposals
 affecting gun policy, they encounter conflicting opinions and inconsistent evidence
 about the likely effects of new laws. Views on what is factual concerning gun policies,
  or what the facts imply for decisionmaking, frequently divide along political and par-
  tisan lines (Kahan, 2017).
        Entrenched disagreements on gun policy are not surprising, given the number
  and variety of contested and contradictory studies, selective misuse of facts by some on
  all sides of the debate, and today's hyper-partisan political environment. Moving past
  such roadblocks will be impossible unless decisionmakers can draw on a common set
  of facts based on transparent, nonpartisan, and impartial research and analysis. Even
  when individuals disagree about the objectives of gun policies, empirical evidence can
  help determine the most likely benefits and harms associated with such policies.

  1  Although not all guns are firearms, in this report, we follow conventional use in U.S. policy discussions and
  treat the terms gun and firearm as interchangeable.



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  Gun Policy in America

  To help fill the gap in impartial research and analysis, the RAND Corporation
  launched the Gun Policy in America initiative, which is premised on the idea that the
  real effects of policies can be objectively determined and that establishing these facts
  will help lead to sound policies. Our goal is to create a resource where. policymakers
  and the general public can access unbiased information that informs and enables the
  development of fair and effective firearm policies.
        This report synthesizes the available scientific data on the effects of vari-
  ous firearm policies on firearm deaths, violent crime, the gun industry, participa-
  tion in hunting and sport shooting, and other outcomes. It builds and expands on
  earlier comprehensive reviews of scientific evidence on gun policy conducted more
  than a decade ago by the National Research Council (2004) and the Community
  Preventive Services Task Force (see Hahn et al., 2005). This report is one of several
  research products stemming from RAND's Gun Policy in America initiative (see
  www.rand.org/gunpolicy).                         ·
        In the Gun Policy in America initiative, we have made no attempt to evaluate the
  merits of different values and principles that sometimes di-ive policy disagreements. We
  also have not evaluated the legality of any candidate laws or how they may infringe
  on Second Amendment rights. Instead, our focus is strictly on the empirical effects
  of policies on the eight outcomes specified in this report. However, all of the policies
  we investigate have been implemented in multiple states, and mari.y have withstood
  Supreme Court review; therefore, we have selected policies that have previously been
  found not to violate the Constitution.
        Laws are not the only interventions that have been used to shape how guns are used
  in the United States, and research is available on the effectiveness of other approaches,
  such as public information campaigns, safety and training programs, policing inter-
  ventions, and school and community programs. In this report, however, our focus is on
  what scientific studies tell us about the probable effects of certain laws.


  Research Focus

  The primary focus of this report is our systematic review of 13 broad classes of gun
  policies that have been implemented in some states and the effects of those policies
  on eight outcomes. We selected the 13 classes from a larger set of more than 100 gun
  policies that have been advocated for; proposed; or passed into law by the federal gov-
  ernment, states, or municipalities. Specifically, we restricted our attention to policies
  or laws that have already been implemented in some states so that researchers could
  examine the effects of each. In addition, we sought policies designed to have a direct
  effect on our selected outcomes. These policies, the presumed mechanisms whereby
  they produce intended (and possibly unintended) effects on our selected outcomes,


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 and the various ways that U.S. states have implemented them are discussed in detail in
 Chapters Three through Fifteen of this report. Although, in many cases, these policies
 have been implemented by local municipalities rather than states, we have not sought
 to review implementation at the local level.
       The 13 classes of gun policies considered in this research are as follows:

    1.    background checks
    2.    bans on the sale of assault weapons and high-capacity magazines
    3.    stand-your-ground laws
    4.    prohibitions associated with mental illness
    5.    lost or stolen firearm reporting requirements
    6.    licensing and permitting requirements
    7.    firearm sales reporting and recording requirements
    8.    child-access prevention laws
    9.    surrender of firearms by prohibited possessors
    10.   minimum age requirements
    11.   concealed-carry laws
    12.   waiting periods
    13.   gun-free zones.

      When deciding on the outcomes to examine in our research, we first included
 those related to public health and safety-suicide, violent crime, unintentional injuries
 and deaths, mass shootings, and officer-involved shootings. These are the outcomes
 most commonly examined in the research literature we were familiar with. However,
 we recognized that such outcomes omit many of the benefits of gun ownership that
 are attractive to gun owners and that may also be affected by laws designed to reduce
 the gun-related harms to public health and safety. Therefore, we also systematically
 searched the research literature for studies examining how gun laws affect defensive
 gun use, hunting and recreation, and the gun industry. Together, these eight outcomes
 cover many of the areas of concern frequently discussed in debates on gun policy. Here,
 we provide a short description of each outcome.

  Suicide
  Official statistics on suicide in the United States are compiled by the CDC. Recent
  data, from 2015, indicate that 44,193 suicides occurred that year, for a rate of 13.75 per
  100,000 people. Of these, 22,018 (49.8 percent) were firearm suicides (CDC, 2017a).
  Researchers have often examined the effects of laws on total suicides (i.e., suicide
  deaths by any means, including those involving a firearm), firearm suicides, nonfire-
  arm suicides, and suicide attempts. From a societal perspective, the most important of
  these outcomes is total suicide; that is, the goal is to reduce the total number of suicide
  deaths, regardless of how one goes about attempting to die. In many cases, however,
  we would expect the effects of gun laws to be more easily observed in rates of firearm


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 suicides, not total suicides. The consensus among public health experts is that reducing
 firearm suicides in contexts where more-lethal means of attempting suicide are unavail-
 able will result in reductions in the total suicide rate (see, for example, Office of the
 Surgeon General and National Alliance for Suicide Prevention, 2012; World Health
 Organization, 2014; for review, see Azrael and Miller, 2016). Nevertheless, it is also
 dear that some people prevented from attempting suicide with a firearm will substitute
 another lethal means and successfully end their lives. The rate at which this substitu-
 tion occurs is not known. Thus, for laws that increase or decrease firearm suicides,
 the effects on total suicides are likely smaller and harder to detect. For this reason, we
 examine the effects of policies on both total suicides and firearm suicides.
       Suicide rates in the United States have increased 25 percent since 1999 (Curtin,
 Warner, and Hedegaard, 2016). 2 There is some degree of misdassification of suicide
 deaths, with some suicides likely classified as unintentional deaths (Kapusta et al.,
 2011) or overdose deaths (Bohnert et al., 2013). The CDC provides limited nationwide
 data on suicides for all states. More-expansive data are contained in the National Vio-
 lent Death Reporting System, also maintained by the CDC, but because that system
 currently releases information on just a subset of U.S. states, we cannot use this data
 set to characterize suicides nationally.
       Data on suicide attempts generally derive from two sources: hospital admission
 records and self-reports. In hospital data, suicides are generally categorized as "self-
 harm" with unspecified intent; although there is a field to code cause of injury, this
 field is completed inconsistently across states (Cohen et al., 2001). In 2014, there were
 469,096 self-harm, nonfatal hospital admissions to emergency departments in the
 United States, 3,320 (less than 1 percent) of which were caused by a firearm (CDC,
 2017c). This may be because between 83 and 91 percent of those who attempt suicide
 with a firearm die, which is a higher rate than some other methods of suicide, such as
 drowning (66-84 percent) or hanging (61-83 percent) (Azrael and Miller, 2016).
        Emergency room data contain only self-harm incidents that resulted in an emer-
 gency room visit; as a complementary data source, national data based on self-reports
 reveal that, in 2015, 1.4 million adults aged 18 or older (0.6 percent) attempted suicide
 in the past year (Piscopo et al., 2016).                                .

 Violent Crime
 The Federal Bureau of Investigation (FBI) defines violent crime as including forcible
 rape, robbery, aggravated assault, and murder or nonnegligent manslaughter. The last
 category excludes deaths caused by suicide, negligence, or accident, as well as justifi-
 able homicides (such as the killing of a felon by a peace officer in the line of duty)
 (FBI, 2016d).


 2 The 25-percent increase in suicides refers to the age-adjusted rate, although the crude rate and the absolute
 number of suicides have also increased.



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       One source of data on violent crime is the FBI's Uniform Crime Reporting pro-
 gram, which relies on voluntary reporting of crimes by city, university/college, county,
 state, tribal, and federal law enforcement agencies. Data from the program indicate that
 there were approximately 1.2 million violent crimes in the United States in 2015, includ-
 ing 764,449 aggravated assaults, 327,374 robberies, 124,047 rapes, and 15,696 instances
 of murder or nonnegligent manslaughter (FBI, 2016d). The overall violent crime rate
 was 372.6 per 100,000 people, with the highest rate for aggravated assault (237.8 per
 100,000), followed by robbery (101.9 per 100,000), rape (38.6 per 100,000) and murder
 or nonnegligent manslaughter (4.9 per 100,000). Nationwide, firearms were used in
 71.5 percent of all instances of murder or nonnegligent manslaughter, 40.8 percent of
 robberies, and 24.2 percent of aggravated assaults in 2015 (FBI, 2016d).
        Death certificate data and emergency department admission data provide addi-
 tional insights into the prevalence and consequences of violent crime. Based on mortal-
 ity data, the CDC estimated that there were 17,793 homicides in the United States in
 2015, for a rate of 5.54 per 100,000 people; of these, 12,979 (73 percent) were caused
 by a firearm (CDC, 2017a). Emergency department data show that in 2014 there were
  more than 1.5 million admissions to hospital emergency departments for assault; of
  these, 60,470 (3.8 percent) were firearm-related (CDC, 2017c).

 Unintentional Injuries and Deaths
 Like suicide, official statistics on unintentional injuries and deaths in the United States
 are compiled by the CDC. The most recent data, from 2015, indicate that 146,571
 fatal unintentional injuries occurred that year, for a rate of 46.50 per 100,000 people
 (CDC, 2017a). Of these, 489 (less than 1 percent) were caused by a firearm. Some of
 these fatal unintentional injuries were likely misdassified and were actually suicides
 or homicides. Nevertheless, the true number of unintentional firearm deaths may be
 substantially greater than reported in the CDC's vital data. For example, inconsistent
 classification of child firearm deaths by local coroners may result in 35-45 percent
 of all unintentional firearm deaths being classified instead as suicides or homicides
 (Everytown for Gun Safety Support Fund, 2014; Hemenway and Solnick, 2015a). We
 also include research examining nonfatal unintentional injuries. There were dose to
 29 million unintentional injury discharges from emergency rooms in 2014, of which
  15,928 (less than 1 percent) were caused by a firearm. These reports omit injuries that
 did not result in an emergency room visit.

  Mass Shootings
  Although only a small fraction of annual firearm deaths result from a mass shooting,
  these events attract enormous public, media, and social media attention in the country,
  and they frequently prompt discussions about legislative initiatives for how better to
  prevent gun violence. The U.S. government has never defined mass shooting, and there
  is no single universally accepted definition of the term. The FBI's definition of a mass



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 murderer requires at least four casualties, excluding the offender or offenders, in a single
 incident. Public law (the Investigative Assistance for Violent Crime Act of 2012; Pub.
 L. 112-265) defines a mass killing as a single incident in which three or more people
 were killed. Alternative definitions include two or more injured victims or four or more
 people injured or killed, including the shooter. Depending on which data source is
 referenced, and its definitions, there were seven, 65, 332, or 371 mass shootings in the
 United States in 2015 (see a discussion of these estimates in Chapter Twenty-Two).

  Officer~lnvolved     Shootings
 Police shootings of civilians have triggered fierce debates locally and nationally about
 when use of lethal force is appropriate and whether it is being used disproportionately
 against minorities. Although the FBI has tried to collect information on police shootings
 from around 17,000 local law enforcement agencies, recent efforts by news organiza-
 tions (such as the Washington Post and the Guardian) have demonstrated that the FBI's
 data collection misses many such cases. Whereas the FBI's count typically comes to
 around 400 killings by police per year, the Washington Post documented news stories on
 963 individuals shot and killed by law enforcement in 2016, a number that could omit
 any individuals shot and killed by police about whom no news story was written. The
 FBI has announced plans to begin a new data collection effort that will reportedly track
 all incidents in which law enforcement seriously injure or kill citizens (Kindy, 2015).
       Because reliable data on police shootings are often available only for individual
 police departments, prior studies using such data typically present information at the
 city level. For example, using police reports and other administrative data, Klinger et al.
 (2016) looked at 230 use-of-force shootings by police officers involving 373 suspects in
 St. Louis between 2003 and 2012. Similarly, medical records of shooting victims con-
 tain information on whether the shooter was a member of the law enforcement com-
 munity. Using data from New York City's medical examiner, Gill and Pasquale-Styles
 (2009) looked at law enforcement shootings resulting in a fatality there between 2003
 and 2006. The data included 42 cases for the four-year period. Like suicide attempts
 and unintentional injuries and deaths, this data source misses incidents in which the
 officer did not injure the suspect or the suspect did not seek medical attention.

  Defensive Gun Use
 Defensive gun use has typically been measured in the empirical literature using self-
 reports on surveys of gun owners, although some studies have used firearm deaths
 coded as justifiable homicides to investigate subsets of defensive gun use. Although
 there are some variations, defensive gun use has often been defined as incidents that
 involve (1) protection against humans (i.e., not animals); (2) gun use by civilians
 (not official use by military, police, or security personnel); (3) contact between per-
 sons (not, for instance, carrying a firearm to investigate a suspicious sound when no
 intruder is encountered); and (4) use of a gun, at least as a visual or verbal threat (not



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 incidents in which a gun may have simply been available for use). Definitions this
 broad would include defensive use of a gun by criminals during the commission of
 a crime, as well as use of a gun for personal defense by those who are prohibited by
 law from being in possession of a weapon (itself a crime). More-restrictive definitions
 specify that the defensive gun use be performed by the victim of certain crimes or by
 someone trying to protect the victim. These definitions may miss instances in which
 crimes were deterred or averted when a firearm was brandished.
        Differences in the definitions of defensive gun use, and in the manner of collect-
 ing information about it, lead to wide differences in estimates of the annual incidence
 of defensive gun use. Low estimates (based on the experiences of crime victims) are a
 little more than 100,000 such incidents per year, and high estimates are 4.7 million per
 year (Cook and Ludwig, 1996, 1997, 1998; McDowall, Loftin, and Wiersema, 1998).
 This literature and the challenges of defining and measuring defensive gun use are
 reviewed in Chapter Twenty-Three.

 Hunting and Recreation
 Federal statistics on hunters largely come from the National Survey of Fishing, Hunt-
 ing, and Wildlife-Associated Recreation Survey, which is conducted every five years as
 a coordinated effort by the U.S. Fish and Wildlife Service and the U.S. Census Bureau.
 According to the most recent data, from 2011, approximately 13 million people used
 firearms for hunting, more than 50 percent of all hunters participated in target shoot-
 ing, and 22 percent of hunters visited shooting ranges (U.S. Fish and Wildlife Service,
 U.S. Department of the Interior, and U.S. Department of Commerce, 2012). Estimates
 from the National Shooting Sports Foundation (NSSF) suggest that approximately
 20 million individuals participate in target shooting annually (Southwick Associates,
 2013). Data from the General Social Survey suggest that hunting has decreased sig-
 nificantly since 1977, when 31.6 percent of adults lived in households where they, their
 spouse, or both hunted. In 2014, households with a hunter was down to 15.4 percent
  (Smith and Son, 2015).

 Gun Industry
 Estimates produced by the NSSF suggest that there are 141,000 jobs in the United
 States involving the manufacture, distribution, or retailing of ammunition, firearms,
 and hunting supplies and potentially another 150,000 jobs in supplier and ancil-
 lary industries connected with the firearm market (NSSF, 2017). According to the
 U.S. Census Bureau, in 2014, more than 90,000 people were employed in U.S. firms
 coded as being involved in just the manufacture of firearms, ammunition, or ordnance
 (North American Industry Classification System [NAICS] codes 332992, 332993, and
 332994; U.S. Census Bureau, 2016). The manufacturing industry alone is estimated
 to generate $16 billion in revenue annually (IBISWorld, 2016). In 2011, hunters spent
 $3 billion on firearms and $1.2 billion on ammunition (U.S. Fish and Wildlife Ser-



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  vice, U.S. Department of the Interior, and U.S. Department of Commerce, 2012).
  More than 9 million firearms were manufactured in the United States in 2014, nearly
  triple the number manufactured one decade prior. An additional 3.6 million firearms
  were imported in 2014, while just more than 420,900 firearms were exported from the
  United States (Bureau of Alcohol, Tobacco, Firearms and Explosives, 2016b).
        As of the end of fiscal year 2015, 139,840 federal firearms licensees had active
  licenses to sell firearms in the United States. Just more than 46 percent of these licenses
  were held by dealers or pawnbrokers, 43 percent were held by collectors, about 9 per-
  cent were held by manufacturers of ammunition or firearms, and less than 1 percent
  were held by importers (Bureau of Alcohol, Tobacco, Firearms and Explosives, 2016b).


  Organization of This Report

  The report is organized into five parts. Part A introduces the project scope and objec-
  tives in Chapter One and the methods used to conduct systematic reviews and synthe-
  ses of the literature in Chapter Two. In Part B, we present a research synthesis on each
  of the 13 state policies selected for review (Chapters Three through Fifteen). Each of
  these chapters defines the class of policies under review; presents and rates the available
  evidence; and describes what conclusions, if any, can be drawn about how each policy
  affects each outcome .. Part B includes all of the research syntheses we selected a priori;
  however, in the course of developing these, several related themes frequently came up
  in the literature and in policy debates, and we believed that these themes warranted
  further discussion or review. Therefore, to augment and provide context for Part B's
  syntheses, Part C presents supplementary essays on what rigorous studies reveal about

     • the possible mechanisms by which laws may affect outcomes (Chapters Sixteen
       and Seventeen on the effects of firearm prevalence on suicide and violent crime)
     • how taxes, access to health care, and media campaigns might affect gun violence
       (Chapters Eighteen through Twenty)
     • the effectiveness oflaws used to target domestic violence (Chapter Twenty-One)
     • methodological challenges in defining and estimating the prevalence of mass
       shootings and defensive gun use (Chapters Twenty-Two and Twenty-Three)
     • how suicide, violent crime, and mass shootings were affected by Australia's imple-
       mentation of the National Firearms Agreement (Chapter Twenty-Four).

  In Part D, we draw general conclusions from the main policy analyses and offer rec-
  ommendations for how to improve the state of evidence for the effects of state laws.
  Finally, in an appendix section, Appendix A describes common methodological
  shortcomings found in the existing scientific literature examining gun policy, and
  Appendix B describes the source data used to display study effect sizes and rate study
  methodologies.


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                                                                                    Introduction 11



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                                                       Exhibit 10
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 CHAPTER TWO

 Methods




 Our review of evidence concerning the effects of 13 policies on eight outcomes used
 Royal Society of Medicine (Khan et al., 2003) guidelines for conducting systematic
 reviews of a scientific literature. Those guidelines consist of a five-step protocol: fram-
 ing questions for review, identifying relevant literature, assessing the quality of the
 literature, summarizing the evidence, and interpreting the findings. Our objective was
 to identify and assess the quality of evidence provided in research that estimated the
 causal effect of one of the selected gun policies (or the prevalence of firearm ownership)
 on any of our eight key outcomes.
       Before undertaking the review, we knew that we would need to draw on pri-
 marily observational studies across a range of disciplines, including economics, psy-
 chology, public health, sociology, and criminology. The Royal Society of Medicine
 approach is suitable in this context because of its flexibility and applicability to social
 and policy interventions. Other approaches for systematic reviews (e.g., Institute of
 Medicine, 2011; Higgins and Green, 2011) are designed primarily for reviews specific
  to health care. We consulted guidelines from the Campbell Collaboration to ensure
  that our review criteria were based ~n relevant factors prescribed for reviews of social
  and policy interventions (e.g., determination of independent findings, statistical proce-
  dures; Campbell Collaboration, 2001). However, to more efficiently examine the range
  of outcomes and interventions we set out to review, and because of the wide range of
  methods researchers have used to examine these effects, we do not follow the Campbell
  Collaboration guidelines exactly, as detailed next.



  Selecting Policies

  RAND assembled a list of dose to 100 distinct gun policies advocated by diverse orga-
  nizations, including the White House and other U.S. government organizations, advo-
  cacy organizations focused on gun policy (such as the National Rifle Association and
  the Brady Campaign to Prevent Gun Violence), academic organizations focused on
  gun policy or gun policy research, and professional organizations that had made public
  recommendations related to gun policy (e.g., the International Association of Chiefs of



                                              15   Exhibit 10
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 Police and the American Bar Association). Our objective was to evaluate state firearm
 laws because there is considerable variation that could be examined to understand the
 causal effects of such laws. Moreover, because the laws are applied statewide, observed
 effects may generalize to new jurisdictions better than the effects of local gun poli-
 cies or programs that may be more tailored to the unique circumstances giving rise to
 them. We therefore eliminated policies that chiefly concerned local programs or inter-
 ventions that are not mandated by state laws (e.g., gun buy-back programs or policing
 strategies that have been recommended on the basis of favorable research findings). For
 the same reason, we eliminated policies that either have never been passed into state
 laws or that have not yet had their intended effects (e.g., laws requiring new handguns
 to incorporate smart-gun technologies). We excluded policies that we concluded were
 likely to have only an indirect effect on any of the eight outcomes we were examining
 (e.g., policies concerning mental health coverage in group health insurance plans; the
 public availability of Bureau ofAlcohol, Tobacco, Firearms and Explosives data on gun
 traces). We clustered some policy proposals that we regarded as sufficiently similar in
 concept to be included in the same general class of policies (e.g., policies of repealing
 the Safe Schools Act and the conceptually similar policy to prohibit gun-free zones).
        This process resulted in 13 classes of firearm policies that we subsequently reviewed
 with multiple representatives of two advocacy organizations (one strongly aligned with
 enhanced gun regulation, and one strongly aligned with reduced gun regulation). The
 purpose of these consultations was to establish whether we had identified policies that
 are important, coherent, and relevant to current gun policy debates. This consulta-
 tion resulted in substituting two of our original 13 classes of laws. As noted in Chap-
 ter One, the final set of policies, defined and explained in Chapters Three through
 Fifteen, is as follows:

    1.    background checks
    2.    bans on the sale of assault weapons and high-capacity magazines
    3.    stand-your-ground laws
    4.    prohibitions associated with mental illness
    5.    lost or stolen firearm reporting requirements
    6.    licensing and permitting requirements
    7.    firearm sales reporting and recording requirements
    8.    child-access prevention laws
    9.    surrender of firearms by prohibited possessors
    10.   minimum age requirements
    11.   concealed-carry laws
    12.   waiting periods
    13.   gun-free zones.




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                                                                                                    Methods     17



        These classes of gun policies do not comprehensively account for all-or neces-
 sarily the most effective-laws or programs that have been implemented in the United
 States with the aim of reducing gun violence. For example, our set of policies does
 not include mandatory minimum sentencing guidelines for crimes with firearms.
 Further, by restricting our evaluation to state policies, we exclude local interventions
 (e.g., problem-oriented policing, focused deterrence strategies) that have been found to
 reduce overall crime in prior meta-analyses (Braga, Papachristos, and Bureau, 2014;
 Braga and Weisburd, 2012). However, we recognize the potential importance of these
 other interventions and believe a similar systematic review of their effects on outcomes
 relevant to the firearm policy debate merits future research. 1
        While Part B of this report evaluates the existing literature on the effects of these
 13 classes of firearm policies, Part C includes essays describing scientific research on
 possible mechanisms by which laws may affect firearm-related outcomes, such as by
 affecting the prevalence of gun ownership (see Chapters Sixteen and Seventeen).


 Selecting and Reviewing Studies

  Our selection and review of the identified literature involved the following steps:

      1. Article retrieval: Across all outcomes, we identified a common set of search
         terms to capture articles relevant to firearm prevalence or firearm policies. We
         then identified search terms unique for each outcome.
      2. Title and abstract review: We conducted separate title and abstract reviews for
         each outcome using DistillerSR to code criteria used to determine whether the
         article appeared to meet minimum inclusion criteria (described later).
      3. Full-text review: All studies retained after abstract review received full-text
         review and coding using DistillerSR. The purpose of this review was to identify
         studies that examined the effects of one or more of our policies on any of our
         outcomes and that employed methods designed to clarify the causal effects of
         the policy.
      4. Synthesis of evidence: Once we identified the subset of quasi-experimental stud-
         ies for each outcome and policy, 2 members of the. multidisciplinary methodol-
         ogy team met to discuss each study's strengths and limitations.Then, the group
          discussed each set of studies available for a policy-outcome pair to make a deter-
         mination about the level of evidence supporting the effect of the policy on each
          outcome.


  1
     For a recent review of the evidence on criminal justice interventions to reduce criminal access to firearms, see
  Braga, 2017.
  2   We identified no experimental studies.




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 Article Retrieval
 In spring 2016, we queried all databases listed in Table 2.1 for English-language studies.
 Because the National Research Council (NRC) (2004) and the Community Preven-
 tive Services Task Force (Hahn et al., 2005) published comprehensive and high-quality
 research reviews in 2004 and 2005, we limited our search primarily to research pub-
 lished during or after 2003 (assuming a lag from the time the NRC review was com-
 plete and the final report was published). We supplemented this search with a review of
 all studies reviewed by NRC (2004) and Hahn et al. (2005). Finally, to ensure inclu-
 sion of the most-seminal studies, including those that may have been missed by NRC
 or Hahn et al., we conducted additional searches in the Web of Science and Scopus

 Table 2.1
 Databases Searched for Studies Examining the Effects of Firearm Policies

 Database                                                    Details

 PubMed              National Library of Medicine's database of medical literature. Not used for gun
                     industry or hunting searches.
  PsyciNFO           Journal articles, books, reports, and dissertations on psychology and related fields.
                     Not used for gun industry or hunting searches.
 Index to Legal      Includes indexing of scholarly articles, symposia, jurisdictional surveys, court
 Periodicals         dec;:isions, books, and book reviews.

 Social Science      Journal articles and book reviews on anthropology, crime, economics, law, political
 Abstracts           science, psychology, public administration, and sociology.

 Web of Science      Includes the Book Citation Index, Science Citation, Social Science Citation, Arts
                     & Humanities Citation Indexes, and Conference Proceedings Citation Indexes for
                     Science, Social Science, and Humanities, which include all cited references from
                     indexed articles.

 Criminal Justice    Abstracts related to criminal justice and criminology; includes current books,
 Abstracts           book chapters, journal articles, government reports, and dissertations published
                     worldwide.

 National Criminal   Contains summaries of the more than 185,000 criminal justice publications housed
 Justice Reference   in the National Criminal Justice Reference Service Library collection.
 Service

 Sociological        Citations and abstracts of sociological literature, including journal articles, books,
 Abstracts           book chapters, dissertations, and conference papers.

 Econlit             Journal articles, books, and working papers on economics.

 Business Source     Business and economics journal articles, country profiles, and industry reports.
 Complete

 World Cat           Catalog of books, web resources, and other material worldwide.

 Scopus              An abstract and citation database with links to full-text content, covering peer-
                     reviewed research and web sources in scientific, technical, medical, and social
                     science fields, as well as arts and humanities.

 LawReviews          A database of legal reviews.
 (LexisNexis)




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 databases for any study that had been cited in the literature 70 or more times, regard-
 less of its publication date. Finally, after completing our search, several relevant studies
 were published in summer and fall2016. When we became aware of these, we included
 them in our review.
       We conducted separate searches for each of the eight outcomes. 1he search strings
 that were applied universally across all outcomes included the following:

    • gun or guns or firearm* or handgun* or shotgun* or rifle* or longgun* or
      machinegun* or pistol* OR automatic weapon OR assault weapon OR semi-
      automatic weapon OR automatic weapons OR assault weapons OR semi-
      automatic weapons
      AND
    • ownership OR own OR owns OR availab* OR access* OR possess* OR purchas*
      OR restrict* OR regulat* OR distribut* OR "weapon carrying" OR "weapon-
      carrying" OR legislation OR legislating OR legislative OR law OR laws OR
      legal* OR policy OR policies OR "ban" OR "bans" OR "banned."

      In addition, we searched for the following outcome-specific search terms:

    • suicide: (suicide* OR self-harm* OR self-injur*);
      - the following were the only terms used for "firearms" for this search: gun or
         guns or firearm* or handgun* or shotgun* or rifle* or longgun* or machine-
         gun* or pistol*
    • violent crime: homicide* OR murder* ORmanslaughter OR "domestic violence"
      OR "spousal abuse" OR "elder abuse" OR "child abuse" OR "family violence"
      OR "child maltreatment" OR "spousal maltreatment" OR "elder maltreatment"
      OR "intimate relationship violence" OR "intimate partner violence" OR" dating
      violence" OR (violen* AND [crime* OR criminal*]) OR rape OR rapes OR
      rapist* OR "personal crime" OR "personal crimes" OR robbery OR assault* OR
      stalk* OR terroris*
    • unintentional injuries and deaths: accident* OR unintentional
    • mass shootings: "mass shooting" OR "mass shootings"
    • officer-involved shootings: "law enforcement" OR police* OR policing
    • defensive gun use: self-defense OR "self defense" OR "personal defense" OR
       defens* OR self-protect* OR self protect* OR DGU OR SDGU
    • hunting and recreation: hunt OR hunting OR "sport shooting" OR "shooting
       sports" OR recreation* (1he terms "ammunition" and "bullets" were also included
       in the set containing the terms for "firearms.")
    • gun industry: industr* OR manufactur* OR produc* OR distribut* OR supply
       OR trade OR price* OR export* OR revenue* OR sales OR employ* OR profit*
       OR cost OR costs OR costing OR "gun show" OR tax OR taxes OR taxing OR
       taxation OR payroll OR "federal firearms license."


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                                                     0202
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       We used a three-stage study review process and standardized review criteria
 (described next) to identify all studies with evidence for policy effects meeting min-
 imum evidence standards. When possible, we calculated and graphed standardized
 effect sizes for reported effects included in our research syntheses (Chapters 1hree
 through Fifteen).
       In addition to the planned research syntheses analyzing the effects of the 13 poli-
 cies outlined in Chapter One, we summarized evidence on other topics when members
 of the research team believed that a topic provided important supplemental evidence or
 explanatory information (see Chapters Sixteen through Twenty-Four). For instance, we
 identified a substantial literature examining the effects of firearm prevalence on rates
 of suicide (Chapter Sixteen) and homicide (Chapter Seventeen). 1his literature did not
 evaluate the effects of a specific policy but nevertheless examined a key mechanism
 by which policies might affect the outcomes. For these discussions, we occasionally
 augmented the search strategy described earlier, as detailed in the individual chapters.

 Title and Abstract Review
 At this stage, we screened studies to determine whether they met our inclusion criteria.
 In all cases, a study was included if it met the following: any empirical study that dem-
 onstrated a relationship between a firearm-related public policy and the relevant outcome
 OR any empirical study that demonstrated a. relationship between firearm ownership and
 access and a relevant outcome (including proxy measures for gun ownership).
       Studies were excluded if they were case studies, systematic reviews, dissertations,
 commentaries or conceptual discussions, descriptive studies, studies in which key vari-
 ables were assumed rather than measured (e.g., a region was assumed to have higher
 rates of gun ownership), studies that did not concern one of the eight outcomes we
 selected, studies that did not concern one of the 13 policies we selected (or gun owner-
 ship), or studies that duplicated the analyses and results of other included studies.

 Full-Text Review
 Next, we used full-text review to ensure that the studies included thus far did not meet
 any of the exclusion criteria and to exclude studies with no credible claim to having
 identified a causal effect of policies. In addition to coding all studies on the policy
 and outcome they examined and on their research design, we coded the country or
 countries in which the policy effects were evaluated. Because of the United States'
 unique legal, policy, and gun ownership context, we excluded studies examining the
 effects of policies on foreign populations. However, in the special-topic discussions
 (Chapters Sixteen through Twenty-Four), we include analysis of some studies in for-
 eign countries (such as an analysis of the Australian experience with gun regulation)
 and various foreign studies of the effects of gun prevalence on suicide.
       Our research syntheses (Chapters 1hree through Fifteen) focus exclusively on
 studies that used research methods designed to identify causal effects among observed



                                                            Exhibit 10
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 associations between policies and outcomes. Specifically, we required, at a minimum,
 that studies include time-series data and use such data to establish that policies pre-
 ceded their apparent effects (a requirement for a causal effect) and that studies include
 a control group or comparison group (to demonstrate that the purported causal effect
 was not found among those who were not exposed to the policy). Experimental designs
 provide the gold standard for establishing causal effects, but we identified none in our
 literature reviews. On a case-by-case basis, we examined studies that made a credible
 claim to causal inference on the basis of data that did not include a time series. In
 practice, these discussions determined that some studies using instrumental-variable
 approaches to isolating causal effects satisfied our minimum standards for inclusion.
       We refer to the studies that met our inclusion criteria as quasi-experimental. We
 distinguish these from simple cross-sectional studies that may show an association
 between states with a given policy and some outcome but that have no strategy for
 ensuring that it is the policy that caused the observed differences across states. For
 instance, there could be some other factor associated with both state policy differences
 and outcome differences or there could be reverse causality (that is, differences iri the
 outcome across states could have caused states to adopt different policies). In excluding
  cross-sectional studies from this review, we have adopted a more stringent standard of
 evidence for causal effects than has often been used in systematic reviews of gun policy.
       Although excluding cross-sectional research eliminates a large number of studies
  on gun policy, longitudinal data are much better for estimating the causal effect of a
  policy. Specifically, empirical demonstration of causation generally requires three types
  of evidence (Mill, 1843):

    • The cause and effect regularly co-occur (i.e., association).
    • The cause occurs before the effect (i.e., precedence).
    • Alternative explanations for the association have been ruled out (i.e., elimination
      of confounds).

       Cross-sectional research is largely limited to demonstrating association. Longitu-
 dinal studies that include people or regions that are exposed to a policy and those that
 are not exposed have the potential to provide all three types of evidence. Such a design
 can demonstrate that the policy preceded the change in the outcome of interest, and
 it can rule out a wider range of potential confounds, including historical time trends
 and the time-invariant characteristics of the jurisdictions in which the policies were
 implemented (Wooldridge, 2002).
       We also excluded studies that offered no insight into the causal effects of indi-
 vidual policies. For instance, we excluded studies that evaluated the effects of an aggre-
 gate state score describing the totality of each state's gun policies or studies of the
 aggregate effects of legislation that included multiple gun policies. In rare cases, we
 excluded from consideration studies that provided insufficient information about their
 methodologies to evaluate whether they used a credible approach to isolating a causal


                                                 Exhibit 10
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 effect of policies. In one case (Kalesan et al., 2016), we excluded a study that examined
 the effects of many of our selected policies on firearm deaths. We did so because of
 significant methodological problems that we concluded made the findings uninforma-
 tive, as documented in Schell and Morral (2016). In cases in which authors updated
 prior published analyses, we generally chose the updated study. However, in one case
 (Cook and Ludwig, 2003), we present the results from the earlier analysis (Ludwig
 and Cook, 2000), which was inclusive of more years of data, provided more detail,
 and included multiple model specifications (although findings were qualitatively the
 same). The identified studies included individual-level studies (i.e., studies comparing
 outcomes among people over time) and ecological studies (i.e., studies comparing out-
 comes in regions over time).
       Finally, we excluded studies published prior to 2003 on one policy-outcome
 pair-concealed-carry laws and violent crime. Our discussion of this topic (see Chap-
 ter Thirteen) reviews much of the earlier literature in this area, but we do not count
 the earlier work in our evidence ratings for several reasons. For starters, this area of
 gun policy has received the greatest research attention since 2003, and considerable
 advances have been made in understanding the effects of these laws. In addition,
 researchers have uncovered serious problems with data sets that were frequently used
 before 2003. Indeed, Hahn et al. (2005) dismissed all the earlier work that had been
 done with county-level data (which meant most of the work) on grounds that it was too
 flawed to rely on for evidence. We do not take that position but .do agree with NRC
 (2004) and Hahn et al. (2005) that the primary conclusion that can be drawn from
 this earlier literature is that estimates of the effects of concealed-carry laws are highly
 sensitive to model specification choices, meaning no conclusive evidence can be drawn
 from the estimates. Because many of the authors engaged in the pre-2003 concealed-
 carry research continued to publish improved models on improved data sets, we restrict
 our evidence ratings to just this later work. We do not exclude pre-2003 studies of
 concealed-carry laws for outcomes other than violent crime, because there are much
 fewer later studies on which to base evidence ratings for these other outcomes.
       Using these inclusion and exclusion criteria, we identified the studies providing
 the highest-quality evidence of a causal relationship between a policy and an outcome.
 In judging the quality of studies, we always explicitly considered common method-
 ological shortcomings found in the existing gun policy scientific literature (see Appen-
 dix A), especially the following:

      • Models that may have too many estimated parameters for the number of available
        observations. We consistently note whenever estimates were based on models with
        a ratio of less than ten observations per estimated parameter. When the ratio of
        observations to estimated parameters dropped below five to one and no supple-
        mental evidence of model fit was provided (such as the use of cross-validation or
        evidence from an analysis of the relative fit of different model specifications), we
        discount the study's results and do not calculate effect sizes for its estimates.


                                                           Exhibit 10
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    • Models making no adjustment to standard errors for the serial correlation regularly
      found in panel data frequently used in gun policy studies. We consistently note when
      studies did not report having made any such adjustment. When a study noted a
      correction for only heteroscedasticity, we consider that to be evidence of some
      correction, although this does not generally fully correct bias in the standard
      errors due to clustering (Aneja, Donohue, and Zhang, 2014).
    • Models for which the dependent variable appears to violate model assumptions, such
       as linear models ofdichotomous outcomes or linear models ofrate outcomes (many of
       which are close to zero). We consistently note when the data appeared to violate
       modeling assumptions.
    • Effects with large changes in direction and magnitude across primary model specifica-
       tions. We consistently note when a study presented evidence that model results
       were highly sensitive to different model specifications.
    • Models that identify the effect ofpolicies with too few cases. We consistently note
       when the effects of policies were identified on the experiences of a single state or a
       small number of states. These analyses generally provide less persuasive evidence
       that observed differences between treated and control cases result from the effects
       of the policy as opposed to other contemporaneous influences on the outcome.

      In Appendix A, we describe other common shortcomings in the existing literature
 that we do not explicitly discuss in our research syntheses. For instance, in the main
 chapters of the report, we do not note when papers provided no goodness-of-fit tests
 or other statistical evidence to justify their covariate selections. Neither do we focus on
 interpretational difficulties and confusion frequently present in studies using spline or
 hybrid models to estimate the effects of policies, although we discuss this problem in
 detail in Appendix A. These problems are so common in this literature that consistently
 commenting on them as shortcomings would become repetitive and cumbersome.

  Synthesis of Evidence
  Members of the research team summarized all available evidence from prioritized stud-
  ies for each of the 13 policies on each of the eight outcomes. When at least one study
  met inclusion criteria, a multidisciplinary group of methodologists on the research
  team discussed each study to identify its strengths and weaknesses. The consensus
  judgments from these group discussions are summarized in the research syntheses.
  Then, the group discussed the set of available studies as a whole to make a determina-
  tion about the level of evidence supporting the effect of the policy on each outcome.
        When considering the evidence provided by each analysis in a study, we counted
  effects with p-values greater than 0.20 as providing uncertain evidence for the effect
  of a policy. We use this designation to avoid any suggestion that the failure to find a
  statistically significant effect means that the policy has no effect. We assume that every
  policy will have some effect, however small or unintended, so any failure to detect it is
  a shortcoming of the science, not the policy. When the identified effect has a p-value


                                                  Exhibit 10
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 less than 0.05, we refer to it as a significant effect. Finally, when the p-value is between
 0.05 and 0.20, we refer to the effect as suggestive.
       We include the suggestive category for several reasons. First, the literature we
 are reviewing is often underpowered. This means that the probability of rejecting the
 null hypothesis of no effect even when the policy has a true effect is often very low.
 As we argue in Appendix A, conducting analyses with low statistical power results in
 an uncomfortably high probability that effects found to be statistically significant at
 p < 0.05 are in the wrong direction and all effects have exaggerated effect sizes (Gelman
 and Carlin, 2014). If we had restricted our assessment of evidence to just statistically
 significant effects, we might base our judgments on an unreliable and biased set of
 estimates while ignoring the cumulative evidence available in studies reporting nonsig-
 nificant results. While the selection of p < 0.20 as the criterion for rating evidence as
 suggestive is arbitrary, this threshold corresponds to effects that are meaningfully more
 likely to be in the observed direction than in the opposite direction. For instance, if we
 assume that the policy has about as much chance of having a nonzero effect as having
 no effect, and the power of the test is 0.8, then p < 0.20 suggests that there is only a
 20-percent probability ofincorrectly rejecting the null hypothesis of no effect. For tests
 that are more weakly powered, as is common in models we review, a p-value less than
 0.20 will result in false rejection less than half the time so long as the power of the test
 is above 0.2 (see, for example, Colquhoun, 2014).
       In the final step, we rated the overall strength of the evidence in support of each
 possible effect of the policy. We approached these evidence ratings with the knowledge
 that research in this area is modest. Compared with the study of the effects of smok-
 ing on cancer, for instance, the study of gun policy effects is in its infancy, so it cannot
 hope to have anything like the strength of evidence that has accrued in many other
 areas of social science. Nevertheless, we believed that it would be useful to distinguish
 the gun policy effects that have relatively stronger or weaker evidence, given the limited
 evidence base currently available. We did this by establishing the following relativistic
 scale describing the strength of available evidence:

    1. No studies. This designation was made when no studies meeting our inclusion
       criteria evaluated the policy's effect on the outcome.
    2. Inconclusive evidence. This designation was made when studies with comparable
       methodological rigor identified inconsistent evidence for the policy's effect on
       an outcome or when a single study found only uncertain or suggestive effects.
    3. Limited evidence. This designation was made when at least one study meeting
       our inclusion criteria and not otherwise compromised by serious methodologi-
       cal problems reported a significant effect of the policy on the outcome, even if
       other studies meeting our inclusion criteria identified only uncertain or sugges-
       tive evidence for the effect of the policy.




                                                          Exhibit 10
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    4.  Moderate evidence. This designation was made when two or more studies found
        significant effects in the same direction and contradictory evidence was not
        found in other studies with equivalent or strong methods .
   . 5. Supportive evidence. This designation was made when (1) at least three studies
        found suggestive or significant effects in the same direction using at least two
        independent data sets or (2) the effect was observed in a rigorous experimental
        study. Our requirement that the effect be found in distinct data sets reflects the
        fact that many gun policy studies use identical or overlapping data sets (e.g.,
        state homicide rates over several years). Chance associations in these data sets
        are likely to be identified by all who analyze them. Therefore, our supportive
        evidence category requires that the effect be confirmed in a separate data set.

      These rating criteria provided a framework for our assessments of where the weight
 of evidence currently lies for each of the policies, but they did not eliminate subjectivity
 from the review process. In particular, the studies we reviewed spanned a wide range of
 methodological rigor. When we judged a study to be particularly weak, we discounted
 its evidence in comparison with stronger studies, which sometimes led us to apply
 lower evidence rating labels.than had the study been stronger.


 Effects of the Inclusion and Exclusion Criteria on the Literature
 Reviewed
 Table 2.2 presents the results of the literature search across all eight outcomes. The final
 column shows the number of studies meeting all inclusion criteria. No studies satisfy-
 ing our inclusion criteria were found for two of the eight outcomes.

 Table 2.2
 Number of Studies Selected for Review at Each Stage of the Review Process

                                                              Included After Title    Included After
 Outcome                              Total Search Results   and Abstract Review     Full-Text Review

 Suicide                                     1,274                   183                    11

 Violent crime                               2,656                   373                   47

  Unintentional injuries and deaths            531                    27                     3

  Mass shootings                                77                    11                     8

  Officer-involved shootings                   187                    34                     0

  Defensive gun use                          1,435                   115

  Hunting and recreation                       229                     0                     0

  Gun industry                               3,180                    19                     2




                                                         Exhibit 10
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      Of the studies that were published before 2003, all but Duwe, Kovandzic, and
 Moody (2002) were considered in the earlier reviews (Hahn et al., 2005; NRC, 2004).
 Table 2.3 lists the 63 studies meeting all inclusion criteria.


 Table 2.3
 Studies Meeting Inclusion Criteria
  No.                              Study                        No.                     Study
               Aneja, Donohue, and Zhang (2011)                 33    La Valle and Glover (2012)
      2        Aneja, Donohue, and Zhang (2014)                 34    Lott (2003)
  3            Ayres and Donohue (2003a)                        35    Lott (2010)
  4.           Ayres and Donohue (2003b)                        36    Lott and Mustard (1997)
      5        Ayres and Donohue (2009a)                        37    Lott and Whitley (2001)
      6        Ayres and [)onohue (2009b)                       38    Lott and Whitley (2003)
  7            Cheng and Hoekstra (2013)                        39    Lott and Whitley (2007)
  8            Cook and Ludwig (2003)                           40    Luca, Deepak, and Poliquin (2016)
      9        Crifasi et al. (2015)                            41    Ludwig and Cook (2000)
      10       Cummings eta!. (1997a)                           42    Maltz and Targonski (2002)
      11      · DeSimone, Markowitz, and Xu (2013)              43    Manski and Pepper (2015)
      12       Donohue (2003)                                   44    Martin and Legault (2005)
      13       Donohue (2004)                                   45    Moody and Marvell (2008)
      14       Duggan (2001)                                    46    Moody and Marvell (2009)
      15       Duggan, Hjalmarsson, and Jacob (2011)            47    Moody et a!. (2014)
      16       Durlauf, Navarro, and Rivers (2016)              48    Plassman and Whitley (2003)
      17       Duwe, Kovandzic, and Moody (2002)                49    Raissian (2016)
      18       French and Heagerty (2008)                       50    Roberts (2009)
      19       Gius (2014)                                      51    Rosengart et al. (2005)
      20       Gius (2015a)                                     52    Rudolph et al. (2015)
      21       Gius (201 Sb)                                    53    Sen and Panjamapirom (2012)
      22       Gius (201 Sc)                                    54    Strnad (2007)
      23       Grambsch (2008)                                  55    Swanson et al. (2013)
      24       Helland and Taba rrok (2004)                     56    Swanson eta!. (2016)
      25       Hepburn et al. (2006)                            57    Vigdor and Mercy (2003)
      26       Humphreys, Gasparrini, and Wiebe (2017)          58    Vigdor and Mercy (2006)
      27       Kendall and Tamura (2010)                        59    Webster, Crifasi, and Vernick (2014)
      28       Koper (2004)                                     60    Webster and Starnes (2000)
      29       Kovandzic, Marvell, and Vieraitis (2005)         61    Webster et al. (2004)
      30       La Valle (2007)                                  62    Wright, Wintemute, and Rivara (1999)
      31       La Valle (2010)                                  63    Zeoli and Webster (2010)
      32       La Valle (2013)




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       In a few cases, some studies published updates to earlier works that expanded
 the time frame of the analysis, corrected errors, or applied more-advanced statistical
 methods to a nearly identical data set. In these cases, we do not treat both the earlier
 and later works as each contributing an equally valid estimate of the effects of a: policy.
 Instead, we treat the latest version of the analysis as superseding the earlier versions,
 and we focus our reviews on the superseding analysis. In one case, we substituted an
 earlier study (Ludwig and Cook, 2000) for a later study (Cook and Ludwig, 2003).
 We did this because the earlier study included a longer data series, used a model with
 greater statistical power, and provided more-detailed results; in addition, the estimated
 effects of policies in the two papers were identical for the estimates of interest to us in
 this review. Table 2.4lists the superseded studies and their superseding versions.
       Table 2.5 describes the policies and outcomes evaluated by each study that was not
 superseded, and studies are indicated with their corresponding number in Table 2.3.
 These studies are discussed in detail in subsequent chapters.


 Table 2.4
 Superseded Studies

 Superseded                                                         Superseding

 Aneja, Donohue, and Zhang (2011); Ayres and     Aneja, Donohue, and Zhang (2014)
 Donohue (2003a, 2003b, 2009a, 2009b); Donohue
 (2003, 2004)

 La Valle (2007, 2010)                           La Valle (2013), La Valle and Glover (2012)

  Moody and Marvell (2008, 2009)                 Moody et al. (2014)

 Vigdor and Mercy (2003)                         Vigdor and Mercy (2006)




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Table 2.5
Included    Studies~   by Po[icy and Outcome
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                                                                                                                                                                               Total
Background checks                                  15,41, 53        15, 20, 32, 35, 41, 53, 55,                          40                                                     11
                                                                            56,58,62
Bans on the sale of assault weapons and high-                                 19,35                                    22,40                                            28       5
capacity magazines
Stand-your-ground laws                                26                     7, 26,59                                                                 7                          3
Prohibitions associated with mental illness         53,56                   53, 55, 56                                                                                           3
Lost or stolen firearm reporting requirements                   !                                                                                                                (}


Licensing and permitting requirements                9, 61                  32, 52, 59                                   40                                                      6
Firearm sales reporting and recording                                                                                                                                            0
requirements
Child-ac:c:ess prevention laws                    10, 11, 21,                 10,37                10,11, 21, 25,        34                                                       8
                                                    37,61                                            37, 60,61
Surrender of firearms by prohibited possessors                              49, 58,63                                                                                            3

Minimum age requirements                           21, 51, 61                 51,52                       21             40                                                       5

Concealed-carry laws                                 11, 51          2, 16, 18, 19, 23, 24, 27,       11,36           17, 34,40                                         14      27
                                                                    29, 32, 33, 38, 39, 42, 43,
                                                                    44, 47, 48, 50, 51 .. 54, 59
Waiting periods                                       41                      41,   so                                 34,40                                                     4

Gun-free zones                                                                                                                                                                   0

Total                                                 12                        37                         8             4            0               1       0         2       50

NOTE: Numbers refer to individual studies; see Table 2.3 to view which study corresponds to which number. Totals along the bottom row do not exactly
match those in Table 2.2 because superseded studies are not counted in this table, and other studies were identified after the initial literature search.




                                                                                       Exhibit 10
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 Effect Size Estimates
 To compare the magnitude of effects across studies, we calculated and present inci-
 dence rate ratios (IRRs) for most of the estimates of policy effects that we considered
 in reaching our consensus ratings. In rare cases noted in the text, we were unable to
 calculate IRRs from the information provided in the report. Studies reporting the
 results from a negative binomial or Poisson regression model are directly reported in
 our report figures as IRRs with their associated confidence intervals (Cis). Given the
 low probability of most of our outcomes, odds ratios were interpreted and reported as
 IRRs with their associated Cis.
       Many studies used fixed-effects ordinary linear regression models. In these cases,
 an average base rate (usually taken from the study's paper itself) of the outcome of
 interest was determined. We then used the base rate to transform the regression esti-
 mate, {J, to an IRR using the following formula:

                              IRR = (average base rate+ f3) •
                                        average. base rate

 However, if the linear model used a logged dependent variable, we used the exponenti-
 ated estimate as its IRR. Cis for the IRRs derived from the linear regression models
 were transformed in a similar fashion.
      When a study did not report a measure of variation, we performed back calcu-
 lation from a test statistic to estimate the Cis. For Rudolph et al. (2015), we inferred
 approximate standard errors from the p-value associated with a permutation test pre-
 sented to demonstrate the likely statistical significance of the reported finding. For
 Crifasi et al. (2015), we present the IRR and CI for a secondary specification that used
 a negative binomial model. For several other studies, we note that we could not extrap-
 olate an IRR or its Cis from the data provided in the paper.
       Models estimating linear or other trend effects for policies do not have a constant
 effect size over time. Even if we selected an arbitrary period over which to calculate an
 effect size, these papers do not provide sufficient information to estimate Cis for such
 effects. Therefore, we do not calculate or display IRR values that take into account
 trend effects or effects calculated as the combination of a trend and a step effect (hybrid
 models). Although we report the authors' interpretation of these effects, we do not
 count them as compelling evidence for the effects of a policy, for reasons discussed in
 Appendix A.
       IRRs are calculated and graphed so that estimates of the effects of policies can be
  compared on a common metric. We do not use them to construct meta-analytic esti-
 mates of policy effects for two reasons. First, most studies we reviewed examining the
 effect of a policy on a particular outcome used nearly identical data sets, meaning the
 studies do not offer independent estimates of the effect. Second, there are usually only



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 two or three studies available on yvhich to estimate the effect of the policy, and these
 studies often differ considerably in their methodological rigor. These limitations in the
 existing literature led us to pursue a more qualitative evaluation of the conclusions that
 available studies can support.




                                                           Exhibit 10
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                                                                                          Methods     31



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